            IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF MISSOURI
                         CENTRAL DIVISION
DAVID ZINK, et al.,                            )
                                               )
             Plaintiffs,                       )     Case No. 12-4209-CV-C-BP
                                               )
      v.                                       )
                                               )     THIS IS A CAPITAL CASE
GEORGE A. LOMBARDI, et ai.,                    )
                                               )     Execution scheduled for
             Defendants.                       )     12:01 a.m. Feb. 26, 2014
                                               )
          PLAINTIFF MICHAEL TAYLOR’S MOTION FOR
                     STAY OF EXECUTION
      BASED ON ABSENCE OF LAWFUL MEANS OF EXECUTION
      Plaintiff Michael Taylor herein moves the Court for a stay of his execution,
which is scheduled for 12:01 a.m. on February 26, 2014, based on there being no
means of carrying out the execution lawfully.
      Missouri’s execution protocol uses compounded pentobarbital. The state’s
supplier of that drug has not provided the dose for Taylor’s execution and decided
yesterday it will not do so. (Exhibit A)
      Missouri has identified no lawful means of executing Taylor next week.
Any pentobarbital Missouri previously acquired is now expired. Though Missouri
has indicated it has midazolam and hydromorphone, its execution protocol does not
permit administration of those drugs; even if it did, Taylor would warrant a stay
because those drugs have already inflicted unconstitutional pain and suffering in an
execution and the states using them have thus temporarily halted executions. In
any event, switching the protocol or the pentobartibal supplier now – a week before
the scheduled execution – would violate Taylor’s right to due process of law.
      At this time, there are no lawful means of going forward on February 26th.
                                           1


       Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 1 of 331
                                   ARGUMENT
There are No Lawful Means of Carrying out an Execution on February 26th
      Missouri has no usable pentobarbital and it may not switch to midazolam
and hydromorphone, which cause unconstitutional pain and suffering, or make any
other changes at this late date without violating Taylor’s right to due process.
A.    Missouri Has No Usable Pentobarbital
      When deposed on January 15, 2014, defendant Dormire said Missouri had
10 grams of compounded pentobarbital in its possession. (Exhibit B at 105) That
supply expired by February 15, 2014 – at the latest – because it had an expiration
date of 30 days after being compounded, and it was compounded sometime before
Missouri obtained it. (Exhibit B at 106)
      On February 13, 2014, Governor Nixon responded to litigation Taylor had
brought against the pharmacy that supplies Missouri with its pentobarbital. The
governor said “the Department of Corrections is prepared to carry out the
execution on February 26th.” (Exhibit C)
      Yesterday, however, Taylor and the pharmacy settled their litigation based
on the pharmacy affirming it had not provided any drugs for Taylor’s execution
and agreeing it will not do so. (Exhibit A)
      The media speculated that Governor Nixon’s comment on February 13th
might have referred to the fact that Missouri has a supply of midazolam and
hydromorphone. (Exhibit C)
B.    Missouri May Not Switch to Midazolam and Hydromorphone
      The midazolam-hydromorphone combination has been used in only one
execution, and it caused unconstitutional pain and suffering.

                                           2


       Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 2 of 331
      Ohio executed Dennis McGuire on January 16, 2014, injecting midazloam
and hydromorphone into him at 10:27 a.m. At 10:31 a.m., “his stomach swelled up
in an unusual way, as though he had a hernia.” Between 10:33 a.m. and 10:44
a.m., “he struggled and gasped audibly for air.” “Over those 11 minutes or more
he was fighting for breath, [a witness] could see both of his fists were clenched the
entire time.” “Towards the end, the gasping faded into small puffs of his mouth. It
was much like a fish lying along the shore puffing for that one gasp of air that
would allow it to breathe.” (Exhibit D) “The execution process took 24 minutes,
and [] McGuire appeared to be gasping for air for 10 to 13 minutes. ‘He gasped
deeply. It was kind of a rattling, guttural sound. There was kind of a snorting
through his nose. A couple of times, he definitely appeared to be choking.’”
(Exhibit E)
      The duration of McGuire’s gasping and writhing far exceeded the
predictions of even his lawyers, who had argued “McGuire will experience the
agony and terror of air hunger as he struggles to breathe for five minutes after
Defendants intravenously inject him with the execution drugs.” In Re: Ohio
Execution Protocol Litigation, S.D.Ohio No. 11-1016, Docket No. 383 at 1.
      Ohio had dismissed this possibility, which in fact came to pass, by arguing
that “people who stop breathing due to the effects of an opioid, but who do not lose
consciousness, do not perceive this as uncomfortable.” Id., Docket No. 385 at 13.
Ohio’s expert, Dr. Mark Dershwitz, had agreed: “They do not have a sense of
difficulty breathing. . . . They don’t care.” Id. (quoting deposition). Dr. Dershwitz
is the state’s expert here too.
      The risks of repeating an unconstitutional execution require further review

                                          3


       Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 3 of 331
of the midazolam-hydromorphone combination before it is used again, as Ohio and
the only other state contemplating its use – Louisiana – have recognized.
      On February 7, 2014, Ohio Governor John Kasich granted an eight-month
reprieve to the man next scheduled to be executed by midazolam and
hydromorphone so the state can properly study that combination, and McGuire’s
execution, before deciding whether to proceed. (Exhibit F)
      Likewise, on February 3, 2014, Louisiana agreed to a 90-day stay for a man
facing execution by midazolam and hydromorphone; both sides agreed the
execution “should be delayed to further review the drug protocol.” (Exhibit G)
      Defendants here have already expressed their opposition to midazolam and
hydromorphone. When asked whether Missouri would use that combination on
Herbert Smulls, who was executed last month, lead defendant Lombardi said: “I’m
testifying right now to tell you that will not be the case. We will not use those
drugs.” (Exhibit H at 21) Indeed: “There will be [no] use of it in an execution.”1
(Exhibit H at 21) Moreover, when defendant Dormire was asked about possibly
switching to that combination for Smulls’s execution, he noted the decision was
Lombardi’s but opined that doing so at that point would be “awfully quick”– and
that was 14 days before Smulls’s date. (Exhibit B at 147)
      It is indeed “awfully quick” to inform a defendant of the manner of his
execution 14 days ahead of time; it would be unconstitutional to do so here, just
one week out, as that would deny Taylor meaningful notice of – and opportunity to
challenge – the state’s plan for ending his life.

 1
     The court reporter accidentally omitted the “no” from that sentence, as
reflected by the follow-up question plaintiffs’ counsel then asked: “Why will there
be no use of it in an execution?” (Exhibit H at 21)
                                          4


       Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 4 of 331
C.    Taylor’s Right to Due Process Precludes Any Changes Now
      As plaintiffs have alleged in Counts VII and VIII of their Second Amended
Complaint, defendants’ constant and last-minute changes to the execution protocol
– not to mention defendants’ ongoing failure to meet their discovery obligations –
violates plaintiffs’ constitutional right to due process.
      Missouri may not take Taylor’s life without due process of law, meaning he
has the right to meaningful notice of – and an opportunity to challenge –
Missouri’s plan for executing him. Notice is a means “to apprise the affected
individual of, and permit adequate preparation for, an impending ‘hearing,’”
Memphis Light, Gas & Water Div. v. Craft, 436 U.S. 1, 14 (1978), during which he
has “an opportunity to present [his] objections.” Mullane v. Cent. Hanover Bank &
Trust Co., 339 U.S. 306, 314 (1950). See also Cleveland Bd. of Educ. v.
Loudermill, 470 U.S. 532, 546 (1985) (“The opportunity to present reasons . . .
why proposed action should not be taken is a fundamental due process
requirement.”). “If the right to notice and a hearing is to serve its full purpose,
then, it is clear that it must be granted at a time when the deprivation can still be
prevented.” Fuentes v. Shevin, 407 U.S. 67, 81 (1972). See also Mullane, 339
U.S. at 314 (“The notice must be of such nature as reasonably to convey the
required information, and it must afford a reasonable time for those interested to
make their appearance.”) (citations omitted).
      If Missouri were to change its protocol now and still seek to execute Taylor
a week from now, he would have no meaningful notice of – or opportunity to
challenge – the protocol. Likewise, the courts would have no time to meaningfully
adjudicate the lawfulness of the new approach. Courts have underscored the

                                            5


       Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 5 of 331
importance of giving a defendant the ability to meaningfully challenge the
proposed method of execution. See Arthur v. Thomas, 674 F.3d 1257, 1262 (11th
Cir. 2012) (per curiam) (“[T]he district court committed reversible error in
dismissing Arthur’s Eighth Amendment claim without any opportunity for factual
development, including discovery between the parties.”); Reynolds v. Strickland,
583 F.3d 956, 957 (6th Cir. 2009) (granting stay where “serious and troubling
difficulties” during past executions raised concerns over the “competence of the
lethal injection team”); Cooey v. Kasich, 801 F. Supp. 2d 623, 655 (S.D.Ohio
2011) (granting stay where there was evidence of “a troubling pattern of
disregarding the very protocol that is supposed to control and provide safeguards
for the execution process”); Moeller v. Weber, 2011 WL 288516 at *1 (D.S.D.
2011) (refusing to curtail “discovery concerning the plan for carrying out
executions in light of the shortage of sodium thiopental”); Morales v. Cate, 2010
WL 3835655 at *3 (N.D.Cal. 2010) (granting stay where condemned inmate raised
questions about “the selection and training of the execution team, the mixing and
delivery of the drugs used in executions, and the adequacy and accuracy of
execution records”); Chester v. Beard, 657 F. Supp. 2d 534, 542-454 (M.D.Pa.
2009) (holding that condemned inmates’ allegations of inadequately trained
personnel and inadequate safeguards, if true, would demonstrate a substantial risk
of serious harm, and giving inmates a chance to factually develop their claims);
Thorson v. Epps, 2009 WL 1766806 at *1-*2 (N.D. Miss. 2009) (denying motion
to dismiss condemned inmates’ allegations of executioner incompetence, which, if
true, “plausibly would entitle him to relief,” and noting importance that “the factual
record had been completely developed”).

                                          6


       Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 6 of 331
      Plaintiffs sued in May 2012, and defendants removed this case to this Court
on August 1, 2012. In the year-and-a-half since, there has been no final ruling on
the merits of plaintiffs’ challenges to Missouri’s execution protocol. The protocol
initially called for propofol; now, compounded pentobarbital is the drug. If over
18 months of litigation did not yield a ruling on the legality of those methods, the
lawfulness of using midazolam and hydromorphone cannot be finally adjudicated
in one week. Moreover, the evidence that already exists as to that method – the
McGuire execution – indicates it is unconstitutional and thus may not be used.
      Just as Missouri may not switch to that approach now and still proceed in
one week, it may not announce some heretofore unknown approach or unveil some
heretofore concealed supplier of compounded pentobarbital. Throughout this
litigation, defendants have indicated they located only one pharmacy willing to
supply them with compounded pentobarbital: though they approached three
pharmacies, only one said it was willing to provide the drugs. (Exhibit B at 55-59)
A Missouri official obtains 10 grams of compounded pentobarbital for each
execution by driving to the pharmacy and paying for the drugs with cash. (Exhibit
B at 109, 128) The 10 grams procured for the Smulls execution are now expired,
and the pharmacy has not supplied the 10 grams for Taylor’s execution and will
not do so. (Exhibit A) Any revelation of an alternate supplier of compounded
pentobarbital at this point would violate not only the requirement that defendants
update their discovery responses, see Fed. R. Civ. P. 26(e), but, more importantly,
it would violate Taylor’s constitutional right to due process of law. Discovery on
the previous supplier was made months ago, and information came to light that the
supplier had been cited for violating various laws and regulations. (Exhibit I)

                                          7


       Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 7 of 331
To introduce a new player now, one week before a scheduled execution in
litigation that has been pending for over 18 months, would not afford Taylor or this
Court a meaningful opportunity to assess whether that player may constitutionally
play a role in ending Taylor’s life.
                     *                    *                    *
      As two judges of the Eighth Circuit have recently reminded, “Missouri has a
well-documented history of attempting to execute death row inmates before the
federal courts can determine the constitutionality of the executions.” (Exhibit J at
2) Missouri has no usable pentobarbital, and any attempt to procure some from an
alternate supplier – or switch to midazolam and hydromorphone – would come too
late to make the execution scheduled for a week from now constitutional. One
defendant even said a change with twice that lead time wold be “awfully quick.”
(Exhibit B at 147)
      This Court should follow Ohio’s and Louisiana’s example and issue a stay to
ensure that no execution occurs without due process of law.
                                   CONCLUSION
      The Court should stay Taylor’s execution until he has meaningful notice of –
and opportunity to challenge – Missouri’s plan to take his life.

                                               Respectfully submitted,
                                               SEAN K. KENNEDY
                                               Federal Public Defender

DATED: February 18, 2014                  By    s/ Matthew B. Larsen
                                               MATTHEW B. LARSEN
                                               Deputy Federal Public Defender


                                          8


       Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 8 of 331
  EXHIBIT A




Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 9 of 331
2/17/2014                                              News from The Associated Press




            BIG STORY     TOP NEWS         SPECIAL COVERAGE             ARCHIVE         ESPAÑOL     VIDEO




  Feb 17, 10:20 PM EST
                                                                                                                           Latest
  OKLA. PHARMACY WON'T GIVE DRUG FOR                                                                                       LOYD'S 27

  MO. EXECUTION                                                                                                            WIN GA. TE
                                                                                                                           Feb. 17, 201

  BY TIM TALLEY
  ASSOCIATED PRESS
                                                                                                                           BHP BILLIT
                                                                                                                           PROFIT
                                                                                                                           Feb. 17, 201
  OKLAHOMA CITY (AP) -- An Oklahoma pharmacy has
  agreed not to provide Missouri with a made-to-order
  drug for an inmate's execution scheduled for later this                                                                  SKOREAN R
  month, according to court documents filed Monday.                                                                        COLLEGE M
                                                                                                                           Feb. 17, 201
  According to the documents, The Apothecary Shoppe,
  of Tulsa, will not prepare or provide pentobarbital or
  any other drug for use in Michael Taylor's execution.
                                                                                                                           OKLA. PHA
  The documents ask a judge to dismiss the case that
                                                                                                                           FOR MO. EX
  Taylor's lawyers had filed against the pharmacy seeking
                                                                      AP Photo/Anonymous
  to stop it from providing the                                                                                            Feb. 17, 201

  execution drug. A hearing is
  scheduled for Tuesday.                 US VIDEO
                                                                                                                           AP SOURCE
  Taylor's attorney, Matt Hellman,                                                                                         Feb. 17, 201
                   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 10 of 331
http://hosted.ap.org/dynamic/stories/U/US_EXECUTION_DRUG_LAWSUIT?SITE=AP&SECTION=HOME&TEMPLATE=DEFAULT&CTIME=2014-02-17-21-…   1/4
2/17/2014                                              News from The Associated Press

  said that as part of the deal, the
                                                        East Wins NBA All-Star
  pharmacy acknowledged it has not                      Game, Irving Na…
  already provided any drug to the
  Missouri Department of Corrections
  for the execution, which is
  scheduled for Feb. 26.

  The department and the Missouri
  attorney general's office did not
  immediately return calls Monday
  night seeking comment about the
  agreement or the status of Taylor's
  execution.

  Missouri Gov. Jay Nixon indicated
  last week that the state has drugs to
  carry out Taylor's execution. Nixon,
  speaking at a news conference
  Thursday, did not directly answer
  "yes" or "no" when asked about                                                                                           W inte r
  availability of the execution drug but
                                                                                                                           Last Updated
  said, "In order to complete that
  ultimate responsibility, that's                                                                                              #
  necessary. The Department of
  Corrections is prepared to carry out                                                                                         1
  that execution."

  Taylor pleaded guilty to abducting,                                                                                          2
  raping and stabbing to death a 15-
  year-old Kansas City girl in 1989.
                                                                                                                               3
  The Apothecary Shoppe has not acknowledged that it
  supplies a compounded version of pentobarbital to                   INTERACTIVES
  Missouri for use in lethal injections, as Taylor says,
  and says it can't because of a Missouri law requiring                       INSIDE THE TEXAS DEATH
                                                                              CHAMBER
  the identities of those on the state's execution team to
                                                                              SUPREME COURT ORAL
  be kept confidential.                                                       ARGUMENTS: IS LETHAL
                                                                              INJECTION
  A message left seeking comment from the pharmacy                            UNCONSTITUTIONAL?
  Monday night was not immediately returned.                                  ICONIC TEXAS
                                                                              EXECUTIONS
  In his lawsuit, Taylor alleged that Missouri turned to                      VIEWS ON THE DEATH
  The Apothecary Shoppe to supply compounded                                  PENALTY: A GLOBAL
  pentobarbital because the only licensed manufacturer                        PERSPECTIVE
  of the drug refuses to provide it for lethal injections.
                                                                              DEATH PENALTY BY STATE
  That company, Illinois-based Akorn Inc., agreed to
  that condition when it bought the exclusive rights to
                   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 11 of 331
http://hosted.ap.org/dynamic/stories/U/US_EXECUTION_DRUG_LAWSUIT?SITE=AP&SECTION=HOME&TEMPLATE=DEFAULT&CTIME=2014-02-17-21-…   2/4
2/17/2014                                              News from The Associated Press

  the drug in January 2012 from a Danish company that                 DOCUMENTS
  had produced it under the trade name Nembutal.
                                                                             LETTER REQUESTING A
  Taylor contends that several recent executions in                          STAY OF EXECUTION FOR
                                                                             CLAUDE JONES
  which compounded pentobarbital was used showed it
                                                                             THEN-GOV. GEORGE W.
  would likely cause him "severe, unnecessary, lingering                     BUSH'S REPLY TO JONE'S
  and ultimately inhumane pain."                                             REPRIEVE REQUEST
                                                                             OHIO STRUGGLES TO GET
  Within 20 seconds of receiving his lethal injection on                     ADVICE ON LETHAL
  Jan. 9 at the Oklahoma State Penitentiary, 38-year-old                     INJECTION

  Michael Lee Wilson said: "I feel my whole body                             NEBRASKA SUPREME
                                                                             COURT'S RULING ON THE
  burning." This statement describes "a sensation                            ELECTRIC CHAIR (02/08/08)
  consistent with receipt of contaminated pentobarbital,"
  Taylor alleges.
                                                                      LATEST NEWS
  The lawsuit also cites the Oct. 15, 2012, execution in
  South Dakota of Eric Robert. Robert, 50 cleared his
                                                                      OKLA. PHARMACY WON'T GIVE
                                                                      DRUG FOR MO. EXECUTION
                                                                                                                           Latest
  throat, gasped for air and then snored after receiving              ARKANSAS JUDGE GRANTS REQUEST
                                                                      TO BLOCK EXECUTIONS                                  COSTAS RE
  the lethal injection, which included compounded
                                                                      FLA. MAN EXECUTED IN BOY'S RAPE,                     COVERAGE
  pentobarbital. His skin turned a purplish hue and his               MURDER
  heart continued to beat for 10 minutes after he stopped                                                                  Feb. 17 2014
                                                                      WASHINGTON GOV. JAY INSLEE
  breathing, the lawsuit contends. It took 20 minutes for             SUSPENDS DEATH PENALTY
  authorities to finally declare Robert dead.                         DEATH PENALTY: WHICH STATES
                                                                      HAVE IT, WHICH DON'T?                                WOMEN'S
  "These events are consistent with receipt of a                                                                           OLYMPIC A
  contaminated or sub-potent compounded drug," the                                                                         Feb. 17 2014
  lawsuit says.
                                                                      BUY AP PHOTO REPRINTS
  Taylor's lawsuit questions whether the Tulsa                                                                             HUMPHRIE
  pharmacy can legally produce and deliver compounded                                                                      FRIENDSH
  pentobarbital. It says the pharmacy is not registered as
                                                                                                                           Feb. 17 2014
  a drug manufacturer with the U.S. Food & Drug
  Administration and alleges that it violates federal law
  each time it delivers the drug across state lines to                                                                     FINLAND,
  Missouri corrections officials.                                                                                          HOCKEY 5T
                                                                      MULTIMEDIA
  © 2014 THE ASSOCIATED PRESS. ALL RIGHTS RESERVED.                           DRUG WAR INTERACTIVE
                                                                                                                           Feb. 17 2014

  THIS MATERIAL MAY NOT BE PUBLISHED, BROADCAST,
  REWRITTEN OR REDISTRIBUTED. Learn more about our
                                                                                                                           ELIMINATI
  PRIVACY POLICY and TERMS OF USE.
                                                                                                                           OLYMPIC M
                                                                                                                           Feb. 17 2014




                   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 12 of 331
http://hosted.ap.org/dynamic/stories/U/US_EXECUTION_DRUG_LAWSUIT?SITE=AP&SECTION=HOME&TEMPLATE=DEFAULT&CTIME=2014-02-17-21-…   3/4
2/17/2014                                              News from The Associated Press




                                                                              ©2013 The Associate d Pre ss.
                                                            All rights re se rve d. TERMS unde r which this site is provide d.
                                                                          Le arn m ore about our PRIVACY POLICY.




                   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 13 of 331
http://hosted.ap.org/dynamic/stories/U/US_EXECUTION_DRUG_LAWSUIT?SITE=AP&SECTION=HOME&TEMPLATE=DEFAULT&CTIME=2014-02-17-21-…     4/4
   EXHIBIT B




Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 14 of 331
                                                                      EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                         Page 1
   1                    IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MISSOURI
   2                                 CENTRAL DIVISION
   3
   4     DAVID ZINK, et al.,                  )
                                              )
   5                  Plaintiffs,             )
                                              ) No. 2:12-CV-4209-BP
   6     vs.                                  )
                                              )
   7     GEORGE A. LOMBARDI, et al.,          )
                                              )
   8                  Defendants.             )
   9
  10                            DEPOSITION OF DAVE DORMIRE
                            Taken on behalf of the Plaintiffs
  11                                 January 15, 2014
  12                             Julie K. Kearns, CCR 993
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25

                              MIDWEST LITIGATION SERVICES
www.midwestlitigation.com          Phone: 1.800.280.3376         Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 15 of 331
Appellate Case: 14-1193 Page: 1 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                   EXHIBIT B
                               DAVE DORMIRE 1/15/2014


                                                                      Page 2
   1     QUESTIONS BY:                                         PAGE

   2     Ms. Carlyle                                            10

   3     Mr. Hansen                                            140

   4     Ms. Carlyle                                           143

   5

   6                             INDEX OF EXHIBITS

   7

                                                               PAGE

   8

   9     1 - CD of discovery provided 1/9/14                      5

  10     2 - CD of discovery provided 12/27/13                    6

  11     5 - Page 8 of Exhibit 13 of Amended Complaint          65

  12     6 - Page 7 or Exhibit 13 of Amended Complaint          71

  13     7 - Affidavit of Dave Dormire                         111

  14     8 - Bates pages AGO002405 and AGO00247                 26

  15     9 - Bates pages AGO002587 and AGO002680                26

  16

  17                  (Whereupon the exhibits 1, 2, 5, 6 and 7 were

  18                  attached to the original and copies.   Exhibits 8

  19                  and 9 retained by counsel.)

  20

  21

  22

  23

  24

  25

                            MIDWEST LITIGATION SERVICES
www.midwestlitigation.com        Phone: 1.800.280.3376        Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 16 of 331
Appellate Case: 14-1193 Page: 2 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                     EXHIBIT B
                               DAVE DORMIRE 1/15/2014


                                                                        Page 3
   1                    IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI
   2                                CENTRAL DIVISION
   3
   4     DAVID ZINK, et al.,                 )
                                             )
   5                  Plaintiffs,            )
                                             ) No. 2:12-CV-4209-BP
   6     vs.                                 )
                                             )
   7     GEORGE A. LOMBARDI, et al.,         )
                                             )
   8                  Defendants.            )
   9
  10                  DEPOSITION OF DAVE DORMIRE, produced, sworn, and
  11     examined on the 15th day of January, 2014, between the
  12     hours of one o'clock in the afternoon and seven o'clock in
  13     the evening of that day, at Missouri Department of
  14     Corrections, 2729 Plaza Drive, Jefferson City, Missouri,
  15     before Julie K. Kearns, a Certified Court Reporter within
  16     and for the State of Missouri, in a certain cause now
  17     pending before the Circuit Court of the County of St.
  18     Louis in the State of Missouri, wherein DAVID ZINK, et al.
  19     is the Plaintiff, and GEORGE A. LOMBARDI, et al. is the
  20     Defendant.
  21
  22
  23
  24
  25


                            MIDWEST LITIGATION SERVICES
www.midwestlitigation.com        Phone: 1.800.280.3376          Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 17 of 331
Appellate Case: 14-1193 Page: 3 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                  EXHIBIT B
                               DAVE DORMIRE 1/15/2014


                                                                     Page 4
   1                           A P P E A R A N C E S
   2
   3      For the Plaintiffs:
   4         Elizabeth Unger Carlyle, Esq.
             ELIZABETH CARLYLE LAW OFFICE
   5         6011 OAK STREET
             Kansas City, Missouri      64113
   6
   7      For the Defendants:
   8         David Hansen, Esq.
             Michael Spillane, Esq.
   9         Susan Boresi, Esq.
             MISSOURI ATTORNEY GENERAL'S OFFICE
  10         211 West High Street
             Jefferson City, Missouri      65102
  11
  12      The Court Reporter:
  13         Ms. Julie K. Kearns
             Midwest Litigation Services
  14         3432 West Truman Boulevard, Suite 207
             Jefferson City, Missouri      65109
  15         (573)636-7551
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25


                            MIDWEST LITIGATION SERVICES
www.midwestlitigation.com        Phone: 1.800.280.3376       Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 18 of 331
Appellate Case: 14-1193 Page: 4 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                         EXHIBIT B
                               DAVE DORMIRE 1/15/2014


                                                                            Page 5
   1                  IT IS HEREBY STIPULATED AND AGREED, by and

   2     between counsel for Plaintiff and counsel for Defendant,

   3     that this deposition may be taken in shorthand by Julie K.

   4     Kearns, a Certified Court Reporter, and afterwards

   5     transcribed into typewriting; and the signature of the

   6     witness is expressly reserved.

   7                                  * * * * *

   8                  (Deposition started at 1:21 P.M.)

   9                  (Witness sworn.)

  10                  MS. CARLYLE:    Okay.    Before we -- before I begin

  11     to question Mr. Dormire, let me see if I can -- if we can

  12     get the reporter to mark Exhibit 1, which is a CD

  13     containing discovery provided to plaintiffs by defendants

  14     on Joe -- I believe it was sent July 9 and received

  15     July 10.     Here it is.    It's the one you sent me.

  16                  MR. HANSEN:    Okay.    I mean, I will take your

  17     word that that contains what we --

  18                  MS. CARLYLE:    Okay.

  19                  MR. HANSEN:    You know, obviously it's going to

  20     be --

  21                  MS. CARLYLE:    If you want to look at it, it is,

  22     in fact, the disk you sent me and it's read only, but I

  23     can't have done anything to it.          But I didn't --

  24                  MR. HANSEN:    All I'm saying, for the record, is

  25     I have not -- we haven't opened this disk up, we haven't


                            MIDWEST LITIGATION SERVICES
www.midwestlitigation.com        Phone: 1.800.280.3376              Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 19 of 331
Appellate Case: 14-1193 Page: 5 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                         EXHIBIT B
                               DAVE DORMIRE 1/15/2014


                                                                            Page 6
   1     looked at the entire disk.        I have no reason to dispute

   2     your representation that this is that very disk, so --

   3                  MS. CARLYLE:    Okay.

   4                  MR. HANSEN:    -- with that understanding, I'll

   5     acknowledge that that is what's been marked as Exhibit 1.

   6                  MS. CARLYLE:    1.

   7                  (Exhibit No. 1 marked for identification.)

   8                  (Off the record.)

   9                  MR. HANSEN:    Back on the record.      Just to be

  10     clear I think you had said that that disk was sent to you

  11     on -- plaintiffs on July 9 of this year, which obviously

  12     is not possible.       You meant January 9; is that correct?

  13                  MS. CARLYLE:    I did, indeed.      It was sent on

  14     January 9 and received on January 10.

  15                  MR. HANSEN:    Correct.

  16                  MS. CARLYLE:    Yeah.     And Exhibit 2 is listed on

  17     my list here as a disk containing the documents provided

  18     on -- goodness.       I have no idea why I said 12-17-2004 on

  19     there.     That was late last night.       This was a disk of

  20     discovery -- okay.       Let me start over here.      On

  21     December 30, 2013 -- on December 27, 2013, Ms. Boresi

  22     handed me a disk containing discovery documents.

  23     Subsequently, based on the Court's order of December 30,

  24     2013, that disk was returned to the Department of

  25     Corrections.       Actually, she handed me two and both of them


                            MIDWEST LITIGATION SERVICES
www.midwestlitigation.com        Phone: 1.800.280.3376              Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 20 of 331
Appellate Case: 14-1193 Page: 6 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                       EXHIBIT B
                               DAVE DORMIRE 1/15/2014


                                                                           Page 7
   1     have been returned.

   2                  Today I have been told that that disk will be

   3     reissued with its original page numbers, but that

   4     redactions have been made on documents that were not

   5     present on the previous disk.         The disk that -- and we are

   6     hoping that that disk will be available today and if it

   7     is, it will be Exhibit 2.       Is that a fair statement of

   8     what we have been talking about, Mr. Hansen?

   9                  MR. HANSEN:    It is.    I just want to clarify the

  10     record a little bit as well.          The production of documents

  11     that was made by the Department of Corrections on

  12     December 27 was withdrawn and it was destroyed by our

  13     office and I believe the plaintiffs were directed to

  14     destroy their copies as well.

  15                  MS. CARLYLE:    Return or destroy, basically.

  16                  MR. HANSEN:    The Department of Corrections then

  17     went through those documents to ensure that all the

  18     confidential information that should have been redacted

  19     was, in fact, redacted and we then produced another set of

  20     documents on -- which is the disk that you have identified

  21     as Exhibit 1.

  22                  Two days ago, I believe it was two days ago,

  23     Mr. Luby sent a letter expressing some concern that there

  24     were fewer pages or there were pages missing on the second

  25     set that were on Exhibit 1.          We conducted an inquiry to


                            MIDWEST LITIGATION SERVICES
www.midwestlitigation.com        Phone: 1.800.280.3376            Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 21 of 331
Appellate Case: 14-1193 Page: 7 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                       EXHIBIT B
                               DAVE DORMIRE 1/15/2014


                                                                           Page 8
   1     see whether that was the case.        As I explained by e-mail

   2     to the plaintiffs earlier this morning and as I explained

   3     by telephone to Miss Carlyle last night and to Mr. Luby

   4     yesterday, it was determined that the reason for the

   5     different number of pages was that, in going through the

   6     documents a second time, they identified duplicates and

   7     blank pages and removed those pages, which resulted in a

   8     different number of pages being produced.

   9                  In order to alleviate any concerns the

  10     plaintiffs may have that some documents were missing, the

  11     Department of Corrections last night went through the

  12     original set that was produced on December 27, redacted

  13     what was necessary in that set and we then have produced

  14     that set for plaintiffs here this morning.

  15                  You -- we won't mark it as an exhibit, but you

  16     have those pages, which are identified as pages beginning

  17     with AG000639 all the way through AG002514.          So we

  18     produced a hard copy of all those documents today and then

  19     we are working on right now scanning all those documents

  20     so that they will be on a disk which will be provided to

  21     you hopefully before the close of the deposition today,

  22     and that disk is the disk that you are going to mark as

  23     Exhibit 2; is that correct?

  24                  MS. CARLYLE:    That's correct.     I guess I have

  25     one question for you because I'm a little confused.           I


                            MIDWEST LITIGATION SERVICES
www.midwestlitigation.com        Phone: 1.800.280.3376            Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 22 of 331
Appellate Case: 14-1193 Page: 8 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                          EXHIBIT B
                               DAVE DORMIRE 1/15/2014


                                                                             Page 9
   1     thought you said that the original discovery was withdrawn

   2     and destroyed and then you said that you reviewed the

   3     original discovery in order to make further redactions and

   4     I'm a little confused about what it was that was destroyed

   5     and what you then rereviewed a couple of days ago.

   6                  MR. HANSEN:     I said -- to be clear, I said that

   7     our office destroyed the redacted copies.           So the Attorney

   8     General's Office destroyed and deleted the files that we

   9     had.

  10                  MS. BORESI:     The electronic copy.

  11                  MR. HANSEN:     The electronic copy.     The

  12     Department of Corrections did maintain that original --

  13     that original Bates-stamped numbered production that was

  14     produced and then withdrawn.

  15                  MS. CARLYLE:     Okay.

  16                  MR. HANSEN:     So they had the disk, they had the

  17     ability then to just print that off again, go through it

  18     and redact it.      So it is the -- it is the same -- they are

  19     the same pages, the same documents that were produced on

  20     December 27 but then withdrawn.

  21                  MS. CARLYLE:     Thank you.

  22                                 DAVE DORMIRE,

  23     of lawful age, being produced, sworn and examined on

  24     behalf of the Plaintiffs, deposes and says:

  25                                  EXAMINATION


                            MIDWEST LITIGATION SERVICES
www.midwestlitigation.com        Phone: 1.800.280.3376               Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 23 of 331
Appellate Case: 14-1193 Page: 9 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                       EXHIBIT B
                                  DAVE DORMIRE 1/15/2014


                                                                          Page 10
    1     QUESTIONS BY MS. CARLYLE:

    2             Q.      Okay.   Mr. Dormire, I think we're now finally

    3     ready for you.

    4             A.      Sure.

    5             Q.      And as you know, I've taken your deposition

    6     before and I think got some pretty -- some basic

    7     information about you, so I won't ask about that again.

    8     Let me go directly to some questions about the

    9     interrogatory responses that have been filed on your

   10     behalf.        Let me ask you what your -- well, did you draft

   11     the responses to interrogatories that you signed?

   12             A.      Your question is do I draft them sometimes?

   13             Q.      Do you draft them -- do you draft the ones you

   14     sign?        Did you draft the responses?

   15             A.      Generally.   Generally, yes.

   16             Q.      Okay.   So you draft -- it wasn't a matter of

   17     someone drafting them for you and asking them to review

   18     you -- review them, you drafted them yourself?

   19             A.      It happens both ways, but generally I draft my

   20     own interrogatories.

   21             Q.      Okay.   Now, with respect to a number of them,

   22     you stated that you have no knowledge of the answer.            What

   23     steps, if any, did you take to find out the answers to

   24     those interrogatories?

   25             A.      On those -- when I answered that I had no -- if


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 24 of 331
Appellate Case: 14-1193 Page: 10 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                       EXHIBIT B
                                  DAVE DORMIRE 1/15/2014


                                                                          Page 11
    1     I had no direct knowledge, I didn't take steps to obtain

    2     additional information.

    3           Q.     Have you made any attempts to supplement your

    4     responses to -- I understand that you just recently

    5     responded to interrogatory set number one and -- number

    6     three and number four.         First of all, have you ever

    7     responded to interrogatories number two?

    8           A.     I don't know the numbers on those

    9     interrogatories.         I'll remember the questions, but I don't

   10     know the numbers of those.

   11           Q.     Okay.      Have you supplemented --

   12                  MR. HANSEN:      I'm going to -- I just want to make

   13     a point on the record.         It's my understanding that we

   14     don't have interrogatory -- an interrogatory number two;

   15     is that right?

   16                  MS. CARLYLE:      I'm sorry, I'll turn this off.     I

   17     apologize.         So your position is that you were never served

   18     with plaintiff's second set of interrogatories?

   19                  MR. HANSEN:      I'm not saying that.

   20                  MS. CARLYLE:      Okay.

   21                  MR. HANSEN:      What I'm saying is that we have

   22     been unable to find or locate interrogatory number two.

   23                  MS. CARLYLE:      Okay.

   24                  MR. HANSEN:      If there exists an interrogatory

   25     number two that you sent us that you would like to have


                               MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com          Phone: 1.800.280.3376         Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 25 of 331
Appellate Case: 14-1193 Page: 11 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                       EXHIBIT B
                                  DAVE DORMIRE 1/15/2014


                                                                          Page 12
    1     answered and you contend that has not been answered, if

    2     you'd provide it to us, we'll do that.

    3                    MS. CARLYLE:    Okay.

    4             Q.    (By Ms. Carlyle) Have you supplemented your

    5     responses to the interrogatory set number one?

    6                    MR. HANSEN:    Objection, form of the question,

    7     lack of foundation.

    8             Q.    (By Ms. Carlyle) Go ahead and answer if you --

    9             A.     I'm not -- I'm not sure that I understand.

   10             Q.      Okay.

   11             A.      If you asked me additional questions, I would

   12     have answered those, to the best of my ability.

   13             Q.      Okay.   No, that's not what I'm -- that's not

   14     what I'm asking about.         Once you have answered a set of

   15     interrogatories, do you acknowledge that you are under an

   16     obligation to supplement those answers with further

   17     information if the information you provided changes?

   18                     MR. HANSEN:   Again, I'm going to object to the

   19     form of the question.         It calls for a legal conclusion

   20     that I'm not sure this witness is qualified to answer.

   21             A.      My answer to that would be I -- when I answer

   22     interrogatories, I answer them to my knowledge at the

   23     time.        I don't know exactly what the circumstance would be

   24     where I would become aware of -- I might become aware of

   25     something later, but if I -- I guess potentially if I


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 26 of 331
Appellate Case: 14-1193 Page: 12 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                     EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                        Page 13
    1     misanswered something and became knowledged, I would

    2     acknowledge that.

    3           Q.    (By Ms. Carlyle) No, I'm actually talking about

    4     answering them later because things have changed.       For

    5     example, if you said these are the dates -- as you did,

    6     these are the dates of the trainings that we've had for

    7     executions as of the time of this answer --

    8           A.     I see.

    9           Q.     -- and you're asked when are the trainings of

   10     executions --

   11           A.     Yes.

   12           Q.     -- then later on, that answer would change if

   13     you were to answer it that day because there would have

   14     been more trainings.       Are you with me?

   15           A.     Yes.

   16           Q.     Okay.    So my question to you is have you ever

   17     attempted to revise your answers not because you made a

   18     mistake the first time, I'm not suggesting that, but to

   19     take account of new information that's responsive to those

   20     interrogatories that wasn't responsive at the time you

   21     made your first responses?

   22           A.     No.

   23           Q.     Okay.    In response to the first question in the

   24     third set of interrogatories, which was, "For the

   25     execution protocol and affidavit issued on October 22 of


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376        Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 27 of 331
Appellate Case: 14-1193 Page: 13 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                         EXHIBIT B
                                DAVE DORMIRE 1/15/2014


                                                                           Page 14
    1     2013, identify all persons involved in the lethal

    2     injection protocol team describing in detail each person's

    3     roles and tasks in developing a protocol."          That was the

    4     question.

    5                  MR. HANSEN:     Before you ask a specific question,

    6     could I -- could you give me a minute to either find that

    7     or get a copy of it?        Are you talking about Defendant

    8     Dormire's answers to the third set of interrogatories?

    9                  MS. CARLYLE:     I am.    I'm on page six.

   10                  MR. HANSEN:     Okay.    Thank you.

   11           Q.    (By Ms. Carlyle) And the term "lethal injection

   12     protocol team" is actually defined in the interrogatories.

   13     It's defined on page seven and -- it's defined on page

   14     four, it's definition seven.

   15                  MR. HANSEN:     Can I just ask if you're going to

   16     ask him questions about his interrogatory answers that we

   17     get him a -- do you have a copy for him or that he can see

   18     a copy of it?

   19                  MS. CARLYLE:     He can certainly see a copy of it.

   20     I think -- yeah, let me give him this copy and I'll put it

   21     up on my screen.

   22                  MR. HANSEN:     Okay.

   23                  MS. CARLYLE:     It will take me just a second.

   24                  MR. HANSEN:     Will you be using it as an exhibit

   25     or are you just going to ask him a question?


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376             Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 28 of 331
Appellate Case: 14-1193 Page: 14 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                          EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                            Page 15
    1                  MS. CARLYLE:     I'm just going to ask him a

    2     question.

    3           Q.    (By Ms. Carlyle) The question concerns the lethal

    4     injection protocol team, and if you look at definition

    5     seven on page four, that means any and all persons or

    6     entities involved in the research into and assessment and

    7     development of a lethal injection protocol for the

    8     Missouri Department of Corrections from 2010 on.

    9                  In response to that -- to that interrogatory,

   10     you said on page six that you are aware of Matt

   11     Briesacher, Mr. Lombardi, yourself and Melissa Scheulen.

   12     Are those the people who are currently involved in

   13     developing lethal injection protocols or is that everybody

   14     since 2010?

   15           A.     It's not everyone since 2010.       It is the people

   16     that were involved in the most recent protocol.

   17           Q.     So Mr. Larkins wasn't involved in that protocol?

   18           A.     Pardon?

   19           Q.     Mr. Larkins, Steve Larkins wasn't involved in

   20     that protocol?

   21           A.     In this, no.

   22           Q.     What about M3?

   23           A.     M3, to my knowledge, was not involved in the

   24     protocol.

   25           Q.     Who -- let's see here.      You say in your


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376              Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 29 of 331
Appellate Case: 14-1193 Page: 15 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                        EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                          Page 16
    1     response, "The Department determined that the state of

    2     Ohio's use of five grams of Pentobarbital represented the

    3     best approach to resolving the request that we stop

    4     utilizing Propofol."        The Department, of course, doesn't

    5     make any determinations as an entity, so who made that

    6     determination?

    7           A.     Mr. Briesacher did most of the research on that.

    8           Q.     Who decided, though?

    9           A.     I believe the department director makes the

   10     final decision on it.

   11           Q.     That's Mr. Lombardi?

   12           A.     Yes.

   13                  MS. CARLYLE:     Okay.    Now I think we have a minor

   14     logistical problem in that he needs to look at a page

   15     that's on Exhibit 1, which I actually have a paper set of

   16     that exhibit in my car, which I can bring in and maybe

   17     that's the thing to do.

   18                  MR. HANSEN:     I think it would be -- I think it

   19     would be better and clearer to give him the actual

   20     document, then mark it and attach it as an exhibit to the

   21     deposition.

   22                  MS. CARLYLE:     Okay.

   23                  MR. HANSEN:     Rather than -- I think it would be

   24     a lot easier for anybody that reads the deposition than

   25     searching a disk, don't you?          I mean, that's what I would


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376           Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 30 of 331
Appellate Case: 14-1193 Page: 16 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                          EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                            Page 17
    1     suggest.

    2                  MS. CARLYLE:     I think everybody who is going to

    3     look at it is going to look at -- pretty much is going to

    4     look at it electronically, but in any event, okay.             So I

    5     guess -- I mean, unless there's a paper copy in the

    6     building, I can go get one.           Do you want me to do that or

    7     is there one here?

    8                  MR. HANSEN:     Are you going to be using other

    9     pages --

   10                  MS. CARLYLE:     Oh, yeah.

   11                  MR. HANSEN:     -- from that?      I'd say let's just

   12     take a break for a minute and go get the papers.

   13                  MS. CARLYLE:     Okay.     I'll go do it.

   14                  (Break in proceedings.)

   15           Q.    (By Ms. Carlyle) Okay.        We're back on the record

   16     and I have placed before Mr. Dormire a set of documents

   17     which I am confident is a printout of the information

   18     contained on Exhibit 1, which is the CD.            And I'd ask you,

   19     if you will, Mr. Dormire, to pull out pages 2246 through

   20     49.

   21                  MR. HANSEN:     Did you say 2246?

   22                  MS. CARLYLE:     Yes.

   23           A.     Okay.    I think I have those.

   24           Q.    (By Ms. Carlyle) Okay.

   25           A.     Yes.


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376             Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 31 of 331
Appellate Case: 14-1193 Page: 17 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                      EXHIBIT B
                                DAVE DORMIRE 1/15/2014


                                                                        Page 18
    1            Q.    Let me ask you if this -- if the -- well, first

    2     of all, let me ask you what this document is, I guess

    3     would be the first question.

    4            A.    This is labeled as Missouri Department of

    5     Corrections, Preparation and Administration of Chemicals

    6     for Lethal Injection.

    7            Q.    Is it, in fact, a document that's been used now

    8     as Department policy?

    9            A.    Say that --

   10            Q.    Is it, in fact, a document that's being used

   11     now?    Does it reflect the current Department practice and

   12     policy?

   13                  MR. HANSEN:     If you need a minute -- were you

   14     asking if that's the execution protocol that's currently

   15     in effect?

   16                  MS. CARLYLE:     I guess my question is -- well, we

   17     can start with that.        That's a good first question.

   18            Q.   (By Ms. Carlyle) Is that the execution protocol

   19     that's currently in effect?

   20            A.    No.

   21            Q.    Okay.   Then what is it?

   22            A.    It is -- I don't even know if it was one of the

   23     ones we proposed -- we proposed -- it looks similar, but I

   24     don't know that it is one of the ones that we submitted.

   25            Q.    Submitted to?


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 32 of 331
Appellate Case: 14-1193 Page: 18 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                      EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                        Page 19
    1            A.    As an official protocol for our department.

    2            Q.    So you don't know whether this is the official

    3     execution protocol or not?

    4            A.    I know it's not the current one we have right

    5     now.

    6            Q.    Okay.    Let me draw your attention to page 2247,

    7     to the portion of the document that begins with small B

    8     and ask you to just go ahead and read from there down to

    9     intravenous lines.

   10            A.    "If the department director determines that a

   11     sufficient quantity" --

   12            Q.    I'm sorry.     You don't need to read it out loud.

   13            A.    Oh, I thought you were asking me to read it.

   14            Q.    That's fair.     No, I won't put you through that.

   15            A.    Okay.

   16            Q.    Okay.    Is it fair to say that that subsection B

   17     deals with an execution procedure which would utilize not

   18     Pentobarbital, but Midazolam and Hydromorphone?

   19            A.    Yes.

   20            Q.    Is that something that the Department is now

   21     prepared to do?

   22            A.    No.

   23            Q.    Okay.    Does the Department now maintain supplies

   24     of Midazolam or Hydromorphone for execution purposes?

   25            A.    No.


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376         Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 33 of 331
Appellate Case: 14-1193 Page: 19 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                        EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                          Page 20
    1                  MR. HANSEN:     Hang on just a second, please.

    2                  MS. CARLYLE:     Sure.

    3                  MR. SPILLANE:     Go ahead.

    4           Q.    (By Ms. Carlyle) So can you -- what can you tell

    5     me about how this -- or when was this document prepared?

    6                  MR. HANSEN:     Objection.    Well, go ahead.

    7           A.     I do not know the date.       Sorry.

    8           Q.    (By Ms. Carlyle) Do you know who prepared it?

    9           A.     It would have been prepared primarily by

   10     Mr. Briesacher and my administrative assistant.

   11           Q.     Okay.    And actually, if you continue in your

   12     pile of documents there and start looking at page

   13     AGO002250.

   14                  MR. HANSEN:     Sorry, I didn't hear the first part

   15     of that.

   16           Q.    (By Ms. Carlyle) AGO2250 through 225 -- there

   17     seems to be a lot of them -- 2267, do those appear to be

   18     various versions of the same document?

   19           A.     Yes.

   20           Q.     Okay.    And does seeing that refresh your memory

   21     at all about when or why this was prepared?

   22           A.     No.

   23           Q.     Going back to page 2246, which lists the

   24     execution team members, do those -- do the execution team

   25     members listed on that document include any supplier of


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376           Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 34 of 331
Appellate Case: 14-1193 Page: 20 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                      EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                        Page 21
    1     any chemical?

    2           A.     On page 46?

    3           Q.     2246.

    4           A.     No.     It mentions manufacturer, distributor or

    5     compounding pharmacy.

    6           Q.     Right.     But under subsection A it says that

    7     the -- it says who the execution team members are,

    8     describes them, not -- doesn't give their names, but

    9     describes them, correct?

   10           A.     Oh, yes.

   11           Q.     Okay.     And does it describe supplier of any sort

   12     as a -- an execution team member?

   13           A.     No.

   14           Q.     Does it describe any testing laboratory as an

   15     execution team member?

   16           A.     No.

   17           Q.     Does it describe any physician writing

   18     prescription as an execution team member?

   19           A.     No.

   20           Q.     Now, the protocol that's in effect today

   21     includes those persons as execution team members, persons

   22     or entities as execution team members, doesn't it?

   23           A.     Yes.

   24           Q.     When was it decided to add those people to the

   25     execution team designation?


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376         Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 35 of 331
Appellate Case: 14-1193 Page: 21 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                         EXHIBIT B
                                DAVE DORMIRE 1/15/2014


                                                                           Page 22
    1           A.     I don't know the exact date.        It was during the

    2     preparation for the last protocol.

    3           Q.     Okay.   Who made that decision?

    4           A.     That was a decision -- obviously, Mr. Briesacher

    5     was involved, myself, Director Lombardi.

    6           Q.     Okay.   Now, you've said that this -- that this

    7     protocol we've been looking at that provides for an

    8     alternative to Pentobarbital is not a protocol that's

    9     currently in use by the Department; is that right?

   10           A.     That's correct.    That's correct.

   11           Q.     Does -- at this point does the Department of

   12     Corrections have any, for want of a better term, backup

   13     plan if Pentobarbital wasn't available?

   14           A.     We don't have a formal plan, no.

   15           Q.     Okay.   Do you have an informal plan?

   16           A.     We always explore all options and watch what

   17     other states are doing.

   18           Q.     Has any decision been made as to what the next

   19     plan would be?

   20           A.     No.

   21           Q.     Let's see here.    Mr. Dormire, I'm going to hand

   22     you what's -- hand you a copy of your answers to

   23     plaintiff's fourth set of interrogatories.

   24           A.     Okay.

   25           Q.     And -- wait a minute.


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376             Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 36 of 331
Appellate Case: 14-1193 Page: 22 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                         EXHIBIT B
                                DAVE DORMIRE 1/15/2014


                                                                           Page 23
    1                  MR. HANSEN:    There's not a question on the

    2     floor?

    3                  MS. CARLYLE:    There is not a question on the

    4     floor.

    5                  MR. HANSEN:    I just wanted to make sure I didn't

    6     miss something.

    7                  MS. CARLYLE:    I'm actually trying to pull up

    8     what Mr. Dormire is looking at.        And I apologize.

    9                  MR. HANSEN:    You want to see my copy?

   10                  MS. CARLYLE:    I think I've got it.   Here we go,

   11     but thank you.

   12           Q.    (By Ms. Carlyle) Okay.     Let me draw your

   13     attention to the bottom of page five, which is -- which

   14     the question was asked was there a non-public protocol for

   15     the execution of Plaintiffs Joseph Franklin and Allen

   16     Nicklasson and your answer was no.        This morning I was

   17     given two sets of documents which I thought were

   18     identified as the non-public protocols for the executions

   19     of Allen Nicklasson and Joseph Franklin, so obviously

   20     there's some misunderstanding here.        Is that what they are

   21     or would you characterize this -- the documents I received

   22     this morning as something else?        And if you'd like to look

   23     at them, I think we're over here somewhere, right?

   24                  MS. CARLYLE:    The documents you were showing me

   25     this morning.


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376             Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 37 of 331
Appellate Case: 14-1193 Page: 23 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                       EXHIBIT B
                                DAVE DORMIRE 1/15/2014


                                                                          Page 24
    1                  MR. HANSEN:    Yes.

    2                  THE WITNESS:    You're talking security procedures

    3     versus protocol.

    4                  MS. CARLYLE:    Well, can you hand me what I

    5     looked at this morning?

    6                  MR. HANSEN:    Yeah.    I'm not sure, Elizabeth.     I

    7     suspect that the question may have been interpreted --

    8                  MS. CARLYLE:    Well, we'll see.

    9                  MR. HANSEN:    -- meaning a protocol using a

   10     different drug as opposed to the --

   11                  MS. CARLYLE:    Okay.

   12                  MR. HANSEN:    I'm not sure the same terms were

   13     being used by both parties.

   14                  MS. CARLYLE:    Well, we'll find out, won't we?

   15           Q.    (By Ms. Carlyle) And I guess we need to -- I

   16     guess the only way to make -- for this to make any sense

   17     is let's go ahead and mark those as Exhibits 8 and 9.

   18                  MR. HANSEN:    And we do need to --

   19                  MS. CARLYLE:    And we need to --

   20                  MR. HANSEN:    -- acknowledge at this point that

   21     this portion of the deposition should be marked as

   22     confidential.

   23                  MS. CARLYLE:    Okay.

   24                  (Non-confidential portion of the transcript

   25                  ends.)


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376           Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 38 of 331
Appellate Case: 14-1193 Page: 24 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                  EXHIBIT B




    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 39 of 331
Appellate Case: 14-1193 Page: 25 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                  EXHIBIT B




    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 40 of 331
Appellate Case: 14-1193 Page: 26 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                  EXHIBIT B




    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 41 of 331
Appellate Case: 14-1193 Page: 27 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                  EXHIBIT B




    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 42 of 331
Appellate Case: 14-1193 Page: 28 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                  EXHIBIT B




    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 43 of 331
Appellate Case: 14-1193 Page: 29 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                  EXHIBIT B




    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 44 of 331
Appellate Case: 14-1193 Page: 30 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                  EXHIBIT B




    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 45 of 331
Appellate Case: 14-1193 Page: 31 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                  EXHIBIT B




    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 46 of 331
Appellate Case: 14-1193 Page: 32 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                  EXHIBIT B




    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 47 of 331
Appellate Case: 14-1193 Page: 33 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                  EXHIBIT B




    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 48 of 331
Appellate Case: 14-1193 Page: 34 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                  EXHIBIT B




    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 49 of 331
Appellate Case: 14-1193 Page: 35 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                  EXHIBIT B




    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 50 of 331
Appellate Case: 14-1193 Page: 36 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                  EXHIBIT B




    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 51 of 331
Appellate Case: 14-1193 Page: 37 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                  EXHIBIT B




    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 52 of 331
Appellate Case: 14-1193 Page: 38 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                  EXHIBIT B




    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 53 of 331
Appellate Case: 14-1193 Page: 39 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                  EXHIBIT B




    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 54 of 331
Appellate Case: 14-1193 Page: 40 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                  EXHIBIT B




    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 55 of 331
Appellate Case: 14-1193 Page: 41 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                  EXHIBIT B




    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 56 of 331
Appellate Case: 14-1193 Page: 42 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                  EXHIBIT B




    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 57 of 331
Appellate Case: 14-1193 Page: 43 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                  EXHIBIT B




    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 58 of 331
Appellate Case: 14-1193 Page: 44 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                          EXHIBIT B
                                    DAVE DORMIRE 1/15/2014


                                                                            Page 45
    1

    2                        .

    3             A.                                             .

    4             Q.     (By Ms. Carlyle) Well, do you have knowledge of

    5     it -- have you heard something about it?

    6             A.     I --

    7                    MR. HANSEN:      I'm going to object to this

    8     question because it could potentially reveal the identity

    9     of the pharmacy, so --

   10                     MS. CARLYLE:     Well, I mean, I suppose if that's

   11     true, anything could.           I mean, I could ask him -- you

   12     know, I could -- you know, knowing whether -- there are

   13     presumably any number of pharmacies that have supplied

   14     prisons.

   15                     MR. HANSEN:     You can get that information from

   16     other sources or from them, but you can't get it through

   17     this witness.

   18                     MS. CARLYLE:     Okay.   So you're directing him not

   19     to answer the question has the pharmacy provided execution

   20     drugs for other prisons.

   21                     MR. HANSEN:     He's told you he personally doesn't

   22     know.        Beyond that, I'm going to direct him not to answer

   23     that question.

   24                     MS. CARLYLE:     Okay.

   25                     MR. HANSEN:     And I will note that we have


                                 MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com            Phone: 1.800.280.3376          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 59 of 331
Appellate Case: 14-1193 Page: 45 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                        EXHIBIT B
                                DAVE DORMIRE 1/15/2014


                                                                            Page 46
    1     offered -- for the record, we have offered to make the

    2     pharmacy available for a deposition and at this point you

    3     have declined.       So you can get those answers directly from

    4     that pharmacy as well.

    5                  MS. CARLYLE:    Okay.

    6           Q.    (By Ms. Carlyle) How did -- what steps did the

    7     Department -- did you or anyone else at the Department of

    8     Corrections, to your knowledge, take to determine the

    9     reliability or -- you know, of the pharmacy?       The

   10     reliability of the pharmacy, the quality of its work and

   11     the likelihood that it would do what -- that it would

   12     fulfill its contract.

   13           A.     I know Mr. Briesacher did some research.        To

   14     what extent, I do not know.

   15           Q.     Okay.    It's beginning to look like we may end up

   16     deposing Mr. Briesacher, but that's another day.          Did you

   17     or anyone else in the Department of Corrections inspect

   18     the pharmacy?

   19           A.     I did not.

   20           Q.     Did you or anyone -- well, did anyone for the

   21     Department of Corrections inspect the pharmacy?

   22           A.     I don't know of anyone else that inspected.

   23           Q.     Would you expect to know if someone went to see

   24     the pharmacy?

   25           A.     I don't know that I'd know, but I don't have any


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376            Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 60 of 331
Appellate Case: 14-1193 Page: 46 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                     EXHIBIT B
                                DAVE DORMIRE 1/15/2014


                                                                       Page 47
    1     personal knowledge that anyone did.

    2             Q.   Well, did -- did you or -- did you conduct any

    3     investigation into the pharmacy's licenses and

    4     registration with governmental agencies?

    5             A.   I did not do any investigation, no.

    6             Q.   Did anyone in the Department of Corrections do

    7     that?

    8             A.   I can't speak for what Mr. Briesacher did.      I

    9     know he did research.

   10             Q.   Do you know whether the pharmacy has ever been

   11     inspected by the federal Food and Drug Administration?

   12             A.   I don't know that myself, no.

   13             Q.   Do you know whether it's registered or plans to

   14     register under the new drug compounding law under which it

   15     could register as an outsourcing facility if it qualified

   16     under the provisions of that law?

   17             A.   I don't know that.

   18             Q.   Does the pharmacy -- has the pharmacy

   19     communicated to you that it adheres to the good

   20     manufacturing practices promoted by the pharmacy industry?

   21                  MR. HANSEN:    Objection, form of the question,

   22     lack of foundation.

   23             A.   I don't -- I don't have any knowledge of that,

   24     no.

   25


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376         Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 61 of 331
Appellate Case: 14-1193 Page: 47 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                      EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                        Page 48
    1

    2                                                       ?

    3

    4           Q.     Can you explain the difference between

    5     compounded Pentobarbital and manufactured Pentobarbital?

    6           A.     The difference?

    7           Q.     Uh-huh.

    8           A.     Not in real specific terms, no.

    9           Q.     Well, in whatever terms you can explain it in.

   10           A.     Well, I have a general knowledge of what

   11     compounding is and that is the mixing, compounding of

   12     chemicals to produce the substance.

   13           Q.     So is compounded Pentobarbital identical to

   14     manufactured Pentobarbital?

   15           A.     I don't know that.

   16           Q.     Okay.     How many pharmacists or other individuals

   17     at the compounding pharmacy are involved with the

   18     compounding of the Pentobarbital?

   19                  MR. HANSEN:     Objection, form of the question,

   20     lack of foundation.

   21           A.     I do not know.

   22           Q.    (By Ms. Carlyle) Do you know whether there's more

   23     than one?

   24           A.     No, I don't.

   25           Q.     Where do the active pharmaceutical ingredients


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 62 of 331
Appellate Case: 14-1193 Page: 48 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                        EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                            Page 49
    1     in the compounded Pentobarbital come from?

    2           A.     Pardon?

    3           Q.     Where do the active pharmaceutical ingredients

    4     in the Pentobarbital that's been delivered come from?

    5           A.     I do not know.

    6           Q.     Do you know whether they're from facilities

    7     approved by the Food and Drug Administration?

    8           A.     I do not know.

    9           Q.     To your knowledge, has anyone at the Department

   10     of Corrections made any effort to find out whether the

   11     active pharmaceutical ingredients come from licensed and

   12     approved facilities?

   13           A.     Again, I do not know the research that was done.

   14           Q.     So I'm clear, who does Mr. Briesacher report to

   15     in the Department of Corrections?

   16           A.     Mr. Briesacher is Chief Counsel.       I believe he

   17     reports directly to Director Lombardi.

   18           Q.     Thank you.     Let me ask you to pull out of your

   19     piles over there page 1305 and I will get it, too.

   20           A.     Okay.

   21                  MR. HANSEN:     And just so we're clear in the

   22     record, he is pulling out a page number from what's been

   23     identified as Exhibit 1, which is a disk in discovery.

   24                  MS. CARLYLE:     That's correct.    Thank you.   I

   25     appreciate that.


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376            Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 63 of 331
Appellate Case: 14-1193 Page: 49 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                          EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                            Page 50
    1           Q.    (By Ms. Carlyle) Page 1305 of Exhibit 1.         Let me

    2     ask you, first of all, to tell me what that is.

    3           A.     That's a memorandum to myself from Gary Stoll,

    4     Fiscal and Administrative Manager.

    5           Q.     So Gary Stoll is the fiscal administrative

    6     manager of what?

    7           A.     For the Department of Corrections.

    8           Q.     Okay.     Did you request that authorization from

    9     Mr. Stoll?

   10           A.     No.     He provided this to me.      I believe in -- he

   11     provided this to me.

   12           Q.     Right.     Did he provide it to you at your

   13     request, though?

   14           A.     No.

   15           Q.     Okay.     The memorandum refers to the volatile

   16     nature of the pharmaceutical market.            Can you tell me what

   17     that means?

   18           A.     The only way I can explain it is to say that

   19     it's describing it's volatile in pricing and product

   20     availability.

   21           Q.     Do you think that a hospital would find the

   22     market for Pentobarbital volatile?

   23           A.     I don't --

   24                  MR. HANSEN:     Objection, form of the question,

   25     lack of foundation, calls for speculation.


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376              Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 64 of 331
Appellate Case: 14-1193 Page: 50 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                         EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                           Page 51
    1           A.     I don't have a personal knowledge of that.

    2           Q.    (By Ms. Carlyle) If you did not have the

    3     authorization provided in this memorandum, how would the

    4     procedure for obtaining bids for the procurement of

    5     pharmaceuticals be different than it was?

    6           A.     If I did not have this memo?

    7           Q.     Uh-huh.    What did the memo change, I guess is

    8     what I'm asking?

    9           A.     I'm implying from here that it would require

   10     written bids.

   11           Q.     You're implying -- you're --

   12           A.     I don't have personal knowledge, but it would --

   13           Q.     This memo talks about the -- that it's not

   14     always possible to have written bids.           I would assume from

   15     this memo that normally written bids are the procedure.

   16     So you wouldn't be involved in getting such bids normally?

   17           A.     Normally I'm not, no.

   18                  MS. CARLYLE:     Okay.   Let me suggest at this

   19     point that maybe we should take a break.

   20                  MR. HANSEN:     That's fine.   For the record, we've

   21     been going just a little -- I guess an hour and a half.

   22                  MS. CARLYLE:     All right.

   23                  MR. HANSEN:     A good time for a break.

   24                  MS. CARLYLE:     I guess partly because I had

   25     asked -- partly because I need a break and partly because


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376             Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 65 of 331
Appellate Case: 14-1193 Page: 51 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                         EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                           Page 52
    1     I had asked Mr. Dormire to fetch some documents and this

    2     will give him an opportunity to do that because I was

    3     about to start asking about them.

    4                  MR. HANSEN:     Okay.

    5                  MS. CARLYLE:     Okay.

    6                  (Break in proceedings.)

    7           Q.    (By Ms. Carlyle) Let me ask you, Mr. Dormire,

    8     were you able to locate the documents to answer the

    9     question about who the other two pharmacies were that

   10     weren't able to supply the Pentobarbital?

   11           A.     Yes.

   12

   13

   14

   15

   16           Q.     Okay.    And how did you happen to be talking to

   17     those two pharmacies?

   18           A.     I looked up their phone number in the Yellow

   19     Pages.

   20           Q.     Okay.    What were you looking for in the Yellow

   21     Pages?     What category were you --

   22           A.     Just pharmacies.

   23           Q.     Pharmacies, okay.        Let me ask you to pull out of

   24     your set of documents there, which are the documents that

   25     are paper copies of the documents on the disk which is


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376            Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 66 of 331
Appellate Case: 14-1193 Page: 52 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                       EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                         Page 53
    1     Exhibit 1, I'd ask you to look at page 1292, please.

    2           A.     Okay.

    3           Q.     Okay.     This document has some redactions,

    4     doesn't it?

    5           A.     Yes.

    6           Q.     Can you tell us what categories of information

    7     are redacted?        I'm not asking you to say what it said

    8     before -- after -- before it was redacted, but what sort

    9     of thing was redacted?        Was it names, was it numbers, what

   10     was redacted?

   11           A.     Names and phone numbers.

   12           Q.     Names and phone numbers of what sort of --

   13           A.     Of pharmacies.

   14           Q.     Of pharmacies.     Okay.   So on this document you

   15     redacted not only the pharmacy that gave you a bid, but

   16     the pharmacies that didn't, correct?

   17           A.     Yes.

   18           Q.     Why did you do that?

   19                  MR. HANSEN:     I'll object to the form of the

   20     question and lack of -- for lack of foundation at this

   21     point.     Go ahead and answer that if you can.

   22           A.     I didn't do the redaction on this one, but

   23     I'm -- I can't give you a direct answer.

   24           Q.    (By Ms. Carlyle) Okay.      Who did the redaction?

   25           A.     Either my administrative assistant or


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 67 of 331
Appellate Case: 14-1193 Page: 53 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                    EXHIBIT B
                                DAVE DORMIRE 1/15/2014


                                                                      Page 54
    1     Mr. Briesacher.

    2           Q.     Did you review the redactions after they were

    3     done to see if you agreed with them?

    4           A.     I did not review redactions to see if I agreed

    5     with them, no.

    6           Q.     Did you review them at all?

    7           A.     I reviewed most of the paperwork that was

    8     redacted, yes.

    9           Q.     Okay.   And what was the purpose of your review

   10     if it wasn't to determine --

   11           A.     To try to ensure that we weren't releasing

   12     information that we shouldn't.

   13           Q.     So did you feel there was any responsibility to

   14     determine that information that should be available to the

   15     other side should be -- should not be redacted?

   16           A.     My only purpose was to look to make sure we

   17     weren't identifying the individuals that by statute we

   18     can't identify.

   19           Q.     Was there anyone whose function it was to make

   20     sure that all publicly -- all information that should be

   21     available to the parties -- to the opposing parties was

   22     made available and not redacted?

   23           A.     The purpose of the redaction that I saw was to

   24     protect Social Security numbers and other identifying

   25     information of individuals.


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376        Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 68 of 331
Appellate Case: 14-1193 Page: 54 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                      EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                        Page 55
    1           Q.     Well, we'll get to those, too.

    2           A.     Okay.

    3           Q.     But I guess what I'm saying is was there anyone

    4     who approached the redaction task with the idea we

    5     shouldn't redact anything we don't have to because these

    6     are documents that would ordinarily be in the public

    7     domain or at least be relevant to the parties?

    8           A.     I don't know that I can answer that question.

    9           Q.     Okay.    There is, however, some information

   10     redacted on page 1292 which you've just given me, correct?

   11           A.     Yes.

   12           Q.     Now, the -- first of all, why don't you just say

   13     for the record what is page 1292 a copy of?

   14           A.     It is called a State of Missouri Office of

   15     Administration Bid Record Form.

   16           Q.     And is that a form that you filled out?

   17           A.     Yes.

   18           Q.     Is it a form you frequently fill out?

   19           A.     No.

   20           Q.     Why did you fill out -- why did you get the job

   21     of filling out this one?

   22           A.     I believe it was to keep as confidential the

   23     information that we needed to keep confidential.

   24           Q.     Okay.    So there are -- on this bid record there

   25     are three pharmacies or three, I guess, contact attempts


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376         Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 69 of 331
Appellate Case: 14-1193 Page: 55 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                       EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                         Page 56
    1     listed, correct?

    2           A.     Yes.

    3           Q.     Two of them say that the Pentobarbital was not

    4     available, correct?

    5           A.     Correct.

    6           Q.     And the third one provides a price of $8,000?

    7           A.     Yes.

    8           Q.     Was that the only bid you got for Pentobarbital?

    9           A.     Yes.

   10           Q.     Was there -- is there any requirement that you

   11     have more than one bid before making such a purchase?

   12           A.     We have to make contact with three potential

   13     sellers.

   14           Q.     But you don't have to obtain more than one

   15     actual quote?

   16           A.     No.

   17           Q.     Okay.    Once you obtained this bid, did anyone

   18     attempt to negotiate about price or anything else with

   19     that pharmacy?

   20           A.     I did not.

   21           Q.     Did anyone else?

   22           A.     I don't know that anyone else did.

   23           Q.     Okay.    Let me ask you to pull up page 12 -- or

   24     get in front of you page 1263.         While -- actually, there

   25     are three pages I'd like for you to look at because I


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 70 of 331
Appellate Case: 14-1193 Page: 56 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                       EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                         Page 57
    1     think they're the same thing and we're going to try to

    2     confirm that.        1263, 1283 and 1298.

    3                  MR. HANSEN:     63, 83?

    4                  MS. CARLYLE:     And 98.

    5           A.     Okay.

    6           Q.    (By Ms. Carlyle) Are those, in fact, three copies

    7     of the same document?

    8           A.     No.

    9           Q.     Okay.     What are the differences or have I given

   10     you the wrong page number, which I am capable of doing?

   11           A.     Well, 1298 is a Confidential Execution Team

   12     Member Receipt.

   13           Q.     Oh, okay.     I'm sorry.   Hang on.

   14           A.     1263 and 1283 are dated the same date and appear

   15     to be worded the same, but they're not the same documents.

   16           Q.     And, actually, the third one to look at is 1299.

   17           A.     Okay.

   18           Q.     So what are the differences between 1299, 1263

   19     and 1298 (sic)?

   20           A.     1299 has a different date on it.      It appears to

   21     be worded the same.        All three are -- the format or the

   22     wording -- the typing is different on each one, all three.

   23           Q.     Okay.     Do you know -- I mean, what -- do you

   24     have any sense about why those three documents that

   25     basically seem to have the same information exist?


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376           Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 71 of 331
Appellate Case: 14-1193 Page: 57 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                       EXHIBIT B
                                DAVE DORMIRE 1/15/2014


                                                                         Page 58
    1           A.     At least one of these appears to be probably a

    2     faxed copy of one of them.

    3           Q.     Okay.   Which one do you think is faxed?

    4           A.     I believe 1283 is faxed.

    5           Q.     Okay.   But, I mean, is it -- okay.    So there are

    6     two -- and you're right, there are two dates.        1263 is

    7     dated November 11 -- I'm sorry, 1283 is dated November 11

    8     and 1299 is dated November 13.        So the name of the

    9     contracting party and the contractor's signature and the

   10     printed name and the DEA number are all redacted in all of

   11     them, correct?

   12           A.     Two of them say license number, one says DEA

   13     number, but yes.

   14           Q.     Okay.   So what -- I guess I'm -- I'm kind of

   15     trying to figure out what I'm looking at.        Are they

   16     different agreements with different people or different

   17     entities?

   18           A.     I believe 1263 and 1283 are probably the same

   19     document, but this is just a fax copy.

   20           Q.     Okay.   And 1299, what's it?

   21           A.     1299 is certainly a different -- different dated

   22     and different handwriting than the other two.

   23           Q.     So is it an agreement with a different pharmacy?

   24           A.     Different medical service provider.

   25           Q.     Oh, I'm sorry.    1299 is a prescriber one, isn't


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376           Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 72 of 331
Appellate Case: 14-1193 Page: 58 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                      EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                         Page 59
    1     it?   Let's be clear.       1263 is a contract for providing

    2     Pentobarbital, is it not?

    3                  MR. HANSEN:     I'm sorry, which one did you say?

    4                  MS. CARLYLE:     1263.

    5           A.     Yes, yes.

    6           Q.    (By Ms. Carlyle) As -- but 1299 is actually a

    7     different -- is actually, as you pointed out, a contract

    8     with a -- someone to provide prescriptions, correct?

    9           A.     Yes.

   10           Q.     And let's -- let's now, and I'm sorry to have

   11     led you on that wild goose chase of 1299, but take a look

   12     at 1301, please.

   13           A.     Okay.

   14           Q.     Is 1301 the same as 1263 and 1283?

   15           A.     It looks similar to me.

   16           Q.     Okay.     To your knowledge, how many contracts

   17     with pharmacies for Pentobarbital were made?

   18           A.     To my knowledge?

   19           Q.     Uh-huh.

   20           A.     One.

   21           Q.     Okay.     Because it's been the same pharmacist all

   22     three times, right?

   23           A.     Yes.

   24           Q.     Yes, okay.     Is that pharmacy licensed as either

   25     a Missouri pharmacy or as an extraterritorial pharmacy


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376         Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 73 of 331
Appellate Case: 14-1193 Page: 59 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                       EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                         Page 60
    1     licensed to export drugs to Missouri?

    2                  MR. HANSEN:     I'm going to object to that

    3     question as calling for an answer that could reveal the

    4     identity of the pharmacy.

    5                  MS. CARLYLE:     The question whether it's licensed

    6     either as a Missouri pharmacy or a pharmacy licensed to

    7     export drugs to Missouri could allow us to identify the

    8     pharmacy?

    9                  MR. HANSEN:     If you want to say is it licensed,

   10     that would be fine.

   11                  MS. CARLYLE:     That was the question.

   12                  MR. HANSEN:     But to narrow it down -- well, what

   13     peaked my hearing was asking if it was in Missouri.

   14                  MS. CARLYLE:     No, I asked is it licensed as

   15     either a Missouri pharmacy or an extraterritorial pharmacy

   16     licensed to export drugs to Missouri.

   17           A.     I --

   18                  MR. HANSEN:     Go ahead and answer.

   19           A.     I have seen its license.      It is licensed.

   20           Q.    (By Ms. Carlyle) Is it licensed either as a

   21     Missouri pharmacy or an extraterritorial pharmacy licensed

   22     to export drugs to Missouri?

   23                  MR. HANSEN:     We'll object to the form of that

   24     question, lack of foundation.

   25           A.     I don't know that I understand exactly how


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 74 of 331
Appellate Case: 14-1193 Page: 60 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                       EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                          Page 61
    1     you're asking the question, but it is --

    2            Q.   (By Ms. Carlyle) Well, let me explain.      There

    3     are -- I am asking you whether it falls into one of two

    4     categories.        One would be a Missouri pharmacy.   The other

    5     would be a pharmacy somewhere else that had been licensed

    6     by Missouri to allow it to sell drugs in Missouri.

    7                  MR. HANSEN:     Again, I object to the form of the

    8     question and lack of foundation.

    9            A.    I do not know the answer to that question.

   10            Q.   (By Ms. Carlyle) Okay.      Did anyone at the

   11     Department of Corrections make inquiry about whether any

   12     professional complaints had been filed against the

   13     pharmacy that supplies the Pentobarbital?

   14            A.    Again, I do not know the research Mr. Briesacher

   15     did.

   16            Q.    Okay.     Do you think that if anyone did, it would

   17     have been Mr. Briesacher?

   18            A.    Yes.

   19            Q.    Okay.     Let me ask you to take a look at page

   20     1260, again, of Exhibit 1, the disk with the discovery

   21     supplied in January 2014.

   22            A.    1260?

   23            Q.    1260.

   24            A.    Okay.

   25            Q.    Can you tell us what that is, please.


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 75 of 331
Appellate Case: 14-1193 Page: 61 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                        EXHIBIT B
                                DAVE DORMIRE 1/15/2014


                                                                          Page 62
    1           A.     That is a memo from myself to the pharmacy

    2     indicating that they are to be known as pseudonym M6.

    3           Q.     Okay.   You say they are to be known.      Is it the

    4     entity or a particular individual who is M6?

    5           A.     I addressed this to an individual.

    6           Q.     So is there a separate pseudonym for the concern

    7     that the individual works for?

    8           A.     No.

    9           Q.     So you addressed it to an individual.       What sort

   10     of individual is he or she?          What kind of job does that

   11     individual do?

   12                  MR. HANSEN:    Objection, form of the question in

   13     that it lacks foundation.

   14                  MS. CARLYLE:    I mean, what I'm looking for is

   15     something like a pharmacist, the head of the company, the

   16     secretary, the clerk, you know.          I'm not looking for the

   17     name of an individual, I'm just looking for a function of

   18     the person to whom you assigned that M6 designation.

   19                  MR. HANSEN:    I'm objecting to the form of the

   20     question.      It lacks foundation.      I think the question

   21     should be do you know and then he can say yes or no.

   22                  MS. CARLYLE:    Okay.

   23                  MR. HANSEN:    I'm objecting to the form of the

   24     question because it lacks foundation.

   25                  MS. CARLYLE:    Okay.     Well, Mr. Hansen, do you


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376            Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 76 of 331
Appellate Case: 14-1193 Page: 62 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                         EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                            Page 63
    1     really want me to start every question by do you know this

    2     and then asking him what the answer is?           It's going to

    3     take a lot longer if I do that.           If I ask him the question

    4     and he says I don't know, that seems to me to serve the

    5     same purpose, but we'll do it whichever way you want.

    6                  MR. HANSEN:     Where I believe it's appropriate, I

    7     will make the objections.

    8                  MS. CARLYLE:     Okay.

    9                  MR. HANSEN:     Because sometimes if I don't, it

   10     leads to an answer that is -- that might be inaccurate or

   11     that might be misused.        So in the instance --

   12                  MS. CARLYLE:     Let me --

   13                  MR. HANSEN:     In the instances where I think that

   14     it is necessary, I will make the objection.           I've -- a lot

   15     of times I haven't made the objection for the very purpose

   16     so we can move it along.

   17           A.     He's a pharmacist.

   18           Q.    (By Ms. Carlyle) Okay.        Let me ask you to take a

   19     look at page 1261, please.

   20           A.     Okay.

   21           Q.     Now page 1261 actually contains three documents,

   22     does it not?

   23           A.     Yes.

   24           Q.     Okay.    Can you describe generally what they are

   25     so we'll know what we're talking about?


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376            Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 77 of 331
Appellate Case: 14-1193 Page: 63 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                       EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                         Page 64
    1           A.     The first one is -- I would describe as permits,

    2     retail pharmacy.        The second one is a certification of

    3     registration.        The third one is a controlled substance

    4     registration certificate.

    5           Q.     Okay.     And did they all pertain to the same

    6     business?

    7           A.     Pardon?

    8           Q.     Do they all pertain to the same business?

    9           A.     Yes.

   10           Q.     Because as a result of redactions, we can't tell

   11     what business they pertain to, correct?

   12           A.     Yes; yes.

   13           Q.     Okay.     Will you tell us what state the pharmacy

   14     is licensed in?

   15                  MR. HANSEN:     I'm going to object to that

   16     question, it would be information that would lead to the

   17     identity of the pharmacy, and I'll instruct him not to

   18     answer that question.

   19           Q.    (By Ms. Carlyle) Okay.      Just so it will be on the

   20     record, the St. Louis public radio has reported that the

   21     pharmacy is licensed in Oklahoma.         Are you willing to

   22     confirm or deny that?

   23                  MR. HANSEN:     Same objection, same instruction.

   24           Q.    (By Ms. Carlyle) Is the expiration date of the

   25     license redacted in this -- this iteration of this


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 78 of 331
Appellate Case: 14-1193 Page: 64 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                         EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                           Page 65
    1     document?      In this document on page 1261.

    2            A.    Yes.

    3            Q.    Okay.    Why was that redacted?

    4            A.    I believe it was redacted because of attempts to

    5     identify the pharmacy.

    6                  MS. CARLYLE:     Could you mark this as Exhibit 5,

    7     please?

    8                  (Exhibit No. 5 marked for identification.)

    9                  MS. CARLYLE:     I'll show you what I've got

   10     because I don't have another copy.

   11                  MR. HANSEN:     Okay.   I'll just clarify.    I saw it

   12     was identified as amended complaint, but this is an

   13     exhibit that was a page from the complaint.

   14                  MS. CARLYLE:     It was attached to the complaint,

   15     yes.     I think it reflects actually on its -- at the bottom

   16     of it.

   17                  MR. HANSEN:     Yes, I see that.

   18                  MS. CARLYLE:     But let me just say that it is

   19     the -- it is page eight of Exhibit 13 to the amended

   20     complaint filed in this case, I believe on December 3.

   21     And I believe that's actually -- the filing date is

   22     actually reflected on that document.

   23                  MR. HANSEN:     I'm not sure -- are you going to

   24     ask him many questions about it or just briefly?           Because

   25     I'm going to want a copy of it.         I don't have that handy


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376            Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 79 of 331
Appellate Case: 14-1193 Page: 65 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                      EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                        Page 66
    1     with me.

    2                  MS. CARLYLE:     Okay.

    3                  MR. HANSEN:     So I'm going to either want a copy

    4     of it or I can wait to get it until later if it's going to

    5     be a brief question.

    6                  MS. CARLYLE:     I'm going to ask him about the two

    7     dates that are on here and not on there.

    8                  MR. HANSEN:     I suspected, but --

    9                  MS. CARLYLE:     Okay.

   10           Q.    (By Ms. Carlyle) Let me ask you whether

   11     Exhibit 5, which I've just handed you, appears to be a --

   12     basically the same -- contain the same three documents as

   13     page 1261 that we've been looking at?

   14           A.     Yes.

   15           Q.     Okay.    Does Exhibit 5 indicate the expiration

   16     date of the license at the top of the page?

   17           A.     Yes.

   18




   24           Q.     Okay.    Are those two pieces of information

   25     included on page 1261?


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376         Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 80 of 331
Appellate Case: 14-1193 Page: 66 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                        EXHIBIT B
                                DAVE DORMIRE 1/15/2014


                                                                          Page 67
    1           A.     No.

    2           Q.     So is it your position that even though this

    3     document has been publicly filed in court and served on

    4     your counsel, you are still entitled to redact it from

    5     discovery you provide in this case?

    6                  MR. HANSEN:     Objection to the form of the

    7     question, calls for a legal conclusion.

    8           A.     We are aware that people have attempted to

    9     identify the pharmacist by using those dates, so yes.

   10




   14           Q.     Let me just ask you to take a look at page 1287

   15     and ask you whether that contains the same three documents

   16     as 1261?

   17           A.     Yes, it appears to be the same.

   18           Q.     Okay.   If you'll look at page 1265, please.        And

   19     can you tell me what those are, if you know?

   20           A.     Not from the redacted copy, I can't.

   21           Q.     Okay.

   22           A.     They say doctor or pharmacy and its expire date

   23     and labeled as receptor.

   24           Q.     Or preceptor?

   25           A.     Preceptor, I'm sorry.     I missed the P.


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376            Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 81 of 331
Appellate Case: 14-1193 Page: 67 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                        EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                          Page 68
    1           Q.     Do you know whether those two cards, if we can

    2     call them that, that are copied there, pertain to the same

    3     person?

    4           A.     No, I don't.

    5           Q.     Could you look at the unredacted documents and

    6     tell me what they are and whether they pertain to the same

    7     person?

    8           A.     I could.

    9           Q.     Okay.    You want to do that now or shall we --

   10                  MS. CARLYLE:     What do you want to do?

   11                  MR. HANSEN:     Do you -- off the record.

   12                  MS. CARLYLE:     Sure.

   13                  (Off the record.)

   14                  MS. CARLYLE:     Back on the record.

   15           Q.    (By Ms. Carlyle) So what --

   16           A.     These cards are from two different pharmacists.

   17           Q.     Are they pharmacists who work for the pharmacy

   18     who --

   19           A.     Yes.

   20           Q.     -- which compounds the Pentobarbital?

   21           A.     Yes.

   22           Q.     Are you willing to tell me -- I mean, are they

   23     issued by some government or an educational institution or

   24     what, the cards?

   25                  MR. HANSEN:     I'm going to object to the form of


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376           Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 82 of 331
Appellate Case: 14-1193 Page: 68 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                        EXHIBIT B
                                  DAVE DORMIRE 1/15/2014


                                                                          Page 69
    1     the question in that it lacks foundation.

    2             A.    I just glanced at them real quickly, but they

    3     are by government.

    4             Q.   (By Ms. Carlyle) Okay.      And you've redacted the

    5     date that they expire?         You're not willing to tell us

    6     that?

    7             A.    Right.

    8             Q.    Okay.    So we can't tell by looking at what we

    9     have whether they're current or not?

   10             A.    No.

   11             Q.    Are they current?

   12             A.    Yes.

   13             Q.    Could you take a look at page 1289 and tell me

   14     if those are the same two documents?

   15             A.    Okay.

   16             Q.    Now, according -- I'll just tell you that

   17     according to my notes in the December 27 version of this

   18     discovery, the expiration date was not redacted, although

   19     since I don't have that discovery, I don't know what it

   20     was.     Was there -- were you -- did you participate in a

   21     decision to redact that information, although it had not

   22     been previously redacted?

   23             A.    I didn't do the redaction, but I knew that we

   24     are -- our intent was to try to redact those type -- that

   25     sort of information, yes.


                               MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com          Phone: 1.800.280.3376          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 83 of 331
Appellate Case: 14-1193 Page: 69 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                        EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                          Page 70
    1             Q.    Can you take a look, please, at page 1307?        Does

    2     that appear to be an e-mail?

    3             A.   Pardon?

    4             Q.    Does that appear to be an e-mail?

    5             A.   Yes.

    6             Q.    Okay.    And who's it from?    I mean, I know you're

    7     not going to give me a name, but what sort of person is it

    8     from?

    9                  MR. HANSEN:       Describe the category.

   10             Q.   (By Ms. Carlyle) Describe the category of person

   11     that it's from.

   12             A.    I believe this to be an e-mail from the testing

   13     laboratory.

   14




   22             A.    I'm -- this is not my e-mail, so --

   23             Q.   Okay.     Okay.

   24                   MS. CARLYLE:      Could you mark this one for me as

   25     Exhibit 6, please?


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376           Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 84 of 331
Appellate Case: 14-1193 Page: 70 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                      EXHIBIT B
                                DAVE DORMIRE 1/15/2014


                                                                        Page 71
    1                  (Exhibit No. 6 marked for identification.)

    2                  MR. HANSEN:    If I could see it before you hand

    3     it to him, too, please.

    4                  MS. CARLYLE:    Sure.   I will do that.

    5           Q.    (By Ms. Carlyle) Before I do that, so do you have

    6     any idea why the words on the line that begins "to follow

    7     up on our phone conversation" were redacted?

    8           A.     No.

    9           Q.     Okay.   Are you aware that in previous versions

   10     of this document provided as a Sunshine Law request, those

   11     words were unredacted?

   12           A.     No.

   13           Q.     Mr. Dormire, I'm handing you a document which is

   14     the page seven of the Exhibit 13 to the amended complaint

   15     filed in this matter on December 3 of 2013.        And I'll ask

   16     you whether that appears to be a copy of the same e-mail

   17     that you're looking at on page 1307?

   18           A.     Yes, it appears to be the same.

   19                  MR. HANSEN:    I just want to look at one thing.

   20                  THE WITNESS:    Sure.

   21




                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 85 of 331
Appellate Case: 14-1193 Page: 71 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                         EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                           Page 72
    1           Q.     Do you contend that the manufacturer of the raw

    2     materials from which the compounded Pentobarbital is made

    3     is a member of the execution team?

    4           A.     The manufacturer?

    5           Q.     Uh-huh.

    6           A.     No.

    7           Q.     Let me draw your attention to, let's see here,

    8     page 1310 and 1312 and ask if you know what those

    9     documents are?

   10           A.     1310 is labels for Pentobarbital and 1312 is

   11     also a label.

   12           Q.     And are they -- is 1312 one of the same labels

   13     in 1310 or can we tell?

   14           A.     They are similar, yes.

   15           Q.     Okay.     So what information is redacted?     I mean,

   16     again, I'm not asking you to tell me what it says, but

   17     what category of information has been redacted there?

   18           A.     Name of the pharmacy, and its address, I assume,

   19     phone numbers, probably.        I don't know --

   20           Q.     Okay.

   21           A.     -- what all was redacted there.

   22           Q.     Okay.     Do those labels bear a date?

   23           A.     Yes.    November 13, 2013.

   24           Q.     And when was Joseph Franklin executed?

   25           A.     I want to say the 20th, but I don't know that


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376            Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 86 of 331
Appellate Case: 14-1193 Page: 72 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                     EXHIBIT B
                                DAVE DORMIRE 1/15/2014


                                                                       Page 73
    1     I'm -- I don't know if I have a document in front of me

    2     that shows what exact date.




   15           Q.     And while we're at it, let's take a look at

   16     2048, 2049 and 2056.

   17                  MR. HANSEN:    Can you say those one more time?

   18                  MS. CARLYLE:    2048, 49 and 56.

   19                  MR. HANSEN:    Thank you.

   20           A.     48 -- if you will, one more time.

   21           Q.    (By Ms. Carlyle) 48, 49 and 56.

   22           A.     Okay.

   23           Q.     Tell me, please, what 2048 is.

   24           A.     2048 appears to be a letter addressed to

   25     Mr. Briesacher.


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376         Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 87 of 331
Appellate Case: 14-1193 Page: 73 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                         EXHIBIT B
                                  DAVE DORMIRE 1/15/2014


                                                                           Page 74
    1             Q.      And can you tell what sort of person or business

    2     the letter is from?

    3             A.      It's making reference to laboratory

    4     accreditation, so I believe this is the testing

    5     laboratory.

    6             Q.      Okay.   And 2049 is an invoice, is it not?

    7             A.      It appears like one.

    8             Q.      Okay.   Let me look at one more thing here.

    9     Okay.        Let's talk about execution training here.       When we

   10     took your deposition last time and you acknowledged that

   11     there had been some execution training that had been

   12     occur -- that had occurred since you gave your

   13     interrogatory answers in February of 2013, have you

   14     provided your counsel or us with a list of training since

   15     then?

   16                     MR. HANSEN:    Since which day?

   17                     MS. CARLYLE:    Since February of 2013.

   18             A.      Mr. Briesacher is aware of training dates, but I

   19     don't know that that's been provided to you.

   20             Q.     (By Ms. Carlyle) Okay.     Are you able to provide a

   21     list now?

   22             A.      Not off the top of my head.

   23                     MR. HANSEN:    We'll get you a list of new

   24     training.

   25                     MS. CARLYLE:    Okay.   What I need to know about


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376            Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 88 of 331
Appellate Case: 14-1193 Page: 74 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                         EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                           Page 75
    1     the training is when it was and who was present for each

    2     training, where it was.        I mean, I guess -- let me put it

    3     this way.      If you look at the -- if you look at the -- at

    4     the first set of interrogatories, which is what we're

    5     talking about supplementing, you'll see what information

    6     we requested about each of the trainings and that's the

    7     information we still want.        So if I have not successfully

    8     remembered it because I'm not looking at them, my question

    9     would be as to each of those trainings, please supply the

   10     information requested in the first set of interrogatories

   11     which were answered last February.

   12                  MR. HANSEN:     All right.

   13           Q.    (By Ms. Carlyle) Have you been present for any

   14     of -- any trainings that have occurred since the

   15     Pentobarbital protocol went into effect?

   16           A.     Yes.

   17           Q.     Okay.    How many?

   18           A.     One that I remember for sure.        I think just one.

   19           Q.     And do you have some idea when that was?

   20           A.     I -- I don't know the date.        It was a month to

   21     month and a half prior to the execution, I believe.

   22           Q.     So what -- can you kind of walk me through what

   23     happened at that -- at that training in terms of what

   24     category of people were there and what they all did and --

   25           A.     The people that are normally there and


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376            Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 89 of 331
Appellate Case: 14-1193 Page: 75 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                          EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                             Page 76
    1     responsible for their jobs are there during that practice.

    2            Q.    But -- so I mean you -- you can use pseudonyms

    3     if you want to, but I need you to tell me who those people

    4     are.

    5            A.    Okay.    Well, certainly the warden is there and

    6     the deputy warden and the medical personnel are there, the

    7     non-medical personnel are there.

    8            Q.    So at this point we have, in terms of medical

    9     personnel who are there, we have M3; is that correct?

   10            A.    Yes.

   11            Q.    We have M2?

   12            A.    Yes.

   13            Q.    And then there's non-medical 1 and 2?

   14            A.    Yes.

   15            Q.    By the way, before I forget to ask you this, who

   16     is or was M4?

   17                  MR. HANSEN:     Again, you're not asking the

   18     identity, you're asking --

   19                  MS. CARLYLE:     No, I'm asking what sort of person

   20     was M4.

   21            A.    That dates past me.      I do not know.

   22            Q.   (By Ms. Carlyle) Okay.      Okay.     And so back to

   23     training for a moment.        Okay.   The -- so the medical and

   24     non-medical personnel are there and so do they, then, sort

   25     of simulate what happens during an execution?


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376             Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 90 of 331
Appellate Case: 14-1193 Page: 76 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                      EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                        Page 77
    1           A.     Yes.

    2           Q.     So what do they do to simulate it?     I mean, sort

    3     of tell me what happens.

    4           A.     Just about every process that we do on a normal

    5     execution, they simulate what will occur and what they

    6     would do.

    7           Q.     Well, I need you to tell me what that is.

    8           A.     The medical staff prepares syringes, the

    9     non-medical staff practice what they would do in a

   10     procedure with those syringes.

   11           Q.     Do they -- I mean, does someone get strapped

   12     down to a gurney?

   13           A.     No.

   14           Q.     Okay.

   15           A.     We don't do that.

   16           Q.     Okay.    I mean, I know you don't administer the

   17     drugs to them, but okay.        So when you say the medical --

   18     the non-medical -- so the medical personnel don't practice

   19     starting intravenous lines and so forth, do they?

   20           A.     No, they don't.

   21           Q.     Okay.    And the non-medical people don't practice

   22     administering the drugs because there's no one or nothing

   23     to administer them to.        So what --

   24           A.     They do practice with the syringes, though, yes.

   25           Q.     So what do they do with the syringes?


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376         Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 91 of 331
Appellate Case: 14-1193 Page: 77 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                         EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                           Page 78
    1           A.     It is discarded.

    2           Q.     No, I mean, what do they do with the syringes

    3     during the training?

    4           A.     They --

    5           Q.     What physically do they do?

    6           A.     They push the syringes.

    7           Q.     Into what?

    8           A.     Into a bag that is discarded.

    9           Q.     So into a bag that would normally be connected

   10     to a line that went into a person?

   11           A.     Yes.

   12           Q.     Okay.     And who supervises the training?

   13           A.     It is -- the medical staff are overseeing,

   14     watching what the non-medical staff do.

   15           Q.     Okay.     The medical staff being M2 and M3?

   16           A.     Pardon?

   17           Q.     The medical staff being M2 and M3 or are there

   18     other medical staff?

   19           A.     Yes, yes.     The warden is watching parts of the

   20     aspect, I myself am watching parts of the aspect.

   21           Q.     So what are you watching?

   22           A.     Just that we're following the protocol and doing

   23     the things we're supposed to do.

   24           Q.     Let me ask you to take a look at the -- at a

   25     chronological log that -- there's one that begins at page


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376            Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 92 of 331
Appellate Case: 14-1193 Page: 78 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                       EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                         Page 79
    1     676 and one that begins at page 689 and they're kind of

    2     multi-page documents.

    3           A.     Stuck together.     676 to --

    4           Q.     686.    I'm sorry, wait a minute.    If I said 676,

    5     that's what I meant.

    6                  MR. HANSEN:     Yeah, 676.

    7                  MS. CARLYLE:     676, yeah.

    8           A.     To -- all the way to 686?

    9           Q.    (By Ms. Carlyle) Well, I think there may be some

   10     things in between.       Hang on just a second.    But there's

   11     sort of a log that begins as 676, correct?

   12           A.     Yes.

   13           Q.     Okay.    And then there's another log that begins

   14     at 689.     My question for you is can you explain to me what

   15     those two logs -- how they -- you know, what they are,

   16     whether they're -- who does them and why they do them and

   17     so forth?

   18           A.     These are -- these are logs by the officers --

   19     the first one is by -- for sure by the officer at the

   20     holding cell.

   21           Q.     Okay.

   22           A.     The second one appears to be the same sort of

   23     thing, but not on that form.        There are -- without looking

   24     at exact times and things, I don't know whether --

   25           Q.     Well, I think there's actually some overlap, but


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 93 of 331
Appellate Case: 14-1193 Page: 79 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                        EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                          Page 80
    1     I'm just wondering why -- how it happens that we have one

    2     set on a form and one set that's not and whether there are

    3     different people who -- anyway, why that is, I guess.

    4           A.     There are -- I know there are two officers

    5     assigned to that post.

    6           Q.     Okay.

    7           A.     My opinion would be that both are filling out a

    8     log themselves.

    9           Q.     I see.     So one of them is using the form and one

   10     of them isn't?

   11           A.     Yes.

   12           Q.     Okay.     Is there anything wrong with that as far

   13     as your -- from a procedural standpoint?

   14           A.     We ask them to fill out a log.       I don't -- we

   15     have various forms that we call the term chronological

   16     logs, so to see different logs doesn't surprise me.

   17           Q.     Okay.     But what you're telling me -- if I

   18     understand you correctly, maybe you can -- the two -- the

   19     log that begins on 676 and the log that begins on 689,

   20     it's not like they're file -- they're prepared by

   21     different officers with different -- with assignments to

   22     record different types of things?

   23                  MR. HANSEN:     I'm going to object to the form of

   24     that question.        It's compound and so confusing.    You said

   25     it's not filled out by two different officers.          I think I


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376           Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 94 of 331
Appellate Case: 14-1193 Page: 80 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                      EXHIBIT B
                                DAVE DORMIRE 1/15/2014


                                                                        Page 81
    1     understand what you meant, but --

    2           Q.    (By Ms. Carlyle) It is filled out by two

    3     different officers.        I guess what I'm asking you, is it

    4     two different officers with two different assignments to

    5     record two different sets of information?

    6           A.     Just to start off, there are different -- quite

    7     a few different dates.        One is November 19, one is

    8     November 15, so four days apart.

    9           Q.     Right.     I guess --

   10           A.     This one for sure --

   11           Q.     I'm sorry, when you say this one, tell us which

   12     one it is.

   13                  MR. HANSEN:     Use the page number.

   14           Q.    (By Ms. Carlyle) Use the page number, please.

   15           A.     The 19th.

   16                  MR. HANSEN:     Down at the bottom.

   17           Q.    (By Ms. Carlyle) Down at the bottom, what page?

   18           A.     Oh, 676.

   19           Q.     Thank you.

   20           A.     That's dated November 19.     That is -- the post

   21     is CP offender holding cell.

   22           Q.     Okay.

   23           A.     The second one doesn't identify the post, but

   24     identifies the date as November 15, third shift.

   25           Q.     Okay.    And -- but do you think that the person


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 95 of 331
Appellate Case: 14-1193 Page: 81 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                          EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                            Page 82
    1     who completed 689 -- the log beginning on 689 was also an

    2     officer in the holding cell or was he somewhere else?

    3            A.    It appears he was at the holding cell as well,

    4     yes.

    5            Q.    Okay.

    6            A.    He's making notations about Offender Franklin.

    7            Q.    Okay.    And that's something that -- I mean, is

    8     that something that's specific to the duties of someone in

    9     the holding cell as opposed to -- as opposed to someone

   10     who's just an officer when Mr. Franklin is not yet in the

   11     holding cell?

   12            A.    I believe our orders require a -- one officer to

   13     track when an offender is in a holding cell status, so we

   14     are required to do a chronological just specifically on

   15     that offender.

   16            Q.    Okay.    But if -- I mean, so these are both

   17     holding cell logs, I guess is what we're saying?

   18            A.    They appear to be that, yes.         I see references

   19     to the holding cell in this other log, yes.

   20            Q.    Okay.    Now, on page 689, it appears that there's

   21     been something redacted?

   22            A.    Yes.    Appears to be a phone number.

   23            Q.    Okay.    What -- why did you redact the phone

   24     number?

   25            A.    I was aware they went through and redacted


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376             Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 96 of 331
Appellate Case: 14-1193 Page: 82 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                         EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                           Page 83
    1     almost all the phone numbers of individuals.

    2             Q.   Why?

    3             A.   Just to protect their identity, I guess.

    4             Q.   Do you -- were -- I mean, you say they went

    5     through and redacted.        What --

    6             A.   Well, I am aware my administrative assistant

    7     went through and redacted phone numbers.          Any time there

    8     were phone numbers, she redacted them.

    9             Q.   Okay.     Was she -- did you tell her to do that?

   10             A.   No.     I knew she was doing that, though.

   11             Q.   Okay.     Do you know if anyone told her to do

   12     that?

   13             A.   I believe she consulted with Mr. Briesacher to

   14     do that.

   15             Q.   Okay.     Let's go back -- let's look at page 662.

   16     We have some redactions and they look like phone numbers

   17     as well; is that correct?

   18             A.   Yes.

   19             Q.   There is a reference on page 62 next to the time

   20     entry 4:54 that says code 21?

   21             A.   Yes.

   22             Q.   What's code 21?

   23             A.   That's a good count.

   24             Q.   What about 4:30, about code 20?

   25             A.   Code 20 is the announcement, radio announcement.


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376            Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 97 of 331
Appellate Case: 14-1193 Page: 83 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                        EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                          Page 84
    1     Code 20 is to count.

    2             Q.   Is to count and code 21 is that the count is

    3     cleared?

    4             A.   Yes.

    5             Q.   Code 21.    Okay.   I have a list of redactions

    6     that I wanted to check on.           Just so we're --

    7                  MR. HANSEN:     I'm just going to -- while we're

    8     talking about it, my understanding is they redact because

    9     their policy is to always redact phone numbers.          Most of

   10     the things that are redacted are phone numbers.          If you

   11     want the phone numbers for any specific one, we can get

   12     you the phone numbers.

   13                  MS. CARLYLE:     They didn't redact them the first

   14     time.

   15                  MR. HANSEN:     So --

   16                  MS. CARLYLE:     I guess, you know, just for the

   17     record, our objection is you can't just redact your

   18     documents because you feel like protecting somebody.

   19     They're documents.       We ask that they be produced.

   20                  MR. HANSEN:     I'm telling you what they did.

   21                  MS. CARLYLE:     I understand what they did.

   22                  MR. HANSEN:     And I'm telling you if -- we -- if

   23     you want all the phone numbers, we'll talk to them.           We

   24     can probably get you all the phone numbers.

   25                  MS. CARLYLE:     I'd say everything that's redacted


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376           Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 98 of 331
Appellate Case: 14-1193 Page: 84 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                      EXHIBIT B
                                DAVE DORMIRE 1/15/2014


                                                                        Page 85
    1     in these documents that doesn't pertain to the identity of

    2     the execution team we would like unredacted.

    3                  MR. HANSEN:     Okay.

    4           Q.    (By Ms. Carlyle) I guess I'm just -- I'm taking a

    5     second to kind of go over these to determine if there are

    6     any I really need to ask him for rather than ask him on

    7     every page and did you redact phone numbers.        So if you

    8     give me just a second, I think I can -- it may look like

    9     we're not doing anything, but we'll actually speed things

   10     up a little.

   11                  MR. HANSEN:     And I -- while we're on the record,

   12     since I just -- we just had this conversation about phone

   13     numbers and providing those, I think I said that we would

   14     provide those that aren't on the execution team or that

   15     would reveal the execution team and my co-counsel has

   16     pointed out that there may be some phone numbers that we

   17     think are still protected as that they're protected as a

   18     state secret, principally --

   19                  MR. SPILLANE:     The laboratory.

   20                  MR. HANSEN:     -- the testing lab.

   21                  MR. SPILLANE:     The laboratory is not a member of

   22     the execution team, but they've been declared a state

   23     secret.

   24                  MS. CARLYLE:     Okay.

   25                  MR. HANSEN:     I wanted to make that clear.


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 99 of 331
Appellate Case: 14-1193 Page: 85 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                           EXHIBIT B
                                  DAVE DORMIRE 1/15/2014


                                                                              Page 86
    1                     MS. CARLYLE:    Okay.     And similarly, I mean, just

    2     for example, on page 718, I think there's an address of

    3     a -- of an offender witness that's redacted.             I mean, you

    4     know, as I say, if it's not -- if there's not -- it

    5     doesn't have to do with your state secret or execution

    6     team privilege, we'd ask that all the redactions be

    7     removed.

    8                     MS. BORESI:    And off the record.

    9                     (Off the record.)

   10             Q.     (By Ms. Carlyle) Let me -- let me show you again

   11     your responses to the third set of interrogatories, and

   12     I'm handing them to you open to page seven so you can see

   13     them -- your response to interrogatory five.             You were

   14     asked to specify the tasks each member of the medical

   15     personnel will do and what you did there was to say

   16     medical personnel will do this and medical personnel will

   17     do that.        What we're trying to get at is what each member

   18     does.        So if you can tell us now, of the tasks that you

   19     set out there, who does what, please do that.

   20             A.      Okay.

   21                     MR. HANSEN:    Hang on just a second.     Did you --

   22     again, you didn't identify this as an exhibit, right?

   23                     MS. CARLYLE:    No.     These are his responses to

   24     interrogatories.

   25                     MR. HANSEN:    Right.     I just want to make sure


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376              Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 100 of 331
Appellate Case: 14-1193 Page: 86 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                             EXHIBIT B
                                  DAVE DORMIRE 1/15/2014


                                                                               Page 87
    1     I've got this clear for the record.

    2                    MS. CARLYLE:      Okay.

    3                    MR. HANSEN:      Go ahead.

    4             A.     M5 would prescribe.       M6 would supply, compound

    5     and supply the Pentobarbital.            M2 and M3 together would

    6     prepare and label the syringes.             And M2 and M3 would

    7     together determine most appropriate location for

    8     introduction of intravenous lines.

    9             Q.     (By Ms. Carlyle) That's part of M2's job as well?

   10             A.      M2 and M3 together.

   11             Q.      Okay.   So who monitors?      Which of the two

   12     monitors the prisoner during the execution?

   13             A.      Oh, next page.

   14             Q.      Okay.

   15             A.      Both M3 and M2.     Both M2 and M3 evaluate the

   16     prisoner to confirm death.           Both M3 and M2 are involved in

   17     disposal of unused chemicals.            One of the medical

   18     personnel, either M2 or M3, signs the sequence of chemical

   19     form.        And either M2 or M3 would complete and sign the

   20     chemical log indicating the quantities of chemicals used

   21     and the quantities discarded.

   22             Q.      Okay.   Let's take a look at page 722.

   23             A.      There's that.

   24             Q.      Thank you.

   25                     MR. HANSEN:     Again, for the record, we're going


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376                Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 101 of 331
Appellate Case: 14-1193 Page: 87 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                          EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                            Page 88
    1     back to Exhibit 1.

    2                  MS. CARLYLE:     We're going back to Exhibit 1.

    3     And I appreciate your saying that.         I keep forgetting to.

    4                  MR. HANSEN:     That's all right.      7 --

    5                  MS. CARLYLE:     We're going to take a look at page

    6     722.

    7            A.    Yes.

    8            Q.   (By Ms. Carlyle) And 723.      While you're there,

    9     you might as well grab them both.         Okay.     Page 722 is --

   10     what is it?

   11            A.    722 is the chemical log.

   12            Q.    Okay.    And it has signatures, if you can call

   13     them that, of M3 and M2, correct?

   14            A.    That's correct.

   15            Q.    Okay.    Signing as M3 and M2.       And then there are

   16     two signatures showing that it's been approved.            Can you

   17     tell me whose signatures those are?

   18            A.    One is myself and one is Director Lombardi.

   19            Q.    Okay.

   20                  MR. HANSEN:     Can we stop just for about 30

   21     seconds?

   22                  MS. CARLYLE:     Sure.

   23                  (Off the record.)

   24                  MS. CARLYLE:     Okay.   Back on the record.

   25            Q.   (By Ms. Carlyle) Does page 722 reflect that


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376             Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 102 of 331
Appellate Case: 14-1193 Page: 88 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                      EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                        Page 89
    1     Versed was used?

    2            A.    Yes.

    3            Q.    And what was that used for?

    4            A.    I believe that was used as a sedative.

    5            Q.    Is -- is Versed a part of the written execution

    6     protocol?

    7            A.    Not -- not named, no.

    8            Q.    What's the purpose of a sedative during the

    9     execution?

   10            A.    We are -- our protocol directs us to offer a

   11     sedative and then also allows the doctor to issue one if

   12     he believes it's needed based on -- I don't know if it's

   13     the doctor by themselves or the doctor with the director's

   14     approval.

   15            Q.    Well, what would be the criteria for deciding to

   16     administer the sedative?

   17            A.    First criteria is that the offender requests

   18     one.

   19            Q.    Right.    But after that, assuming the offender

   20     doesn't request one?

   21            A.    I don't have it in front of me, but there is a

   22     notation about -- in protocol about a sedative can be

   23     given.

   24            Q.    I understand that there's a notation that a

   25     sedative can be given.        I'm just asking why would a


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376         Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 103 of 331
Appellate Case: 14-1193 Page: 89 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                         EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                           Page 90
    1     sedative be given, other than at the request of the

    2     offender?

    3           A.     I can think of scenarios where an offender would

    4     be out of control and that would be needed, but I don't

    5     know that.

    6           Q.     Okay.     So who administers the sedative?

    7           A.     M2, M3.

    8           Q.     Okay.     And is that administered -- how is it

    9     administered?        Is it oral or injected or --

   10           A.     I don't know.

   11           Q.     Okay.     In relation to the execution itself, at

   12     what time is it administered?

   13           A.     There's a specific time ahead of the execution

   14     it's to be offered if the execution is on schedule.            Then

   15     it's -- then I know there's -- I mean, less time if they

   16     were not on schedule.        So it was sometime before.

   17           Q.     Okay.     Now, page 722 also reflects that -- if

   18     I'm reading it correctly, that five grams of Pentobarbital

   19     were used and five grams were returned.           Is that a fair

   20     reading of page 722?

   21           A.     Yes.

   22           Q.     Where were they returned to?

   23           A.     They were not -- not -- they were returned to

   24     the counter, I believe, but not -- certainly not returned

   25     to a pharmacy.


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376            Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 104 of 331
Appellate Case: 14-1193 Page: 90 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                     EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                       Page 91
    1           Q.     Okay.    So do you have any idea why the notation

    2     returned in the column called amount discarded was made?

    3           A.     No.

    4           Q.     In fact, was the unused -- what happened to the

    5     unused Pentobarbital?

    6           A.     They were destroyed.

    7           Q.     Okay.    So it's not saved for the next execution?

    8           A.     No.

    9           Q.     Okay.    Let's take a look if we can at page 15 --

   10     well, 1142, actually.

   11           A.     Okay.

   12           Q.     So I guess, first of all, my question is are

   13     1142 and 723 the same thing?

   14           A.     They appear to be.

   15           Q.     Okay.

   16           A.     Yes.

   17           Q.     Okay.    And 1524 and 1541.

   18                  MR. HANSEN:     Off the record.

   19                  (Off the record.)

   20           A.     Okay.

   21           Q.    (By Ms. Carlyle) Both of those two documents

   22     mention a -- a person named Wampler on 1524, he is

   23     identified as CO1 Wampler and on 1541 he's identified as

   24     Travis Wampler.       Are you aware of whether that person is

   25     related to the family who was the victim of now executed


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376        Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 105 of 331
Appellate Case: 14-1193 Page: 91 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                      EXHIBIT B
                                DAVE DORMIRE 1/15/2014


                                                                        Page 92
    1     prisoner Richard Oxford?

    2           A.     I have no idea.

    3           Q.     Okay.

    4                  MR. HANSEN:    What was the name, first name of

    5     Oxford that you mentioned?

    6                  MS. CARLYLE:    Richard.

    7                  MR. HANSEN:    Richard Oxford?

    8                  MS. CARLYLE:    Yeah.

    9           Q.    (By Ms. Carlyle) Can you take a look, please, at

   10     1334 and 1335?

   11           A.     Okay.

   12           Q.     Can you tell me what the difference is between

   13     those two documents?

   14           A.     There's additional names.     This one appears to

   15     be simply a state witness list and one appears to be both

   16     a state witness list, an offender witness list and a

   17     victim's witness list.

   18           Q.     Okay.

   19                  MR. HANSEN:    I think I may have the wrong

   20     numbers.     Which ones did you say?

   21                  MS. CARLYLE:    We're looking at 1334 -- what did

   22     I say?     1334 and 1335.

   23                  MR. HANSEN:    I wrote down the right numbers, but

   24     I'm looking at the wrong numbers.        If you'd hang on just a

   25     second until I get to that page, I'd appreciate it.


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376          Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 106 of 331
Appellate Case: 14-1193 Page: 92 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                           EXHIBIT B
                                  DAVE DORMIRE 1/15/2014


                                                                             Page 93
    1                     MS. CARLYLE:    Okay.

    2             A.      The names appear -- as far as state witness,

    3     they appear to be the same, as far as the names.

    4             Q.     (By Ms. Carlyle) I see.       And let's take a look at

    5     2043.        Okay.   What -- that's a photograph.      What's it a

    6     photograph of?

    7             A.      It's a photograph of four syringes.

    8             Q.      Okay.   Can you tell me the nature of the

    9     information that's redacted on those syringes?

   10             A.      It would be the name of the pharmacy.

   11             Q.      Okay.   Can you tell me what -- can you just tell

   12     me what 2015 is, what it's for?

   13                     MR. HANSEN:    Which page?

   14                     MS. CARLYLE:    2015.

   15                     MR. HANSEN:    It would have been a lot easier if

   16     you went to chronological order.

   17                     MS. CARLYLE:    I know.

   18             A.      It is a count report.

   19             Q.     (By Ms. Carlyle) 2015?

   20             A.      What?

   21             Q.      2015.

   22             A.      I'm sorry.

   23             Q.      That's okay.    I was going to say wait a minute.

   24             A.      20 -- I'm sorry.

   25             Q.      That's okay.    There are a lot of notes.


                               MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com          Phone: 1.800.280.3376             Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 107 of 331
Appellate Case: 14-1193 Page: 93 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                         EXHIBIT B
                                DAVE DORMIRE 1/15/2014


                                                                           Page 94
    1           A.     I've got to go back the other way.        That's it.

    2           Q.     I don't think so.

    3           A.     2015.

    4                  MR. HANSEN:    2015, yeah, that's what I have.

    5                  MS. CARLYLE:     Huh.

    6           A.     That is a -- hang on a second, because that's

    7     not what I have either.

    8           Q.    (By Ms. Carlyle) Yeah.      Well, it is, but it

    9     doesn't have -- it was just cut off.           I think what

   10     happened was the top was cut off because at the top of

   11     mine, which you're welcome to see, it says State Witness

   12     Briefing, DAI Director.

   13           A.     Yes, yes.     That is the statement I read to

   14     the --

   15                  MR. HANSEN:     For the record, the only thing

   16     missing is the bolded title that's centered at the top of

   17     the page.

   18                  MS. CARLYLE:     Okay.   Okay.

   19           A.     But that is the debriefing statement that I read

   20     to them.

   21           Q.    (By Ms. Carlyle) The debriefing statement?

   22           A.     It's a -- sorry, a brief -- a briefing that I

   23     read to the state's witnesses.

   24           Q.     Okay.   And when do you do that?

   25           A.     Prior to the execution.      Prior to moving them to


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376             Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 108 of 331
Appellate Case: 14-1193 Page: 94 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                          EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                            Page 95
    1     the area where they'll watch the execution.

    2           Q.     I can't figure out why the sun is in my eyes

    3     here, but is there anything --

    4                  MR. HANSEN:     Because it's setting.

    5                  MS. CARLYLE:     Yeah, right.      Yeah, there we go,

    6     perfect.

    7                  MS. BORESI:     It was reflecting.

    8                  MS. CARLYLE:     Okay.

    9                  (Off the record.)

   10                  MS. CARLYLE:     Okay.   Back on the record.

   11           Q.    (By Ms. Carlyle) So that -- does that mean that

   12     for each execution, you're actually at the prison?

   13           A.     Yes.

   14           Q.     Do you witness the execution?

   15           A.     Yes.

   16           Q.     Okay.    And so you were -- this is -- this is a

   17     statement that you read to all of the --

   18           A.     State's witnesses.

   19           Q.     Okay.    And who -- not by name, but what -- can

   20     you tell me what the category of state's witness includes?

   21     Who are those people?

   22           A.     It is -- the last two times it has included some

   23     media, but it is people that apply to be a state -- a

   24     witness for the state.

   25           Q.     Okay.    Are they a different group of people than


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376             Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 109 of 331
Appellate Case: 14-1193 Page: 95 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                         EXHIBIT B
                                  DAVE DORMIRE 1/15/2014


                                                                           Page 96
    1     the people who are, say, families of the victim?

    2           A.     Yes.

    3           Q.     So those aren't state witnesses under this

    4     category?

    5           A.     Correct.

    6           Q.     And people who are friends or relatives of the

    7     person who's been executed, are they state witnesses?

    8           A.     No.      They are separate.

    9           Q.     Okay.      Well, speaking -- actually, that's an

   10     interesting segue into what we're going to talk about

   11     next, which is the witnesses to the Joseph Franklin

   12     execution.         Are you aware that the -- that Mr. Franklin's

   13     witnesses left the institution before the execution

   14     occurred?

   15           A.     Yes.

   16           Q.     Okay.      You stated in the response to your -- to

   17     the fourth interrogatories that you didn't know whether

   18     anyone had tried to notify them or counsel at the specific

   19     time when the execution was starting; is that correct?

   20           A.     I don't remember that question on

   21     interrogatories --

   22           Q.     Okay.      Let's take a look at that.

   23           A.     But I do not know that.       That's true.

   24           Q.     I'm not sure what happened to the fourth ones.

   25           A.     This one?


                               MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com          Phone: 1.800.280.3376           Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 110 of 331
Appellate Case: 14-1193 Page: 96 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                       EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                         Page 97
    1           Q.     Yep.    It's the answer to interrogatories six and

    2     seven.

    3           A.     Yeah, I do not know.      Right.

    4           Q.     So who would know that?

    5           A.     Whether an attempt was made?

    6           Q.     Yes.

    7           A.     Someone at the institution would know that.

    8           Q.     You were at the institution?

    9           A.     I was, I was.

   10           Q.     Okay.

   11           A.     I was not in the administration building.       I was

   12     down at the -- in the support room.         So I --

   13                  MR. HANSEN:     Describe to her whoever that person

   14     would be, the job title or if you know the name.

   15                  THE WITNESS:     It would be -- there would be one

   16     or two people.       It could be the deputy warden level

   17     responsible for at least -- I was aware they had left, but

   18     I don't know whether they tried to contact them or asked

   19     to be contacted.       I don't know any of that information.

   20           Q.    (By Ms. Carlyle) Okay.      I know, but I'm trying to

   21     figure out who does so we can ask that person.

   22           A.     I do not know.

   23           Q.     Okay.    You said might be the deputy warden?

   24           A.     It could be a deputy warden, yes.

   25           Q.     So who are the deputy wardens?


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376          Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 111 of 331
Appellate Case: 14-1193 Page: 97 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                         EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                           Page 98
    1           A.     The two deputy wardens -- the one -- the one was

    2     in the room with me, so I know it was not him.           The other

    3     one is Jason Lewis.

    4           Q.     And what was Jason Lewis's job on the day of the

    5     execution?

    6           A.     Specifically, I don't know.        He was coordinating

    7     things, managing the security operation, things like that

    8     and moving -- you know, he had some involvement with

    9     moving witnesses and things like that.

   10           Q.     Okay.    But he would be the person that you would

   11     ask if you wanted the answer to that question?

   12           A.     Yes.

   13           Q.     Okay.    Did you ask him before you did your

   14     interrogatory responses?

   15           A.     No.

   16           Q.     Okay.    Are you aware that Joseph Franklin had

   17     requested someone to be there as a minister for him as a

   18     witness?

   19           A.     I'm not specifically aware of his requests, no.

   20           Q.     Okay.    Let's take a look at page 1336.

   21           A.     Okay.

   22           Q.     Does that indicate that he's requested a

   23     minister?

   24           A.     It says ministerial counselor, Tom Cummins, just

   25     the name on there.


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376            Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 112 of 331
Appellate Case: 14-1193 Page: 98 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                          EXHIBIT B
                                    DAVE DORMIRE 1/15/2014


                                                                            Page 99
    1             Q.      Okay.     And was Mr. Cummins there when

    2     Mr. Franklin was executed?

    3             A.      I do not believe so.

    4             Q.      In fact, none of Mr. Franklin's witnesses were

    5     there, were they?

    6             A.      No.

    7             Q.      Who would have been in -- you know, physically

    8     in a position to communicate with the witnesses when they

    9     left?

   10             A.      There were staff members assigned to stay with

   11     them.        I don't know those names.

   12             Q.      Okay.     If they had -- if the witnesses had said

   13     to the staff members we are leaving, but we would like to

   14     be contacted if things change, what would the re -- how

   15     should the staff members have responded?

   16             A.      How should -- they should have said give me a

   17     phone number, I can call you.

   18             Q.      Okay.     In the event there was a pretty short

   19     interval between the expiration of the stay of execution

   20     and the actual execution, correct?

   21             A.      Pardon?

   22             Q.      Mr. -- when Mr. Franklin was executed, he was

   23     executed pretty quickly after the stay of execution was

   24     vacated?

   25                     MR. HANSEN:     Objection, form of the question.


                                MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com           Phone: 1.800.280.3376           Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 113 of 331
Appellate Case: 14-1193 Page: 99 Date Filed: 01/28/2014 Entry ID: 4118269
                                                                         EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                          Page 100
    1     It's ambiguous as to what quickly is.           You can answer to

    2     the degree you can.

    3           A.     I believe it was less than an hour, yes.

    4           Q.    (By Ms. Carlyle) Okay.      Why was it decided to

    5     obtain a prescription for the Pentobarbital?

    6                  MR. HANSEN:     I'm going to -- objection to the

    7     form of the question in that it lacks foundation.

    8           A.     I believe the pharmacy -- the pharmacy required

    9     a prescription.

   10           Q.    (By Ms. Carlyle) Okay.      And how did you -- how

   11     did you, meaning the -- how did the Department of

   12     Corrections determine who would write the prescription?

   13           A.     Mr. Briesacher came up with the name of the

   14     person that would -- the doctor that would do so.

   15           Q.     Did you ask M3 to write the prescription?

   16           A.     Pardon?

   17           Q.     Did you ask M3 to write the prescription?

   18           A.     I did not, no.

   19           Q.     Did anyone, to your knowledge?

   20           A.     I don't know that.

   21           Q.     Would there be any reason, if M3 had been

   22     willing to write the prescription, why you shouldn't?

   23           A.     I don't know.

   24           Q.     Okay.     Do you know how many -- do you know

   25     anything about the process that Mr. Briesacher went


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376             Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 114 of 331
Appellate Case: 14-1193 Page: 100  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                       EXHIBIT B
                                DAVE DORMIRE 1/15/2014


                                                                        Page 101
    1     through to come up with a name?

    2           A.     No.

    3           Q.     Did you take bids for that job?

    4           A.     I did not, no.

    5           Q.     Did Mr. Briesacher?

    6           A.     I don't know.

    7           Q.     Is the person who writes the prescription

    8     licensed in Missouri?

    9                  MR. HANSEN:     Hang on a second.   I am going to

   10     object to that question for the reasons we've talked about

   11     earlier about the fact that the answer to that question

   12     could lead to information that would identify him and he's

   13     been named as a member of the execution team and we've

   14     asserted that that identity is a state secret.         So I'm

   15     objecting to that question and instructing him not to

   16     answer.

   17                  MS. CARLYLE:     Okay.

   18           Q.    (By Ms. Carlyle) When does the prescriber's

   19     medical license expire?        Can you give me that date?

   20           A.     I do not have that in front of me.

   21                  MR. HANSEN:     I'm going to object to that

   22     question.      I am unsure whether that information could lead

   23     to the identity of the prescriber, but because similar

   24     facts have apparently led to the discovery or purported

   25     discovery of the identity of the pharmacy, I'm going to


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376           Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 115 of 331
Appellate Case: 14-1193 Page: 101  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                          EXHIBIT B
                                  DAVE DORMIRE 1/15/2014


                                                                          Page 102
    1     object.

    2                   MS. CARLYLE:     And direct him not to answer.

    3                   MR. HANSEN:     Direct him not to answer.    He

    4     certainly can tell you whether or not he knows the answer

    5     to that question, but I'm going to direct him not to

    6     answer the question.

    7             A.    I have seen the license, but I do not know the

    8     date.

    9             Q.   (By Ms. Carlyle) Okay.      Did the person who

   10     prescribed the -- first of all, was it the same person who

   11     prescribed the Pentobarbital for both Mr. Franklin and

   12     Mr. Nicklasson?

   13             A.    Yes.

   14             Q.    Did that person examine Mr. Franklin or

   15     Mr. Nicklasson before he wrote the prescription?

   16                   MR. HANSEN:     Objection to the form of the

   17     question because it lacks foundation.

   18             A.    No.

   19             Q.   (By Ms. Carlyle) No, he didn't?

   20             A.    No.

   21             Q.    Did he examine Mr. Franklin or Mr. Nicklasson's

   22     medical records before writing the prescription?

   23             A.    No.

   24             Q.    There are a bunch of copies of the

   25     prescriptions, but let's take a look at 1254.          And is the


                               MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com          Phone: 1.800.280.3376           Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 116 of 331
Appellate Case: 14-1193 Page: 102  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                         EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                           Page 103
    1     date on the prescription redacted?

    2           A.     No.

    3           Q.     Can we see it?

    4           A.     I see it as 11-12 of '13.

    5                  MR. HANSEN:     I can see it on my copy.

    6                  MS. CARLYLE:     Can I come look at your copy?

    7                  MR. HANSEN:     Sure.   For the record, you're

    8     looking at your monitor on your computer.

    9                  MS. CARLYLE:     I'm looking at my monitor on my

   10     computer and it's not -- oh, I see.         Okay.    That's fine.

   11           Q.    (By Ms. Carlyle) And the other redactions, I

   12     assume, are the -- are things that would identify the

   13     prescriber; is that true?

   14           A.     Yes.

   15           Q.     The prescription that we have there says, "SIG

   16     as ordered per death warrant;" is that a fair reading of

   17     what's on there?

   18           A.     Yes.

   19           Q.     And whose language is that?        Who -- is that

   20     something that the prescriber came up with to put on there

   21     or something that the prescriber was directed to put on

   22     there by you or someone else?

   23           A.     That is the prescriber's language.

   24           Q.     Okay.    Was -- as I said, there are lots of

   25     copies in here.       Was there more than one prescription


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376            Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 117 of 331
Appellate Case: 14-1193 Page: 103  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                         EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                          Page 104
    1     issued for Mr. Franklin -- you know, per patient for

    2     Mr. Franklin and Mr. Nicklasson?

    3             A.   There were generally just the -- two, one for

    4     five grams each.

    5             Q.   There were two prescriptions, one for five grams

    6     each?

    7             A.   Yes.

    8             Q.   Why were there two?

    9             A.   That's the way we asked them to do it.

   10             Q.   Why did you ask them to do it that way?

   11             A.   That's -- that was the way we asked them.

   12             Q.   But, I mean, they -- if you wanted 10 grams, why

   13     didn't you ask them to issue a prescription for 10 grams?

   14             A.   Mr. Briesacher would have to answer that

   15     question.      That was the way he asked that it be done.

   16             Q.   Okay.    Page 1262.   Is that the agreement between

   17     the Department of Corrections and the prescriber?

   18             A.   Yes.

   19             Q.   Okay.    Paragraph two says, "The contractor will

   20     provide the Department, upon request, with the requested

   21     prescriptions in the name of the offender to be executed."

   22     Does that give the prescriber any medical discretion to

   23     refuse to issue a prescription?

   24                  MR. HANSEN:     Object to the form of that

   25     question.      I think it's vague, confusing and calls perhaps


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376            Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 118 of 331
Appellate Case: 14-1193 Page: 104  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                       EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                         Page 105
    1     for a legal conclusion and an expert opinion.         Answer to

    2     the degree you can.

    3           A.     It simply says contractor will provide the

    4     Department with the requested prescriptions.

    5           Q.    (By Ms. Carlyle) Okay.      So in order to -- in

    6     order to fulfill his contract when he's requested to do

    7     so, he has to write the prescription?

    8           A.     That's what it says.

    9           Q.     Okay.    How much Pentobarbital -- compounded

   10     Pentobarbital does the Department of Corrections have on

   11     hand at the moment?

   12           A.     Ten grams.

   13           Q.     And is that for Mr. Smulls' execution?

   14           A.     Yes.

   15           Q.     Is new Pentobarbital ordered for each execution?

   16           A.     Yes.

   17           Q.     If that -- and that Pentobarbital is scheduled

   18     to be used on January 29?

   19           A.     Yes.

   20           Q.     If Mr. Smulls -- if Mr. Smulls' execution

   21     doesn't occur, what would happen to that Pentobarbital?

   22           A.     It would be destroyed.

   23           Q.     You indicated in your interrogatory response

   24     that the pharmacy said to store the Pentobarbital at room

   25     temperature?


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 119 of 331
Appellate Case: 14-1193 Page: 105  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                       EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                        Page 106
    1           A.     That's correct.

    2           Q.     Okay.     First of all, to whom was that

    3     communication made?

    4           A.     To me.

    5           Q.     Okay.     Was it in writing?

    6           A.     No.     It was -- that was a verbal statement to me

    7     when I asked how to store it.

    8           Q.     Okay.     Recognizing that you're not going to --

    9     let me put it this way.        Do you know who told you that?

   10           A.     Yes.

   11           Q.     Okay.     I understand you're not going to tell me

   12     now, but if you were directed to -- if you were told that

   13     the identity were not privileged, you wouldn't say I don't

   14     know who told me that.        You know.

   15           A.     Yes.

   16           Q.     You also said that you had been told that the

   17     Pentobarbital expires 30 days after compounding; is that

   18     correct?

   19           A.     Yes.

   20           Q.     Is there a writing that reflects that?

   21           A.     There's not a writing that I know of.      It is

   22     in -- it is clearly reflected in the labels of the discard

   23     date and what -- it confirms what I've been told, that it

   24     is good for 30 days.

   25           Q.     Okay.     But you -- were you also told that


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 120 of 331
Appellate Case: 14-1193 Page: 106  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                        EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                         Page 107
    1     verbally?

    2           A.     By Mr. Briesacher.

    3           Q.     Okay.    You weren't told that by anyone at the

    4     pharmacy?

    5           A.     It's -- I believe the subject came up in

    6     conversations regarding the discard date and it was -- in

    7     our conversations, it was generally assumed that we had

    8     to -- I could not request the pharmacist to compound

    9     Pentobarbital over 30 days before an execution date.

   10           Q.     Okay.    And do you know who you had that

   11     conversation with?

   12           A.     Yes.

   13           Q.     Okay.    Has anyone explained to you why it lasts

   14     30 days rather than some other length of time?

   15           A.     Not in great detail.      I know bits and pieces,

   16     but not in great detail.

   17           Q.     What are the bits and pieces that you know?

   18           A.     Simply -- there's references to ensuring that

   19     it's sterile, there's things like that, that it's -- my

   20     understanding is that is a conservative estimate, that it

   21     is still an appropriately prepared substance well beyond

   22     that, but that's the day they picked to use by.

   23           Q.     Okay.

   24                  MR. HANSEN:     Elizabeth, it is 5:15 and we've

   25     been going a pretty good chunk here.


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376           Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 121 of 331
Appellate Case: 14-1193 Page: 107  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                      EXHIBIT B
                                DAVE DORMIRE 1/15/2014


                                                                       Page 108
    1                  MS. CARLYLE:    True.

    2                  MR. HANSEN:    Could we take a quick five-minute

    3     break?

    4                  MS. CARLYLE:    Let's go off the record for a

    5     second.

    6                  (Off the record.)

    7                  MS. CARLYLE:    Okay.   Back on the record.

    8



   10




   20           Q.     Okay.   Now, is there other compounded

   21     Pentobarbital used for training?

   22           A.     No.

   23           Q.     Okay.   So the -- when the -- when the training

   24     occurs, it's not done with Pentobarbital?

   25           A.     The director can give us authority to use saline


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 122 of 331
Appellate Case: 14-1193 Page: 108  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                      EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                       Page 109
    1     solution.

    2           Q.     And is that what's been happening with respect

    3     to the --

    4           A.     That is what happened the training we had prior

    5     to the executions, yes.

    6           Q.     Okay.    So has there only been one training prior

    7     to the executions?

    8           A.     Yes.

    9           Q.     Okay.    Now, you've ordered -- you're ordering

   10     Pentobarbital, I guess, in batches of ten grams, but

   11     there's some additional Pentobarbital that's needed for

   12     testing, isn't there?

   13           A.     That's my understanding, yes.

   14           Q.     Okay.    So what -- so what's the actual amount

   15     that you get from the laboratory -- from the pharmacy?

   16           A.     I get 10 grams.

   17           Q.     Okay.    Okay.   So if we look at page 1311, let's

   18     do that.     And is that -- is that the log of -- that -- of

   19     the chain of custody for Pentobarbital before the

   20     execution of Joseph Franklin?

   21           A.     Yes.

   22           Q.     Okay.    So it tells us that on November 19 at

   23     2105, which I think is 9:05 P.M., isn't it?

   24           A.     I think so, yes.

   25           Q.     Mr. Spillane is nodding his head vigorously.


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376         Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 123 of 331
Appellate Case: 14-1193 Page: 109  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                      EXHIBIT B
                                    DAVE DORMIRE 1/15/2014


                                                                       Page 110
    1     Okay.        That M3 received the Pentobarbital, correct?

    2             A.      That's correct.

    3




   11             Q.      No, but I mean the Pentobarbital itself, is it

   12     in syringes or bottles?

   13             A.      Oh, it's in syringes.

   14             Q.      So it comes to you in syringes?

   15             A.      Yes.




                                 MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com            Phone: 1.800.280.3376      Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 124 of 331
Appellate Case: 14-1193 Page: 110  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                      EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                       Page 111
    1                  MS. CARLYLE:     Would you mark that as 7 for us,

    2     please?

    3                  (Exhibit No. 7 marked for identification.)

    4                  MR. HANSEN:     What is she marking, 7, did you

    5     say?

    6                  MS. CARLYLE:     She is marking 7 and it is the

    7     affidavit of Dave Dormire filed, according to the ECF

    8     notations at the bottom, on December 3, but also, I think,

    9     filed in the Missouri Supreme Court on November 15 of 2002

   10     by the State.        Do you need to see it before I show it to

   11     him?

   12                  MR. HANSEN:     Yeah, I do.

   13                  MS. CARLYLE:     Okay.

   14                  MR. HANSEN:     There you go.

   15                  MS. CARLYLE:     Okay.

   16            Q.   (By Ms. Carlyle) What was the -- the purpose of

   17     this affidavit?

   18            A.    My memory was it was to talk about the issue of

   19     a peripheral line versus a central line.

   20            Q.    Okay.     And why did you feel the need to talk

   21     about that?

   22            A.    It was my understanding there was some confusion

   23     over the way it was worded in our protocol.

   24            Q.    In paragraph six of the -- of your affidavit on

   25     page one of Exhibit 7 you say, "If the prisoner's medical


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 125 of 331
Appellate Case: 14-1193 Page: 111  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                         EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                          Page 112
    1     condition allows, both the primary and secondary lines

    2     will be inserted as peripheral lines."           What did you base

    3     that statement on?        You're not going to insert -- I

    4     understand you're not a physician, so you're not inserting

    5     any lines.

    6            A.    Sure, sure.     That was -- that was to allow the

    7     medical personnel to determine the appropriate placement

    8     of the line.

    9            Q.    Well, the protocol itself says, and you quote it

   10     in paragraph five, medical personnel shall determine the

   11     most appropriate locations for intravenous lines, does it

   12     not?

   13            A.    It does.

   14            Q.    Okay.     So was this intended to give them

   15     additional criteria to use?

   16            A.    My intent of this was to just simply clear up --

   17     there must have been some -- I believe there was some

   18     confusion over how it was worded, but this was to give

   19     them clearer direction on it.

   20            Q.    Okay.     Now, is this affidavit now part of the

   21     execution protocol?

   22            A.    Pardon?

   23            Q.    Is this affidavit now part of the execution

   24     protocol?

   25            A.    I don't believe this affidavit itself is, no.


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376             Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 126 of 331
Appellate Case: 14-1193 Page: 112  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                       EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                        Page 113
    1           Q.     Okay.

    2           A.     It may be worded that way, but I don't -- I

    3     don't remember.

    4           Q.     Okay.     Is there some reason why this statement

    5     about the -- both lines being peripheral if the condition

    6     allows isn't in the protocol?

    7           A.     Pardon?

    8           Q.     Why isn't that statement, "If the prisoner's

    9     medical condition allows, both primary and secondary lines

   10     will be inserted as peripheral lines," why isn't that

   11     statement in the protocol?

   12                  MR. HANSEN:     Objection, form of the question in

   13     that it lacks foundation.

   14           A.     I can't answer exactly why it isn't written in

   15     the protocol.        It has been communicated to the medical

   16     personnel, but I can't answer that question.

   17           Q.    (By Ms. Carlyle) Did you consult with a physician

   18     before you prepared this affidavit?

   19           A.     I didn't personally.      There was some discussion,

   20     but I believe Mr. Briesacher did the consulting.

   21           Q.     Okay.     Did you intend that this affidavit

   22     supersede M3's medical judgment about the most appropriate

   23     location for intravenous lines?

   24           A.     No.

   25           Q.     Okay.     Let's talk about the laboratory for a


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376           Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 127 of 331
Appellate Case: 14-1193 Page: 113  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                         EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                          Page 114
    1     little bit.        Is the laboratory a different business than

    2     the pharmacy?        Are the two connected, the two businesses?

    3                  MR. HANSEN:     I'm going to object, again, for the

    4     same reasons that you now have indicated that -- today

    5     that you know who that pharmacy -- that you personally

    6     know who that pharmacy is and the answer to that question

    7     might identify who the lab is, which we asserted is --

    8                  MS. CARLYLE:     Well, I am under a court order,

    9     Mr. Hansen, not to reveal that information and I don't

   10     intend to and I've known it for some time.           So if you want

   11     me to go get a lawyer who doesn't know who -- who didn't

   12     read that to ask that question, I will.           But I think --

   13                  MR. HANSEN:     It's not a question of what you

   14     know today.        It's a question of what is going to be in the

   15     record.     And that's why I'm inserting the objection --

   16                  MS. CARLYLE:     Okay.   But what you just mentioned

   17     was that you knew I knew.        That's not in the record.

   18                  MR. HANSEN:     I don't know if you know.     You told

   19     me you know.

   20                  MS. CARLYLE:     I understand that.     But the words

   21     that I know are not in the record and won't be.           I've told

   22     you they won't be and they won't be and if they were, of

   23     course, you'd have the right to have the record sealed and

   24     we could argue about that.        But the fact is they're not.

   25     So I think we're entitled to know, given the fact that


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376            Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 128 of 331
Appellate Case: 14-1193 Page: 114  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                           EXHIBIT B
                                  DAVE DORMIRE 1/15/2014


                                                                             Page 115
    1     your position is that these drugs are validated by

    2     testing, whether there is a connection between the

    3     laboratory that tests them and the pharmacy that makes

    4     them.        And that's what I'm asking.

    5                     MR. HANSEN:    Let me take a moment and discuss it

    6     with my co-counsel and make a decision.            Okay.   We'll

    7     withdraw the objection as you described your purpose.

    8                     MS. CARLYLE:     Okay.

    9                     MR. HANSEN:    And allow him to answer.

   10             A.      Now I've got to ask you to restate.

   11             Q.     (By Ms. Carlyle) Fair enough.      The question is is

   12     there a -- is there a business -- is there a connection

   13     between the laboratory and the pharmacy other than that

   14     the laboratory is doing testing for the pharmacy?             Is

   15     there a business connection between the two entities?

   16             A.      I do not know.

   17             Q.      Okay.   How is the laboratory chosen?

   18             A.      I do not know that.

   19             Q.      There is a contract between the laboratory -- or

   20     is there a contract between the laboratory and the

   21     Department of Corrections?

   22             A.      I'm -- I do not know that.

   23             Q.      Okay.

   24                     MS. CARLYLE:     Can we go off the record for a

   25     second?


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376              Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 129 of 331
Appellate Case: 14-1193 Page: 115  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                            EXHIBIT B
                                  DAVE DORMIRE 1/15/2014


                                                                             Page 116
    1                     (Off the record.)

    2             Q.     (By Ms. Carlyle) Okay.       Well -- okay.   I think

    3     we'll kind of get to it because I think we had some

    4     evidence of payments to the laboratory, but we'll see when

    5     we get a little further on.             Take a look, please, at page

    6     1294.        Can you tell me what sort of information is

    7     redacted on that document?

    8             A.      It appears to be a date that it's valid, a

    9     certification number and another certification number.

   10             Q.      Okay.

   11                     MR. HANSEN:    Can we take just a minute?

   12                     MS. CARLYLE:    Sure.

   13                     (Off the record.)

   14             Q.     (By Ms. Carlyle) Do you -- are you familiar with

   15     the business organization the American Association for

   16     Laboratory Accreditation?

   17             A.      Yeah.

   18             Q.      Do you know whether anyone -- did you determine

   19     whether accreditation by the American Association for

   20     Laboratory Accreditation was a reflection of the quality

   21     of a laboratory?

   22             A.      I did not.

   23             Q.      Okay.   Looking at page 1306, is the -- okay.         I

   24     guess one thing that I find that's odd about this is that

   25     it appears that there's no name on this accreditation


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376               Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 130 of 331
Appellate Case: 14-1193 Page: 116  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                      EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                       Page 117
    1     redacted or unredacted.        Is that the case or was it

    2     somehow redacted in white?

    3           A.     I don't know the answer to that.

    4           Q.     Is there a way to look at the unredacted

    5     document and see?

    6                  MR. HANSEN:     I don't know if you know if you

    7     have it handy, but --

    8           A.     I don't know that I have that document, but I

    9     assume we do somewhere.        I don't have it in my little --

   10                  MR. HANSEN:     And I suspect Matt might know the

   11     answer to that.       Matt Briesacher might know the answer to

   12     that question.

   13           Q.    (By Ms. Carlyle) Is the accreditation reflected

   14     on page 1306 and the accreditation reflected on page 1294

   15     for the same laboratory?

   16           A.     That would be my belief, yes.

   17           Q.     Okay.    And that would be the laboratory that's

   18     been conducting the analysis reports that we have been

   19     receiving?

   20           A.     Yes.

   21           Q.     Okay.    Tell us how that -- how that testing

   22     process works.       Do -- does -- where does the laboratory

   23     get the drugs to test?        Do they get it from the DOC or

   24     from the pharmacy or where?

   25           A.     They are sent drugs from the pharmacist.


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376         Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 131 of 331
Appellate Case: 14-1193 Page: 117  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                     EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                      Page 118
    1            Q.    Okay.    So when part -- when the drugs are sent

    2     from the pharmacy for laboratory testing, are they the --

    3     are they part of the same batch, for want of a better

    4     word, then as the drugs that are going to be sent to the

    5     DOC?

    6            A.    That's my understanding.

    7            Q.    Okay.    So who's responsible for getting the --

    8     for getting the drugs to the -- I mean, is there a

    9     particular person that you're aware of, even if you're not

   10     willing to identify him or her, who's responsible for

   11     transmitting the drugs to the laboratory?

   12            A.    Yes.    It's M6.

   13            Q.    Okay.    And is there a particular person at the

   14     laboratory who is responsible for receiving them?

   15            A.    I do not know that.

   16            Q.    Does the -- is there someone at the laboratory

   17     that has an M number?

   18            A.    No.

   19            Q.    Okay.    On page 1257, first of all there's a --

   20     there is a redaction at the top that's listed as client.

   21     Again, without -- I know you're probably not going to tell

   22     me what's there, but what sort of -- is that the

   23     pharmacist, the pharmacy, the -- what sort of thing --

   24     what sort of information is crossed out there?

   25            A.    I'm not sure.


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376        Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 132 of 331
Appellate Case: 14-1193 Page: 118  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                       EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                        Page 119
    1             Q.   Okay.     Why is the lot number crossed out?

    2             A.   I don't know exactly.

    3             Q.   Do you know what's crossed out at the lower

    4     right-hand corner?

    5             A.   Not specifically, no.

    6             Q.   Okay.     On 1266, can you tell us the nature of

    7     the information that's re -- well, why the item number and

    8     loss number are redacted?

    9             A.   No.

   10             Q.   Do you notice on that document that it reflects

   11     a manufacturing date of 2011 and an expiration date of

   12     2016?

   13             A.   Yes.

   14             Q.   At the upper left-hand corner?

   15             A.   Yes.

   16             Q.   So what is -- is that -- does this document

   17     reflect an analysis of compounded Pentobarbital?

   18             A.   I can't tell you that.      I -- from the dates, I

   19     would assume not.

   20             Q.   Okay.     The bottom of that document says, "This

   21     analysis is not to be construed as a warranty, expressed

   22     or implied."        What does -- do you -- what does that mean

   23     to you?

   24             A.   I take it the way it's worded, it's not a

   25     warranty.


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 133 of 331
Appellate Case: 14-1193 Page: 119  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                        EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                         Page 120
    1           Q.     Okay.     So essentially they're saying this is our

    2     analysis, but we're not saying that -- we're not willing

    3     to give you a warranty that it's true?

    4           A.     I can't answer your question on that.

    5           Q.     Do you know what laboratory or -- performed the

    6     analysis reflected in 1266?

    7           A.     I am aware of the name of the laboratory, yes.

    8           Q.     Okay.     So is it -- is that the same laboratory

    9     that's doing the other analyses?

   10                  MR. HANSEN:     I'm going to object to the form of

   11     the question.        It's vague.    Just to clarify --

   12                  MS. CARLYLE:     Sure.

   13                  MR. HANSEN:     -- what you mean by the other.

   14           Q.    (By Ms. Carlyle) Let me put it this way.        In the

   15     collection of discovery that we've been given, there are

   16     numerous analysis reports of various kinds.          I mean, maybe

   17     this is an easy question.          Are they all performed by the

   18     same laboratory?

   19           A.     I would guess not.

   20           Q.     Okay.

   21                  MR. HANSEN:     Are you talking about the ones

   22     related to Pentobarbital?

   23                  MS. CARLYLE:     I don't think there are any

   24     analyses -- I don't think there are any analyses that

   25     aren't related to pentobarbital.


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376            Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 134 of 331
Appellate Case: 14-1193 Page: 120  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                          EXHIBIT B
                                DAVE DORMIRE 1/15/2014


                                                                          Page 121
    1                  MR. HANSEN:     I think that's right, I'm just not

    2     entirely sure.

    3                  MS. CARLYLE:     Well, I'm --

    4            Q.   (By Ms. Carlyle) Are all the analyses of

    5     Pentobarbital performed by the same laboratory?           And

    6     you're saying you don't think they are.

    7            A.    The analysis of the compounded Pentobarbital,

    8     yes.

    9            Q.    Okay.   But we're not sure, for example, looking

   10     at this document, 1266, exactly -- whether that's an

   11     analysis of compounded Pentobarbital or not?

   12            A.    That's correct.

   13            Q.    And we also don't know what -- whether -- what

   14     lab prepared this report; is that true?

   15            A.    I'm not sure, no.

   16            Q.    Okay.   If you looked at an unredacted copy, do

   17     you think that would shed some light on that?

   18            A.    I don't know.

   19            Q.    Okay.   Similar questions about 1268.    This is

   20     entitled Certificate of Analysis and reflects a

   21     manufacture date of May 11, 2013 and an expiration date

   22     of -- maybe June 11, I don't know.

   23                  MR. HANSEN:     Which page are you on now?

   24                  MS. CARLYLE:     I'm on page 1268.

   25            Q.   (By Ms. Carlyle) And an expiration date of 2018.


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376             Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 135 of 331
Appellate Case: 14-1193 Page: 121  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                         EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                          Page 122
    1     Do you think that -- I mean, I guess let me ask you, would

    2     your responses about this one be the same as they were

    3     about the -- about 1266?

    4           A.     Yes.

    5           Q.     Okay.    What about 1285?      Is that an analysis of

    6     compounded Pentobarbital?

    7           A.     I believe so.

    8           Q.     Okay.    Now, the redacted material at the top,

    9     would -- is that the name of the laboratory?

   10           A.     Yes, I believe so.

   11           Q.     Okay.    Then the client is redacted and what --

   12     you know, what's that?        Is that the pharmacy or the

   13     prescriber or --

   14           A.     That would be my belief, that that's the

   15     pharmacy.

   16           Q.     So in this context, the laboratory sees its

   17     client as the pharmacy?        It's performing --

   18                  MR. HANSEN:     Objection --

   19           Q.    (By Ms. Carlyle) It's performing the analysis for

   20     the pharmacy.

   21                  MR. HANSEN:     Object to the form of the question.

   22     This witness doesn't know what the pharmacy sees the lab

   23     as.   It calls for speculation on the part of this witness.

   24                  MS. CARLYLE:     Okay.   I'm actually -- what I

   25     actually said was based on this document from the


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376            Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 136 of 331
Appellate Case: 14-1193 Page: 122  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                         EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                          Page 123
    1     laboratory, the laboratory appears to see the pharmacy as

    2     its client.        I agree that the pharmacy doesn't know -- we

    3     don't know what the pharmacy thinks.

    4                  MR. HANSEN:     Yeah, I object to the form of the

    5     question.

    6                  MS. CARLYLE:     Okay.

    7                  MR. HANSEN:     Go ahead.

    8           Q.    (By Ms. Carlyle) And then, once again, you don't

    9     know why the lot number was removed?

   10           A.     I do not.

   11           Q.     And do you -- and you still don't know what's

   12     redacted at the bottom right.

   13           A.     No, I don't.

   14           Q.     Okay.     Let's take a look at page 1295.     And this

   15     is headed Microbiology Report.           What's this an analysis

   16     of?

   17           A.     I believe it is the Pentobarbital sodium

   18     solution.

   19           Q.     Okay.     What -- what batch of Pentobarbital

   20     sodium solution is this an analysis of, can we tell?

   21           A.     What batch?

   22           Q.     I mean, is it Pentobarbital sodium that's

   23     intended for DOC?

   24           A.     That would be my belief, yes.

   25           Q.     Okay.     And at the bottom of this report, it


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376            Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 137 of 331
Appellate Case: 14-1193 Page: 123  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                          EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                           Page 124
    1     says, "The results reported relate only to the sample that

    2     was tested," correct?

    3           A.     Yes.

    4           Q.     Let's take a look at 2048.

    5                  MR. HANSEN:     You said 1208?

    6                  MS. CARLYLE:     2048.

    7                  MR. HANSEN:     2048.

    8           Q.    (By Ms. Carlyle) Is this a -- this is a letter to

    9     Mr. Briesacher.       Is it -- I think we've talked about it

   10     before.     Is it -- does it reflect a bid by a laboratory?

   11           A.     It says attached is the -- you will find the

   12     requested quotation.

   13           Q.     All right.     And does the fact that it's been

   14     redacted mean that it was the -- it was a successful

   15     quotation, that is, that it was one that was accepted or

   16     would you have redacted it anyway?

   17           A.     I can't answer that specific question.

   18           Q.     Okay.    If you looked at the unredacted document,

   19     could you tell if it was from the lab that's actually --

   20     that's actually performing the testing?

   21           A.     I believe so.

   22                  MS. CARLYLE:     Okay.   Okay.     Let's go off the

   23     record for a minute here.

   24                  MR. HANSEN:     While we're still on the record,

   25     just so it's reflected, I don't know if you'll put it in


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376             Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 138 of 331
Appellate Case: 14-1193 Page: 124  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                         EXHIBIT B
                                    DAVE DORMIRE 1/15/2014


                                                                          Page 125
    1     here, but it's 6:05 P.M. now, just so we remember.

    2                     MS. CARLYLE:     Okay.

    3                     (Off the record.)

    4             Q.     (By Ms. Carlyle) When did -- when did you get the

    5     Pentobarbital for Mr. Smulls' execution?

    6             A.      Yesterday.

    7             Q.      Okay.     Let's take a look at some money things.

    8     1295.        Okay.     1295 -- 1296.

    9             A.      1296.

   10             Q.      1296, I'm sorry.

   11             A.      Okay.

   12             Q.      Okay.     1296 reflects a payment of $1,200 to --

   13     for the Joseph Franklin execution; is that correct?

   14             A.      Yes.

   15             Q.      And are these documents used -- they're called

   16     Confidential Execution Team Member Receipt.           Are those

   17     used to pay those members of the execution team whose

   18     identities the Department is protecting?

   19             A.      Yes.

   20             Q.      So the redacted material in the middle

   21     presumably identifies the person who got the payment?

   22             A.      Yes.

   23             Q.      So this person obtained -- got $1,200 and that

   24     was disbursed by Melissa Rohrbach?

   25             A.      Rohrbach is the pronunciation.


                                 MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com            Phone: 1.800.280.3376         Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 139 of 331
Appellate Case: 14-1193 Page: 125  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                           EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                            Page 126
    1           Q.     And does Miss Rohrbach work at -- work in this

    2     office or does she work in ERDCC or --

    3           A.     She works in our finance office downstairs.

    4           Q.     Okay.    So what was the job of the person who got

    5     $1,200?     Is that M2, M3?

    6           A.     It's M2.

    7           Q.     That's M2.     Okay.   Turning to 1297.

    8           A.     Yes.

    9           Q.     I guess this is -- this is a -- a voucher for

   10     $3,000 for Joseph Franklin's execution.             Who gets $3,000?

   11           A.     This is M3.

   12           Q.     That's M3.     Okay.   Let's switch.      There's --

   13     in -- let's look at 2058, I think.          2057?

   14                  MR. HANSEN:     2058, is that what --

   15                  MS. CARLYLE:     Actually, 2057.

   16           A.     Okay.

   17           Q.    (By Ms. Carlyle) Okay.       Who gets -- this is for

   18     the -- this is a payment of $11,091 for the execution of

   19     Allen Nicklasson.       Who gets that?

   20           A.     That's the pharmacy.

   21           Q.     Okay.    Now, the pharmacy's bid for the

   22     pentobarbital was $8,000, was it not?

   23           A.     That was correct.

   24           Q.     So what's the extra $3,091 for?

   25           A.     That was for testing.


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376              Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 140 of 331
Appellate Case: 14-1193 Page: 126  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                          EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                           Page 127
    1             Q.    Okay.    So the pharmacy collects the testing fee?

    2             A.   Yes.

    3             Q.    Okay.    Let's look at 1300.

    4                  MS. CARLYLE:      I promise by tomorrow I'll have

    5     these all on one thing and I won't have to do this.

    6                  MS. BORESI:      You know M3 is going to be at a

    7     remote location tomorrow and we won't have a way to get

    8     documents to him.

    9                  MS. CARLYLE:      Okay.   He probably -- there

   10     probably aren't a whole lot of documents he's going to

   11     need, but that's an interesting issue.            I think last time

   12     we got him some.

   13                   MS. BORESI:     But you did it like a week in

   14     advance.

   15                   MS. CARLYLE:     Yeah.   If we'd have them a week in

   16     advance, it would have been easier.

   17             Q.   (By Ms. Carlyle) Okay.      1300 is what?    What is

   18     1300?

   19             A.    That's a -- the receipt at the pharmacy.

   20             Q.    Okay.    And do we have -- and that's November 13;

   21     is that right?        It's at the top.

   22             A.    Oh, yes; yes.

   23             Q.    I'm not trying to be tricky.        Is that a receipt

   24     that -- well, let me just ask you this.            I mean, how does

   25     the pharmacy get paid?         Does it -- do you send them a


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376             Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 141 of 331
Appellate Case: 14-1193 Page: 127  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                          EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                           Page 128
    1     check or what happens?

    2             A.   I take them cash.

    3             Q.   You take them cash.      Okay.     Is that also true

    4     for M2 and M3?

    5             A.   Yes.

    6             Q.   Okay.     And the -- so the $8,000 payment, the

    7     $11,000 payment were cash payments?

    8             A.   Yes.

    9             Q.   1298.     1298 is a receipt for $300.      Who gets

   10     $300?

   11             A.   M5.

   12             Q.   Okay.     And M5 is?

   13             A.   The --

   14             Q.   Prescriber?

   15             A.   Prescriber.

   16             Q.   Okay.     And who is Susan Wood?

   17             A.   Susan is in our finance office.

   18             Q.   Okay.     And is that -- so is that also a cash

   19     payment?

   20             A.   Yes.

   21             Q.   Okay.     What -- is there a -- is there an

   22     internal document that says that these people are to be

   23     paid in cash?        How does that -- how does that happen?         Who

   24     made the decision to pay them in cash, I guess is the

   25     question?


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376             Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 142 of 331
Appellate Case: 14-1193 Page: 128  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                           EXHIBIT B
                                  DAVE DORMIRE 1/15/2014


                                                                            Page 129
    1             A.   You're going back many, many years.          I don't --

    2     I don't know.

    3             Q.    Well, they -- you provide the Internal Revenue

    4     Service with proof that they've been paid, do you not?

    5             A.   I do not know.

    6             Q.    Okay.     So you don't know whether the Department

    7     of Corrections issues a 1099 for someone that it pays --

    8             A.   I don't know.

    9             Q.    -- $3,000 in cash?        Let's go back to here.

   10     2494.

   11                   MR. HANSEN:      I'm sorry, what page?

   12                   MS. CARLYLE:      2494.

   13             A.    Are you sure?

   14             Q.   (By Ms. Carlyle) Maybe not, no.        It's not 2494.

   15     It is --

   16                   MR. HANSEN:      There is no 2494, right?

   17                   MS. CARLYLE:      You're right.    Not anymore.    Let

   18     me see something.         Well, okay.     I thought I fixed that

   19     problem.

   20             Q.   (By Ms. Carlyle) Well, actually, I tell you what

   21     let's do, let's look in -- we knew we had this box here

   22     for a reason.         Let's see what we've got here.      What I'm

   23     doing -- okay.         Okay.   Okay.    I'm handing you Exhibit 2,

   24     which is a disk containing numerous documents, pages 2492

   25     through 2499.


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376               Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 143 of 331
Appellate Case: 14-1193 Page: 129  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                          EXHIBIT B
                                DAVE DORMIRE 1/15/2014


                                                                           Page 130
    1                  MR. HANSEN:     I'm sorry, what did you say?

    2                  MS. CARLYLE:     2492 through 2499.

    3                  MR. HANSEN:     2492 to 2499.

    4                  THE WITNESS:     Do you want to see those?

    5                  MR. HANSEN:     What's that?

    6                  THE WITNESS:     Do you want to see those?

    7                  MR. HANSEN:     I do want to see those because I do

    8     not have copies of those.        They're at my office because

    9     they got scanned.      But we do need to at this point,

   10     Elizabeth, identify the fact that the page numbers that

   11     we're referring to now are not a part of Exhibit 1.

   12                  MS. CARLYLE:     That's why I said they were part

   13     of Exhibit 2.

   14                  MR. HANSEN:     Oh, you did.     Okay.   I want to make

   15     sure that was clear in the record.           Okay.

   16                  MS. CARLYLE:     Unfortunately, what's happening

   17     here is that my computer does not want to read this disk.

   18     I'll give it another try here.

   19                  MR. HANSEN:     Off the record.

   20                  (Off the record.)

   21                  (Exhibit No. 2 marked for identification.)

   22           Q.    (By Ms. Carlyle) 2492, can you tell us what 2492

   23     is?

   24                  MS. CARLYLE:     Wait a minute, he's still looking

   25     at them.     I'm sorry.     Forgive me.


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376              Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 144 of 331
Appellate Case: 14-1193 Page: 130  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                        EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                         Page 131
    1           A.     2492 is a memo from myself to Lenny Lenger, the

    2     comptroller in the fiscal management unit.

    3           Q.    (By Ms. Carlyle) And what is it asking Mr. -- I'm

    4     sorry, is it Mr. --

    5                  MR. HANSEN:     You want to spell that for --

    6           A.     Lenger.     Oh, Lenny, L-E-N-N-Y, Lenger,

    7     L-E-N-G-E-R.

    8           Q.    (By Ms. Carlyle) And is that Mr. or Miss?

    9           A.     Mister.

   10           Q.     Mister, okay.     What are you asking Mr. Linger to

   11     do for you?

   12           A.     I am requesting money for payment for execution

   13     services to two contract providers and then again in the

   14     second paragraph to four contract providers.

   15           Q.     Okay.

   16           A.     For varying amounts.

   17           Q.     Okay.     And are those the four contract providers

   18     we've just -- well, who are the four contract providers by

   19     function?

   20           A.     M2, M3, M2, M3, M5 and M6.

   21           Q.     Okay.     And so that's -- that's the way you --

   22     you asked him to give you, you know, 16, $17,000 in cash?

   23           A.     (Witness nodding.)

   24           Q.     Okay.     Turning to page 2494, can you tell us

   25     what that is?


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376            Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 145 of 331
Appellate Case: 14-1193 Page: 131  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                          EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                          Page 132
    1           A.     This -- this would appear to be a ledger that

    2     they use.      I don't -- I'm not familiar with what this is.

    3           Q.     Who's they?

    4           A.     The fiscal management unit.

    5           Q.     Okay.

    6           A.     Yeah.

    7           Q.     So you don't -- I mean, is there any -- who in

    8     the fiscal manager -- management unit would I want to ask

    9     if I wanted to know who that was?

   10           A.     Mr. Lenger would know what this is.

   11           Q.     Okay.     Okay.   Next page, 2095 -- 2495.    This

   12     reflects $5,000 for medical consulting.           Who's being

   13     consulted there?

   14           A.     I'm -- I'm not up on these type of documents.           I

   15     don't know.        I'm going to believe this was moving money

   16     into an account, but I don't know that.

   17           Q.     Okay.     So who -- so whose signature do we have

   18     down on the bottom there?

   19           A.     The signature at the bottom is Doug Nelson.

   20           Q.     And who is Doug Nelson?

   21           A.     Doug Nelson is the commissioner of Office of

   22     Administration.

   23           Q.     Okay.     And is that part of the Department of

   24     Corrections or --

   25           A.     No, no.


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376            Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 146 of 331
Appellate Case: 14-1193 Page: 132  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                         EXHIBIT B
                                  DAVE DORMIRE 1/15/2014


                                                                          Page 133
    1             Q.    Okay.    It's part of the State of Missouri?

    2             A.   No, he is the -- he is the director of the

    3     Office of Administration.         I'm believing that's his --

    4                  MR. HANSEN:      It's like GSA for the federal

    5     government.

    6                  MS. CARLYLE:      Okay.

    7                  MR. HANSEN:      It's over -- the umbrella

    8     organization for the state agencies.

    9                  MS. CARLYLE:      Okay.

   10                   THE WITNESS:     It says commissioner of

   11     administration signatures.

   12             Q.   (By Ms. Carlyle) So 2496 is a requisition, a

   13     Department of Corrections requisition for $5,000?

   14             A.    Yes.

   15             Q.    Which, it looks like Melissa signed.

   16             A.    And myself.

   17             Q.    And yourself.     Okay.

   18             A.    Yes.

   19             Q.    And so what -- what were you doing there?

   20             A.    I was moving money into the fund that we use for

   21     this.

   22             Q.    The fund that we use for?

   23             A.    To pay for execution services.

   24             Q.    Okay.    And then 2497, is that -- which is

   25     $12,500?


                               MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com          Phone: 1.800.280.3376           Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 147 of 331
Appellate Case: 14-1193 Page: 133  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                           EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                            Page 134
    1           A.     It appears to be the same as that $5,000

    2     document earlier.

    3           Q.     Okay.    So is the -- I notice that your

    4     requisitions don't call it medical consulting.             Is medical

    5     consulting just something Mr. Nelson's office seems to

    6     have decided to call it?

    7           A.     I do not know who fills out these forms.

    8           Q.     Okay.    Because conducting an execution is not,

    9     in fact, medical consulting, is it?

   10           A.     No, I wouldn't think so.

   11           Q.     So -- and then the -- the others I've showed you

   12     are basically just other examples of the same thing, true?

   13           A.     Yes.

   14           Q.     Okay.    Go back to look for 1299, I think.         No,

   15     actually, we don't need to look at 1299.           Okay.    Okay.

   16     Actually, I've -- let's look at 2399.

   17                  MR. HANSEN:     99?

   18                  MS. CARLYLE:     2399, yeah.

   19           A.     Okay.

   20           Q.    (By Ms. Carlyle) Okay.      And what is this?

   21           A.     Inventory -- let's see.        Eastern Reception

   22     Diagnostic Center, Chemical Control Record.           It says

   23     capital punishment transactions.

   24           Q.     The only drug that's reflected on here is

   25     Pentobarbital, right?


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376              Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 148 of 331
Appellate Case: 14-1193 Page: 134  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                         EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                          Page 135
    1            A.    Yes.

    2            Q.    Okay.    And what units are those where it says

    3     four, two and two?

    4            A.    I -- it's labeled as 100M, slash, 50MG, slash,

    5     ML.

    6            Q.    Right.    But that's a concentration, is it not?

    7            A.    I would believe it's a volume.       I don't --

    8            Q.    Okay.    I guess I would read that as 100M

    9     whatever they are per 50 milligram per milliliter.             Okay.

   10     So who -- so I guess we're not sure exactly what the units

   11     are.    But what we learned from another log was that

   12     five grams were -- or five grams were destroyed after the

   13     execution, correct?

   14            A.    That's correct.

   15                  MR. HANSEN:     We're talking about 2399; is that

   16     correct?

   17                  THE WITNESS:     Yes.

   18                  MS. CARLYLE:     Yes, yes.

   19            Q.   (By Ms. Carlyle) Who are the witnesses on the

   20     right there?

   21            A.    Joe Hofmeister and Terry Russell are the first

   22     two.

   23            Q.    The third one looks like Johnston to me, but

   24     maybe I'm misreading it.

   25            A.    Joe Hofmeister is the first one, Terry Russell


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376           Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 149 of 331
Appellate Case: 14-1193 Page: 135  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                              EXHIBIT B
                                    DAVE DORMIRE 1/15/2014


                                                                              Page 136
    1     is the second one.           Becky Johnston is the first witness on

    2     the third item.

    3             Q.      Oh, I see.      Wait a minute.

    4             A.      Pardon?

    5             Q.      There are two sets of witnesses and I've got the

    6     thing covered.          Okay.

    7             A.      And I do not know the second witness.

    8             Q.      You can't read that one?         That's a worse

    9     signature than mine.            Okay.     So -- but I guess the sum

   10     total of this is whatever those units are, the four, the

   11     two and the two, by November 21, the Department no longer

   12     had any Pentobarbital?

   13             A.      That's correct.

   14             Q.      Okay.     I actually only have a couple of more.

   15     1303.        Okay.   Tell me what this is, please.

   16                     MR. HANSEN:      Hang on a second.     Let me get

   17     there.

   18                     MS. CARLYLE:      Oh, sure.

   19                     MS. BORESI:      What was the number, please?

   20                     MS. CARLYLE:      1303.

   21             Q.     (By Ms. Carlyle) This appears to be a handwritten

   22     document, true?

   23             A.      You are correct.

   24             Q.      Do you know whose handwriting it is?

   25             A.      I do.


                               MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com          Phone: 1.800.280.3376               Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 150 of 331
Appellate Case: 14-1193 Page: 136  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                          EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                           Page 137
    1           Q.     And whose is it?

    2           A.     It is mine, my handwriting.

    3           Q.     Well, then, what can you tell us about it?

    4           A.     This is my notes that I used to remind myself of

    5     all the documents that I needed to ensure I had.

    6           Q.     Okay.    So what -- what was -- what's redacted on

    7     these notes?

    8           A.     Names and phone numbers.

    9           Q.     Okay.

   10           A.     Addresses.

   11           Q.     And are they redacted -- are all those

   12     redactions of people that you contend are shielded either

   13     as execution team members or state secrets or are they --

   14           A.     Yes.

   15           Q.     Okay.    In the middle it says, "AG's want to run

   16     a check."      Do you have any idea what that referred to?

   17                  MR. HANSEN:     Well, I'm going to object to the

   18     form, foundation of that question.         I don't think it's

   19     been -- he hasn't said what that says.            I mean, you might

   20     ask him that first.

   21           Q.    (By Ms. Carlyle) Okay.      Does it say, "AG's want

   22     to run a check?"

   23           A.     That was a note I made to myself indicating

   24     that --

   25                  MR. HANSEN:     Just listen to the question.


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376             Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 151 of 331
Appellate Case: 14-1193 Page: 137  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                       EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                        Page 138
    1             Q.   (By Ms. Carlyle) Let me stop you just for a

    2     second.

    3             A.   Sure.

    4             Q.    Does it appear to be "AG's want to run a check"?

    5     Am I reading your handwriting correctly?

    6             A.   Yes.

    7             Q.    Now, if you remember what that was about, please

    8     tell us.

    9                  MR. HANSEN:     Well, I'm going to object at this

   10     point unless it relates to legal advice that we, as

   11     representatives, told you, but -- can I talk to -- can we

   12     talk?

   13                   MS. CARLYLE:    Sure.

   14                   MR. HANSEN:    Just for a moment.

   15                   THE WITNESS:    Sure.

   16                   (Off the record.)

   17                   MR. HANSEN:    Back on the record.   Withdraw the

   18     objection.

   19                   MS. CARLYLE:    Okay.

   20                   MR. HANSEN:    You can go ahead and answer.

   21             A.    That was a note to myself indicating that I was

   22     to secure the licenses and things because my note was the

   23     Attorney General's Office wanted to make sure that we run

   24     checks on those individuals.

   25             Q.   (By Ms. Carlyle) On what individuals?


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 152 of 331
Appellate Case: 14-1193 Page: 138  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                          EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                           Page 139
    1           A.     The individuals that I was dealing with.

    2           Q.     Okay.     And can you identify them by function?         I

    3     understand you're not going to give me their names, but --

    4                  MR. HANSEN:     Give them the pseudonyms.

    5           A.     The prescribing -- M5 and M6.

    6           Q.    (By Ms. Carlyle) M5 and M6.         Okay.

    7           A.     Yes.

    8           Q.     And do you know what check they ran?

    9           A.     I do not know what all Mr. Briesacher did.

   10           Q.     Mr. Briesacher, just so we're clear, is not an

   11     AG, is he?

   12           A.     That's correct.

   13                  MR. SPILLANE:     Off the record.

   14                  (Off the record.)

   15           Q.    (By Ms. Carlyle) Okay.      To clarify, does this

   16     note mean that you were being directed by the Attorney

   17     Generals to run checks or that you were obtaining this

   18     information because the Attorney Generals wanted to run a

   19     check?

   20           A.     My -- I wrote that note because Mr. Briesacher

   21     indicated that he wanted to run checks because he was

   22     requested to do so by the Attorney General's Office.

   23           Q.     Okay.     Then the only thing I think -- well, I

   24     won't say that, but we're coming to the end.            Let's take a

   25     look at 1304.        Can you tell me what that is?


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376             Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 153 of 331
Appellate Case: 14-1193 Page: 139  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                       EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                        Page 140
    1           A.     That is the names, addresses, phone numbers and

    2     fax numbers and DEA numbers for M5 and M6.

    3           Q.     Okay.    Under what -- are you involved in

    4     determining whether prisoners who are awaiting execution

    5     will be allowed to have confidential visits with their

    6     attorneys or clergy or who makes that determination?

    7           A.     Generally the warden makes that determination.

    8           Q.     Okay.    Are there any written guidelines about

    9     when a confidential -- and by confidential, I mean visit

   10     with no one else in the room will be permitted?

   11           A.     I don't know specifically what all is written.

   12           Q.     Are you involved in the determination of when

   13     the execution can proceed, that is when the determination

   14     has been made that there's no legal reason why it can't

   15     proceed?

   16           A.     No.

   17           Q.     Is that Mr. Lombardi's call?

   18           A.     Yes.

   19                  MS. CARLYLE:     Okay.   I believe I'm ready to pass

   20     the witness if you want to ask him any more.

   21                  MR. HANSEN:     Very briefly.

   22     EXAMINATION BY MR. HANSEN:

   23           Q.     We've been here a little over five hours, I

   24     think, Mr. Dormire, so I just want to clarify --

   25           A.     Sure.


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 154 of 331
Appellate Case: 14-1193 Page: 140  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                           EXHIBIT B
                                    DAVE DORMIRE 1/15/2014


                                                                           Page 141
    1             Q.      -- a couple of things.      Back -- right after we

    2     started, a little after 1:30, you were asked a question

    3     about a protocol that had been considered by the

    4     Department and that is in Exhibit 1 and it's pages 2246 to

    5     2249.        And I'd ask you to look specifically at page 2248.

    6     Do you have that yet?

    7             A.      2248, yes.

    8             Q.      Actually, that's not the right page number.        Oh,

    9     yeah, it is.           I'm at the wrong page number in my book

   10     here.        And I'll ask you to look down under paragraph b2A

   11     and you were asked a question -- I'm going to paraphrase

   12     it without having the court reporter go all the way back

   13     and read it, but you were asked a question about whether

   14     the Department maintained Midazolam and Hydromorphone for

   15     use in executions.            Do you remember being asked that

   16     question?

   17             A.      Yes.

   18             Q.      And your answer was no, do you recall that?

   19             A.      Yes.

   20             Q.      Since you gave that answer, do you have any

   21     information to include to correct that answer?

   22             A.      Yes; yes.

   23             Q.      And what is that?

   24             A.      I was reminded that we had purchased those items

   25     as a backup.           Yes.


                                 MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com            Phone: 1.800.280.3376          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 155 of 331
Appellate Case: 14-1193 Page: 141  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                       EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                        Page 142
    1           Q.     At the time this was --

    2           A.     Being considered, yes, yes.

    3           Q.     All right.     And do you still -- do you still

    4     have those drugs in your inventory?

    5           A.     Yes.

    6           Q.     Are those drugs part of the protocol that has

    7     been adopted and is currently in use?

    8           A.     No.

    9           Q.     The only other question or topic I want to ask

   10     you about is back about 3:30 or so, you were asked some

   11     questions relating to M6 and M6 is the pseudonym for who

   12     or what?

   13           A.     It is -- on -- the contract is with the

   14     pharmacy.

   15           Q.     Okay.     But that M6 refers to the pharmacy?

   16           A.     Yes.

   17           Q.     And you were --

   18           A.     Well --

   19           Q.     -- shown a document in response to

   20     Miss Carlyle's -- or along with Miss Carlyle's question

   21     which is found at page 12 of 60.         And what is that

   22     document?

   23           A.     That is the naming of a pseudonym for team

   24     member of M6.

   25           Q.     That was the letter written to the pharmacy?


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 156 of 331
Appellate Case: 14-1193 Page: 142  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                          EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                           Page 143
    1           A.     Yes.

    2           Q.     Informing them that that would be their moniker?

    3           A.     Yes.

    4           Q.     And what is the Department's position, does that

    5     cover just an individual person or the pharmacy or what?

    6           A.     We believe that covers the entire pharmacy.

    7           Q.     Including its employees?

    8           A.     Yes.

    9                  MR. HANSEN:     Okay.    That's all I have.

   10                  MS. CARLYLE:     Okay.    Well, unfortunately, it's

   11     not going to be quite that simple.

   12                  MR. HANSEN:     I'm just saying that's all I have.

   13     If you have more questions, ask away.

   14                  MS. CARLYLE:     Okay.

   15     EXAMINATION BY MS. CARLYLE:

   16           Q.     So when was it that you purchased Midazolam and

   17     Hydromorphone for execution?

   18           A.     I don't know the exact date.

   19           Q.     Can you give me a year?

   20           A.     Oh, it was in 2013.       It was while this protocol

   21     was being considered.

   22           Q.     So it's still available, so if you wanted to

   23     change the protocol next week, you would have it available

   24     for an execution; is that true?

   25           A.     Yes; yes.


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376             Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 157 of 331
Appellate Case: 14-1193 Page: 143  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                      EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                        Page 144
    1           Q.     Okay.     How much Midazolam do you have on hand?

    2           A.     I was told that it's enough for three

    3     executions.        I don't know how much that is.

    4           Q.     Okay.     And a similar quantity of Hydromorphone?

    5           A.     Yes.

    6           Q.     And can you give us the expiration date of the

    7     Midazolam you have on hand?

    8           A.     My understanding, it's later this spring, I

    9     believe.

   10           Q.     And similarly the expiration date of

   11     Hydromorphone?

   12           A.     I think it's about the same.

   13           Q.     Okay.     And where are the documents that reflect

   14     those purchases?        Well, who supplied the hydro -- the

   15     Midazolam?

   16           A.     Those would have been purchased by the business

   17     manager at Bonne Terre.

   18           Q.     Okay.     From whom?

   19                  MR. HANSEN:     Hang on a second.

   20                  THE WITNESS:     Yes.

   21                  MS. CARLYLE:     There's nothing that says the

   22     suppliers of Midazolam for a backup drug are members of an

   23     execution team.

   24                  MR. HANSEN:     Well, let me think about it.

   25                  MS. CARLYLE:     Okay.


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376         Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 158 of 331
Appellate Case: 14-1193 Page: 144  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                      EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                       Page 145
    1                  MR. HANSEN:     Go ahead and answer.

    2           A.     Your question again?

    3           Q.    (By Ms. Carlyle) My question is who was the

    4     supplier of the Midazolam?

    5           A.     Oh, I don't know.

    6           Q.     Okay.     Who does?

    7           A.     The institution at Bonne Terre, the business

    8     manager.

    9           Q.     Is that Miss Johnston?

   10           A.     Yes.

   11           Q.     Do you know who the Hydromorphone came from?

   12           A.     No.     No, I don't.

   13           Q.     And would Miss Johnston know about that, too?

   14           A.     Yes.

   15           Q.     Okay.     So when you were asked about this earlier

   16     today, you simply forgot that you had them?

   17           A.     I was probably informed, but it -- I didn't

   18     believe at the time that we had gone ahead and purchased

   19     them, but I was reminded that we had.

   20           Q.     So who decided that the -- that Midazolam and

   21     Hydromorphone should be purchased for executions?

   22           A.     Specifically, I don't -- I don't know.     I would

   23     assume that it -- that the final decision was Director

   24     Lombardi.

   25           Q.     Was that something you recommended?


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376         Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 159 of 331
Appellate Case: 14-1193 Page: 145  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                         EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                          Page 146
    1           A.     I don't remember recommending it, no.

    2           Q.     Okay.    Was the decision -- well, I guess I'm

    3     trying to get a little chronology here.           Was the -- were

    4     the Midazolam and Hydromorphone purchased before the

    5     protocol we were talking about, 2246 through 2249, was

    6     drafted?

    7           A.     I do not know for sure.

    8           Q.     So you don't know whether -- let me think about

    9     this for a minute.       Does the Department of Corrections

   10     plan to use Midazolam and Hydromorphone for executions?

   11           A.     At this point, no.

   12           Q.     Who knows what the exact expiration date is?

   13           A.     Miss Johnston.

   14           Q.     Do you believe that in order to use Midazolam

   15     and Hydromorphone for executions, it would be necessary

   16     for the DOC to release a new public protocol?

   17           A.     Yes.

   18           Q.     How soon before such an execution do you think

   19     such a protocol would need to be released?

   20           A.     I don't know that answer.

   21           Q.     24 hours?

   22           A.     No.

   23                  MR. HANSEN:     Objection to the form of the

   24     question, foundation.        It's been answered, but go ahead.

   25           A.     Yeah, no, certainly not 24 hours, but I can't


                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376            Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 160 of 331
Appellate Case: 14-1193 Page: 146  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                      EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


                                                                        Page 147
    1     tell you how long.

    2           Q.    (By Ms. Carlyle) Do you think -- are you -- do

    3     you think it would be -- if you were to announce such a

    4     protocol now, that it would be appropriate to use that

    5     combination on Mr. Smulls on January 29?

    6           A.     It's awfully quick, but I don't make those final

    7     decisions.

    8           Q.     Is that a decision Mr. Lombardi makes?

    9           A.     Yes; yes.

   10           Q.     Okay.     Let me just ask you a couple of things

   11     about this -- about M6.        M6 you're now telling us is a

   12     pseudonym for the pharmacy as a whole?

   13           A.     We signed a -- we signed an agreement with the

   14     pharmacy that we would keep them confidential.

   15           Q.     Okay.     Did you sign an agreement that you would

   16     keep the individual employees confidential?

   17           A.     Not with each individual employee, no.

   18           Q.     Okay.     How many individual employees at the

   19     pharmacy have you dealt with?

   20           A.     Have I dealt with?

   21           Q.     Uh-huh.

   22           A.     Primarily one, but there is a second one that is

   23     somewhat involved.

   24           Q.     And are you willing to reveal their names?

   25           A.     No.


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 161 of 331
Appellate Case: 14-1193 Page: 147  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                      EXHIBIT B
                                DAVE DORMIRE 1/15/2014


                                                                       Page 148
    1           Q.     Why not?

    2           A.     I believe it would violate the agreement that we

    3     have signed with them.

    4                  MS. CARLYLE:    Okay.   I think -- I don't think I

    5     have any further questions.

    6                  MR. HANSEN:    No questions.

    7                  THE WITNESS:    Thank you.

    8                  MS. CARLYLE:    Oh, signature.

    9                  MR. HANSEN:    We'll waive presentment, like to

   10     read it and sign.

   11                  MS. CARLYLE:    Okay.

   12                  MR. HANSEN:    1 through 7, I want a copy of the

   13     disk to show what it is, but not the disk itself.        The

   14     exhibits except 8 and 9, put the original with the

   15     original deposition.

   16                  MS. CARLYLE:    I just want an electronic copy and

   17     PDF format.

   18                  MR. HANSEN:    I just want an e-tran that will

   19     have a copy of the exhibits.

   20                  (Proceedings concluded at 7:02 P.M.)

   21

   22

   23

   24

   25


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 162 of 331
Appellate Case: 14-1193 Page: 148  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                    EXHIBIT B
                                DAVE DORMIRE 1/15/2014


                                                                     Page 149
    1                          CERTIFICATE OF REPORTER

    2                  I, Julie K. Kearns, Certified Court Reporter

    3     (MO), Certified Shorthand Reporter (IL), Registered

    4     Professional Reporter and Certified Realtime Reporter

    5     within and for the State of Missouri, do hereby certify

    6     that the witness whose testimony appears in the foregoing

    7     deposition was duly sworn by me; the testimony of said

    8     witness was taken by me to the best of my ability and

    9     thereafter reduced to typewriting under my direction; that

   10     I am neither counsel for, related to, nor employed by any

   11     of the parties to the action in which this deposition was

   12     taken, and further that I am not a relative or employee of

   13     any attorney or counsel employed by the parties thereto,

   14     nor financially or otherwise interested in the outcome of

   15     the action.

   16

   17

   18                         ________________________________________

   19                         Julie K. Kearns, CCR #993, CSR, RPR, CRR

   20

   21

   22

   23

   24

   25


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376        Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 163 of 331
Appellate Case: 14-1193 Page: 149  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                     EXHIBIT B
                                DAVE DORMIRE 1/15/2014


                                                                       Page 150
    1                        Midwest Litigation Services
    2
    3                              January 20, 2014
    4
    5     David Hansen, Esq.
          MISSOURI ATTORNEY GENERAL'S OFFICE
    6     211 West High Street
          Jefferson City, Missouri       65102
    7
    8     In Re:     David Zink, et al. vs. George Lombardi, et al.
    9
          Dear Mr. Hansen:
   10
          Please find enclosed your copy of the deposition of
   11     DAVE DORMIRE, taken on January 15, 2014 in the
          above-referenced case.       Also enclosed is the original
   12     signature page and errata sheets.
   13     Please have the witness read your copy of the
          transcript, indicate any changes and/or corrections
   14     desired on the errata sheets, and sign the signature
          page before a notary public.
   15
          Please return the errata sheets and notarized signature
   16     page to Ms. Carlyle for filing prior to trial date.
   17     Thank you for your attention to this matter.
   18     Sincerely,
   19
   20     Julie K. Kearns
   21     CC:   Elizabeth Unger Carlyle, Esq.
   22
   23
   24
   25


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376         Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 164 of 331
Appellate Case: 14-1193 Page: 150  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                    EXHIBIT B
                                DAVE DORMIRE 1/15/2014


                                                                     Page 151
    1                                 Errata Sheet
    2     Witness:     DAVE DORMIRE
    3     In Re:     David Zink, et al. vs. George Lombardi, et al.
    4     Upon reading the deposition and before subscribing
          thereto, the deponent indicated the following changes
    5     should be made:
    6     Page       Line     Should read:
          Reason assigned for change :
    7
          Page       Line     Should read:
    8     Reason assigned for change :
    9     Page       Line     Should read:
          Reason assigned for change :
   10
          Page       Line     Should read:
   11     Reason assigned for change :
   12     Page       Line     Should read:
          Reason assigned for change :
   13
          Page       Line     Should read:
   14     Reason assigned for change :
   15     Page       Line     Should read:
          Reason assigned for change :
   16
          Page       Line     Should read:
   17     Reason assigned for change :
   18     Page       Line     Should read:
          Reason assigned for change :
   19
          Page       Line     Should read:
   20     Reason assigned for change :
   21     Page       Line     Should read:
          Reason assigned for change :
   22
   23     Witness Signature:
   24     Reporter:      Julie K. Kearns
   25


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376        Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 165 of 331
Appellate Case: 14-1193 Page: 151  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                     EXHIBIT B
                                DAVE DORMIRE 1/15/2014


                                                                       Page 152
    1                  I, DAVE DORMIRE, do hereby certify:

    2                  That I have read the foregoing deposition;

    3                  That I have made such changes in form and/or

    4     substance to the within deposition as might be necessary

    5     to render the same true and correct;

    6                  That having made such changes thereon, I hereby

    7     subscribe my name to the deposition.

    8                  I declare under penalty of perjury that the

    9     foregoing is true and correct.

   10

   11                  Executed the _______ day of ____________, 20___,

   12     at ________________________________________.

   13

   14                  _____________________________________.

   15                  DAVE DORMIRE

   16

   17     My Commission Expires:       _____________________________

   18     Notary Public:               _____________________________

   19     JK

   20

   21

   22

   23

   24

   25


                             MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com        Phone: 1.800.280.3376         Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 166 of 331
Appellate Case: 14-1193 Page: 152  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                                EXHIBIT B
                                     DAVE DORMIRE 1/15/2014


           A          administration        138:4             announcement        93:2,3 132:1
  ability 9:17          18:5 47:11 49:7   AG000639 8:17        83:25,25           138:4
    12:12 149:8         55:15 97:11       AG002514 8:17       answer 10:22      appears 26:5
  able 52:8,10          132:22 133:3      ahead 12:8 19:8      12:8,20,21,21      29:13 33:1 34:1
    74:20               133:11              20:3,6 24:17       12:22 13:7,12      37:17,19 38:9
  above-referenc...   administrative        40:3 53:21         13:13 23:16        57:20 58:1
    150:11              20:10 29:7,24       60:18 87:3         30:7 40:11         66:11 67:17
  Absolutely 25:19      30:1 32:21 34:8     90:13 123:7        42:24 43:4,11      71:16,18 73:24
  accepted 124:15       50:4,5 53:25        138:20 145:1       43:22,25 45:1      74:7 79:22 82:3
  account 13:19         83:6                145:18 146:24      45:19,22 52:8      82:20,22 92:14
    132:16            adopted 142:7       al 1:4,7 3:4,7,18    53:21,23 55:8      92:15 116:8,25
  accreditation       advance 43:6          3:19 150:8,8       60:3,18 61:9       123:1 134:1
    74:4 116:16,19      127:14,16           151:3,3            63:2,10 64:18      136:21 149:6
    116:20,25         advice 138:10       allegedly 44:8       97:1 98:11       application
    117:13,14         advises 39:12       Allen 23:15,19       100:1 101:11       32:23
  acknowledge 6:5     affidavit 2:13        27:9 39:12,16      101:16 102:2,3   apply 95:23
    12:15 13:2          13:25 111:7,17      126:19             102:4,6 104:14   appreciate 49:25
    24:20               111:24 112:20     alleviate 8:9        105:1 113:14       88:3 92:25
  acknowledged          112:23,25         allow 43:22,22       113:16 114:6     approach 16:3
    74:10               113:18,21           60:7 61:6 112:6    115:9 117:3,11   approached 55:4
  acknowledging       afternoon 3:12        115:9              117:11 120:4     appropriate 63:6
    44:20             AG 139:11           allowed 25:4         124:17 138:20      87:7 112:7,11
  action 149:11,15    age 9:23              43:14 140:5        141:18,20,21       113:22 147:4
  active 48:25 49:3   agencies 47:4       allows 89:11         145:1 146:20     appropriately
    49:11               133:8               112:1 113:6,9     answered 10:25      107:21
  activity 39:14,15   ago 7:22,22 9:5     alternative 22:8     12:1,1,12,14     approval 89:14
  actual 16:19 37:7   AGO002250           ambiguous 41:20      27:21 43:18      approved 49:7
    56:15 99:20         20:13               41:23 100:1        75:11 146:24       49:12 88:16
    109:14            AGO002405           amended 2:11,12     answering 13:4    area 95:1
  add 21:24             2:14 26:1           65:12,19 71:14    answers 10:23     areas 27:20
  additional 11:2     AGO00247 2:14       American 116:15      12:16 13:17      argue 114:24
    12:11 92:14       AGO002471             116:19             14:8,16 22:22    Ashland 52:13
    109:11 112:15       26:6              amount 91:2          36:21 42:19        52:13
  address 72:18       AGO002587             109:14             46:3 74:13       asked 12:11 13:9
    86:2                2:15              amounts 131:16      anybody 16:24       23:14 40:20
  addressed 62:5,9    AGO002680           analyses 120:9      anymore 129:17      51:25 52:1
    73:24               2:15                120:24,24         anyway 80:3         60:14 86:14
  addresses 137:10    AGO2250 20:16         121:4              124:16             97:18 104:9,11
    140:1             agree 123:2         analysis 117:18     apart 81:8          104:15 106:7
  adheres 47:19       agreed 5:1 25:11      119:17,21         apologize 11:17     131:22 141:2
  administer 77:16      54:3,4              120:2,6,16         23:8               141:11,13,15
    77:23 89:16       agreement 58:23       121:7,11,20       apparently          142:10 145:15
  administered          104:16 147:13       122:5,19           101:24           asking 10:17
    90:8,9,12           147:15 148:2        123:15,20         appear 20:17        12:14 18:14
  administering       agreements          and/or 150:13        33:22 34:2,21      19:13 41:21
    77:22               58:16               152:3              57:14 70:2,4       51:8 52:3 53:7
  administers 90:6    AG's 137:15,21      announce 147:3       82:18 91:14        60:13 61:1,3

                                 MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com            Phone: 1.800.280.3376                        Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 167 of 331
Appellate Case: 14-1193 Page: 153  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                               EXHIBIT B
                                     DAVE DORMIRE 1/15/2014


    63:2 72:16          139:18,22       66:12 134:12         118:3              49:16 54:1
    76:17,18,19         149:13 150:5   batch 118:3         beyond 45:22         61:14,17 73:25
    81:3 89:25        attorneys 140:6   123:19,21            107:21             74:18 83:13
    115:4 131:3,10    attorney's 25:5  batches 108:9       bid 40:11 53:15      100:13,25
  aspect 78:20,20     authority 28:18   109:10               55:15,24 56:8      101:5 104:14
  asserted 101:14       39:18 108:25   Bates 2:14,15         56:11,17           107:2 113:20
    114:7             authorization     26:23                124:10 126:21      117:11 124:9
  assessment 15:6       50:8 51:3      Bates-stamped       bids 51:4,10,14      139:9,10,20
  assigned 62:18      availability      9:13 25:17,20        51:15,16 101:3    bring 16:16
    80:5 99:10          50:20          bear 72:22          big 26:4            building 17:6
    151:6,8,9,11,12   available 7:6    Becky 136:1         bit 7:10 114:1       97:11
    151:14,15,17        22:13 44:19    beginning 8:16      bits 107:15,17      bunch 102:24
    151:18,20,21        46:2 54:14,21   46:15 82:1         blank 8:7 32:8,10   business 64:6,8
  assignments           54:22 56:4     begins 19:7           70:20              64:11 74:1
    80:21 81:4          143:22,23       26:23 71:6         blanks 31:3          114:1 115:12
  assistant 20:10     awaiting 140:4    78:25 79:1,11      blocked 35:7         115:15 116:15
    29:7,24 30:2      aware 12:24,24    79:13 80:19,19     bolded 94:16         144:16 145:7
    32:21 34:8          15:10 67:8 71:9behalf 1:10 9:24    Bonne 110:18,22     businesses 114:2
    53:25 83:6          74:18 82:25     10:10                144:17 145:7      buying 41:3
  Association           83:6 91:24     belief 117:16       book 141:9          b2A 141:10
    116:15,19           96:12 97:17     122:14 123:24      Boresi 4:9 6:21
  assume 51:14          98:16,19 118:9 believe 5:14 7:13     9:10 86:8 95:7           C
    72:18 103:12        120:7           7:22 16:9 27:1       127:6,13          C 4:1
    117:9 119:19      awfully 147:6     33:15 34:12          136:19            call 27:17 36:10
    145:23                              36:8 42:7 48:3     bottle 38:24          36:10,11 39:4
  assumed 107:7               B         49:16 50:10        bottles 110:12        68:2 80:15
  assuming 30:9       B 19:7,16         55:22 58:4,18      bottom 23:13          88:12 99:17
    33:3 89:19        back 6:9 17:15    63:6 65:4,20,21      65:15 81:16,17      134:4,6 140:17
  assumption           20:23 34:18      70:12 74:4           111:8 119:20      called 36:9 55:14
    110:20             68:14 76:22      75:21 82:12          123:12,25           91:2 125:15
  attach 16:20         83:15 88:1,2,24  83:13 89:4           132:18,19         calling 60:3
  attached 2:18        94:1 95:10       90:24 99:3         Boulevard 4:14      calls 12:19 50:25
    65:14 124:11       108:7 129:1,9    100:3,8 107:5      box 110:10            67:7 104:25
  attaching 38:14      134:14 138:17    112:17,25            129:21              122:23
  attempt 56:18        141:1,12         113:20 122:7       brand 39:1          capable 57:10
    97:5               142:10           122:10 123:17      break 17:12,14      capital 134:23
  attempted 13:17     backup 22:12      124:21 132:15        40:10 51:19,23    capitals 37:8,10
    67:8               141:25 144:22    135:7 140:19         51:25 52:6        car 16:16
  attempts 11:3       badly 32:19       143:6 144:9          108:3             cards 68:1,16,24
    55:25 65:4        bag 78:8,9        145:18 146:14      brief 66:5 94:22    careful 42:18
  attend 33:12        base 112:2        148:2              briefing 94:12,22     43:14,24
  attending 34:2      based 6:23 30:22 believes 89:12      briefly 65:24       Carlyle 2:2,4 4:4
  attention 19:6       34:9 36:21      believing 133:3       140:21              4:4 5:10,18,21
    23:13 39:5 72:7    89:12 122:25    best 12:12 16:3     Briesacher 15:11      6:3,6,13,16
    150:17            basic 10:6        41:24 149:8          16:7 20:10 22:4     7:15 8:3,24
  attorney 4:9 9:7    basically 7:15   better 16:19          42:1 46:13,16       9:15,21 10:1
    138:23 139:16      32:8 57:25       22:12 37:20,21       47:8 48:3 49:14     11:16,20,23


                                 MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com            Phone: 1.800.280.3376                       Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 168 of 331
Appellate Case: 14-1193 Page: 154  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                                   EXHIBIT B
                                     DAVE DORMIRE 1/15/2014


    12:3,4,8 13:3       93:1,4,14,17,19     128:23,24          changes 12:17         32:6 43:6 49:14
    14:9,11,19,23       94:5,8,18,21        129:9 131:22         34:13,15,20         49:21 59:1
    15:1,3 16:13,22     95:5,8,10,11      categories 53:6        150:13 151:4        85:25 87:1
    17:2,10,13,15       97:20 100:4,10      61:4                 152:3,6             112:16 130:15
    17:22,24 18:16      101:17,18         category 52:21       changing 30:22        139:10
    18:18 20:2,4,8      102:2,9,19          70:9,10 72:17        34:8              cleared 84:3
    20:16 23:3,7,10     103:6,9,11          75:24 95:20        characterize        clearer 16:19
    23:12,24 24:4,8     105:5 108:1,4,7     96:4                 23:21               38:6 112:19
    24:11,14,15,19      108:8 111:1,6     cause 3:16           chase 59:11         clearly 106:22
    24:23 25:12,19      111:13,15,16      cautiously 44:2      check 84:6 128:1    clergy 140:6
    25:22,23 26:20      113:17 114:8      CC 150:21              137:16,22         clerk 62:16
    27:14 30:8,12       114:16,20         CCR 1:12 149:19        138:4 139:8,19    client 118:20
    30:16 32:11,14      115:8,11,24       CD 2:9,10 5:12       checked 31:4          122:11,17
    32:15 33:20         116:2,12,14         17:18              checklist 30:11       123:2
    34:13,24,25         117:13 120:12     cell 39:17 79:20       30:21 31:4        close 8:21
    37:9 39:4,9,21      120:14,23           81:21 82:2,3,9     checks 138:24       code 83:20,22,24
    40:5,22 41:24       121:3,4,24,25       82:11,13,17,19       139:17,21           83:25 84:1,2,5
    42:22 43:1,8,16     122:19,24         Center 28:15,17      check-off 31:6      collection 120:15
    43:20 44:3,6,10     123:6,8 124:6,8     134:22             chemical 21:1       collects 127:1
    44:13,17,22,23      124:22 125:2,4    centered 94:16         30:18 38:15,17    column 91:2
    45:4,10,18,24       126:15,17         central 1:2 3:2        87:18,20 88:11    combination
    46:5,6 47:25        127:4,9,15,17       28:25 31:14          134:22              147:5
    48:22 49:24         129:12,14,17        32:18 33:15        chemicals 18:5      come 33:15 49:1
    50:1 51:2,18,22     129:20 130:2        35:12,13 36:2        30:11,17 31:8,9     49:4,11 101:1
    51:24 52:5,7        130:12,16,22        36:20,22 37:1,4      38:14,16 48:12      103:6
    53:24 57:4,6        130:24 131:3,8      111:19               87:17,20          comes 29:6
    59:4,6 60:5,11      133:6,9,12        certain 3:16         Chief 49:16           110:14
    60:14,20 61:2       134:18,20         certainly 14:19      chosen 115:17       coming 139:24
    61:10 62:14,22      135:18,19           58:21 76:5         chronological       Commission
    62:25 63:8,12       136:18,20,21        90:24 102:4          29:21 30:23         152:17
    63:18 64:19,24      137:21 138:1        146:25               31:11 34:6        commissioner
    65:6,9,14,18        138:13,19,25      certificate 64:4       78:25 80:15         132:21 133:10
    66:2,6,9,10         139:6,15            121:20 149:1         82:14 93:16       communicate
    67:10 68:10,12      140:19 143:10     certification 64:2   chronology            99:8
    68:14,15 69:4       143:14,15           116:9,9              34:14,16 146:3    communicated
    70:10,24 71:4,5     144:21,25         Certified 3:15       chunk 107:25          47:19 113:15
    71:21 73:18,21      145:3 147:2         5:4 149:2,3,4      Circuit 3:17        communication
    74:17,20,25         148:4,8,11,16     certify 149:5        circumstance          106:3
    75:13 76:19,22      150:16,21           152:1                12:23             company 62:15
    79:7,9 81:2,14    Carlyle's 142:20    chain 109:19         City 3:14 4:5,10    complaint 2:11
    81:17 84:13,16      142:20            change 13:12           4:14 52:15          2:12 65:12,13
    84:21,25 85:4     carried 110:7         51:7 99:14           110:16 150:6        65:14,20 71:14
    85:24 86:1,10     carry 110:10          143:23 151:6,8     clarify 7:9 65:11   complaints 61:12
    86:23 87:2,9      case 8:1 65:20        151:9,11,12,14       120:11 139:15     complete 87:19
    88:2,5,8,22,24      67:5 117:1          151:15,17,18         140:24            completed 37:3
    88:25 91:21         150:11              151:20,21          clear 6:10 9:6        82:1
    92:6,8,9,21       cash 128:2,3,7,18   changed 13:4           25:1,15 28:12     comply 41:1

                                 MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com            Phone: 1.800.280.3376                           Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 169 of 331
Appellate Case: 14-1193 Page: 155  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                                 EXHIBIT B
                                    DAVE DORMIRE 1/15/2014


  compound 80:24      confirms 70:14       104:19 105:3        136:13,23         CP 81:21
    87:4 107:8          106:23           contractor's 58:9     139:12 141:21     criteria 89:15,17
  compounded          confused 8:25      contracts 59:16       152:5,9             112:15
    48:1,5,13 49:1      9:4              control 90:4        Correctional        crossed 118:24
    72:2 105:9        confusing 80:24      108:13 134:22       28:14,16            119:1,3
    108:20 119:17       104:25           controlled 64:3     corrections 3:14    CRR 149:19
    121:7,11 122:6    confusion 111:22   conversation          6:25 7:11,16      CSR 149:19
  compounding           112:18             70:19 71:7          8:11 9:12 15:8    Cummins 98:24
    21:5 42:11        connected 78:9       85:12 107:11        18:5 22:12          99:1
    47:14 48:1,11       114:2            conversations         37:14 39:11,19    current 18:11
    48:11,17,18       connection 115:2     107:6,7             39:25 41:6 42:9     19:4 69:9,11
    106:17              115:12,15        coordinating          46:8,17,21 47:6   currently 15:12
  compounds           conservative         98:6                48:2 49:10,15       18:14,19 22:9
    42:15 68:20         107:20           copied 68:2           50:7 61:11          142:7
  comptroller         considered 141:3   copies 2:18 7:14      100:12 104:17     custody 109:19
    131:2               142:2 143:21       9:7 33:22 52:25     105:10 115:21     cut 94:9,10
  computer 103:8      construed 119:21     57:6 102:24         129:7 132:24
    103:10 130:17     consult 113:17       103:25 130:8        133:13 146:9              D
  concentration       consulted 36:3     copy 8:18 9:10        150:13            DAI 94:12
    135:6               83:13 132:13       9:11 14:7,17,18   correctly 80:18     date 20:7 22:1
  concern 7:23        consulting           14:19,20 17:5       90:18 138:5        57:14,20 64:24
    62:6                113:20 132:12      22:22 23:9        counsel 2:19 5:2     65:21 66:16,18
  concerns 8:9          134:4,5,9          37:18,19,20         5:2 49:16 67:4     66:20,22,23
    15:3              contact 41:7,18      38:9,12 55:13       74:14 96:18        67:22 69:5,18
  concluded             42:9 55:25         58:2,19 65:10       149:10,13          72:22 73:2,3,3
    148:20              56:12 97:18        65:25 66:3        counselor 98:24      73:4,5,6 75:20
  conclusion 12:19    contacted 39:23      67:20 71:16       count 83:23 84:1     81:24 101:19
    25:10 67:7          40:4 97:19         103:5,6 121:16      84:2,2 93:18       102:8 103:1
    105:1               99:14              148:12,16,19      counter 90:24        106:23 107:6,9
  condition 112:1     contain 66:12        150:10,13         County 3:17          108:14 116:8
    113:5,9           contained 17:18    corner 66:21        couple 9:5           119:11,11
  conduct 47:2        containers 110:8     119:4,14            136:14 141:1       121:21,21,25
  conducted 7:25      containing 5:13    correct 6:12,15       147:10             143:18 144:6
  conducting            6:17,22 129:24     8:23,24 21:9      course 16:4 27:9     144:10 146:12
    117:18 134:8      contains 5:17        22:10,10 38:19      31:1 114:23        150:16
  confident 17:17       63:21 67:15        44:4 49:24        court 1:1 3:1,15    dated 57:14 58:7
  confidential 7:18   contend 12:1         53:16 55:10         3:17 4:12 5:4      58:7,8,21 81:20
    24:22 39:9          72:1 137:12        56:1,4,5 58:11      67:3 111:9        dates 13:5,6 58:6
    44:20 55:22,23    context 122:16       59:8 64:11 76:9     114:8 141:12       66:7 67:9 74:18
    57:11 125:16      continue 20:11       79:11 83:17         149:2              76:21 81:7
    140:5,9,9         contract 46:12       88:13,14 96:5     Court's 6:23         119:18
    147:14,16           59:1,7 105:6       96:19 99:20       cover 143:5         Dave 1:10 2:13
  confirm 32:25         115:19,20          106:1,18 110:1    covered 136:6        3:10 9:22 27:11
    33:9 57:2 64:22     131:13,14,17       110:2,4,5,19      covers 143:6         38:23 111:7
    87:16               131:18 142:13      121:12 124:2      co-counsel 85:15     150:11 151:2
  confirmed 70:19     contracting 58:9     125:13 126:23       115:6              152:1,15
    110:21            contractor           135:13,14,16      CO1 91:23           David 1:4 3:4,18


                                MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com           Phone: 1.800.280.3376                          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 170 of 331
Appellate Case: 14-1193 Page: 156  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                                 EXHIBIT B
                                    DAVE DORMIRE 1/15/2014


   4:8 33:7 150:5     definition 14:14     97:13               58:22,23,24       disk 5:22,25 6:1
   150:8 151:3         15:4              described 27:15       59:7 68:16 80:3     6:2,10,17,19,22
  day 3:11,13         degree 45:1          29:15 115:7         80:16,21,21,22      6:24 7:2,5,5,6
   13:13 31:12         100:2 105:2       describes 21:8,9      80:25 81:3,4,4      7:20 8:20,22,22
   46:16 74:16        deleted 9:8        describing 14:2       81:5,6,7 95:25      9:16 16:25
   98:4 107:22        delivered 41:15      50:19               114:1               49:23 52:25
   152:11              49:4 110:21       designation         direct 11:1 42:22     61:20 129:24
  days 7:22,22 9:5    deny 64:22           21:25 62:18         42:23 45:22         130:17 148:13
   81:8 106:17,24     department 3:13    designee 39:12        53:23 102:2,3,5     148:13
   107:9,14            6:24 7:11,16        39:20             directed 7:13       disposal 87:17
  DEA 58:10,12         8:11 9:12 15:8    desired 150:14        103:21 106:12     dispute 6:1
   140:2               16:1,4,9 18:4,8   destroy 7:14,15       139:16            distributor 21:4
  dealing 139:1        18:11 19:1,10     destroyed 7:12      directing 45:18     DISTRICT 1:1,1
  deals 19:17          19:20,23 22:9       9:2,4,7,8 91:6    direction 112:19      3:1,1
  dealt 147:19,20      22:11 37:11,13      105:22 135:12       149:9             division 1:2 3:2
  Dear 150:9           39:11,19,25       detail 14:2         directions 33:11      35:19 37:11,12
  death 87:16          41:6 42:8 46:7      107:15,16         directly 10:8       DOC 117:23
   103:16              46:7,17,21 47:6   details 27:18         46:3 49:17          118:5 123:23
  Debbie 32:21         48:2 49:9,15      determination       director 16:9         146:16
  debriefing 94:19     50:7 61:11          16:6 140:6,7,12     19:10 22:5 29:6   doctor 67:22
   94:21               100:11 104:17       140:13              29:10 32:20,24      89:11,13,13
  December 6:21        104:20 105:4      determinations        36:10 39:11,19      100:14
   6:21,23 7:12        105:10 115:21       16:5                49:17 88:18       document 16:20
   8:12 9:20 44:8      125:18 129:6      determine 25:10       94:12 108:25        18:2,7,10 19:7
   65:20 66:19         132:23 133:13       46:8 54:10,14       133:2 145:23        20:5,18,25
   67:11 69:17         136:11 141:4        85:5 87:7         director's 33:24      32:17 53:3,14
   71:15 111:8         141:14 146:9        100:12 112:7        89:13               57:7 58:19 65:1
  decided 16:8        Department's         112:10 116:18     directs 89:10         65:1,22 67:3
   21:24 35:21         143:4             determined 8:4      disbursed 125:24      71:10,13 73:1
   100:4 134:6        deponent 151:4       16:1              discard 106:22        116:7 117:5,8
   145:20             deposes 9:24       determines 19:10      107:6               119:10,16,20
  deciding 89:15      deposing 46:16     determining         discarded 78:1,8      121:10 122:25
  decision 16:10      deposition 1:10      140:4               87:21 91:2          124:18 128:22
   22:3,4,18 69:21     3:10 5:3,8 8:21   developing 14:3     disclose 42:20,20     134:2 136:22
   115:6 128:24        10:5 16:21,24       15:13             disclosing 43:18      142:19,22
   145:23 146:2        24:21 25:10       development         disclosure 44:7,8   documents 6:17
   147:8               43:6 44:11 46:2     15:7              discovery 2:9,10      6:22 7:4,10,17
  decisions 147:7      74:10 148:15      Diagnostic 28:14      5:13 6:20,22        7:20 8:6,10,18
  declare 152:8        149:7,11            28:16 134:22        9:1,3 25:5          8:19 9:19 17:16
  declared 85:22       150:10 151:4      difference 48:4,6     49:23 61:20         20:12 23:17,21
  declined 46:3        152:2,4,7           92:12               67:5 69:18,19       23:24 25:3
  Defendant 3:20      deputy 76:6        differences 57:9      101:24,25           27:23,25,25
   5:2 14:7            97:16,23,24,25      57:18               120:15              28:4,25 40:5
  defendants 1:8       98:1              different 8:5,8     discretion 104:22     52:1,8,24,24,25
   3:8 4:7 5:13       describe 21:11       24:10 51:5        discuss 115:5         55:6 57:15,24
  defined 14:12,13     21:14,17 63:24      57:20,22 58:16    discussion            63:21 66:12
   14:13               64:1 70:9,10        58:16,16,21,21      113:19              67:15 68:5

                                 MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com            Phone: 1.800.280.3376                         Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 171 of 331
Appellate Case: 14-1193 Page: 157  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                                EXHIBIT B
                                       DAVE DORMIRE 1/15/2014


   69:14 72:9 79:2     117:23,25        ends 24:25 34:9     examine 102:14      executions 13:7
   84:18,19 85:1       118:1,4,8,11     engage 42:12          102:21              13:10 23:18
   91:21 92:13         142:4,6          ensure 7:17         examined 3:11         27:16 31:17
   125:15 127:8       duly 149:7          27:19 54:11         9:23                33:12 34:16
   127:10 129:24      duplicates 8:6      137:5             example 13:5          36:1 109:5,7
   132:14 137:5       duties 82:8       ensuring 107:18       86:2 121:9          141:15 144:3
   144:13             D-O-R-S 37:8,9    entire 6:1 143:6    examples 134:12       145:21 146:10
  doing 22:17                           entirely 121:2      executed 72:24        146:15
   44:21 57:10                 E        entities 15:6         91:25 96:7 99:2   exhibit 2:11,12
   78:22 83:10        E 4:1,1             21:22 58:17         99:22,23            5:12 6:5,7,16
   85:9 115:14        earlier 8:2 27:14   115:15              104:21 152:11       7:7,21,25 8:15
   120:9 129:23         101:11 134:2    entitled 67:4       execution 13:25       8:23 14:24
   133:19               145:15            114:25 121:20       18:14,18 19:3       16:15,16,20
  domain 55:7         easier 16:24      entity 16:5 62:4      19:17,24 20:24      17:18 25:8,11
  Dormire 1:10          93:15 127:16    entry 39:6 83:20      20:24 21:7,12       25:13,18,24
   2:13 3:10 5:11     Eastern 28:13,14 equipment 30:11        21:15,18,21,22      26:21,23,24
   9:22 10:2 17:16      134:21          ERDCC 28:12           21:25 23:15         31:22 32:16
   17:19 22:21        easy 120:17         126:2               26:13 28:1          38:22 49:23
   23:8 25:16 52:1    ECF 111:7         errata 150:12,14      29:22 31:12         50:1 53:1 61:20
   52:7 71:13         educational         150:15 151:1        32:22 34:7          65:6,8,13,19
   111:7 140:24         68:23           escorted 39:13        38:15 39:13,15      66:11,15 70:25
   150:11 151:2       effect 18:15,19   Esq 4:4,8,8,9         39:16 41:4          71:1,14 86:22
   152:1,15             21:20 75:15       150:5,21            44:24 45:19         88:1,2 111:3,25
  Dormire's 14:8      effort 49:10      essentially 120:1     57:11 72:3 74:9     129:23 130:11
   44:11              eight 65:19       established 39:18     74:11 75:21         130:13,21
  DORS 37:7,8         either 14:6 40:24 estimate 107:20       76:25 77:5 85:2     141:4
  double-sided          53:25 59:24     et 1:4,7 3:4,7,18     85:14,15,22       exhibits 2:6,17
   26:1,2,3,4,6,18      60:6,15,20 66:3   3:19 150:8,8        86:5 87:12 89:5     2:18 24:17
  Doug 132:19,20        87:18,19 94:7     151:3,3             89:9 90:11,13       148:14,19
   132:21               137:12          evaluate 87:15        90:14 91:7        exist 27:23 57:25
  downstairs 126:3    electronic 9:10   evening 3:13          94:25 95:1,12     exists 11:24 36:4
  draft 10:10,12,13     9:11 148:16       108:19              95:14 96:12,13    expect 46:23
   10:13,14,16,19     electronically    event 17:4 99:18      96:19 98:5        expert 105:1
  drafted 10:18         17:4            everybody 15:13       99:19,20,23       expiration 64:24
   146:6              Elizabeth 4:4,4     17:2                101:13 105:13       66:15 69:18
  drafting 10:17        24:6 25:16      evidence 116:4        105:15,20           99:19 119:11
  draw 19:6 23:12       107:24 130:10 exact 22:1 40:25        107:9 108:14        121:21,25
   72:7                 150:21            73:2 79:24          108:19 109:20       144:6,10
  Drive 3:14          employed 149:10     143:18 146:12       112:21,23           146:12
  drug 24:10 40:17      149:13          exactly 12:23         125:5,13,16,17    expire 67:22 69:5
   47:11,14 49:7      employee 147:17     36:13,14,24         126:10,18           101:19
   134:24 144:22        149:12            44:12 60:25         131:12 133:23     expired 67:11
  drugs 41:9,12       employees 143:7     113:14 119:2        134:8 135:13      expires 106:17
   42:14 44:23          147:16,18         121:10 135:10       137:13 140:4        152:17
   45:20 60:1,7,16    enclose 32:23     EXAMINATI...          140:13 143:17     explain 48:4,9
   60:22 61:6         enclosed 150:10     9:25 140:22         143:24 144:23       50:18 61:2
   77:17,22 115:1       150:11            143:15              146:18              79:14

                                 MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com            Phone: 1.800.280.3376                        Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 172 of 331
Appellate Case: 14-1193 Page: 158  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                                    EXHIBIT B
                                       DAVE DORMIRE 1/15/2014


  explained 8:1,2        111:20               135:25 136:1      forms 38:15                 G
    107:13             fetch 52:1             137:20              80:15 134:7       Gary 50:3,5
  explore 22:16        fewer 7:24           fiscal 50:4,5       form's 35:25        general 48:10
  export 60:1,7,16     figure 58:15 95:2      131:2 132:4,8     forth 31:16 77:19   generally 10:15
    60:22                97:21              five 16:2 23:13       79:17               10:15,19 42:6
  expressed 119:21     file 80:20             86:13 90:18,19    found 142:21          42:12,15 63:24
  expressing 7:23      filed 10:9 61:12       104:4,5 112:10    foundation 12:7       104:3 107:7
  expressly 5:6          65:20 67:3           135:12,12           40:19 45:1          140:7
  extent 46:14           71:15 111:7,9        140:23              47:22 48:20       Generals 139:17
  extra 126:24         files 9:8            five-minute           50:25 53:20         139:18
  extraterritorial     filing 65:21           108:2               60:24 61:8        General's 4:9 9:8
    59:25 60:15,21       150:16             fixed 129:18          62:13,20,24         138:23 139:22
  eyes 25:5 95:2       fill 36:20 55:18     floor 23:2,4          69:1 100:7          150:5
  e-mail 8:1 70:2,4      55:20 80:14        follow 70:19 71:6     102:17 113:13     George 1:7 3:7
    70:12,22 71:16     filled 35:18 55:16   following 37:18       137:18 146:24       3:19 150:8
    71:23                80:25 81:2           78:22 151:4       four 11:6 14:14       151:3
  e-tran 148:18        filling 31:2 55:21   Food 47:11 49:7       15:5 81:8 93:7    getting 51:16
                         80:7               foregoing 149:6       131:14,17,18        118:7,8
           F           fills 36:24 134:7      152:2,9             135:3 136:10      give 14:6,20
  facilities 49:6,12   final 16:10 25:20    forget 76:15        fourth 22:23          16:19 21:8 26:7
  facility 47:15         145:23 147:6       forgetting 88:3       96:17,24            44:14 52:2
  fact 5:22 7:19       finally 10:2         Forgive 130:25      Franklin 23:15        53:23 70:7 85:8
    18:7,10 41:22      finance 126:3        forgot 145:16         23:19 26:11,13      99:16 101:19
    44:1 57:6 91:4       128:17             form 12:6,19          34:16,19 41:10      104:22 108:25
    99:4 101:11        financially            30:17 33:1 35:9     72:24 82:6,10       112:14,18
    114:24,25            149:14               35:11,16,22         96:11 98:16         120:3 130:18
    124:13 130:10      find 10:23 11:22       36:19,25 37:19      99:2,22 102:11      131:22 139:3,4
    134:9                14:6 24:14           38:16,17 40:18      102:14,21           143:19 144:6
  facts 101:24           49:10 50:21          41:19 44:25         104:1,2 109:20    given 23:17 25:7
  fair 7:7 19:14,16      116:24 124:11        47:21 48:19         125:13              29:12 55:10
    25:12,12 90:19       150:10               50:24 53:19       Franklin's 96:12      57:9 89:23,25
    103:16 115:11      finding 29:5           55:15,16,18         99:4 126:10         90:1 114:25
  falls 61:3           fine 34:19 51:20       60:23 61:7        frequently 55:18      120:15
  familiar 44:7          60:10 103:10         62:12,19,23       friends 96:6        glanced 69:2
    116:14 132:2       firm 29:24             67:6 68:25        front 34:14 56:24   go 9:17 10:8 12:8
  families 96:1        first 11:6 13:18       79:23 80:2,9,23     73:1 89:21          17:6,12,13 19:8
  family 91:25           13:21,23 18:1,3      87:19 99:25         101:20              20:3,6 23:10
  far 44:2 80:12         18:17 20:14          100:7 102:16      fulfill 46:12         24:17 26:18
    93:2,3               25:17,25 30:20       104:24 113:12       105:6               29:2 30:9 34:18
  fax 58:19 140:2        35:21 38:3 39:8      120:10 122:21     function 54:19        39:22 40:3
  faxed 58:2,3,4         41:9 42:9 50:2       123:4 137:18        62:17 131:19        53:21 60:18
  February 74:13         55:12 64:1 75:4      146:23 152:3        139:2               83:15 85:5 87:3
    74:17 75:11          75:10 79:19        formal 22:14        fund 133:20,22        94:1 95:5 108:4
  federal 47:11          84:13 89:17        format 29:7         further 9:3 12:16     111:14 114:11
    133:4                91:12 92:4           57:21 148:17        116:5 148:5         115:24 123:7
  fee 127:1              102:10 106:2       formatted 29:11       149:12              124:22 129:9
  feel 54:13 84:18       118:19 135:21        33:5                                    134:14 138:20

                                   MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com              Phone: 1.800.280.3376                          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 173 of 331
Appellate Case: 14-1193 Page: 159  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                              EXHIBIT B
                                    DAVE DORMIRE 1/15/2014


    141:12 145:1      granted 39:18     Hansen 2:3 4:8      100:6 101:9,21    helping 29:24
    146:24            great 25:22        5:16,19,24 6:4     102:3,16 103:5    High 4:10 150:6
  going 5:19 8:5,22     107:15,16        6:9,15 7:8,9,16    103:7 104:24      history 35:11
    11:12 12:18       group 95:25        9:6,11,16 11:12    107:24 108:2      Hofmeister
    14:15,25 15:1     GSA 133:4          11:19,21,24        111:4,12,14         135:21,25
    17:2,3,3,8        guess 8:24 12:25   12:6,18 14:5,10    113:12 114:3,9    Hold 40:1
    20:23 22:21         17:5 18:2,16     14:15,22,24        114:13,18         holding 39:17
    25:11 30:5          24:15,16 35:20   16:18,23 17:8      115:5,9 116:11      79:20 81:21
    37:24 39:22         35:20 36:12      17:11,21 18:13     117:6,10            82:2,3,9,11,13
    41:19,22 42:17      38:6 51:7,21,24  20:1,6,14 23:1     120:10,13,21        82:17,19
    43:2,8 44:10,14     55:3,25 58:14    23:5,9 24:1,6,9    121:1,23          hopefully 8:21
    44:25 45:7,22       70:18 75:2 80:3  24:12,18,20        122:18,21         hoping 7:6
    51:21 57:1 60:2     81:3,9 82:17     25:1,15,20         123:4,7 124:5,7   hospital 50:21
    63:2 64:15          83:3 84:16 85:4  26:15,17 27:11     124:24 126:14     hour 51:21 100:3
    65:23,25 66:3,4     91:12 109:10     30:6,14 32:6,12    129:11,16         hours 3:12
    66:6 68:25 70:7     110:20 116:24    33:17 34:11,23     130:1,3,5,7,14      140:23 146:21
    80:23 84:7          120:19 122:1     37:8 38:23 39:1    130:19 131:5        146:25
    87:25 88:2,5        126:9 128:24     39:7,10 40:1,3     133:4,7 134:17    Huh 94:5
    93:23 96:10         135:8,10 136:9   40:18 41:19        135:15 136:16     hydro 144:14
    100:6 101:9,21      146:2            42:17,25 43:5      137:17,25         Hydromorphone
    101:25 102:5      guidelines 140:8   43:13,17,21        138:9,14,17,20      19:18,24
    106:8,11          gurney 77:12       44:5,9,12,16,18    139:4 140:21        141:14 143:17
    107:25 112:3                         44:25 45:7,15      140:22 143:9        144:4,11
    114:3,14 118:4            H          45:21,25 47:21     143:12 144:19       145:11,21
    118:21 120:10     half 51:21 75:21   48:19 49:21        144:24 145:1        146:4,10,15
    127:6,10 129:1    halt 39:16         50:24 51:20,23     146:23 148:6,9
    132:15 137:17     hand 22:21,22      52:4 53:19 57:3    148:12,18                  I
    138:9 139:3         24:4 71:2        59:3 60:2,9,12     150:5,9           idea 6:18 25:22
    141:11 143:11       105:11 144:1,7   60:18,23 61:7     happen 52:16         42:14 55:4 71:6
  good 18:17 38:25    handed 6:22,25     62:12,19,23,25     105:21 128:23       75:19 91:1 92:2
    39:3 47:19          66:11            63:6,9,13 64:15   happened 31:15       137:16
    51:23 83:23       handing 71:13      64:23 65:11,17     73:4 75:23 91:4   identical 48:13
    106:24 107:25       86:12 129:23     65:23 66:3,8       94:10 96:24       identification 6:7
  goodness 6:18       handwriting        67:6 68:11,25      109:4               25:14 65:8 71:1
  goose 59:11           58:22 136:24     70:9 71:2,19      happening 109:2      111:3 130:21
  government            137:2 138:5      73:17,19 74:16     130:16            identified 7:20
    68:23 69:3        handwritten        74:23 75:12       happens 10:19        8:6,16 23:18
    133:5               136:21           76:17 79:6         76:25 77:3 80:1     29:12 49:23
  governmental        handy 65:25        80:23 81:13,16     108:12 128:1        65:12 91:23,23
    47:4                117:7            84:7,15,20,22     hard 8:18 27:2     identifies 81:24
  grab 88:9           hand-carried       85:3,11,20,25     head 62:15 74:22     125:21
  grams 16:2 90:18      110:17           86:21,25 87:3      109:25            identify 14:1
    90:19 104:4,5     hang 20:1 57:13    87:25 88:4,20     headed 123:15        25:17 26:10
    104:12,13           79:10 86:21      91:18 92:4,7,19   hear 20:14           54:18 60:7 65:5
    105:12 109:10       92:24 94:6       92:23 93:13,15    heard 45:5           67:9 81:23
    109:16 135:12       101:9 136:16     94:4,15 95:4      hearing 60:13        86:22 101:12
    135:12              144:19           97:13 99:25       helpful 29:3         103:12 114:7


                                MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com           Phone: 1.800.280.3376                       Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 174 of 331
Appellate Case: 14-1193 Page: 160  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                                  EXHIBIT B
                                     DAVE DORMIRE 1/15/2014


    118:10 130:10       10:7 11:2 12:17   instruction 64:23     147:23             151:24
    139:2               12:17 13:19       intend 113:21       involvement         July 5:14,15 6:11
  identifying 54:17     17:17 27:18         114:10              29:23 31:2 34:8   June 121:22
    54:24               33:2,5,6,7        intended 112:14       98:8
  identities 125:18     36:21 38:1          123:23            issue 43:24 89:11         K
  identity 42:21        44:14 45:15       intent 69:24          104:13,23       K 1:12 3:15 4:13
    43:19 45:8 60:4     53:6 54:12,14       112:16              111:18 127:11     5:3 149:2,19
    64:17 76:18         54:20,25 55:9     intention 43:21     issued 13:25        150:20 151:24
    83:3 85:1           55:23 57:25       interested 149:14     68:23 104:1     Kansas 4:5
    101:14,23,25        64:16 66:24       interesting 96:10   issues 43:17      Kearns 1:12 3:15
    106:13              69:21,25 72:15      127:11              129:7             4:13 5:4 149:2
  IL 149:3              72:17 75:5,7,10   internal 128:22     item 119:7 136:2    149:19 150:20
  implied 119:22        81:5 93:9 97:19     129:3             items 141:24        151:24
  implying 51:9,11      101:12,22         interpreted 24:7    iteration 64:25   keep 55:22,23
  inaccurate 63:10      114:9 116:6       interrogatories     IV 39:17            88:3 147:14,16
  inadvertent 44:8      118:24 119:7        10:11,20,24                         kind 42:11 43:23
  inadvertently         139:18 141:21       11:7,9,18 12:15            J          58:14 62:10
    42:20             informed 41:3         12:22 13:20,24    January 1:11        75:22 79:1 85:5
  include 20:25         145:17              14:8,12 22:23       3:11 6:12,14,14   116:3
    27:17 66:20       informing 32:22       75:4,10 86:11       61:21 105:18    kinds 120:16
    141:21              143:2               86:24 96:17,21      147:5 150:3,11 knew 69:23
  included 66:25      ingredients           97:1              Jason 98:3,4        83:10 114:17
    95:22               48:25 49:3,11     interrogatory       Jefferson 3:14      114:17 129:21
  includes 21:21      injected 90:9         10:9 11:5,14,14     4:10,14 52:15   know 5:19 10:5
    95:20             injection 14:2,11     11:22,24 12:5       110:16 150:6      11:8,10 12:23
  Including 143:7       15:4,7,13 18:6      14:16 15:9 30:7   JK 152:19           18:22,24 19:2,4
  INDEX 2:6           inquiry 7:25          74:13 86:13       job 28:3 36:11,14   20:7,8 22:1
  indicate 66:15        61:11               98:14 105:23        37:5 55:20        25:21 28:22
    98:22 150:13      insert 112:3        interval 99:19        62:10 87:9        32:3 33:23
  indicated 105:23    inserted 112:2      intravenous 19:9      97:14 98:4        35:23 36:9,13
    114:4 139:21        113:10              77:19 87:8          101:3 126:4       39:10 41:20
    151:4             inserting 112:4       112:11 113:23     jobs 76:1           42:1,4,6,10,13
  indicates 40:12       114:15            introduction        Joe 5:14 135:21     44:3,3,5,7
  indicating 32:24    inspect 46:17,21      87:8                135:25            45:12,12,22
    62:2 87:20        inspected 46:22     inventory 134:21    Johnston 135:23     46:9,13,14,22
    137:23 138:21       47:11               142:4               136:1 145:9,13    46:23,25,25
  individual 32:24    instance 63:11      investigation         146:13            47:9,10,12,13
    62:4,5,7,9,10     instances 63:13       47:3,5            Joseph 23:15,19     47:17 48:15,21
    62:11,17 143:5    institution 27:19   invoice 74:6          26:13 72:24       48:22 49:5,6,8
    147:16,17,18        28:9,10,11        involved 14:1         96:11 98:16       49:13 55:8
  individuals 29:12     33:16,23 34:4       15:6,12,16,17       109:20 125:13     56:22 57:23
    48:16 54:17,25      68:23 96:13         15:19,23 22:5       126:10            60:25 61:9,14
    83:1 138:24,25      97:7,8 110:24       28:11 30:10,19    judge 42:24         62:16,21 63:1,4
    139:1               145:7               30:21 31:14       judgment 113:22     63:25 67:19
  industry 47:20      instruct 64:17        32:18 48:17       Julie 1:12 3:15     68:1 69:19 70:6
  informal 22:15      instructing           51:16 87:16         4:13 5:3 149:2    71:21 72:8,19
  information 7:18      101:15              140:3,12            149:19 150:20     72:25 73:1,4


                                 MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com            Phone: 1.800.280.3376                          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 175 of 331
Appellate Case: 14-1193 Page: 161  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                                 EXHIBIT B
                                     DAVE DORMIRE 1/15/2014


   74:19,25 75:20       146:12          leave 36:18            102:7               110:10
   76:21 77:16                          leaving 99:13       licensed 49:11       log 30:18 38:15
   79:15,24 80:4              L         led 59:11 101:24       59:24 60:1,5,6      38:17 78:25
   83:11 84:16        lab 85:20 114:7   ledger 132:1           60:9,14,16,19       79:11,13 80:8
   86:4 89:12 90:5      121:14 122:22 left 96:13 97:17         60:20,21 61:5       80:14,19,19
   90:10,15 93:17       124:19            99:9                 64:14,21 101:8      82:1,19 87:20
   96:17,23 97:3,4    label 72:11 87:6 left-hand 119:14     licenses 47:3          88:11 109:18
   97:7,14,18,19      labeled 18:4      legal 12:19 39:14      138:22              135:11
   97:20,22 98:2,6      26:12 67:23       39:15 67:7        licensing 66:22      logistical 16:14
   98:8 99:7,11         135:4             105:1 138:10         66:23             logs 79:15,18
   100:20,23,24       labels 72:10,12     140:14            light 121:17           80:16,16 82:17
   100:24 101:6         72:22 106:22    Lenger 131:1,6,6    likelihood 46:11     Lombardi 1:7
   102:7 104:1        laboratory 21:14    132:10            line 39:17 71:6        3:7,19 15:11
   106:9,14,14,21       70:13,14 74:3,5 length 107:14          78:10 111:19        16:11 22:5
   107:10,15,17         85:19,21        Lenny 131:1,6          111:19 112:8        29:10 32:24
   114:5,6,11,14        109:15 113:25 lethal 14:1,11           151:6,7,9,10,12     49:17 88:18
   114:18,18,19         114:1 115:3,13    15:3,7,13 18:6       151:13,15,16        145:24 147:8
   114:21,25            115:14,17,19    letter 7:23 29:6       151:18,19,21        150:8 151:3
   115:16,18,22         115:20 116:4      29:10,11,12,13    lines 19:9 77:19     Lombardi's 29:7
   116:18 117:3,6       116:16,20,21      29:18 32:20,22       87:8 112:1,2,5      32:20 140:17
   117:6,8,10,11        117:15,17,22      32:23 33:9           112:11 113:5,9    long 36:19 147:1
   118:15,21            118:2,11,14,16    73:24 74:2           113:10,23         longer 63:3
   119:2,3 120:5        120:5,7,8,18      124:8 142:25      Linger 131:10          136:11
   121:13,18,22         121:5 122:9,16 let's 15:25 17:11    list 6:17 33:23      look 5:21 15:4
   122:12,22            123:1,1 124:10    22:21 24:17          38:10,13 74:14      16:14 17:3,3,4
   123:2,3,9,11       lack 12:7 40:19     25:23 30:8           74:21,23 84:5       23:22 25:4 27:3
   124:25 127:6         45:1 47:22        38:21 59:1,10        92:15,16,16,17      34:17,18 35:6
   129:2,5,6,8          48:20 50:25       59:10 72:7        listed 6:16 20:25      39:7 46:15 53:1
   131:22 132:9         53:20,20 60:24    73:15 74:9           31:6 56:1           54:16 56:25
   132:10,15,16         61:8              83:15,15 87:22       118:20              57:16 59:11
   134:7 136:7,24     lacks 62:13,20,24   91:9 93:4 96:22   listen 43:24           61:19 63:19
   139:8,9 140:11       69:1 100:7        98:20 102:25         137:25              67:14,18 68:5
   143:18 144:3         102:17 113:13     108:4 109:17      lists 20:23            69:13 70:1
   145:5,11,13,22     language 103:19     113:25 123:14     litigation 4:13        71:19 73:15
   146:7,8,20           103:23            124:4,22 125:7       43:7 150:1          74:8 75:3,3
  knowing 45:12       Larkins 15:17,19    126:12,13         little 7:10 8:25       78:24 83:15,16
  knowledge 10:22       15:19             127:3 129:9,21       9:4 27:1,4 29:5     85:8 87:22 88:5
   11:1 12:22         lasts 107:13        129:21,22            35:6 51:21          91:9 92:9 93:4
   15:23 45:3,4       late 6:19           134:16,21            85:10 114:1         96:22 98:20
   46:8 47:1,23,25    law 4:4 47:14,16    139:24               116:5 117:9         102:25 103:6
   48:10 49:9 51:1      71:10           level 97:16            140:23 141:2        109:17 116:5
   51:12 59:16,18     lawful 9:23       Lewis 98:3             146:3               117:4 123:14
   100:19             lawyer 114:11     Lewis's 98:4        locate 11:22 52:8      124:4 125:7
  knowledged 13:1     lead 42:19 64:16 license 58:12        location 87:7          126:13 127:3
  known 62:2,3          101:12,22         60:19 64:25          113:23 127:7        129:21 134:14
   114:10             leads 63:10         66:16,21 67:10    locations 112:11       134:15,16
  knows 102:4         learned 135:11      67:12 101:19      locked 108:13,16       139:25 141:5

                                 MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com            Phone: 1.800.280.3376                         Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 176 of 331
Appellate Case: 14-1193 Page: 162  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                             EXHIBIT B
                                 DAVE DORMIRE 1/15/2014


    141:10         manner 41:21       means 15:5 43:9    Midazolam           Mister 131:9,10
  looked 6:1 24:5  manufacture         50:17              19:18,24           Misters 41:10
    52:18 121:16    121:21            meant 6:12 79:5     141:14 143:16      misunderstand...
    124:18         manufactured        81:1               144:1,7,15,22       23:20
  looking 20:12     48:5,14           media 33:2,11,11    145:4,20 146:4     misused 63:11
    22:7 23:8 31:3 manufacturer        33:13 95:23        146:10,14          mixed 27:12
    35:4 52:20      21:4 72:1,4       medical 35:9,11    middle 125:20       mixing 48:11
    58:15 62:14,16 manufacturing       36:2,10 58:24      137:15             ML 135:5
    62:17 66:13     47:20 119:11       76:6,8,23 77:8    Midwest 4:13        MO 149:3
    69:8 71:17 75:8mark 5:12 8:15      77:17,18 78:13     150:1              moment 76:23
    79:23 92:21,24  8:22 16:20         78:15,17,18       milligram 135:9      105:11 115:5
    103:8,9 116:23  24:17 65:6         86:14,16,16       milliliter 135:9     138:14
    121:9 130:24    70:24 111:1        87:17 101:19      mine 94:11 136:9    money 125:7
  looks 18:23      marked 6:5,7        102:22 104:22      137:2               131:12 132:15
    36:16,16 59:15  24:21 25:3,7,13    111:25 112:7      minister 98:17       133:20
    133:15 135:23   28:5 65:8 71:1     112:10 113:9       98:23              moniker 143:2
  lose 27:13        111:3 130:21       113:15,22         ministerial 98:24   monitor 103:8,9
  loss 37:7 119:8  market 50:16,22     132:12 134:4,4    minor 16:13         monitors 87:11
  lot 16:24 20:17  marking 111:4,6     134:9             minute 14:6          87:12
    27:18 63:3,14  material 122:8     Melissa 15:11       17:12 18:13        month 75:20,21
    93:15,25 119:1  125:20             30:3 125:24        22:25 33:20        morning 8:2,14
    123:9 127:10   materials 72:2      133:15             38:22 70:18         23:16,22,25
  lots 103:24      Matt 15:10         member 21:12        79:4 93:23          24:5
  loud 19:12        117:10,11          21:15,18 57:12     116:11 124:23      move 63:16
  Louis 3:18 64:20 matter 10:16        72:3 85:21         130:24 136:3       moved 108:18
  lower 119:3       71:15 150:17       86:14,17           146:9              moving 94:25
  Luby 7:23 8:3    mean 5:16 16:25     101:13 125:16     misanswered          98:8,9 132:15
  L-E-N-G-E-R       17:5 30:20 36:9    142:24             13:1                133:20
    131:7           42:6 43:2 45:10   members 20:24      mislead 44:13       multi-page 79:2
  L-E-N-N-Y         45:11 57:23        20:25 21:7,21     misreading          M2 76:11 78:15
    131:6           58:5 62:14         21:22 99:10,13     135:24              78:17 87:5,6,10
                    68:22 70:6         99:15 125:17      missed 33:4          87:15,15,16,18
         M          72:15 75:2 76:2    137:13 144:22      67:25               87:19 88:13,15
  M 30:5 118:17     77:2,11,16 78:2   memo 38:13 51:6    missing 7:24 8:10    90:7 126:5,6,7
  maintain 9:12     82:7,16 83:4       51:7,13,15 62:1    94:16               128:4 131:20
   19:23 108:13     86:1,3 90:15       131:1             Missouri 1:1 3:1     131:20
  maintained        95:11 104:12      memorandum          3:13,14,16,18      M2's 87:9
   141:14           108:15 110:11      50:3,15 51:3       4:5,9,10,14        M3 15:22,23 76:9
  majority 28:8     110:20 118:8      memory 20:20        15:8 18:4 48:2      78:15,17 87:5,6
  making 34:25      119:22 120:13      111:18             52:14,15 55:14      87:10,15,15,16
   56:11 74:3 82:6  120:16 122:1      mention 91:22       59:25 60:1,6,7      87:18,19 88:13
  management        123:22 124:14     mentioned 92:5      60:13,15,16,21      88:15 90:7
   131:2 132:4,8    127:24 132:7       114:16             60:22 61:4,6,6      100:15,17,21
  manager 50:4,6    137:19 139:16     mentions 21:4       101:8 111:9         110:1,6,6,7,22
   132:8 144:17     140:9             Michael 4:8         133:1 149:5         126:5,11,12
   145:8           meaning 24:9       Microbiology        150:5,6             127:6 128:4
  managing 98:7     100:11             123:15            mistake 13:18        131:20,20

                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376                        Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 177 of 331
Appellate Case: 14-1193 Page: 163  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                               EXHIBIT B
                                  DAVE DORMIRE 1/15/2014


  M3's 113:22      needed 40:20        note 45:25                  O             82:6,13,15 86:3
  M4 76:16,20        55:23 89:12        137:23 138:21      OAK 4:5               89:17,19 90:2,3
  M5 87:4 128:11     90:4 109:11        138:22 139:16      object 12:18          92:16 104:21
   128:12 131:20     137:5              139:20               41:19,22 44:25    offer 89:10
   139:5,6 140:2   needs 16:14         notes 31:22 69:17     45:7 53:19 60:2   offered 46:1,1
  M6 62:2,4,18     negotiate 56:18      93:25 137:4,7        60:23 61:7          90:14
   87:4 118:12     neither 149:10      notice 119:10         64:15 68:25       office 4:4,9 7:13
   131:20 139:5,6  Nelson 132:19,20     134:3                80:23 101:10        9:7,8 28:25
   140:2 142:11      132:21            notify 96:18          101:21 102:1        31:14 32:18
   142:11,15,24    Nelson's 134:5      notifying 29:8        104:24 114:3        33:5,16,24
   147:11,11       never 11:17         November 58:7,7       120:10 122:21       35:12,13 36:2
                   new 13:19 30:22      58:8 72:23 73:3      123:4 137:17        36:20,22 37:1,4
         N           34:9 39:1 47:14    81:7,8,20,24                             40:9 55:14
                                                             138:9
  N 4:1              67:12 74:23        109:22 110:4       objected 43:14        108:14,16,18
  name 28:3 30:4     105:15 146:16      111:9 127:20       objecting 62:19       126:2,3 128:17
   41:17 42:2 43:3 Nicklasson 23:16     136:11               62:23 101:15        130:8 132:21
   44:4,15 58:8,10   23:19 26:11       number 8:5,8        objection 12:6        133:3 134:5
   62:17 70:7        27:9 34:16         10:21 11:5,5,6       20:6 40:18          138:23 139:22
   72:18 92:4,4      38:16 39:13,16     11:7,14,22,25        47:21 48:19         150:5
   93:10 95:19       41:10 73:11        12:5 25:17,21        50:24 62:12       officer 33:2,6,7
   97:14 98:25       102:12,15          25:25 26:25          63:14,15 64:23      79:19 82:2,10
   100:13 101:1      104:2 126:19       27:6,7 29:2          67:6 84:17          82:12
   104:21 116:25 Nicklasson's           31:23 32:11,12       99:25 100:6       officers 79:18
   120:7 122:9       102:21             35:8 40:12 42:2      102:16 113:12       80:4,21,25 81:3
   152:7           night 6:19 8:3,11    45:13 49:22          114:15 115:7        81:4
  named 89:7       nodding 109:25       52:18 57:10          122:18 138:18     official 19:1,2
   91:22 101:13      131:23             58:10,12,13          146:23            oh 17:10 19:13
  names 21:8 39:23 Non-confidential     81:13,14 82:22     objections 63:7       21:10 30:9
   53:9,11,12        24:24              82:24 99:17        obligation 12:16      35:23 57:13
   92:14 93:2,3    non-medical          116:9,9 118:17     obtain 11:1           58:25 66:23
   99:11 137:8       76:7,13,24 77:9    119:1,7,8 123:9      56:14 100:5         81:18 87:13
   139:3 140:1       77:18,21 78:14     136:19 141:8,9     obtained 56:17        103:10 110:13
   147:24          non-public 23:14    numbered 9:13         125:23              127:22 130:14
  naming 142:23      23:18 27:15,22    numbers 7:3         obtaining 51:4        131:6 136:3,18
  narrow 60:12     normal 77:4          11:8,10 53:9,11      139:17              141:8 143:20
  nature 50:16     normally 51:15       53:12 54:24        obviously 5:19        145:5 148:8
   93:8 119:6        51:16,17 75:25     72:19 83:1,7,8       6:11 22:4 23:19   Ohio's 16:2
  necessary 8:13     78:9               83:16 84:9,10      occur 30:23         okay 5:10,16,18
   63:14 146:15    Nos 25:13            84:11,12,23,24       31:11,12 74:12      6:3,20 9:15
   152:4           notarized 150:15     85:7,13,16           77:5 105:21         10:2,16,21
  need 18:13 19:12 notary 150:14        92:20,23,24        occurred 74:12        11:11,20,23
   24:15,18,19       152:18             130:10 137:8         75:14 96:14         12:3,10,13
   51:25 74:25     notation 89:22       140:1,2,2          occurs 108:24         13:16,23 14:10
   76:3 77:7 85:6    89:24 91:1        numerous            October 13:25         14:22 16:13,22
   111:10,20       notations 31:15      120:16 129:24      odd 116:24            17:4,13,15,23
   127:11 130:9      33:25,25 34:1,3   nurse 36:11 37:6    offender 35:11        17:24 18:21
   134:15 146:19     82:6 111:8                              38:15 81:21         19:6,15,16,23

                              MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com         Phone: 1.800.280.3376                          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 178 of 331
Appellate Case: 14-1193 Page: 164  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                                  EXHIBIT B
                                     DAVE DORMIRE 1/15/2014


    20:11,20 21:11      79:21 80:6,12       125:2,7,8,11,12     9:3 93:16 105:5    65:1,13,19
    22:3,6,15,24        80:17 81:22,25      126:4,7,12,16       105:6 114:8        66:13,16,25
    23:12 24:11,23      82:5,7,16,20,23     126:17,21           146:14             67:14,18 69:13
    25:23,24,25         83:9,11,15 84:5     127:1,3,9,17,20   ordered 103:16       70:1 71:14,17
    26:7,14,19,20       85:3,24 86:1,20     128:3,6,12,16       105:15 109:9       72:8 78:25 79:1
    26:23 27:8,21       87:2,11,14,22       128:18,21         ordering 109:9       81:13,14,17
    27:25 28:10,24      88:9,12,15,19       129:6,18,23,23    orders 82:12         82:20 83:15,19
    29:9 30:8,8,19      88:24 90:6,8,11     129:23 130:14     ordinarily 55:6      85:7 86:2,12
    31:7,14,20,20       90:17 91:1,7,9      130:15 131:10     organization         87:13,22 88:5,9
    31:25 32:4,5,14     91:11,15,17,20      131:15,17,21        116:15 133:8       88:25 90:17,20
    32:15 33:8,14       92:3,11,18 93:1     131:24 132:5      original 2:18 7:3    91:9 92:25
    33:19 34:5,6        93:5,8,11,23,25     132:11,11,17        8:12 9:1,3,12      93:13 94:17
    35:3,3,20,24        94:18,18,24         132:23 133:1,6      9:13 37:20,22      98:20 104:16
    36:6,15,23          95:8,10,16,19       133:9,17,24         148:14,15          109:17 111:25
    37:16 38:4,6,8      95:25 96:9,16       134:3,8,14,15       150:11             116:5,23
    38:8,11,21,21       96:22 97:10,20      134:15,19,20      outcome 149:14       117:14,14
    39:4,9,10,21        97:23 98:10,13      135:2,8,9 136:6   outsourcing          118:19 121:23
    40:11 41:7 42:4     98:16,20,21         136:9,14,15         47:15              121:24 123:14
    42:8,11,14          99:1,12,18          137:6,9,15,21     overlap 79:25        129:11 130:10
    43:20 44:1,22       100:4,10,24         138:19 139:2,6    overseeing 78:13     131:24 132:11
    45:18,24 46:5       101:17 102:9        139:15,23         Owen 33:7            141:5,8,9
    46:15 48:16         103:10,24           140:3,8,19        Oxford 92:1,5,7      142:21 150:12
    49:20 50:8,15       104:16,19           142:15 143:9      o'clock 3:12,12      150:14,16
    51:18 52:4,5,16     105:5,9 106:2,5     143:10,14                              151:6,7,9,10,12
    52:20,23 53:2,3     106:8,11,25         144:1,4,13,18             P            151:13,15,16
    53:14,24 54:9       107:3,10,13,23      144:25 145:6      P 4:1,1 67:25        151:18,19,21
    55:2,9,24 56:17     108:7,12,15,18      145:15 146:2      packet 33:4         pages 2:14,15
    56:23 57:5,9,13     108:20,23           147:10,15,18      page 2:1,7,11,12     7:24,24 8:5,7,7
    57:17,23 58:3,5     109:6,9,14,17       148:4,11            7:3 14:9,13,13     8:8,16,16 9:19
    58:5,14,20          109:17,22         Oklahoma 64:21        15:5,10 16:14      17:9,19 29:4
    59:13,16,21,24      110:1,8,16,20     once 12:14 56:17      19:6 20:12,23      32:17,19 52:19
    61:10,16,19,24      110:24 111:13       123:8               21:2 23:13         52:21 56:25
    62:3,22,25 63:8     111:15,20         ones 10:13 18:23      25:25 26:5,6,12    129:24 141:4
    63:18,20,24         112:14,20           18:24 92:20         26:23,24,24,25    paid 127:25
    64:5,13,19 65:3     113:1,4,21,25       96:24 120:21        27:3,6 29:2,22     128:23 129:4
    65:11 66:2,9,15     114:16 115:6,8    open 86:12            30:10,12,13       paper 16:15 17:5
    66:20,24 67:10      115:17,23         opened 5:25           31:22 32:7,8,10    52:25
    67:18,21 68:9       116:2,2,10,23     operation 98:7        32:20,23 33:1,9   papers 17:12
    69:4,8,15 70:6      116:23 117:17     opinion 80:7          33:10,19 34:6     paperwork 54:7
    70:14,23,23         117:21 118:1,7      105:1               34:10,11 35:7,8   paragraph
    71:9 72:15,20       118:13,19         opportunity 52:2      37:17,18 38:9      104:19 111:24
    72:22 73:22         119:1,6,20        opposed 24:10         38:12,13,16,18     112:10 131:14
    74:6,8,9,20,25      120:1,8,20          82:9,9              39:5,6 40:12       141:10
    75:17 76:5,22       121:9,16,19       opposing 54:21        49:19,22 50:1     paraphrase
    76:22,23 77:14      122:5,8,11,24     options 22:16         53:1 55:10,13      141:11
    77:16,17,21         123:6,14,19,25    oral 90:9             56:23,24 57:10    Pardon 15:18
    78:12,15 79:13      124:18,22,22      order 6:23 8:9        61:19 63:19,21     49:2 64:7 70:3

                                 MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com            Phone: 1.800.280.3376                          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 179 of 331
Appellate Case: 14-1193 Page: 165  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                                 EXHIBIT B
                                    DAVE DORMIRE 1/15/2014


   78:16 99:21         75:15 87:5         125:21,23            60:4,6,6,8,15     placement 112:7
   100:16 112:22       90:18 91:5         126:4 143:5          60:15,21,21       Plaintiff 3:19 5:2
   113:7 136:4         100:5 102:11      personal 45:3         61:4,5,13 62:1    plaintiffs 1:5,10
  part 20:14 37:13     105:9,10,15,17     47:1 51:1,12         64:2,13,17,21       3:5 4:3 5:13
   87:9 89:5           105:21,24         personally 45:21      65:5 67:22          6:11 7:13 8:2
   112:20,23           106:17 107:9       113:19 114:5         68:17 72:18         8:10,14 9:24
   118:1,3 122:23      108:10,21,24      personnel 36:20       73:8,11,11          23:15
   130:11,12           109:10,11,19       76:6,7,9,24          90:25 93:10       plaintiff's 11:18
   132:23 133:1        110:1,3,11         77:18 86:15,16       100:8,8 101:25      22:23
   142:6               119:17 120:22      86:16 87:18          105:24 107:4      plan 22:13,14,15
  participate 69:20    120:25 121:5,7     112:7,10             108:10 109:15       22:19 146:10
  participated 28:4    121:11 122:6       113:16               114:2,5,6 115:3   plans 47:13
  particular 62:4      123:17,19,22      persons 14:1          115:13,14         Plaza 3:14
   118:9,13            125:5 126:22       15:5 21:21,21        117:24 118:2      please 20:1 25:16
  parties 24:13        134:25 136:12     person's 14:2         118:23 122:12       30:4 38:22 53:1
   54:21,21 55:7      people 15:12,15    pertain 64:5,8,11     122:15,17,20        59:12 61:25
   149:11,13           21:24 34:2         68:2,6 85:1          122:22 123:1,2      63:19 65:7
  partly 51:24,25      44:19 58:16       pertains 26:11        123:3 126:20        67:18 70:1,25
   51:25               67:8 75:24,25     pharmaceutical        127:1,19,25         71:3 73:23 75:9
  parts 28:24 78:19    76:3 77:21 80:3    48:25 49:3,11        142:14,15,25        81:14 86:19
   78:20               95:21,23,25        50:16                143:5,6 147:12      92:9 111:2
  party 58:9           96:1,6 97:16      pharmaceuticals       147:14,19           116:5 136:15
  pass 140:19          128:22 137:12      51:5               pharmacy's 47:3       136:19 138:7
  patient 104:1       perfect 95:6       pharmacies            126:21              150:10,13,15
  pay 125:17          performed 120:5     39:23 45:13        phone 42:2 52:18    point 11:13
   128:24 133:23       120:17 121:5       52:9,17,22,23        53:11,12 71:7       22:11 24:20
  payment 125:12      performing          53:13,14,16          72:19 82:22,23      39:22 46:2
   125:21 126:18       122:17,19          55:25 59:17          83:1,7,8,16         51:19 53:21
   128:6,7,19          124:20            pharmacist            84:9,10,11,12       76:8 130:9
   131:12             peripheral          59:21 62:15          84:23,24 85:7       138:10 146:11
  payments 116:4       111:19 112:2       63:17 67:9           85:12,16 99:17    pointed 59:7
   128:7               113:5,10           107:8 117:25         137:8 140:1         85:16
  pays 129:7          perjury 152:8       118:23             photograph 93:5     pointless 43:3
  PDF 148:17          permits 64:1       pharmacists           93:6,7            policy 18:8,12
  peaked 60:13        permitted 140:10    48:16 68:16,17     physically 78:5       84:9
  penalty 152:8       perpetuity 44:19   pharmacy 21:5         99:7              portion 19:7
  pending 3:17        person 36:2 37:4    41:8,9,12,17,18    physician 21:17       24:21,24 44:20
   39:15               42:8 62:18 68:3    42:3,9,12,15,21      112:4 113:17      portions 25:2
  pentobarbital        68:7 70:7,10       43:3,10 44:4,15    pick 73:8,10        position 11:17
   16:2 19:18 22:8     74:1 76:19         44:23 45:9,19      picked 73:6           25:2,9 36:3
   22:13 39:24         78:10 81:25        46:2,4,9,10,18       107:22              67:2 99:8 115:1
   48:1,5,5,13,14      91:22,24 96:7      46:21,24 47:10     pieces 66:24          143:4
   48:18 49:1,4        97:13,21 98:10     47:18,18,20          107:15,17         possible 6:12
   50:22 52:10         100:14 101:7       48:1,17 52:13      pile 20:12            51:14
   56:3,8 59:2,17      102:9,10,14        52:14 53:15        piles 49:19         post 80:5 81:20
   61:13 68:20         108:8 110:3        56:19 58:23        place 39:14           81:23
   72:2,10 73:7,10     118:9,13           59:24,25,25        placed 17:16        potential 56:12

                                MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com           Phone: 1.800.280.3376                          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 180 of 331
Appellate Case: 14-1193 Page: 166  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                                 EXHIBIT B
                                     DAVE DORMIRE 1/15/2014


  potentially 12:25    148:9               26:13 51:4,15      75:15 78:22          134:23
   42:18 45:8         presumably           77:10              89:6,10,22         purchase 56:11
  practice 18:11       45:13 125:21       procedures 24:2     111:23 112:9       purchased
   76:1 77:9,18,21    pretty 10:6 17:3     27:17 29:21        112:21,24            141:24 143:16
   77:24               32:19 99:18,23     proceed 44:2        113:6,11,15          144:16 145:18
  practices 47:20      107:25              140:13,15          141:3 142:6          145:21 146:4
  preceptor 67:24     prevent 39:15       proceedings         143:20,23          purchases
   67:25              previous 7:5 71:9    17:14 52:6         146:5,16,19          144:14
  preparation 18:5    previously 69:22     148:20             147:4              purported
   22:2 30:11         pre-execution       process 39:16      protocols 15:13       101:24
  prepare 87:6         35:10               71:23 77:4         23:18 25:3         purpose 54:9,16
  prepared 19:21      price 56:6,18        100:25 117:22      27:15                54:23 63:5,15
   20:5,8,9,21        pricing 50:19       procurement        provide 12:2          89:8 111:16
   28:1,8,19 33:24    primarily 20:9       51:4               50:12 59:8 67:5      115:7
   33:24 80:20         147:22             produce 48:12       74:20 85:14        purposes 19:24
   107:21 113:18      primary 112:1       produced 3:10       104:20 105:3       push 78:6
   121:14              113:9               7:19 8:8,12,13     129:3              put 14:20 19:14
  prepares 77:8       principally 85:18    8:18 9:14,19,23   provided 2:9,10       75:2 103:20,21
  preparing 28:4      print 9:17           84:19              5:13 6:17 8:20       106:9 120:14
   28:11 30:21        printed 58:10       product 50:19       12:17 45:19          124:25 148:14
  prescribe 87:4      printing 38:2       production 7:10     50:10,11 51:3      putting 35:14,14
  prescribed          printout 17:17       9:13               67:11 71:10        P.M 5:8 109:23
   102:10,11          prior 75:21 94:25   professional        74:14,19             125:1 148:20
  prescriber 58:25     94:25 108:19        61:12 149:4       provider 58:24
   101:23 103:13       109:4,6 150:16     progress 39:14     providers 131:13            Q
   103:20,21          prison 44:24        promise 127:4       131:14,17,18       qualified 12:20
   104:17,22           95:12              promoted 47:20     provides 22:7        47:15
   122:13 128:14      prisoner 87:12      pronunciation       56:6               quality 46:10
   128:15              87:16 92:1          125:25            providing 39:24      116:20
  prescriber's        prisoners 140:4     proof 129:4         59:1 85:13         quantities 87:20
   101:18 103:23      prisoner's          Propofol 16:4      provisions 47:16     87:21
  prescribing          111:25 113:8       proposed 18:23     pseudonym 62:2      quantity 19:11
   139:5              prisons 44:24        18:23              62:6 142:11,23      40:20,23 144:4
  prescription         45:14,20           protect 54:24       147:12             question 5:11
   21:18 100:5,9      privilege 86:6       83:3              pseudonyms           8:25 10:12 12:6
   100:12,15,17       privileged          protected 25:4,9    76:2 139:4          12:19 13:16,23
   100:22 101:7        106:13              85:17,17          public 33:2,5,6,7    14:4,5,25 15:2
   102:15,22          probably 31:25      protecting 44:16    55:6 64:20          15:3 18:3,16,17
   103:1,15,25         58:1,18 72:19       84:18 125:18       146:16 150:14       23:1,3,14 24:7
   104:13,23           84:24 118:21       protocol 13:25      152:18              32:17 35:21
   105:7               127:9,10            14:2,3,12 15:4    publicly 54:20       36:12 40:11,18
  prescriptions        145:17              15:7,16,17,20      67:3                41:20 42:23
   59:8 102:25        problem 16:14        15:24 18:14,18    pull 17:19 23:7      43:25 44:10
   104:5,21 105:4      27:5 43:2,10        19:1,3 21:20       49:18 52:23         45:1,8,19,23
  present 7:5 75:1     129:19              22:2,7,8 23:14     56:23               47:21 48:19
   75:13              procedural 80:13     24:3,9 27:22      pulling 49:22        50:24 52:9
  presentment         procedure 19:17      30:23 34:9        punishment           53:20 55:8 60:3


                                 MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com            Phone: 1.800.280.3376                         Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 181 of 331
Appellate Case: 14-1193 Page: 167  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                                  EXHIBIT B
                                     DAVE DORMIRE 1/15/2014


   60:5,11,24 61:1    raw 72:1            recommending          119:8 122:8,11    relate 124:1
   61:8,9 62:12,20    read 5:22 19:8,12     146:1               123:12 124:14     related 43:17
   62:20,24 63:1,3      19:13 27:2 39:5   record 5:24 6:8,9     124:16 125:20       91:25 120:22
   64:16,18 66:5        39:5 94:13,19       7:10 11:13          137:6,11            120:25 149:10
   67:7 69:1 70:18      94:23 95:17         17:15 25:2        redaction 53:22     relates 138:10
   75:8 79:14           114:12 130:17       28:12 29:20         53:24 54:23       relating 142:11
   80:24 91:12          135:8 136:8         30:1 33:17,18       55:4 69:23        relation 90:11
   96:20 98:11          141:13 148:10       40:2 44:3,6,11      118:20            relative 149:12
   99:25 100:7          150:13 151:6,7      44:16 46:1        redactions 7:4      relatives 96:6
   101:10,11,15         151:9,10,12,13      49:22 51:20         9:3 53:3 54:2,4   release 146:16
   101:22 102:5,6       151:15,16,18        55:13,15,24         64:10 83:16       released 146:19
   102:17 104:15        151:19,21           64:20 68:11,13      84:5 86:6         releasing 54:11
   104:25 113:12        152:2               68:14 80:22         103:11 137:12     relevant 55:7
   113:16 114:6       reading 90:18,20      81:5 84:17        reduced 149:9       reliability 46:9
   114:12,13,14         103:16 138:5        85:11 86:8,9      reference 32:21       46:10
   115:11 117:12        151:4               87:1,25 88:23       74:3 83:19        remain 39:17
   120:4,11,17        reads 16:24           88:24 91:18,19    references 82:18    remember 11:9
   122:21 123:5       ready 10:3            94:15 95:9,10       107:18              34:20,25 40:4
   124:17 128:25        140:19              103:7 108:4,6,7   referred 137:16       40:25 75:18
   137:18,25          real 34:17 48:8       114:15,17,21      referring 31:5        96:20 113:3
   141:2,11,13,16       69:2                114:23 115:24       130:11              125:1 138:7
   142:9,20 145:2     really 63:1 85:6      116:1,13          refers 50:15          141:15 146:1
   145:3 146:24       Realtime 149:4        124:23,24           142:15            remembered
  questions 2:1       reason 6:1 8:4        125:3 130:15      reflect 18:11         75:8
   10:1,8 11:9          100:21 113:4        130:19,20           88:25 119:17      remind 137:4
   12:11 14:16          129:22 140:14       134:22 138:16       124:10 144:13     reminded 141:24
   35:21,22 42:18       151:6,8,9,11,12     138:17 139:13     reflected 65:22       145:19
   43:11,15,22,23       151:14,15,17        139:14              106:22 117:13     remote 127:7
   65:24 121:19         151:18,20,21      recorded 44:18        117:14 120:6      removed 8:7 86:7
   142:11 143:13      reasons 101:10      records 102:22        124:25 134:24       123:9
   148:5,6              114:4             redact 9:18 55:5    reflecting 95:7     render 152:5
  quick 34:17         recall 141:18         67:4 69:21,24     reflection 116:20   renewal 66:20
   108:2 147:6        receipt 57:12         82:23 84:8,9,13   reflects 65:15      repeated 33:22
  quickly 69:2          125:16 127:19       84:17 85:7          90:17 106:20      report 49:14
   99:23 100:1          127:23 128:9      redacted 7:18,19      119:10 121:20       93:18 121:14
  quite 81:6 143:11   received 5:14         8:12 9:7 53:7,8     125:12 132:12       123:15,25
  quotation 124:12      6:14 23:21          53:9,10,15 54:8   refresh 20:20       reported 64:20
   124:15               108:9 110:1         54:15,22 55:10    refuse 104:23         124:1
  quote 56:15         receiving 117:19      58:10 64:25       regarding 107:6     reporter 3:15
   112:9                118:14              65:3,4 67:20      register 47:14,15     4:12 5:4,12
                      Reception 28:14       69:4,18,22        registered 37:6       141:12 149:1,2
          R             28:16 134:21        70:17 71:7          47:13 149:3         149:3,4,4
  R 4:1               receptor 67:23        72:15,17,21       registration 47:4     151:24
  radio 64:20         Recognizing           82:21,25 83:5,7     64:3,4            reports 49:17
    83:25               106:8               83:8 84:10,25     Rehabilitative        117:18 120:16
  raising 43:23       recommended           86:3 93:9 103:1     35:19 37:12       representation
  ran 139:8             145:25              116:7 117:1,2     reissued 7:3          6:2

                                 MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com            Phone: 1.800.280.3376                          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 182 of 331
Appellate Case: 14-1193 Page: 168  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                                 EXHIBIT B
                                     DAVE DORMIRE 1/15/2014


  representatives     responsible 29:1    risk 43:18         schedule 90:14        103:3,4,5,10
    33:12 138:11        35:13,14 76:1     RN 36:8              90:16               111:10 116:4
  represented 16:2      97:17 118:7,10    Rohrbach           scheduled 105:17      117:5 123:1
  request 16:3 41:1     118:14              125:24,25        Scheulen 15:11        129:18,22
    50:8,13 71:10     responsive 13:19      126:1              30:3                130:4,6,7
    89:20 90:1          13:20             role 71:22         Schnucks 52:14        134:21 136:3
    104:20 107:8      restate 115:10      roles 14:3         screen 14:21        seeing 20:20
  requested 75:6      result 64:10        room 39:13         sealed 114:23       seen 60:19 102:7
    75:10 98:17,22    resulted 8:7          97:12 98:2       searching 16:25     sees 122:16,22
    104:20 105:4,6    results 124:1         105:24 140:10    second 7:24 8:6     segue 96:10
    124:12 139:22     retail 64:2         RPR 149:19           11:18 14:23       selection 32:25
  requesting          retained 2:19       run 137:15,22        20:1 26:12,15       33:10
    131:12              25:11               138:4,23           38:2 39:7 40:1    sell 39:24 40:13
  requests 89:17      return 7:15           139:17,18,21       64:2 79:10,22       41:2 61:6
    98:19               150:15            Russell 28:19,21     81:23 85:5,8      sellers 56:13
  require 43:25       returned 6:24         28:21 38:14        86:21 92:25       send 127:25
    51:9 82:12          7:1 90:19,22,23     39:12 135:21       94:6 101:9        sense 24:16 57:24
  required 82:14        90:24 91:2          135:25             108:5 115:25      sent 5:14,15,22
    100:8             reveal 44:1 45:8                         131:14 136:1,7      6:10,13 7:23
  requirement           60:3 85:15               S             136:16 138:2        11:25 117:25
    56:10               114:9 147:24      S 4:1                144:19 147:22       118:1,4
  requisition         Revenue 129:3       safe 108:16        secondary 112:1     separate 62:6
    133:12,13         review 10:17,18     saline 108:25        113:9               96:8
  requisitions          54:2,4,6,9        sample 124:1       seconds 88:21       sequence 29:22
    134:4             reviewed 9:2        saved 91:7         secret 85:18,23       29:25 30:17,22
  rereviewed 9:5        54:7              saw 54:23 65:11      86:5 101:14         31:8 34:7,9
  research 15:6       revise 13:17        saying 5:24        secretary 62:16       38:14,16 87:18
    16:7 42:7 46:13   Richard 92:1,6,7      11:19,21 27:22   secrets 137:13      serve 63:4
    47:9 49:13        right 8:19 11:15      36:19 55:3       secure 138:22       served 11:17
    61:14               19:4 21:6 22:9      82:17 88:3       security 24:2         67:3
  reserved 5:6          23:23 26:21         120:1,2 121:6      27:18,19 54:24    service 58:24
  resolving 16:3        30:9 31:10 35:3     143:12             98:7                129:4
  respect 10:21         43:4,5 44:9       says 9:24 21:6,7   sedative 89:4,8     services 4:13
    109:2               50:12 51:22         25:24 40:14        89:11,16,22,25      35:19 37:12
  responded 11:5,7      58:6 59:22 69:7     58:12 63:4         90:1,6              131:13 133:23
    99:15               75:12 81:9          72:16 83:20      see 5:11 8:1 13:8     150:1
  response 13:23        86:22,25 88:4       94:11 98:24        14:17,19 15:25    set 7:19,25 8:12
    15:9 16:1 86:13     89:19 92:23         103:15 104:19      22:21 23:9 24:8     8:13,14 11:5,18
    96:16 105:23        95:5 97:3           105:3,8 112:9      26:15 27:3 30:8     12:5,14 13:24
    142:19              114:23 121:1        119:20 124:1       34:20 35:8 38:1     14:8 16:15
  responses 10:9        123:12 124:13       124:11 128:22      38:4,6,21,21        17:16 22:23
    10:11,14 11:4       127:21 129:16       133:10 134:22      43:13 44:19         27:11 52:24
    12:5 13:21 25:6     129:17 134:25       135:2 137:15       46:23 54:3,4        75:4,10 80:2,2
    86:11,23 98:14      135:6,20 141:1      137:19 144:21      65:17 71:2 72:7     86:11,19
    122:2               141:8 142:3       scanned 130:9        75:5 80:9,16      sets 23:17 27:25
  responsibility      right-hand 66:21    scanning 8:19        82:18 86:12         81:5 136:5
    54:13               119:4             scenarios 90:3       93:4 94:11        setting 95:4

                                 MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com            Phone: 1.800.280.3376                         Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 183 of 331
Appellate Case: 14-1193 Page: 169  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                                  EXHIBIT B
                                     DAVE DORMIRE 1/15/2014


  seven 3:12 14:13      121:19 144:4        116:6 118:22        94:11 95:23,24      64:3 107:21
    14:14 15:5        similarly 86:1        118:23,24           96:3,7 101:14       152:4
    71:14 86:12         144:10            source 70:15,16       111:10 133:1,8    successful 124:14
    97:2              simple 143:11         70:16,20,21         137:13 149:5      successfully 75:7
  shed 121:17         simply 92:15        sources 45:16       stated 10:22 25:5   sufficient 19:11
  sheet 40:11 151:1     105:3 107:18      speak 34:23 47:8      96:16             suggest 17:1
  sheets 150:12,14      112:16 145:16     speaking 96:9       statement 7:7         51:18
    150:15            simulate 76:25      specific 14:5         94:13,19,21       suggesting 13:18
  shielded 137:12       77:2,5              43:11 48:8 82:8     95:17 106:6       suggestion 25:6
  shift 81:24         Sincerely 150:18      84:11 90:13         112:3 113:4,8     Suite 4:14
  short 99:18         six 14:9 15:10        96:18 124:17        113:11            sum 136:9
  shorthand 5:3         97:1 111:24       specifically 42:5   states 1:1 3:1      summary 35:10
    149:3             slash 39:12,19        82:14 98:6,19       22:17               35:10
  show 33:13 40:6       135:4,4             119:5 140:11      state's 29:13       sun 95:2
    65:9 70:17        small 19:7            141:5 145:22        33:23 38:10,12    Sunshine 71:10
    86:10 111:10      Smulls 41:13        specify 86:14         94:23 95:18,20    supersede 113:22
    148:13              73:13 105:13      speculation         status 82:13        supervises 78:12
  showed 134:11         105:20,20           50:25 122:23      statute 54:17       supplement 11:3
  showing 23:24         125:5 147:5       speed 85:9          stay 39:14 99:10      12:16
    88:16             Social 54:24        spell 30:4 131:5      99:19,23          supplemented
  shown 142:19        sodium 123:17       Spillane 4:8 20:3   steps 10:23 11:1      11:11 12:4
  shows 73:2            123:20,22           85:19,21            46:6              supplementing
  sic 57:19           sold 40:17            109:25 139:13     sterile 107:19        75:5
  side 27:12 54:15    solution 109:1      spring 144:8        Steve 15:19         supplied 41:8,12
  SIG 103:15            123:18,20         St 3:17 64:20       stick 32:19           44:23 45:13
  Sigma-Aldrich       somebody 36:22      staff 35:18 36:11   STIPULATED            61:21 144:14
    70:15 71:22         84:18               77:8,9 78:13,14     5:1               supplier 20:25
  sign 10:14 87:19    somewhat              78:15,17,18       Stoll 50:3,5,9        21:11 145:4
    147:15 148:10       147:23              99:10,13,15       stop 16:3 88:20     suppliers 144:22
    150:14            soon 146:18         stand 37:10           138:1             supplies 19:23
  signature 5:5       sorry 11:16         standard 70:15      store 105:24          61:13
    58:9 132:17,19      19:12 20:7,14       70:15,16,20,20      106:7             supply 35:12
    136:9 148:8         26:7 29:17        standpoint 80:13    strapped 77:11        40:21,23,24
    150:12,14,15        33:20 37:11,24    start 6:20 18:17    Street 4:5,10         41:9 52:10 75:9
    151:23              40:12 57:13         20:12 25:23         150:6               87:4,5
  signatures 88:12      58:7,25 59:3,10     34:11 52:3 63:1   stuck 32:9 79:3     support 97:12
    88:16,17            67:25 70:16,18      81:6              subject 107:5       suppose 45:10
    133:11              79:4 81:11        started 5:8 141:2   submitted 18:24     supposed 78:23
  signed 10:11          93:22,24 94:22    starting 77:19        18:25             Supreme 111:9
    36:22 37:1          125:10 129:11       96:19             subscribe 152:7     sure 10:4 12:9,20
    133:15 147:13       130:1,25 131:4    starts 32:16        subscribing           20:2 23:5 24:6
    147:13 148:3      sort 21:11 37:4     state 3:16,18         151:4               24:12 26:17
  Signing 88:15         53:8,12 62:9        16:1 29:11,17     subsection 19:16      27:5 34:24 43:5
  signs 87:18           69:25 70:7 74:1     32:25 33:2,2        21:6                43:16,25 54:16
  similar 18:23         76:19,24 77:2       55:14 64:13       Subsequently          54:20 65:23
    29:11,18 59:15      79:11,22            85:18,22 86:5       6:23                68:12 71:4,20
    72:14 101:23        108:15 110:8        92:15,16 93:2     substance 48:12       75:18 79:19

                                 MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com            Phone: 1.800.280.3376                          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 184 of 331
Appellate Case: 14-1193 Page: 170  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                                  EXHIBIT B
                                     DAVE DORMIRE 1/15/2014


    81:10 86:25         150:11              130:22 131:24       118:23 127:5        81:24 86:11
    88:22 96:24       talk 74:9 84:23       136:15 137:3        134:12 136:6        135:23 136:2
    103:7 112:6,6       96:10 111:18        138:8 139:25        139:23            thought 9:1
    116:12 118:25       111:20 113:25       147:1             things 13:4 27:20     19:13 23:17
    120:12 121:2,9      138:11,12         telling 71:24         29:5 30:23,23       129:18
    121:15 129:13     talked 101:10         80:17 84:20,22      31:9,11,13 34:2   three 11:6 55:25
    130:15 135:10       124:9               147:11              78:23 79:10,24      55:25 56:12,25
    136:18 138:3      talking 7:8 13:3    tells 109:22          80:22 84:10         57:6,21,22,24
    138:13,15,23        14:7 24:2 25:21   temperature           85:9 98:7,7,9       59:22 63:21
    140:25 146:7        28:12 52:16         105:25              99:14 103:12        66:12 67:15
  surprise 80:16        63:25 75:5 84:8   ten 105:12            107:19 125:7        108:9 144:2
  Susan 4:9 128:16      120:21 135:15       109:10              138:22 141:1      time 8:6 12:23
    128:17              146:5             term 14:11 22:12      147:10              13:7,18,20 26:8
  suspect 24:7        talks 51:13           37:21 80:15       think 6:10 10:2,6     36:19 51:23
    117:10            task 55:4           terms 24:12 41:1      14:20 16:13,18      73:17,20 74:10
  suspected 66:8      tasks 14:3 86:14      48:8,9 75:23        16:18,23 17:2       83:7,19 84:14
  switch 126:12         86:18               76:8                17:23 23:10,23      90:12,13,15
  sworn 3:10 5:9      team 14:2,12        Terre 110:18,22       26:3 27:14,16       96:19 107:14
    9:23 149:7          15:4 20:24,24       144:17 145:7        32:6,6,7 37:21      114:10 127:11
  syringes 77:8,10      21:7,12,15,18     Terry 39:12           37:25 39:21         142:1 145:18
    77:24,25 78:2,6     21:21,22,25         135:21,25           42:23 43:11,18    times 59:22
    87:6 93:7,9         57:11 72:3 85:2   test 117:23           44:1 50:21 57:1     63:15 79:24
    110:12,13,14        85:14,15,22       tested 124:2          58:3 61:16          95:22
  systems 44:24         86:6 101:13       testimony 149:6       62:20 63:13       title 36:6,11,14
  S-C-H-E-U-L-...       125:16,17           149:7               65:15 75:18         37:5,7 94:16
    30:6                137:13 142:23     testing 21:14         79:9,25 80:25       97:14
                        144:23              70:12,14 74:4       81:25 85:8,13     titled 33:11
          T           telephone 8:3         85:20 109:12        85:17 86:2 90:3   today 7:2,6 8:18
  take 5:16 10:23     tell 20:4 26:10       115:2,14            92:19 94:2,9        8:21 21:20
    11:1 13:19          28:3 29:2 36:13     117:21 118:2        104:25 109:23       114:4,14
    14:23 17:12         36:24 37:23         124:20 126:25       109:24 110:21       145:16
    42:24 46:8          41:5,5 43:4,12      127:1               111:8 114:12      told 7:2 40:22
    51:19 59:11         50:2,16 53:6      tests 115:3           114:25 116:2,3      45:21 48:3
    61:19 63:3,18       61:25 64:10,13    thank 9:21 14:10      120:23,24           83:11 106:9,12
    67:14 69:13         67:19 68:6,22       23:11 49:18,24      121:1,6,17          106:14,16,23
    70:1 73:15          69:5,8,13,16        73:19 81:19         122:1 124:9         106:25 107:3
    78:24 87:22         72:13,16 73:23      87:24 148:7         126:13 127:11       114:18,21
    88:5 91:9 92:9      74:1 76:3 77:3      150:17              134:10,14           138:11 144:2
    93:4 96:22          77:7 81:11 83:9   Thanks 38:25          137:18 139:23     Tom 98:24
    98:20 101:3         86:18 88:17         39:3                140:24 144:12     tomorrow 127:4
    102:25 108:2        92:12 93:8,11     thereon 152:6         144:24 146:8        127:7
    115:5 116:5,11      93:11 95:20       thereto 149:13        146:18 147:2,3    top 26:25 29:4
    119:24 123:14       102:4 106:11        151:4               148:4,4             39:6 66:16
    124:4 125:7         116:6 117:21      thing 16:17 53:9    thinking 44:14        74:22 94:10,10
    128:2,3 139:24      118:21 119:6        57:1 71:19 74:8   thinks 123:3          94:16 118:20
  taken 1:10 5:3        119:18 123:20       79:23 91:13       third 13:24 14:8      122:8 127:21
    10:5 149:8,12       124:19 129:20       94:15 116:24        56:6 57:16 64:3   topic 142:9

                                 MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com            Phone: 1.800.280.3376                          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 185 of 331
Appellate Case: 14-1193 Page: 171  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                                  EXHIBIT B
                                     DAVE DORMIRE 1/15/2014


  total 136:10          69:14 79:15         136:10              33:10 92:17       warden 28:19,21
  totally 35:7          80:4,18,25 81:2   unredacted 68:5     vigorously           28:21 38:13
  track 27:13           81:4,4,5 87:11      70:17 71:11         109:25             76:5,6 78:19
    82:13               88:16 91:21         85:2 117:1,4      violate 148:2        97:16,23,24
  training 74:9,11      92:13 95:22         121:16 124:18     visit 140:9          140:7
    74:14,18,24         97:16 98:1        unsure 101:22       visits 140:5        wardens 97:25
    75:1,2,23 76:23     104:3,5,8,19      unused 87:17        volatile 50:15,19    98:1
    78:3,12 108:21      114:2,2 115:15      91:4,5              50:22             warrant 103:16
    108:23 109:4,6      131:13 135:3,3    upper 66:21         volume 135:7        warranty 119:21
  trainings 13:6,9      135:22 136:5        119:14            voucher 126:9        119:25 120:3
    13:14 75:6,9,14     136:11,11         use 16:2 22:9       vs 1:6 3:6 150:8    wasn't 10:16
  transactions        type 42:14 69:24      41:4 76:2 81:13     151:3              13:20 15:17,19
    134:23              132:14              81:14 107:22                           22:13 28:7
  transcribed 5:5     types 80:22           108:25 112:15      W                   54:10
  transcript 24:24    typewriting 5:5       132:2 133:20wait 22:25 33:20          watch 22:16 95:1
    150:13              149:9               133:22 141:1566:4 79:4 93:23          watching 78:14
  transmitting        typing 38:5           142:7 146:10 130:24 136:3              78:19,20,21
    118:11              57:22               146:14 147:4waive 148:9               water 38:23,24
  Travis 91:24                            utilize 19:17 waiving 25:8              way 8:17 24:16
  trial 150:16                U           utilized 35:25walk 75:22                 31:6 33:4 50:18
  tricky 127:23       Uh-huh 48:7         utilizing 16:4Wampler 91:22              63:5 75:3 76:15
  tried 43:13 96:18     51:7 59:19 72:5                  91:23,24                  79:8 94:1 104:9
    97:18               147:21                  V       want 5:21 7:9              104:10,11,15
  trouble 26:4 29:5   ultimately 41:8   vacated 99:24    11:12 17:6                106:9 111:23
  true 45:11 96:23    umbrella 133:7    vague 41:20,23   22:12 23:9 25:1           113:2 117:4
    103:13 108:1      unable 11:22        104:25 120:11  25:6,6 26:17              119:24 120:14
    120:3 121:14      unavailable       valid 116:8      27:3 29:1 34:18           127:7 131:21
    128:3 134:12        40:13,14,15,16 validated 115:1   37:21 38:23               141:12
    136:22 143:24     understand 11:4 Vance 32:21        39:2 42:22               ways 10:19
    152:5,9             12:9 43:1 44:17 various 20:18    43:24 44:13              week 127:13,15
  Truman 4:14           60:25 80:18       27:20 80:15    60:9 63:1,5               143:23
  try 54:11 57:1        81:1 84:21        120:16         65:25 66:3 68:9          welcome 94:11
    69:24 130:18        89:24 106:11    varying 131:16   68:10 71:19              went 7:17 8:11
  trying 23:7 42:17     112:4 114:20    vast 28:8        72:25 75:7 76:3           46:23 75:15
    58:15 86:17         139:3           vendor 70:20     84:11,23 86:25            78:10 82:25
    97:20 127:23      understanding     verbal 106:6     114:10 118:3              83:4,7 93:16
    146:3               6:4 11:13 84:8 verbally 107:1    130:4,6,7,14,17           100:25
  turn 11:16 32:15      107:20 109:13 verified 70:20     131:5 132:8              weren't 27:22
  Turning 126:7         111:22 118:6    Versed 89:1,5    137:15,21                 52:10 54:11,17
    131:24              144:8           version 69:17    138:4 140:20              107:3
  two 6:25 7:22,22    unfortunately       70:17          140:24 142:9             West 4:10,14
    11:7,14,22,25       130:16 143:10 versions 20:18     148:12,16,18              150:6
    23:17 35:21       Unger 4:4 150:21    71:9          wanted 23:5 84:6          WESTERN 1:1
    39:23 40:4 52:9   unit 131:2 132:4 versus 24:3       85:25 98:11               3:1
    52:17 56:3 58:6     132:8             111:19         104:12 132:9             we'll 12:2 24:8
    58:6,12,22 61:3   UNITED 1:1 3:1 victim 91:25 96:1   138:23 139:18             24:14 25:9 44:2
    66:6,24 68:1,16   units 135:2,10    victim's 29:19   139:21 143:22             55:1 60:23 63:5

                                 MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com            Phone: 1.800.280.3376                          Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 186 of 331
Appellate Case: 14-1193 Page: 172  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                               EXHIBIT B
                                     DAVE DORMIRE 1/15/2014


   63:25 74:23         92:16,17 93:2       113:14 140:8      $8,000 56:6       1283 57:2,14
   84:23 85:9          94:11 95:14,20      140:11 142:25      126:22 128:6       58:4,7,18 59:14
   115:6 116:3,4       95:24 97:15        wrong 31:21,23                       1285 122:5
   148:9               98:18 122:22        31:25 57:10                #        1287 67:14
  we're 10:2 17:15     122:23 130:4,6      80:12 92:19,24    #993 149:19       1289 69:13
   23:23 25:8,15       131:23 133:10       141:9                               1292 53:1 55:10
                                                                      1
   25:21 39:9 44:1     135:17 136:1,7     wrote 31:25                            55:13
   44:20 49:21         138:15 140:20       92:23 102:15      1 2:9,17 5:12 6:5 1294 116:6
   57:1 63:25          144:20 148:7        139:20              6:6,7 7:21,25     117:14
   73:15 75:4          149:6,8 150:13                          16:15 17:18     1295 123:14
   78:22,23 82:17      151:2,23                   Y            49:23 50:1 53:1   125:8,8
   84:6,7 85:9,11     witnesses 29:8,13   yeah 6:16 14:20      61:20 76:13     1296 125:8,9,10
   86:17 87:25         38:10 94:23          17:10 24:6         88:1,2 130:11     125:12
   88:2,5 92:21        95:18 96:3,7,11      25:22 31:24        141:4 148:12    1297 126:7
   96:10 114:25        96:13 98:9 99:4      32:9 35:20       1/9/14 2:9        1298 57:2,11,19
   120:2,2 121:9       99:8,12 135:19       36:16 40:15      1:21 5:8            128:9,9
   124:24 130:11       136:5                79:6,7 92:8      1:30 141:2        1299 57:16,18,20
   135:10,15          witnessing 32:22      94:4,8 95:5,5    10 2:2 5:15 6:14    58:8,20,21,25
   139:10,24          wondering 80:1        97:3 108:17        104:12,13         59:6,11 134:14
  we've 13:6 22:7     Wood 128:16           111:12 116:17      109:16            134:15
   25:7 28:4 31:20    word 5:17 118:4       123:4 127:15     100M 135:4,8      13 2:11,12 58:8
   43:5,10 51:20      worded 57:15,21       132:6 134:18     1099 129:7          65:19 71:14
   66:13 101:10        111:23 112:18        141:9 146:25     11 58:7,7 121:21    72:23 73:3
   101:13 107:24       113:2 119:24       year 6:11 143:19     121:22            103:4 110:4
   120:15 124:9       wording 57:22       years 129:1        11-12 103:4         127:20
   129:22 131:18      words 71:6,11       Yellow 52:18,20    11-16-2012 66:23 13th 110:17
   140:23              114:20             Yep 97:1           11:15 39:6        1300 127:3,17,18
  whichever 63:5      work 46:10          yesterday 8:4      111 2:13          1301 59:12,14
  white 117:2          68:17 126:1,1,2      125:6            1142 91:10,13     1303 136:15,20
  wild 59:11          working 8:19                           12 56:23 142:21   1304 139:25
                                                 Z           12-17-2004 6:18 1305 49:19 50:1
  willing 64:21       works 37:6 62:7
   68:22 69:5          117:22 126:3       Zink 1:4 3:4,18    12/27/13 2:10     1306 116:23
   100:22 118:10      worse 136:8          150:8 151:3       1208 124:5          117:14
   120:2 147:24       wouldn't 28:22                         1254 102:25       1307 70:1 71:17
                                                  $          1257 118:19
  withdraw 115:7       51:16 106:13                                            1310 72:8,10,13
                                          $1,200 125:12,23   1260 61:20,22,23 1311 109:17
   138:17              134:10
                                           126:5             1261 63:19,21
  withdrawn 7:12      write 31:9,22                                            1312 72:8,10,12
                                          $11,000 128:7        65:1 66:13,25
   9:1,14,20           100:12,15,17                                            1334 92:10,21,22
                                          $11,091 126:18       67:16
  witness 5:6,9        100:22 105:7                                            1335 92:10,22
                                          $12,500 133:25     1262 104:16
   12:20 24:2         writes 101:7                                             1336 98:20
                                          $17,000 131:22     1263 56:24 57:2
   26:16,19 29:11     writing 21:17                                            140 2:3
                                          $3,000 126:10,10     57:14,18 58:6
   29:18,19 32:9       31:15 44:19                                             143 2:4
                                           129:9               58:18 59:1,4,14 15 1:11 81:8,24
   32:13,25 33:3       102:22 106:5
                                          $3,091 126:24      1265 67:18
   33:10,23 34:12      106:20,21                                                 91:9 111:9
                                          $300 128:9,10      1266 119:6 120:6
   38:13,25 39:3      written 31:21                                              150:11
                                          $5,000 132:12        121:10 122:3
   45:17 71:20         33:25 51:10,14                                          15th 3:11
                                           133:13 134:1      1268 121:19,24
   86:3 92:15,16       51:15 89:5                                              1524 91:17,22

                                 MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com            Phone: 1.800.280.3376                        Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 187 of 331
Appellate Case: 14-1193 Page: 173  Date Filed: 01/28/2014 Entry ID: 4118269
                                                                               EXHIBIT B
                                  DAVE DORMIRE 1/15/2014


  1541 91:17,23     2246 17:19,21      2652 39:5           6011 4:5
  16 131:22           20:23 21:3       2656 34:10 35:4     62 83:19
  19 81:7,20          141:4 146:5      2657 35:9 36:18     63 57:3
    109:22          2247 19:6            37:17,22          64 30:10,13
  19th 81:15        2248 141:5,7       2658 37:18,21       64113 4:5
    110:17,17       2249 141:5 146:5   2675 38:9,13        65 2:11
                    225 20:16          2676 38:12          65102 4:10 150:6
           2        2267 20:17         2679 27:4 38:16     65109 4:14
  2 2:10,17 6:16    2399 134:16,18     2680 26:25 27:1     662 83:15
    7:7 8:23 27:1     135:15             27:7 38:17,18     676 79:1,3,4,6,7
    76:13 129:23    24 29:6 146:21     27 6:21 7:12 8:12     79:11 80:19
    130:13,21         146:25             9:20 44:8 69:17     81:18
  2:12-CV-4209-... 2405 26:9           2729 3:14           686 79:4,8
    1:5 3:5         2417 29:6          29 105:18 147:5     689 79:1,14
  20 83:24,25 84:1 2418 29:10,16                             80:19 82:1,1,20
    93:24 150:3     2420 29:13,18              3           69 29:22
    152:11          2464 29:22         3 65:20 71:15
  20th 72:25        2471 26:9 30:14      111:8                     7
  2002 111:9          30:15,16 31:22   3:30 142:10         7 2:12,13,17 88:4
  2010 15:8,14,15   2473 30:17         30 6:21,23 88:20      111:1,3,4,6,25
  2011 119:11       2474 30:18 31:20     106:17,24           148:12
  2013 6:21,21,24   2475 32:7            107:9,14          7:02 148:20
    14:1 66:19      2476 31:24 32:7    31 66:19 67:11      71 2:12
    67:11 71:15       32:12            3432 4:14           718 86:2
    72:23 73:3      2492 129:24                            722 87:22 88:6,9
    74:13,17                                   4             88:11,25 90:17
                      130:2,3,22,22
    121:21 143:20     131:1            4:30 83:24            90:20
  2014 1:11 3:11    2494 129:10,12     4:54 83:20          723 88:8 91:13
    61:21 150:3,11    129:14,16        46 21:2
  2015 93:12,14,19                     48 73:20,21                 8
                      131:24
    93:21 94:3,4    2495 132:11        49 17:20 73:18      8 2:11,14,18
  2016 119:12       2496 133:12          73:21               24:17 25:13,24
  2018 121:25       2497 133:24                              26:21 28:5
                                                5            31:22 148:14
  2043 93:5         2499 129:25
  2048 73:16,18,23                     5 2:9,11,17 65:6    83 57:3
                      130:2,3
    73:24 124:4,6,7 2587 26:24 32:16     65:8 66:11,15
                                       5:15 107:24                 9
  2049 73:16 74:6   2597 32:20
  2056 73:16                           50 135:9            9 2:15,19 5:14
                    2598 32:23
  2057 126:13,15                       50MG 135:4            6:11,12,14
                    2599 33:1
  2058 126:13,14                       56 73:18,21           24:17 25:13
                    26 2:14,15 27:6
  207 4:14                             573)636-7551          26:23,24 28:5
                    2600 33:9
  2095 132:11                            4:15                32:16 38:22
                    2601 33:10
  21 83:20,22 84:2 2609 33:19,20                             148:14
                                               6           9:05 109:23
    84:5 136:11     2610 33:19         6 2:10,12,17        98 57:4
  2105 109:23       2611 33:19           70:25 71:1        99 134:17
  211 4:10 150:6    2612 33:19,21      6:05 125:1          993 1:12
  22 13:25          2651 34:6,12       60 30:12 142:21

                               MIDWEST LITIGATION SERVICES
 www.midwestlitigation.com          Phone: 1.800.280.3376                        Fax: 314.644.1334
    Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 188 of 331
Appellate Case: 14-1193 Page: 174  Date Filed: 01/28/2014 Entry ID: 4118269
   EXHIBIT C




Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 189 of 331
2/17/2014                                Judge Orders Pharmacy Not To Sell Execution Drug To Missouri, For Now | St. Louis Public Radio

                                             Listen Live                                                                          On Air Schedule   Programs A-Z     Donate




                     Politics & Issues                                               Red Light Cameras                                  Other News
                     Report For EPA Says Underground                                 St. Louis Gets Green Light To Turn                 The Rundown: Highlights Of The
                     Landfill Fire Poses Little Risk                                 Red Light Cameras On For Now                       Week Of Feb. 10




         Death Penalty                                                                     5:25   PM FRI FEBRUARY 14, 2014



         Judge Orders Pharmacy Not To Sell Execution
         Drug To Missouri, For Now
         By CHRIS MCDANIEL (/PEOPLE/CHRIS-MCDANIEL)


         Update: Governor says the state is
         prepared to proceed regardless.
         (#update)


         Update: Pharmacy hopes
         documents will be secret (#update2 )                     (http://m ediad.publicbroadcasting.net/p/kwm u/files/2 01 4 02 /Apothecary _Shoppe.png)
                                                                                                               Enlarge image
                                             (http://mediad.publicbroadcasting.net/p/kwmu/f iles/201402/Apothecary _Shoppe.png)
         A federal judge has ordered an               Credit via Google Maps
         Oklahoma-based pharmacy not to sell
         the Missouri Department of Corrections its execution drug, at least until a hearing
         scheduled for next week.

         A Missouri inmate scheduled to be executed Feb. 26 sued the pharmacy, hoping to stop
         the supply of the drug that would soon be injected into him.

         The Apothecary Shoppe, a Tulsa-based compounding pharmacy, has supplied
         pentobarbital for three recent executions in Missouri but became registered to sell here
         only last week.

         "[The Apothecary Shoppe] is temporarily restrained from issuing compounded
         pentobarbital to the state of Missouri Department of Corrections for use in plaintiff’s
         execution by lethal injection," Judge Terrence Kern in Oklahoma wrote.

         He set a hearing for Feb. 18 for both sides to make their case.

         The state's controversial execution methods (and secrecy) were the impetus behind a
         legislative hearing in which state officials testified and for multiple bills aiming to
         curtail the Department of Corrections' power.

         The lawsuit, filed by inmate Michael Taylor's attorneys on Tuesday, raises many of the
         same issues on which we've previously reported.
         (http://news.stlpublicradio.org/post/inv estigation-m issouris-execution-drug-source-raises-legal-

         ethical-questions) Missouri   is now relying on a compounding pharmacy to mix the
         execution drug. Compounding pharmacies are not regulated by the Food and Drug
         Administration, and their products have a significantly higher failure rate than those
         made by manufacturers.

         In fact, a law prohibits pharmacies from creating a copy of an FDA-approved drug,
         like pentobarbital.

         "[The Apothecary Shoppe] cannot produce this drug so that it's safe and effective, and
         there are all kinds of risks associated with that," attorney Carrie Apfel said in an
                         Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 190 of 331
http://news.stlpublicradio.org/post/judge-orders-pharmacy-not-sell-execution-drug-missouri-now                                                                                1/4
2/17/2014                                Judge Orders Pharmacy Not To Sell Execution Drug To Missouri, For Now | St. Louis Public Radio
         interview. "The drug can be sub-potent, which means it's not powerful enough to do
         what it's supposed to do. It could be adulterated or have a contaminant in it."

         Apfel and her fellow attorneys are arguing that the drug's injection would violate the
         Eighth Amendment, which bars cruel and unusual punishment.

         Taylor's attorneys asked the judge to issue an order restraining the Apothecary Shoppe
         from supplying the drug to the Department of Corrections. State officials have testified
         that they typically travel to Oklahoma to pick up the drug and pay for it in cash.
         (http://news.stlpublicradio.org/post/three-m issouri-offices-are-responsible-controv ersial-execution-
         plans)



            Judge Orders Pharmacy To Not Sell Execution Drug




                  To print the document, click the "Original Document"
                  link to open the original PDF. At this time it is not
                  possible to print the document with annotations.




            Explore This Document In Full-Screen
            Mode(http://apps.npr.org/documents/document.html?id=1017669-doc-no-8-

         The Apothecary Shoppe did not respond to a request for comment.

         "An execution using compounded pentobarbital sodium, or other compounded drugs
         involves injecting a drug of unknown composition," Larry Sasich, a pharmacy
         consultant, wrote in the court filing. "This carries a substantial risk of causing the
         defendant pain and suffering."

         Other states have faced controversy for recent executions as well. In Ohio, an inmate
         took more than 20 minutes to die and was said to have gasped several times during
         that time. An Oklahoma inmate's last words were "I feel my whole body burning."

         Taylor was convicted of a 1989 abduction, rape and stabbing death of a 15-year-old
         girl.

         Updated 4:09 p.m., Thurs., Feb. 13 with governor's response.

         On Thursday, Gov. Jay Nixon said the Department of Corrections is prepared to
         proceed with this month's execution.

         “I mean, the Department of Corrections is prepared to carry out the execution on Feb.
         26, pursuant to the warrant issued by the Missouri Supreme Court," Nixon said, when
         asked by reporters.

         The Democrat also said the state has acted properly in trying to keep the supplier a
         secret.
                        Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 191 of 331
http://news.stlpublicradio.org/post/judge-orders-pharmacy-not-sell-execution-drug-missouri-now                                            2/4
2/17/2014                                Judge Orders Pharmacy Not To Sell Execution Drug To Missouri, For Now | St. Louis Public Radio
         “It’s important that they follow the law, and it’s the law of the state that protects the
         privacy of certain parts of the process," Nixon said. "If folks want to shift that policy,
         just like that law that passed that allows for that privacy, then the legislature has the
         opportunity to do that.”


                (http://cpa.ds.npr.org/kwmu/audio/2014/02/Nixon_on_execution_2_13_0.mp3)
                                                                                  0:06   1:09



         There are a few possible ways the state would be able to proceed. One is that it could
         have bought the drug before the judge's order. Both the governor's office and the
         Department of Corrections refused to disclose if the state currently has possession of
         the execution drug.

         The state also has a backup drug.

         In a sworn deposition last month, a high-ranking state official revealed that the state
         has a supply of midazolam to carry out executions, in spite of earlier assurances that
         the state did not have the drug.




            (http://m ediad.publicbroadcasting.net/p/kwm u/files/2 01 4 02 /Dorm ireMidazolam _0.JPG)
                              Enlarge image (http://mediad.publicbroadcasting.net/p/kwmu/f iles/201402/DormireMidazolam_0.JPG)

         Midazolam was the drug Ohio used in a recent execution that took more than 20
         minutes. Witnesses said the inmate gasped and snorted during that time.

         If Missouri were to use its backup supply of midazolam, the state would have to
         change the protocol, which currently allows only for pentobarbital.

         Updated 4:49 p.m., Fri., Feb. 14 with the Apothecary Shoppe's response.

         In a filing Friday afternoon, the Apothecary Shoppe asked the judge to keep documents
         about it confidential.

         “Here, the legally protectable interests of defendant and the state of Missouri far
         outweigh the public interest in disclosure of the confidential documents,” the
         Apothecary Shoppe wrote. “Missouri law expressly protects from disclosure the
         identities of members of an execution team.”

         The Apothecary Shoppe cited being a member of the execution team as a reason the
         documents should be sealed but also attempted to obfuscate if it is supplying.

         “Whether that allegation is accurate or not, the aforementioned statute would apply
         with respect to inquiries into the identities involved in a given execution team and their
         various roles,” the Shoppe’s attorneys wrote.

         But public records have already named the Apothecary Shoppe as the pharmacy selling
         the state its drugs. And the lawsuit pertains to the pharmacy supplying the state of
         Missouri with its execution drug, so they would have little reason to fight the suit if the
         pharmacy wasn’t the supplier.

         “It has the potential to cause public protest” if the documents were disclosed, the
                       Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 192 of 331
http://news.stlpublicradio.org/post/judge-orders-pharmacy-not-sell-execution-drug-missouri-now                                            3/4
2/17/2014                                  Judge Orders Pharmacy Not To Sell Execution Drug To Missouri, For Now | St. Louis Public Radio
         Apothecary Shoppe said.

         Missourians for Alternatives to the Death Penalty have been intermittently holding a
         vigil outside the pharmacy for the past couple of weeks.

         Follow Chris McDaniel on Twitter: @csmcdaniel                   (http://twitter.com /csm cdaniel)


         TAGS:    death penalty (/term /death-penalty )


         Related Content:

                           Death Penalty                                      Death Penalty
                           After Controversy                                  Three Missouri Offices Are
                           Surrounding Executions,                            Responsible For
                           State Officials Testify Before                     Controversial Execution
                           House Committee (/post/after-                      Plans (/post/three-missouri-offices-
         (/post/after-                                       (/post/th ree-




         0 Comments            St. Louis Public Radio                                                            Login

         Sort by Best                                                                      Share             Favorite



                         Start the discussion…




                                                Be the first to comment.




              Subscribe            Add Disqus to your site




                          Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 193 of 331
http://news.stlpublicradio.org/post/judge-orders-pharmacy-not-sell-execution-drug-missouri-now                                              4/4
   EXHIBIT D




Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 194 of 331
2/17/2014             I witnessed Ohio's execution of Dennis McGuire. What I saw was inhumane | Lawrence Hummer | Comment is free | theguardian.com




                                                                                                                                          Search




      I witnessed Ohio's execution of Dennis
      McGuire. What I saw was inhumane
      I don't know how any objective observer could come up with any
      conclusion other than that injection was an evil way to go

                       Lawrence Hummer
                       theguardian.com , Wednesday 2 2 January 2 01 4 1 3 .51 EST




      The last time I celebrated mass with Dennis McGuire, who was executed by the state of
      Ohio last week using an experimental two-drug concoction, it was the feast of the
      epiphany that marks the bringing of gifts to the newborn Jesus by the magi.

      McGuire was one of just over a dozen Catholics among Ohio's 147 death row inmates
      who come to mass weekly in Chillicothe Correctional Institution. As part of the
      sacrament of anointing, I asked the others to pass by and lay hands on McGuire as a way
      of giving our brother back to the Lord as a symbolic gift. When I turned round to face
      them with the oils, I found the other 12 standing around him, surrounding him as though
      they were offering him back to the Lord. Tears were streaming down McGuire's face.
      That was the first time I'd ever seen him show physical signs of emotion.

      I first began to visit Mcguire in November. He told me about the evil act he had
      committed, the murder in 1989 of a young woman Joy Stewart who was pregnant and
      whose unborn child also died. He confessed his sin to me, and expressed sorrow for what
      he had done. I said he should pray for forgiveness from the woman he had killed, and
      from that unborn child, and over the course of the final eight weeks, I know that he did.

      After that, I had to deal with him as I do anyone else who repents: as a forgiven sinner.
      It can be very difficult for people not in the religion to accept that with regard to a
      murderer, but the faith is clear: once forgiven, you are forgiven, no matter how heinous
      the sin.

      On the day of his execution, last Thursday, I gave him his last sacraments at Southern
      Ohio Correctional Facility, which lodges the "death house". Shortly before the execution

                       Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 195 of 331
http://www.theguardian.com/commentisfree/2014/jan/22/ohio-mcguire-execution-untested-lethal-injection-inhumane                                        1/5
2/17/2014             I witnessed Ohio's execution of Dennis McGuire. What I saw was inhumane | Lawrence Hummer | Comment is free | theguardian.com

      was due to start, his son, daughter and daughter-in-law, who were with him at the time,
      asked me to come with them as witness. McGuire also said he wanted me there as his
      spiritual adviser.

      I felt nauseous before I entered the room, as I had never seen an execution before. As
      the execution got underway, the nausea passed and was replaced by an intense feeling
      that I wanted to get out of that room, away from the horrendous act that was playing
      out before me.

      I've seen people die many times before: in nursing homes, families I've known, my own
      mother. In most settings I've found death to be a very peaceful experience. But this was
      something else. By my count it took 26 minutes for McGuire to be pronounced dead.

      We sat down in the death house – McGuire's children and daughter-in-law in the front
      row and me in the row behind them. At about 10.15am he was brought in and strapped
      to the gurney. With his arms spread and, not to put too fine a point on it, I whispered to
      his daughter that he looked as though he were on the cross.




                                     Dennis McGuire. Photograph: AP
      He made his final statement. He said thank you to Joy Stewart's family who had offered
      him some words of comfort in a letter they had written to him, and he told his children
      that he loved them and would see them in heaven. They began to put lines into him.
      That was unsettling, as from what I could observe they seemed to find it hard to get
      insert the IV and there seemed to be blood coming from his right arm.

      At 10.27am, the syringe containing the untested concoction of midazolam and
      hydromorphone was injected into him. At 10.30am, three minutes into the execution, he
      lifted his head off the gurney, and said to the family who he could see through the
      window: "I love you, I love you." Then he lay back down.

      At about 10.31am, his stomach swelled up in an unusual way, as though he had a hernia
      or something like that. Between 10.33am and 10.44am – I could see a clock on the wall
      of the death house – he struggled and gasped audibly for air.

      I was aghast. Over those 11 minutes or more he was fighting for breath, and I could see
      both of his fists were clenched the entire time. His gasps could be heard through the
                       Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 196 of 331
http://www.theguardian.com/commentisfree/2014/jan/22/ohio-mcguire-execution-untested-lethal-injection-inhumane                                        2/5
2/17/2014             I witnessed Ohio's execution of Dennis McGuire. What I saw was inhumane | Lawrence Hummer | Comment is free | theguardian.com

      glass wall that separated us. Towards the end, the gasping faded into small puffs of his
      mouth. It was much like a fish lying along the shore puffing for that one gasp of air that
      would allow it to breathe. Time dragged on and I was helpless to do anything, sitting
      helplessly by as he struggled for breath. I desperately wanted out of that room.

      For the next four minutes or so a medical tech listened for a heart beat on both sides of
      his chest. That seemed to drag on too, like some final cruel ritual, preventing us from
      leaving. Then, at 10.53am, the warden called the time of death, they closed the curtains,
      and that was it.

      I came out of that room feeling that I had witnessed something ghastly. I was relieved to
      be out in the fresh air. There is no question in my mind that Dennis McGuire suffered
      greatly over many minutes. I'd been told that a "normal" execution lasted five minutes –
      this experimental two-drug concoction had taken 26 minutes. I consider that inhumane.

      His family had been exposed to something horrendous. They cried and sobbed, held each
      other, held onto my hand, and at times turned away to hug each other so they didn't
      have to watch. And then there's the family of Joy Stewart, who I think were sitting next
      to us on the other side of a wall. I pray for them because I know they too have been
      through hell and back. My heart goes out to them, but I don't see how his death will
      bring them peace. All it means is that they witnessed somebody else die.

      I have opposed the death penalty since I studied philosophy in college 40 years ago. My
      objection is based on a simple principle: all human beings are created with the ability to
      change, from what is not yet to what is, and that's as true in the womb as it is heading for
      the tomb. There can always be repentance.

      To interrupt that process is to deny people the chance to repent of what they have done.
      Capital punishment is simply a way of society avoiding the possibility of changing lives.
      I'm not advocating the release of any of Ohio's death row inmates into society – they
      have all committed heinous acts, and society must be protected from them. But by
      incarcerating them, they pose no more threat. Everybody wants to play God instead of
      believing in him. That applies to the murderer as much as to all of us. In my opinion, the
      death penalty is nothing more than an exercise in vengeance that rightly should be
      reserved to the lord.

      Putting my opposition to the death penalty to one side, there remains what I saw with
      my own eyes last Thursday. I don't know how any objective observer could come up
      with any conclusion other than that was an evil act.

      Now that almost a week has passed, and I've had time to reflect, I ask that the governor
                       Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 197 of 331
http://www.theguardian.com/commentisfree/2014/jan/22/ohio-mcguire-execution-untested-lethal-injection-inhumane                                        3/5
2/17/2014             I witnessed Ohio's execution of Dennis McGuire. What I saw was inhumane | Lawrence Hummer | Comment is free | theguardian.com

      of Ohio or the legislature end the death penalty in this state. It serves no purpose.
      People must seize this culture of death and stop it.

      On Monday, I came to the prison for my usual weekly mass. I asked the remaining
      Catholic inmates whether they wanted to know what had happened to their brother.
      Most said they did, so I told them straight out, sparing them few details.

      Some of them came up to me after the mass to talk. Ironically, they began to console me,
      saying that they were sorry that I had been forced to go through such a terrible
      experience. I found myself oddly comforted by that. I know they were being genuine –
      I've been with them long enough to sense when I am being played. For me, that
      underlines a vital truth: that even among men who have done such brutal things,
      redemption can be found.

                                           Get the best of Comment is free
                                           The most shared comment, analysis and editorial
                                           articles delivered every weekday lunchtime.

                                              Sign up for the Comment is free email



      More from the Guardian What's this? More from around the                                                                  What's this?

      Nude Indian election posters: Not y our usual web
      buttoned-up political stunt 1 1 Feb 2 01 4
                                                                              Best Places to Retire To (Bring Your Challenges)
      Alex Salm ond responds angrily to Osborne's
                                                                              Stop Pay ing So Much For Your Hotel Room . 4
      rejection of currency union 1 3 Feb 2 01 4
                                                                              Sim ple Steps to Cheaper Rates (A Luxury Trav el
      Dav id Bailey : 'Cockney s don't cry . It's not for m e, all Blog)
      that whingeing and m oaning' 1 5 Feb 2 01 4
                                                                              Jay Leno Rev isits His Roots: Working the Grill at
      Let's unpack the debate ov er a nearly -naked m an                      McDonald's (CBS News)
      statue at a wom en's college 1 1 Feb 2 01 4
                                                                              Bulldozer Clearing Snow Kills a Pregnant Wom an
      Dum b Starbucks was the perfect crim e, but                             (The New York Tim es)
      Starbucks was sm art to play dum b 1 2 Feb 2 01 4
                                                                              The Hidden Effects of Clutter (Contentv erse)




      Ads by Google
      Online College Programs
      AA, BA, BS, MA, MS, & PhD Degrees Search 100's of Accredited Schools
      www.degreesearch.org
      Escape from America
      6 Places to Protect and Grow Your Wealth as US Spirals Out of Control
      www.sovereign-investor.com
                       Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 198 of 331
http://www.theguardian.com/commentisfree/2014/jan/22/ohio-mcguire-execution-untested-lethal-injection-inhumane                                        4/5
2/17/2014             I witnessed Ohio's execution of Dennis McGuire. What I saw was inhumane | Lawrence Hummer | Comment is free | theguardian.com

        Nursing School Online
        Earn Your RN To BSN in 3 Semesters. Online, Affordable & User Friendly!
        www.chamberlain.edu
        © 2 0 1 4 Gu a r dia n New s a n d Media Lim it ed or it s a ffilia t ed com pa n ies. A ll r ig h t s r eser v ed.


    ;




                       Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 199 of 331
http://www.theguardian.com/commentisfree/2014/jan/22/ohio-mcguire-execution-untested-lethal-injection-inhumane                                        5/5
    EXHIBIT E




Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 200 of 331
2/17/2014                                                       Controversial execution in Ohio uses new drug combination - CNN.com
  SET EDITION: U.S.       INTERNATIONAL         MÉXICO      ARABIC                                                                                                 This
                                                                                                                                                                    Sign text
                                                                                                                                                                          up should
                                                                                                                                                                              Log in be here.

  TV: CNN      CNNi     CNN en Español     HLN




    Home      TV & Video     CNN Trends         U.S.    World   Politics   Justice   Entertainment   Tech   Health   Living     Travel   Opinion    iReport   Money       Sports




    Controversial execution in Ohio uses new                                                                              SHARE THIS
                                                                                                                                                                 Print

    drug combination                                                                                                                                             Em ail

    By Dana Ford and Ashley Fantz, CNN                                                                                                                           More sharing
                                                                                                                                Recom m end   47k
    updated 1:01 PM EST, Fri January 17, 2014




    Son of executed Ohio man breaks silence
                                                                                                                                 Snake

    STORY HIGHLIGHTS                   (CNN) -- Ohio inmate Dennis McGuire appeared to gasp and                                  Jennifer Lopez
     NEW: Execution w as "a failed,    convulse for roughly 10 minutes before he died Thursday by lethal
     agonizing experiment," attorney   injection using a new combination of drugs, reporters who witnessed                       Earth
     says                              it said.
     NEW: A medical expert                                                                                                       Identical Quadrupl…
     questions w hy the process took
                                       McGuire was convicted in 1994 of the rape and murder of 22-year-
     24 minutes
                                       old Joy Stewart, who was seven months pregnant. Her relatives were
     Convicted killer Dennis McGuire
                                       at Southern Ohio Correctional Facility in Lucasville to witness his
     reportedly says "I'm going to
     heaven"                           death, according to tweets from television reporter Sheila Gray.
     Facing shortages, states are
     scrambling to find new drug       McGuire's "children and daughter-in-law were crying and visibly                        More from CNN Video:
     protocols
                                                                                                                                                                   This text should be here.
                                       upset," Gray tweeted.

                                       She said McGuire, before the drugs took effect, thanked Stewart's
                                       family for a letter he apparently received.
                                                                                                                              Actor continues          Daredevil falls from
                                       "To my children, I'm sorry. I love you. I'm going to heaven and I'll see               custody battle for son   balloon tightrope
                                       you there when you come," McGuire reportedly said, according to
                                                 CNN affiliate WDTN.

                                                       Columbus Dispatch reporter Alan Johnson said that the
                                                       whole execution process took 24 minutes, and that
                                                       McGuire appeared to be gasping for air for 10 to 13                    No flowers yet?          Shocking discovery
                                                       minutes.                                                               Blame the snow!          in burrito
    Witness: Inmate gasped during execution
                                                       "He gasped deeply. It was kind of a rattling, guttural
                                                       sound. There was kind of a snorting through his nose. A
                                                       couple of times, he definitely appeared to be choking,"
                                                       WDTN quoted Johnson as saying.
                                                                                                                              Shani Davis seeks        SI's swimsuit cover
                                                       The convicted murderer was pronounced dead at 10:53                    Olympics three-peat      girl is a real doll
                                                       a.m. ET.
    Why should executions be humane?
                                                                                                                              More from CNN:
                           Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 201 of 331
http://www.cnn.com/2014/01/16/justice/ohio-dennis-mcguire-execution/                                                                                                               1/8
2/17/2014                                               Controversial execution in Ohio uses new drug combination - CNN.com
                                              The execution generated controversy because, like many
                                              states, Ohio has been forced to find new drug protocols
                                              after European-based manufacturers banned U.S.
                                              prisons from using their drugs in executions -- among
                                              them, Danish-based Lundbeck, which manufactures
                                                                                                                 Ex-New Orleans               Woman accused in
                                              pentobarbital.                                                     Mayor Ray Nagin              Craigslist slaying
    Killer executed in Ohio
                                                                                                                 guilty after                 tells newspaper: I've
                                               According to Ohio's corrections department, the state             courtroom 'belly flop'       killed lots of…
                                   used a combination of the drugs midazolam, a sedative; and the
                                   painkiller hydromorphone.
                                                                                                                 From Around the Web:
                                   Both the length of time it took for McGuire to die and his gasping are
                                   not typical for an execution, said Howard Nearman, an
                                   anesthesiologist at University Hospitals Case Medical Center in
                                   Cleveland.
                                                                                                                 10 actors who killed         Why You're Probably
                                   "Why it took 24 minutes, I really can't tell you," he said. "It just makes    people in real life          Being Overcharged
                                   you wonder -- what was given? What was the timing, and what were              Death and Taxes              for Your Car
                                   the doses?"                                                                                                Insurance
                                                                                                                                              Lifestyle Journal

                                   In an opinion piece written for CNN this week, a law professor noted
                                   that McGuire's attorneys argued he would "suffocate to death in
                                   agony and terror."

                                   "The state disagrees. But the truth is that no one knows exactly how
                                   McGuire will die, how long it will take or what he will experience in the     A Pimp Is Suing Nike         Ohio: 3 adults
                                                                                                                 for Not Warning That         arrested in extreme
                                   process," wrote Elisabeth A. Semel, clinic professor of law and
                                                                                                                 His Shoes Could Be           child abuse case
                                   director of the Death Penalty Clinic at U.C. Berkeley School of Law.          Used as…                     after girl emails…
                                                                                                                 Vice                         Allvoices
                                   Speaking on behalf of McGuire's legal team, attorney Allen Bohnert
                                   called on the governor to impose a moratorium on future executions
                                   because of what took place Thursday.

                                   "At this point, it is entirely premature to consider this execution
                                   protocol to be anything other than a failed, agonizing experiment,"
                                   he said in a statement.

                                   "The people of the State of Ohio should be appalled at what was
                                   done here today in all of our names. Ohio, like its citizens, must
                                   follow the law. The state has failed."

                                   CNN's Sonny Hostin said that McGuire's execution will likely spark
                                   debate over whether how inmates react to the use of the drugs
                                   constitutes cruel and unusual punishment prohibited by the U.S.
                                   Constitution.

                                   "Whenever there's a change in the lethal injection process clearly
                                   it's subject to legal proceedings and perhaps we will see those,"            Sponsored Links
                                   Hostin said.                                                                 LifeLock® Official Site
                                                                                                                Protect yourself this tax season w/ our ID theft protection
                                   Ohio ran out of pentobarbital, which is a narcotic and sedative              services
                                   barbiturate, in September, according to JoEllen Smith,                       Find Out if You are Eligible
                                   spokeswoman for the Ohio Department of Rehabilitation and                    Millions of Californians can now get financial help with
                                   Correction.                                                                  their insurance bills.

                                                                                                                Penny Stocks Make Money!
                                   In response to that shortage, the department amended its execution           California Find out how to beat the recession with penny
                                   policy to allow for the use of midazolam and hydromorphone.                  stocks.

                                                                                                                40% off Your Order Today
                                   Stewart's body was discovered by hikers near a creek in                      Save on Photo Books, Calendars, and More. Use promo
                                   southwestern Ohio in February of 1989. Her throat was cut and she            code PREZ40.
                                   had been sodomized.                                                                                                       Buy a link here


                                   Death penalty states scramble for lethal injection drugs

                                   There are currently 138 men and one woman on death row in Ohio.

                                   The state was set to execute death row inmate Ron Phillips using
                                   the new drug combination last year, but Gov. John Kasich granted
                                   the convicted killer a stay of execution pending a review of a
                              Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 202 of 331
http://www.cnn.com/2014/01/16/justice/ohio-dennis-mcguire-execution/                                                                                                           2/8
2/17/2014                                                   Controversial execution in Ohio uses new drug combination - CNN.com
                                   possible organ donation to his family members.

                                   Death penalty in the U.S. gradually declining

                                   Serial killer Joseph Franklin executed after hours of delay

                                   A death row interview

                                   CNN's Joe Sutton, Ross Levitt and Deborah Feyerick contributed to this report.




    From Around the Web                                        More from CNN
      Why is this American President ignored                      Teen killed after shooting several people,
      despite his great work? The Daily Beast                     including ATF agent, police say
      Being fooled on craigslist is common Instant                Parents killed girl by making her drink too
      Checkm ate                                                  much grape soda, water, authorities say
      Terrell Owens’ New Wife Hospitalized After                  Arrest in 40-year-old murder case
      Apparent Suicide Attempt Hello Beautiful
                                                                  Bus riders subdue attacker, help avert
      Florida Man’s Fiancée Contradicts Parts of                  collision; 24 injured
      His Testimony in Killing of Teenager The
                                                                  Attorneys: Fetus of pregnant, brain-dead
      New York Tim es
                                                                  wife is 'distinctly abnormal'
      High Fructose Corn Syrup and Sugar: How
                                                                  Florida teen in X-rated videos can return to
      the Media Got it Wrong Forbes
                                                                  school after suspension
      Man jumps to his death rather than
      continue shopping with his girlfriend
      Dram aFever

                                                                                                     Recommended by



       Sponsored Links

       LifeLock® Official Site               Find Out if You are Eligible            Penny Stocks Make Money!
       Protect yourself this tax season w/   Millions of Californians can now        California Find out how to beat the
       our ID theft protection services      get financial help with their           recession with penny stocks.
                                             insurance bills.

                                                                                                             Buy a link here




  18254 Comments            CNN                                                                                       Login

  Sort by Best                                                                                     Share            Favorite



              Join the discussion…


            This comment is awaiting moderation. Show comment.
            This comment is awaiting moderation.


                     This comment is awaiting moderation. Show comment.
                     This comment is awaiting moderation.


                              This comment is awaiting moderation. Show comment.
                              This comment is awaiting moderation.


                                       This comment is awaiting moderation. Show comment.
                                       This comment is awaiting moderation.


                                       This comment is awaiting moderation. Show comment.
                                       This comment is awaiting moderation.


                                       This comment is awaiting moderation. Show comment.
                                       This comment is awaiting moderation.


                                       This comment is awaiting moderation. Show comment.
                                       This comment is awaiting moderation.


                                       This comment is awaiting moderation. Show comment.
                         Case 2:12-cv-04209-BP              Document 353 Filed 02/18/14 Page 203 of 331
                                This comment is awaiting moderation.
http://www.cnn.com/2014/01/16/justice/ohio-dennis-mcguire-execution/                                                              3/8
2/17/2014                                           Controversial execution in Ohio uses new drug combination - CNN.com
                                 This comment is awaiting moderation.


                                 This comment is awaiting moderation. Show comment.
                                 This comment is awaiting moderation.


                                 Paul Evans       Mpeasman • a month ago
                                 If if if if .... its all a question of where or how you draw the line.

                                 The system is not perfect therefore it WILL be the case that an
                                 innocent person will be killed by the process. I can never support a
                                 system that could result in the death on an innocent person (you
                                 may be different). Because of that position find I cannot support the
                                 process. This is simple logic.
                                 96      13       • Reply • Share ›


                                 nyboy       Paul Evans • a month ago
                                 I think your logic fails you when you take it to the extreeme cases
                                 like the Fort Hood shooter, Colorado theater shooter, etc. There is
                                 absolutely no doubt in those cases unless you have a distorted
                                 view of reality.
                                 72      5       • Reply • Share ›


                                 Paul Evans       nyboy • a month ago
                                 And where to draw the line is something that I have struggled with
                                 so I would rather err on the side of caution. The issue is how do you
                                 encode that in law?
                                 17      3       • Reply • Share ›


                                 cyborg_destruct      Paul Evans • a month ago
                                 Maybe allow the appeals process to have a limit of three years and
                                 then stop? Sounds like a reasonable amount of time. Although I
                                 think three years in a real prison would make me want to commit
                                 suicide rather than be with the animals, and I typically love animals!
                                 LOL
                                 Not the human kind of animals however.
                                 12      4       • Reply • Share ›


                                 James       cyborg_destruct • a month ago
                                 What about all of the people who have been exonerated after 3
                                 years?
                                 15      1       • Reply • Share ›


                                 DoctorFeelgoodMD         James • a month ago
                                 I live in Texas and strongly believe in the death penalty for convicted
                                 murders and other crimes. It acts as a deterrent for one. Second,
                                 we the people are not going to spend hundreds of thousands of
                                 dollars keeping scum alive by housing them. The death penalty is
                                 not cruel or unfair. We as humans have carried this out since the
                                 beginning and should continue to do so until the end of time. Do the
                                 crime and face the consequences. If new drugs don't work,
                                 shooting squad works great.
                                 35      7       • Reply • Share ›


                                 James       DoctorFeelgoodMD • a month ago
                                 You aren't really making any arguments here. All you're doing is
                                 stating your opinions.

                                 Where is the evidence that it deters crime?

                                 We the people, pay for prisons to protect society from the
                                 prisoners. If you've heard 6th graders debate the death penalty you
                                 would know it's more expensive to put someone to death than to
                                 put someone away for life.

                       Case 2:12-cv-04209-BP                   Document
                                    In the beginning, humans didn't              353
                                                                     wipe after they     Filed
                                                                                     pooped. Just02/18/14      Page 204 of 331
http://www.cnn.com/2014/01/16/justice/ohio-dennis-mcguire-execution/                                                             4/8
2/17/2014                                           Controversial execution in Ohio uses new drug combination - CNN.com
                                   In the beginning, humans didn't wipe after they pooped. Just
                                   because something went on in the past doesn't mean it should
                                   continue. You could use the same argument for slavery and war.

                                   If the firing squad worked great the executioners wouldn't need a
                                   blank to convince themselves that it wasn't their bullet that killed the
                                   prisoner.
                                   22       4        • Reply • Share ›


                                   Help_Me_Obi_Wan            James • a month ago
                                   It may or may not deter crime, who knows? But there is a 100%
                                   certainty that someone who has been executed will NEVER
                                   commit another crime.
                                   27       2        • Reply • Share ›


                                   James         Help_Me_Obi_Wan • a month ago
                                   Can't the same be said for people in prison for life?
                                   8        7       • Reply • Share ›


                                   Help_Me_Obi_Wan            James • a month ago
                                   NO! Prisoner on prisoner violence or prisoner on correction officer
                                   violence, up to and including more killing. I'm not sure you have
                                   heard, but sometimes prisoners escape. I don't think most of the
                                   ones that escape spend the rest of there lives reading the Bible and
                                   helping old ladies cross the street.
                                   17       2        • Reply • Share ›


                                   James         Help_Me_Obi_Wan • a month ago
                                   I'm not sure if you've heard, but very few prisoners escape, and it's
                                   up to the law enforcement community to stop it from happening.

                                   Also, almost all fugitive prisoners have less than a few days before
                                   they get caught and a whole lifetime to read the bible.
                                   10       3        • Reply • Share ›


                                   Help_Me_Obi_Wan            James • a month ago
                                   So, In the few days before they get caught, they are model citizens.
                                   Man, I would love to know what kind of drugs you're taking.
                                   7        1       • Reply • Share ›


                                   James         Help_Me_Obi_Wan • a month ago
                                   Nope, they aren't, and no one said they were.
                                   4        1       • Reply • Share ›


                                   zipper        Help_Me_Obi_Wan • 13 days ago
                                   obviously no substances that promote clear thinking!
                                                • Reply • Share ›


                                   Larry Wilson        James • 23 days ago
                                   The problem being that some of those that DID escape have killed
                                   others while on the run. Recent case here in Arizona, they killed
                                   while running!
                                   2              • Reply • Share ›


                                   James         Larry Wilson • 23 days ago
                                   Don't let them escape. What were violent offenders doing in a
                                   medium security prison?
                                        1        • Reply • Share ›


                                   zipper        James • 13 days ago
                                   "don't let them escape." -man, you sound like a juvenile!!
                                   ask your mama to change your diaper, and go watch the Cartoon
                                   Network instead of posting your dribble here!
                              1      • Reply • Share › Document 353
                       Case 2:12-cv-04209-BP                        Filed 02/18/14 Page 205 of 331
http://www.cnn.com/2014/01/16/justice/ohio-dennis-mcguire-execution/                                                      5/8
2/17/2014                                            Controversial execution in Ohio uses new drug combination - CNN.com
                               1              • Reply • Share ›


                               zipper        James • 13 days ago
                               maybe YOU haven't heard about all the convicts that get released
                               due to "good behavior," or "overcrowding." many commit crimes
                               within days, sometimes hours, of release. rape and murder are
                               very common instances.
                               why are you so pro-criminal, James? i don't hear a word from you
                               in sympathy for their victims.
                               1              • Reply • Share ›


                               Sally Frederick-Tudor            James • a month ago
                               Hell NO! Save taxpayers money by execution and not housing and
                               feeding them for years is a lot cheaper, no doubt about that!!
                               5        1       • Reply • Share ›


                               blurp        Sally Frederick-Tudor • a month ago
                               States without the death penalty have lower murder rates than the
                               ones with the death penalty (source: deathpenalty <dot>.org), and it
                               cost approximately 3 times as much to execute a person as it does
                               to house them in a single cell for 40 years (Source: Dallas Daily
                               News)</dot>
                               7        1       • Reply • Share ›


                               maineiac123          blurp • a month ago
                               My goodness, are you nuts? To talk about facts instead of beliefs?
                               5              • Reply • Share ›


                               Kim Kacer         maineiac123 • 24 days ago
                               lol
                                            • Reply • Share ›


                               Why      blurp • 6 days ago
                               A recent study in Canada showed that putting salt on the roads
                               reduced accidents. Eager to get on the joy train, Texas put lots of
                               salt on the roads and nothing happened.

                               Understand WHAT statistics mean, not just quote them.
                                            • Reply • Share ›


                               zipper        blurp • 13 days ago
                               really? now why do you suppose that is? it is not logical.
                                            • Reply • Share ›


                               James         Sally Frederick-Tudor • a month ago
                               It costs more money to execute them. How intellectually lazy can
                               people be nowadays?
                               5        1       • Reply • Share ›


                               Help_Me_Obi_Wan            James • a month ago
                               It costs very little to execute someone. The cost are the lawyer's
                               fees for appeal after appeal after appeal after appeal after
                               appeal...are you starting to understand how it works?
                               3              • Reply • Share ›


                               maineiac123          Help_Me_Obi_Wan • a month ago
                               And those appeals are a part of the due process and must be
                               figured into the cost. Are you starting to understand how due
                               process works? Most likely not.
                               2        1       • Reply • Share ›


                               Help_Me_Obi_Wan            maineiac123 • a month ago
                                    There is due process and complete idiocy. When you become the
                                    victim, maybe your views will
                       Case 2:12-cv-04209-BP                      change. My guess
                                                               Document       353youFiled
                                                                                     are someone
                                                                                           02/18/14             Page 206 of 331
http://www.cnn.com/2014/01/16/justice/ohio-dennis-mcguire-execution/                                                              6/8
2/17/2014                                          Controversial execution in Ohio uses new drug combination - CNN.com
                                   victim, maybe your views will change. My guess you are someone
                                   who is a lawyer (not likely) or someone who has spent there lives
                                   on the wrong side of the justice system.
                                   2              • Reply • Share ›


                                   zipper        Help_Me_Obi_Wan • 13 days ago
                                   he is right in that, at the present time, that is the law; and that's the
                                   Entire problem.....the law needs changing.
                                   eliminate automatic appeals; that is absurdity! execution of
                                   sentence needs to be carried out swiftly, barring solid grounds for
                                   appeal. will be a deterrent and will reverse the insane cost profile
                                   presently in effect.
                                                • Reply • Share ›


                                   maineiac123         zipper • 13 days ago
                                   Sure eliminate automatic appeals and kill quickly right? The fact
                                   that you most likely will kill an innocent person now and then
                                   doesn't matter does it? All you have to do is look at the number of
                                   people who's convictions have been overturned for a number of
                                   reasons including the fact they were innocent to start with to see
                                   the problem with the limitation of appeals. Nope, like so many
                                   others posting here you're simply bloodthirsty. I'm sure though that
                                   you have no problems telling a woman what to do with her body
                                   when it comes to abortion.
                                        1        • Reply • Share ›


                                   maineiac123         Help_Me_Obi_Wan • a month ago
                                   You quite obviously have no idea what due process is as you keep
                                   demonstrating. No more posts from me to you because I prefer to
                                   comment to those who are sufficiently intelligent to understand.
                                                • Reply • Share ›


                                   CTed         maineiac123 • 24 days ago
                                   They don't need to be. Due process is served by conviction by a
                                   jury and 1 appeal.
                                                • Reply • Share ›


                                   Larry Wilson        Help_Me_Obi_Wan • 23 days ago
                                   are you saying these lawyer's are not dong this for free? I guess
                                   they just want more tax payers to pay for their crimes too.
                                                • Reply • Share ›


                                   DoctorFeelgoodMD           James • a month ago
                                   You look like an ex-con.
                                   2        2       • Reply • Share ›


                                   Dillon       DoctorFeelgoodMD • a month ago
                                   and you sound like a very very shallow person...
                                   2              • Reply • Share ›


                                   DoctorFeelgoodMD           Dillon • a month ago
                                   No one is talking to you so mind your own business please.
                                   Amazes me how people defend mass murderers and have no
                                   regard for victims of his horrendous crimes.
                                   1        2       • Reply • Share ›


                                   Larry Wilson        DoctorFeelgoodMD • 23 days ago
                                   Too many think that when the victim has been killed, they don't
                                   have rights anymore. So they let the criminals have all the right the
                                   victim used to have then. It like when A vampire sucks all the blood
                                   from their victims. My problem is just one......A killer has no rights
                                   except to die when he's executed......he can take his time or die
                                   quickly. That is up to him......he has that right only!
                       Case 2:12-cv-04209-BP
                              1      • Reply • Share › Document 353 Filed 02/18/14 Page 207 of 331
http://www.cnn.com/2014/01/16/justice/ohio-dennis-mcguire-execution/                                                     7/8
2/17/2014                                                              Controversial execution in Ohio uses new drug combination - CNN.com
                                             1                 • Reply • Share ›


                                             Kim Kacer             DoctorFeelgoodMD • 24 days ago
                                             Obviously, you're not an MD... advice is how that should be spelled,
                                             Anyone w/ an MD would know that.
                                             1            2      • Reply • Share ›


                                             Kim Kacer             James • 24 days ago
                                             Ummm... by chance have you heard of the "Tea Party"?
                                                      3        • Reply • Share ›


                                             zipper           Kim Kacer • 13 days ago
                                             @ Kim Kacer--- Really! you're implying that any member of any
                                             Tea Party is intellectually deficient?
                                             1                 • Reply • Share ›


                                             infadelicious            zipper • 13 days ago
                                             Kim has read Alinsky's rules for radicals. No argument or defence
                                             for your own stupidity? Deflection.
                                             1                 • Reply • Share ›



                                                              Load more comments




       Subscribe               Add Disqus to your site




                  53°
                             HI 60° LO 41°
                             Atlanta, GA Weather forecast


                        Home | Video | CNN Trends | U.S. | World | Politics | Justice | Entertainment | Tech | Health | Living | Travel | Opinion | iReport | Money | Sports
                                  Tools & widgets | RSS | Podcasts | Blogs | CNN mobile | My profile | E-mail alerts | Desktop Alerts | CNN shop | Site map | Contact us



       © 2014 Cable News Network. Turner Broadcasting System, Inc. All Rights Reserved.                                                    CNN en ESPAÑOL | CNN México | CNN Chile | CNN Expansión
  Terms of service | Privacy guidelines | AdChoices       | Advertise with us | About us | Work for us | Help                                                                    ‫ | اﻟﻌرﺑﯾﺔ‬日本語 | Türkçe
  CNN Newsource | License Footage                                                                                                                                          CNN TV | HLN | Transcripts |




                             Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 208 of 331
http://www.cnn.com/2014/01/16/justice/ohio-dennis-mcguire-execution/                                                                                                                                  8/8
    EXHIBIT F




Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 209 of 331
2/16/2014                                    Business & Financial News, Breaking US & International News | Reuters.com




     » Print

     This copy is for your personal, non-commercial use only. To order presentation-ready copies for distribution to colleagues,
     clients or customers, use the Reprints tool at the top of any article or visit: www.reutersreprints.com.



     Ohio governor delays planned execution using
     two-drug method
     Fri, Feb 7 2014

     By Kim Palmer
     CLEVELAND (Reuters) - Ohio on Friday delayed its next scheduled execution to complete a review of a new two-drug
     combination that left a condemned inmate convulsing and appearing to struggle for breath for several minutes as he was
     put to death in January.
     Gregory Lott, 52, had been scheduled to die March 19 by a lethal injection of the same combination of the sedative
     midazolam and the pain killer hydromorphone that Ohio had used in the January execution.
     Ohio Governor John Kasich delayed Lott's execution date to November to give the state prison department time to complete
     a review of that execution, spokesman Rob Nichols said.
     Lott was convicted and sentenced to death for the killing of John McGrath, 82, who was set on fire in 1986.
     Ohio and other states that have the death penalty have increasingly been forced to look for alternate drugs and sources of
     drugs for executions as pharmaceutical companies have raised objections to their products being used in capital
     punishment.
     Ohio turned to the two-drug combination to execute Dennis McGuire in mid-January. Witnesses said McGuire appeared to
     be gasping for breath before he died. It was the first time the combination had been used to execute an inmate in the United
     States.
     McGuire's children, who witnessed the execution, have sued Ohio, alleging the state violated his Constitutional right for
     protection against cruel and unusual punishment.
     The delay in Lott's execution came days after a federal judge ordered Louisiana to delay by at least 90 days the execution of
     inmate Christopher Sepulvado.
     Louisiana had also planned to use a combination of midazolam and hydromorphone to execute Sepulvado, who was
     convicted of killing his 6-year-old stepson.
     (Reporting by Kim Palmer in Cleveland; Editing by David Bailey, Eric M. Johnson and Ken Wills)


     © Thomson Reuters 2013. All rights reserved. Users may download and print extracts of content from this website for their
     own personal and non-commercial use only. Republication or redistribution of Thomson Reuters content, including by
     framing or similar means, is expressly prohibited without the prior written consent of Thomson Reuters. Thomson Reuters
     and its logo are registered trademarks or trademarks of the Thomson Reuters group of companies around the world.
     Thomson Reuters journalists are subject to an Editorial Handbook which requires fair presentation and disclosure of
     relevant interests.
     This copy is for your personal, non-commercial use only. To order presentation-ready copies for distribution to colleagues,
     clients or customers, use the Reprints tool at the top of any article or visit: www.reutersreprints.com.




                       Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 210 of 331
http://www.reuters.com/assets/print?aid=USBREA1705P20140208                                                                          1/1
   EXHIBIT G




Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 211 of 331
        Louisiana execution postponed to study lethal drugs
           Rick Jervis, US A TODAY      (/staff/1130/rick-jervis)   8:26 p.m. EST February 3, 2014



                                                   SHARE                                                                                            35
                                                                                                                                                 TW EET
                                                               157
                                                            CONNECT      (https://twitter.com/intent/tweet?url=http://usat.ly/1kHH3vk&text=Louisiana%20execution%20postpon

                                                 The execution of a Louisiana man scheduled for this week has been postponed for three months while
                                                 attorneys on both sides grapple with what combination of lethal drugs will lead to his death.

                                                 After meeting with a federal judge in Baton Rouge on Monday, attorneys for both sides agreed that the lethal-
           (Photo: Kiichiro Sato, AP)
                                                 injection execution of Christopher Sepulvado, scheduled for Wednesday, should be delayed to further review
                                                 the drug protocol.

The delay is the latest in a nationwide series of controversies and legal disputes over a shortage of lethal injection drugs. Prisons have had to
reformulate their lethal drug recipes after European drugmakers stopped shipping barbiturates and sedatives used in executions, raising a
constitutional question of inmates' right to be free of cruel and unusual punishment.

A hearing on the constitutionality of Louisiana's proposed new protocol — a mixture of midazolam, a sedative, and hydromorphone, a painkiller — is
scheduled for April 7, where lawyers for the inmate will present pharmacologists and other experts to challenge the state's lethal cocktail, said Gary
Clements, a lawyer for Sepulvado.

"We have severe questions," Clements said. "We want to make sure they're giving us all the information they have."


Sepulvado, 70, was convicted of the 1992 murder of his 6-year-old stepson in Mansfield, La. Prosecutors said he beat the boy and stabbed him with a
screwdriver before dunking him in a scalding hot bath.

In a statement issued Monday, officials of the Louisiana Department of Public Safety and Corrections said, "The Department has been committed
throughout the entire process to following the court's direction and carrying out the sentence humanely and in accordance with the law."

Other states are facing similar challenges. The family of an Ohio inmate executed last month is suing the state and a drug company, claiming Dennis
McGuire was a victim of "cruel and unusual punishment" when he appeared to "writhe in pain" for 26 minutes before succumbing to the injected drugs.
McGuire was injected with a similar mixture of midazolam and hydromorphone.

And the Georgia Supreme Court is reviewing a case of a death row inmate who is challenging a state law shielding the identity and methods of
companies that make the state's lethal injection drugs.

The new combinations of drugs raise questions of inmates' rights to know what drugs will lead to their deaths and avoid "cruel and unusual
punishment," said Richard Dieter, executive director of the Death Penalty Information Center, a Washington, D.C., organization that opposes the death
penalty. But prisons are being guarded with that information so as to not scare away more drugmakers, he said.

"Citizens, even convicted inmates, have an elementary right to know what's being done to them," Dieter said. "You have a right to humane treatment."


For the past 30 years, U.S. prison officials used mostly sodium thiopental to carry out more than 1,000 lethal-injection executions, he said. But in 2011,
U.S. manufacturer Hospira stopped making the drug, citing complaints from officials in Italy, where the drug was made, that it was being used in capital
punishment. Most prisons switched to pentobarbital until its Danish maker, Lundbeck, restricted its sale for executions, Dieter said.


Louisiana ran out of its stock of pentobarbital and said last week it would switch to the midazolam-hydromorphone combination, prompting the court
hearing.


As prisons' drug stocks dwindle, some states are considering reverting to previous methods, such as the electric chair or even a firing squad, said
Tania Tetlow, a Tulane University Law School professor and former federal prosecutor. States switched to the more palatable lethal injection in the
1970s, but the electric chair and firing squad were never ruled unconstitutional by the Supreme Court, she said.


As more states wrestle with lethal injection legality, the high court may revisit the death penalty issue, Tetlow said. "It's an awkward conversation to
have," she said. "Even people who support the death penalty don't want to talk about the means."

                        Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 212 of 331
SHARE                                                                                     35
                                                                                       TW EET
          157
        CONNECT   (https://twitter.com/intent/tweet?url=http://usat.ly/1kHH3vk&text=Louisiana%20execution%20postponed%20to%20study%20lethal%20




                                                                                                       USA NOW




                                                                                      (/media/cinematic/video/5552285/murder-by-
                                                                                      Murder   by Craigslist: Latest killing | USA
                                                                                      NOW craigslist-latest-killing-usa-now/)
                                                                                      Feb 17, 2014




          Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 213 of 331
   EXHIBIT H




Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 214 of 331
                                  GEORGE LOMBARDI 1/17/2014


                                                                                 Page 1
   1                        IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MISSOURI
   2                                  CENTRAL DIVISION
   3
   4     DAVID ZINK, et al.,                     )
                                                 )
   5                Plaintiffs,                  )
                                                 )
   6     vs.                                     ) No. 2:12-CV-4209-BP
                                                 )
   7     GEORGE A. LOMBARDI, et al.,             )
                                                 )
   8                Defendants.                  )
   9
  10
  11
  12
  13                           DEPOSITION OF GEORGE LOMBARDI
  14                         TAKEN ON BEHALF OF THE PLAINTIFFS
  15                                  JANUARY 17, 2014
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25


                               MIDWEST LITIGATION SERVICES
www.midwestlitigation.com           Phone: 1.800.280.3376                Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 215 of 331
                               GEORGE LOMBARDI 1/17/2014


                                                                          Page 2
   1                                   I N D E X
   2                                                            PAGE
   3     EXAMINATIONS
   4                Direct Examination by Ms. Carlyle             5
   5
   6
   7     EXHIBITS
   8                (PLAINTIFF'S)
   9     (1)        Preparation and Administration of            19
                    Chemicals for Lethal Injection Document
  10
         (2)        Affidavit of George Lombardi                 22
  11
         (3)        Third Supplemental Declaration of            28
  12                Dr. Larry Sasich
  13     (4)        Second Supplemental Declaration of           29
                    Dr. Larry Sasich
  14
         (5)        Certificate of Analysis - 11/14/2013         30
  15
         (6)        Certificate of Analysis - 12/10/2013         30
  16
         (7)        Memorandum - Dr. Markway - 11/15/2013        37
  17
         (8)        Report of Dr. Dorothy Lewis                  38
  18
         (9)        Lombardi's Interrogatory Responses           18
  19
         (10)       Chronology of Execution                      47
  20
         (11)       Chemical Log - 11/20/2013                    52
  21
         (12)       Chemical Log - 12/11/2013                    52
  22
  23     (EXHIBITS ATTACHED)
  24
  25


                             MIDWEST LITIGATION SERVICES
www.midwestlitigation.com         Phone: 1.800.280.3376           Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 216 of 331
                                  GEORGE LOMBARDI 1/17/2014


                                                                                 Page 3
   1                        IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MISSOURI
   2                                  CENTRAL DIVISION
   3
   4     DAVID ZINK, et al.,                     )
                                                 )
   5                Plaintiffs,                  )
                                                 )
   6     vs.                                     ) No. 2:12-CV-4209-BP
                                                 )
   7     GEORGE A. LOMBARDI, et al.,             )
                                                 )
   8                Defendants.                  )
   9
  10           DEPOSITION OF GEORGE LOMBARDI, produced, sworn and examined
  11     on January 17, 2014, between the hours of eight o'clock in the
  12     forenoon and five o'clock in the afternoon of that day, at the
  13     Offices of Missouri Department of Corrections, 2729 Plaza
  14     Drive, Jefferson City, Missouri 65102, before Ashley C. High,
  15     Registered Professional Reporter, Certified Shorthand Reporter
  16     (IL) and Certified Court Reporter (MO), in a certain cause now
  17     pending in the United States District Court, Western District
  18     of Missouri, Central Division, between DAVID ZINK, et al.,,
  19     Plaintiffs, vs. GEORGE A. LOMBARDI, et al.,, Defendants; on
  20     behalf of the Plaintiffs.
  21
  22
  23
  24
  25


                               MIDWEST LITIGATION SERVICES
www.midwestlitigation.com           Phone: 1.800.280.3376                Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 217 of 331
                                  GEORGE LOMBARDI 1/17/2014


                                                                            Page 4
   1                                A P P E A R A N C E S
   2
   3                FOR PLAINTIFFS BARNETT, CLAYTON L. TAYLOR AND ZINK:
   4                        ELIZABETH UNGER CARLYLE, ESQ.
                            LAW OFFICE OF ELIZABETH CARLYLE
   5                        6011 Oak Street
                            Kansas City, MO 64113
   6                        (816) 525-6540
   7
   8
   9                FOR THE DEFENDANTS:
  10                        SUSAN BORESI, ESQ.
                            DAVID HANSEN, ESQ.
  11                        MICHAEL SPILLANE, ESQ.
                            ANDREW BAILEY, ESQ.
  12                        OFFICE OF THE ATTORNEY GENERAL
                            207 W. High Street
  13                        Jefferson City, MO 65101
                            (573) 751-3321
  14
  15
  16
                    COURT REPORTER:
  17
                            ASHLEY C. HIGH, RPR, CSR(IL), CCR(MO)
  18                        MIDWEST LITIGATION SERVICES
                            711 North Eleventh Street
  19                        St. Louis, MO 63101
                            (314) 644-2191
  20                        (800) 280-3376
  21
  22
  23
  24
  25

                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376          Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 218 of 331
                                    GEORGE LOMBARDI 1/17/2014


                                                                                   Page 5
   1                        IT IS HEREBY STIPULATED AND AGREED by

   2     and between counsel for the Plaintiffs and counsel

   3     for the Defendants that this deposition may be taken

   4     in shorthand by Ashley C. High, a Registered

   5     Professional Reporter, Certified Shorthand Reporter

   6     (IL) and Certified Court Reporter (MO), and

   7     afterwards transcribed into typewriting; and the

   8     signature of the witness is expressly reserved.

   9     (PLAINTIFF'S EXHIBITS 1 THROUGH 12 WERE MARKED FOR

  10     IDENTIFICATION.)

  11                           *      *    *     *      *

  12                                GEORGE LOMBARDI,

  13     of lawful age, produced, sworn and examined on

  14     behalf of the Plaintiffs, deposes and says:

  15     (DEPOSITION STARTED AT 1:09 P.M.)

  16                               DIRECT EXAMINATION

  17     BY MS. CARLYLE:

  18                Q.      Mr. Lombardi, I know you've had your

  19     deposition taken many times before.

  20                A.      Uh-huh.

  21                Q.      I don't think we've ever met in that

  22     context, so let me just say to you that when I ask

  23     you a question, I'm really not trying to confuse

  24     you, although I may do that inadvertently.              If what

  25     I'm asking isn't clear, please tell me that, and


                                   MIDWEST LITIGATION SERVICES
www.midwestlitigation.com               Phone: 1.800.280.3376              Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 219 of 331
                                    GEORGE LOMBARDI 1/17/2014


                                                                                 Page 6
   1     I'll rephrase it.

   2                A.      I'll do that.     Thank you.

   3                Q.      And otherwise I'm going to, I guess

   4     sort of, assume that you think you understand me.

   5                A.      Okay.

   6                Q.      Okay, thank you.

   7                        MR. HANSEN:     Elizabeth, before we get

   8     started, Sue is going to be handling the witness in

   9     this.     But since we talked about the issue about the

  10     discovery disclosures of the documents, let's do

  11     that on the record before we get-going with that.

  12                        MS. CARLYLE:     Okay.

  13                        MR. HANSEN:     You had sent an e-mail --

  14     we had discussed in Mr. Dormire's deposition on --

  15     two days ago on Wednesday the 15th, that we would

  16     produce the -- reproduce the documents that we had

  17     earlier produced that had been redacted with

  18     number -- phone numbers and addresses and items that

  19     did not relate to our assertion of state secrets or

  20     the execution team members.           And I told you would we

  21     would provide those to you.

  22              You had sent an e-mail then yesterday morning

  23     on the 16th saying that you expected to have those

  24     today.     I was in court all day yesterday, but -- and

  25     I was working on producing a set of redacted


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376               Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 220 of 331
                              GEORGE LOMBARDI 1/17/2014


                                                                              Page 7
   1     numbered pages for the protocol that we worked on

   2     Wednesday evening.    I and the Department have not

   3     had time to go through all those other documents and

   4     unredact those numbers and addresses and produce

   5     those here today.

   6             As I told you when you arrived this afternoon,

   7     we will produce those in the next ten business days,

   8     I believe is what Mr. Briesacher told me.         Some of

   9     those documents have to be obtained again from the

  10     institution in order to produce them without

  11     redactions.

  12             In the meantime, if you need any of those

  13     phone numbers or addresses, you tell me and we will

  14     get those for you immediately.     I suspect that we

  15     can do it within hours if you need them.

  16             And so the record is clear, the only thing --

  17     I believe the only thing that have been redacted are

  18     personal cell phone numbers, addresses, and the

  19     names themselves have not been redacted.         So as the

  20     records exist now you can look at those records,

  21     identify who the person is, and whether or not you

  22     need that address or that phone number.

  23             So if you do, either today for this

  24     deposition, or Monday in order to conduct some

  25     investigation, whatever it is, you just let us know,


                             MIDWEST LITIGATION SERVICES
www.midwestlitigation.com         Phone: 1.800.280.3376               Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 221 of 331
                                  GEORGE LOMBARDI 1/17/2014


                                                                                   Page 8
   1     and we will get those as soon as we can.             Certainly

   2     before we produce everything else.             So that's what

   3     we're able to do.

   4                        MS. CARLYLE:    Okay.     Well, my response

   5     to that, for the record, again is that when the

   6     documents were produced, they were overdue, and now

   7     they -- then they were withdrawn for almost two

   8     weeks, and were even more overdue, and now they're

   9     having to be reproduced in proper form.

  10             It's not acceptable to wait ten days.           And

  11     it's not acceptable for us to have to call you when

  12     we want information that's still on the documents.

  13             I will confer with my co-counsel to determine

  14     whether we want to bring that to the Judge's

  15     attention and ask for a direct -- that that be

  16     sooner or impose other sanctions.

  17             So -- actually, let -- while we're still

  18     talking about pieces of paper.             What's the status of

  19     what -- for one of a better term we're calling the

  20     non-public protocols that you and I worked on the

  21     other night, but there was some difficulty about the

  22     page numbers?

  23                        MR. HANSEN:    Let's make a record on

  24     that --

  25                        MS. CARLYLE:    Yes, let's do that.


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376                 Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 222 of 331
                                  GEORGE LOMBARDI 1/17/2014


                                                                             Page 9
   1                        MR. HANSEN:    -- since it happened at

   2     the conclusion of the deposition of Mr. Dormire.

   3                        MS. CARLYLE:    After the conclusion

   4     really.

   5                        MR. HANSEN:    And after our court

   6     reporter left.

   7                        MS. CARLYLE:    Okay.

   8                        MR. HANSEN:    We produced for you on

   9     Wednesday morning at -- I believe you arrived at --

  10                        MS. CARLYLE:    11:00.

  11                        MR. HANSEN:    -- 11 o'clock for the

  12     deposition that was to begin at 1 o'clock.           We

  13     provided you what had we identified as three

  14     different protocols that we had referenced in

  15     production of documents saying -- in our response

  16     said we would make those available for you,

  17     attorneys eyes only, but no copies to be made,

  18     because we believe that they were entitled to

  19     protection under the protective order established in

  20     -- I believe it was either Order 110 or 112.

  21             We made those available to you, and you had an

  22     opportunity to review those at that time prior to

  23     the deposition, and in fact you marked two of them

  24     as exhibits at the deposition and used them.

  25             At the -- one of those -- they began on


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376           Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 223 of 331
                               GEORGE LOMBARDI 1/17/2014


                                                                          Page 10
   1     page -- we did go ahead and Bates stamp those pages,

   2     and they began Bates stamp page number 2405 and I

   3     believe ended on 2687.     And they consist of what we

   4     have referred to as the draft Franklin execution

   5     protocol, which ended up being marked as Exhibit 8,

   6     I believe.

   7             Then there also was the actual Franklin

   8     protocol that was developed during the execution of

   9     Mr. Franklin, which did not get marked as an

  10     exhibit.     And then there is the Nicklasson protocol

  11     that I believe was marked as Exhibit 9.

  12             At the conclusion of the deposition, you

  13     indicated that you wanted to take with you copies of

  14     portions of those protocol, and it had been our

  15     position that we did not want those to leave until

  16     we had -- until it was -- we agreed what we believed

  17     was privileged or closed and what was not.

  18             At that time, we worked it out.    We sat down,

  19     I think we took an hour -- ended up being like two

  20     hours, I think.     You looked through all those

  21     protocols, you identified which pages that you

  22     believed you did not have an interest in, most of it

  23     related to security issues, perimeter security other

  24     things.     You separated those out, and you identified

  25     on those three protocols -- actually, it was just


                             MIDWEST LITIGATION SERVICES
www.midwestlitigation.com         Phone: 1.800.280.3376            Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 224 of 331
                                  GEORGE LOMBARDI 1/17/2014


                                                                                  Page 11
   1     the two protocols --

   2                        MS. CARLYLE:    Just the two, yes.

   3                        MR. HANSEN:    You didn't look at Exhibit

   4     8 -- you looked at the Franklin protocol, that had

   5     not been marked, the actual Franklin protocol and

   6     you looked at the Nicklasson protocol.

   7             We removed the pages that you said you did not

   8     want, that you were not interested in.          And then I

   9     went through them and identified the things, along

  10     with Mr. Dormire, we identified the items that we

  11     felt were -- needed to be protected, that related to

  12     safety and security.

  13             I showed you those things that we needed to

  14     redact, mostly they were equipment and items that

  15     were to be used by officers.          We redacted those.     We

  16     made photocopies.        As it turned out, the first set

  17     of photocopies you could still see through some of

  18     the permanent marker, so we had to mark them out

  19     again, photocopy an additional time, and as we put

  20     the final set together for you to take we realized

  21     that the copier did not copy some of the Bates

  22     stamps numbers at the bottom of the page.            So rather

  23     than take another half hour and try to recopy it,

  24     we -- you went ahead and hook those pages so that

  25     you could prepare for the deposition, and I told you


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376                 Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 225 of 331
                                  GEORGE LOMBARDI 1/17/2014


                                                                               Page 12
   1     that I would go back and make sure those redactions

   2     were done properly -- or accurately and on pages

   3     that had the Bates stamp numbers, which we've done.

   4     I spent all morning doing that.

   5             I have with me now a copy of the redacted

   6     pages that we agreed that you could take, and

   7     excluding the pages that you identified that you did

   8     not have an interest in or did not need.

   9             And so the record is clear, too, I went ahead

  10     on the Franklin protocol, that had been marked as

  11     Exhibit 8, which was just the draft, I went ahead

  12     and removed corresponding pages that ended up being

  13     in the actual protocol that we ended up going

  14     through, okay?

  15                        MS. CARLYLE:    Okay.

  16                        MR. HANSEN:    I've got that here today.

  17     I'm going to give it to you right now.           It's both a

  18     hard copy and it's on disc.

  19                        MS. CARLYLE:    Okay.   Well, two things.

  20     Well, first of all, let me kind of -- I think most

  21     of what you said is accurate.          I want to be clear on

  22     -- make the record clear on a few of comments you

  23     made.

  24             First of all, I was -- at 11 o'clock on

  25     Wednesday, before the 1 o'clock deposition, I was


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376              Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 226 of 331
                               GEORGE LOMBARDI 1/17/2014


                                                                           Page 13
   1     given approximately 220 pages of materials to

   2     review.     In fact, between 11 o'clock and the time I

   3     really needed to get something to eat before the

   4     deposition, I was able to review the draft Franklin

   5     protocol and the actual Franklin protocol.        I just

   6     didn't have to time to review the Nicklasson

   7     protocol, and I didn't.     So really before the

   8     deposition I did -- I mean, I knew I had the

   9     Nicklasson protocol, but I never saw it.

  10              After the -- after the deposition we discussed

  11     -- my proposal to you was that you determine what

  12     pages you thought were sensitive and present those

  13     to me to see if I could do without them.

  14              You told me that you could not do that until

  15     today.     I was not willing to wait until today to

  16     have any further access to those documents, so I

  17     then undertook to determine what I didn't think I

  18     needed.     Eventually you then went through the

  19     documents again and decided that there were other

  20     pages you thought were really sensitive, you showed

  21     them to me, and as I recall at least the majority of

  22     them I agreed that I really didn't need those either

  23     and we took them out.     And then you made some

  24     redactions on some of them that I thought that I did

  25     need.


                             MIDWEST LITIGATION SERVICES
www.midwestlitigation.com         Phone: 1.800.280.3376             Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 227 of 331
                                  GEORGE LOMBARDI 1/17/2014


                                                                             Page 14
   1             But you know, the matters you wanted to

   2     redact, which concerned, as I recall, key ring

   3     numbers and equipment were not at that point

   4     information that I thought I needed, so I certainly

   5     didn't object at that point to your redacting them.

   6             And then I think what you said about the

   7     copying machine excitement was pretty -- was

   8     accurate.

   9             So I guess my position now is what I think

  10     would be helpful would be a list from you of what I

  11     didn't want.        I certainly didn't have time to make

  12     such a list at the time.

  13                        MR. HANSEN:    I failed to state on the

  14     record, which is my oversight, is that I'm going to

  15     do a redaction log or a privilege log.

  16                        MS. CARLYLE:    Okay.

  17                        MR. HANSEN:    And I would hope to have

  18     it done today, but because I was out of town in

  19     court in a hearing yesterday, it was all I could do

  20     to reconstruct the Bates number and produce them for

  21     you here today.

  22             I will get to you some time next week the

  23     redaction or privileged log, which will identify not

  24     only the pages that you did not receive, but it will

  25     also describe the information that was redacted on


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376            Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 228 of 331
                                  GEORGE LOMBARDI 1/17/2014


                                                                             Page 15
   1     pages you did receive.

   2                        MS. CARLYLE:    Okay.   That's helpful.

   3     And as I said, I mean in good faith, I really think

   4     that's information I probably don't need, but number

   5     one, I'm only one of a rather large team of lawyers.

   6           And number two, the circumstances under which I

   7     had to review this on Wednesday were not conducive

   8     to careful considered decisions about anything, so I

   9     mean it's possible that once we have that log and

  10     once everybody has -- the other attorneys have taken

  11     a look at the documents, you know, that we may --

  12     you know, we may want to argue about that.           You

  13     know, I can't guarantee that we won't.

  14             I guess what I'm saying is I would ask that

  15     you not take what we did Wednesday night as

  16     conclusive on what we're entitled, because I didn't

  17     have time to make that decision.

  18                        MR. HANSEN:    I just wanted to

  19     accurately state what occurred for the record, and I

  20     think we've done that.

  21                        MS. CARLYLE:    And the other thing I

  22     want to say is that I understand that you take the

  23     position that these document are covered by an

  24     earlier protective order.          We are treating the

  25     documents as attorneys eyes only as a courtesy to


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376            Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 229 of 331
                                  GEORGE LOMBARDI 1/17/2014


                                                                                Page 16
   1     you at this point.        We do not think there's a

   2     protective order covering these documents.           We think

   3     the protective order that was issued covered the

   4     documents that were issued then and really has no

   5     real relevance to this entirely different set of

   6     documents.

   7             So if you want to seek a protective order

   8     specifically for these documents, I suggest you do

   9     so, because we don't acknowledge that the documents

  10     you've provided are covered by a protective order.

  11                        MR. HANSEN:   Let's -- we've got the

  12     Director here, let's go ahead and begin the

  13     deposition, because we can discuss that via phone

  14     conversations or e-mails later about what we need to

  15     do about that, we can do that next week, so let's go

  16     ahead and start the deposition.

  17                        MS. BORESI:   Before we start the

  18     deposition I have one quick thing that want to say.

  19     Plaintiff's counsel continually makes references to

  20     the defendant's attorneys producing the documents

  21     late.

  22             It's my observation that the Request for

  23     Production were filed in October after discovery had

  24     closed, without leave of court, and without seeking

  25     any permission from the court to shorten any time


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376               Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 230 of 331
                                  GEORGE LOMBARDI 1/17/2014


                                                                              Page 17
   1     for discovery.

   2             In addition, the overwhelming majority of the

   3     documents that were produced relate specifically to

   4     the Franklin execution that occurred on

   5     November 20th, 2013 and the Nicklasson execution

   6     that occurred on December the 10th, 2013.

   7             And so, it's hard to imagine how we could have

   8     produced those documents any sooner than when they

   9     were generated contemporaneously with those

  10     executions.        That's all I have to say.

  11                        MS. CARLYLE:    Okay.   And I guess my

  12     only response to that, again for the record, is that

  13     if the attorneys for the defendants believed that

  14     the discovery requests, which were indeed made after

  15     discovery had closed, but after also after we had

  16     filed -- an amended complaint had been granted, if

  17     they believed that those discovery requests were

  18     improper it was incumbent upon them to make that

  19     objection within the period for responding to those

  20     requests for productions.          And it's going to be our

  21     position that since such an objection was not made

  22     during that time, it was waived.           Okay?

  23                        MS. BORESI:    (Nodded head.)

  24     BY MS. CARLYLE:

  25                Q.      Mr. Lombardi, I'm going to show you


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376             Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 231 of 331
                                    GEORGE LOMBARDI 1/17/2014


                                                                              Page 18
   1     what's been marked as Plaintiff's Exhibit 9, and ask

   2     you can tell us what that is, please?

   3                A.      Yes.    This is my Answers to the first

   4     set of Interrogatories from -- on the David Zink

   5     lawsuit.

   6                        MR. HANSEN:    Off the record.

   7     (THERE WAS AN OFF-THE RECORD DISCUSSION BETWEEN

   8     COUNSEL.)

   9     BY MS. CARLYLE:

  10                Q.      And Mr. Lombardi, when did you sign

  11     those responses?

  12                A.      The 7th day of January 2014.

  13                Q.      Okay.    Did you personally draft the

  14     text of the responses?

  15                A.      No.

  16                Q.      When did you first see the text that

  17     was drafted?

  18                A.      I don't recall.

  19                Q.      Was it before December 27th?

  20                A.      I don't recall.

  21                Q.      You have no idea when you saw it?

  22                A.      Ma'am, there are thousands of pieces of

  23     paper that cross my desk, and I don't recall when I

  24     saw that.

  25                Q.      Okay.    Let me now show you what's been


                                   MIDWEST LITIGATION SERVICES
www.midwestlitigation.com               Phone: 1.800.280.3376          Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 232 of 331
                                    GEORGE LOMBARDI 1/17/2014


                                                                                     Page 19
   1     marked as Plaintiff's Exhibit 1, and ask you what

   2     that is, please?

   3                A.      It's a document concerning the

   4     preparation and the distribution of chemicals for

   5     legal injection.

   6                Q.      Is it the document that's currently in

   7     use by the Department?

   8                A.      I have to check through and read.          Yes,

   9     I believe it is.

  10                Q.      You do believe it is?     So the -- I'm

  11     going to draw your attention to -- and by the way,

  12     for the record, let me say that these documents are

  13     a part of the production of documents that we

  14     received.       The numbers are -- the production of

  15     documents that we received on January 10th.             The

  16     numbers are AG02246 through 2248.

  17             Let me draw your attention to the second page,

  18     which is 2247, subsection B, and ask you again is

  19     this the document -- is this the protocol, for one

  20     of a better word, that's currently in use?

  21                A.      Are you asking me about subsection B?

  22                Q.      Yes.    I'm asking you if that's

  23     currently part of the execution protocol of the

  24     State of Missouri.

  25                A.      I'm sorry, no, it is not.


                                   MIDWEST LITIGATION SERVICES
www.midwestlitigation.com               Phone: 1.800.280.3376                 Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 233 of 331
                                    GEORGE LOMBARDI 1/17/2014


                                                                               Page 20
   1                Q.      So have you seen this document before?

   2                A.      I can't recall if I have or not.

   3                Q.      Okay.    Are you involved in any way in

   4     determining execution protocols?

   5                A.      Yes, I am.

   6                Q.      Okay.    Before an execution protocol was

   7     made public, would you see it?

   8                A.      Yes.

   9                Q.      Okay.    But you don't if you've ever

  10     seen this one?

  11                A.      I can't recall this specific

  12     information.

  13                Q.      Okay.    Now, subsection B --

  14     subsection -- the way these paragraphs is numbered

  15     is a little odd -- but on page 2247, subsection B,

  16     discusses the use of Midazolam and Hydromorphone as

  17     execution drugs.

  18                A.      Yes.

  19                Q.      On 2246, the paragraphs beginning

  20     capital A discuss Pentobarbital, correct?

  21                A.      Correct.

  22                Q.      Has the Missouri Department of

  23     Corrections ever conducted an execution with

  24     Midazolam and Hydromorphone?

  25                A.      It has not.


                                   MIDWEST LITIGATION SERVICES
www.midwestlitigation.com               Phone: 1.800.280.3376           Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 234 of 331
                                     GEORGE LOMBARDI 1/17/2014


                                                                                  Page 21
   1                Q.      Are you aware whether the Missouri

   2     Department of Corrections currently owns Midazolam

   3     or Hydromorphone for use in an execution?

   4                A.      I believe we have the drug, but there

   5     will be use of it in an execution.

   6                Q.      Why will there be no use of it in an

   7     execution?

   8                A.      Because we have no intention to do

   9     that.    We have Pentobarbital that we use.

  10                Q.      Well, I -- the subsection B says that

  11     if the Department Director -- which is you, correct?

  12                A.      Right.

  13                Q.      Determines that a sufficient quantity

  14     of Pentobarbital is not available, then

  15     Hydromorphone or Midazolam will be used.                Are you

  16     saying that --

  17                A.      And I'm testifying right now to tell

  18     you that will not be the case.            We will not use

  19     those drugs.

  20                Q.      Okay.    Specifically, you won't use them

  21     in the execution of Herbert Smulls if it occurs?

  22                A.      That's correct.

  23                Q.      Okay.    Were the Hydromorphone and

  24     Midazolam now in the Department of Corrections's

  25     possession purchased at your direction?            Was it your


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376                 Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 235 of 331
                                    GEORGE LOMBARDI 1/17/2014


                                                                                 Page 22
   1     decision to buy them?

   2                A.      You know, I don't recall that.      I don't

   3     recall whether I did or didn't.

   4                Q.      Well, who else would have?

   5                A.      It would either have been myself or

   6     Director Dormire.

   7                Q.      So if Mr. Dormire testified on

   8     Wednesday that it wasn't he, does it mean it was

   9     probably you?

  10                A.      It was probably me.

  11                Q.      Okay.   Do you know whether those drugs

  12     are compounded drugs or ordinary approved

  13     manufactured drugs, the ones that are now in the

  14     Department's possession?

  15                A.      I don't know the nature of those drugs.

  16     To the best of my knowledge, they are not

  17     compounded, but are available drugs.

  18                Q.      Do you know who supplies them?

  19                A.      I do not.

  20                Q.      Okay.   Let me show you what's been

  21     marked as Exhibit 2, and ask you what that is,

  22     please?

  23                A.      It's my affidavit referencing the Zink

  24     case.

  25                Q.      An affidavit -- well, when did you sign


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376                Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 236 of 331
                                     GEORGE LOMBARDI 1/17/2014


                                                                               Page 23
   1     it?

   2                A.      December 5, 2013.

   3                Q.      Okay.     And in general, what's the

   4     subject matter of that affidavit?

   5                A.      It has to do primarily with the

   6     identity of members of the execution team.

   7                Q.      Is this a document that you drafted, or

   8     was it drafted for you to review and approve?

   9                A.      It was drafted for me.

  10                Q.      In this affidavit you -- it, in fact,

  11     declared certain information to be state secrets; is

  12     that correct?

  13                A.      Correct.

  14                Q.      Why did you believe -- now, in the

  15     Missouri Statutes there is a statute providing for

  16     secrecy of the identity of members of the -- of

  17     people who participate in executions, correct?

  18                A.      Yes.

  19                Q.      Okay.     Why did you believe that there

  20     was a state secret privilege needed in addition to

  21     that statute?

  22                        MS. BORESI:     I'll object on grounds of

  23     attorney/client privileged information.

  24                        MS. CARLYLE:     I'm asking for his

  25     personal belief.           I'm not asking what you --


                                   MIDWEST LITIGATION SERVICES
www.midwestlitigation.com               Phone: 1.800.280.3376           Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 237 of 331
                                  GEORGE LOMBARDI 1/17/2014


                                                                              Page 24
   1                        MS. BORESI:    And if that personal

   2     belief was based on information that he received

   3     from legal counsel in the context of his

   4     representation, it's privileged information.

   5                        MS. CARLYLE:    So are you directing him

   6     not to answer?

   7                        MS. BORESI:    Yes.

   8                        MS. CARLYLE:    Okay.

   9     BY MS. CARLYLE:

  10                Q.      What evidence do you have that there is

  11     any threat to the personal safety of individuals

  12     involved in the execution team?

  13                A.      There's some history in other places in

  14     regard to that issue.        It is a chance that I am not

  15     willing to take to have our individuals who are

  16     involved in this process be harassed or threatened

  17     by anybody in regard to their participation in the

  18     execution process.

  19                Q.      But in terms of evidence that the

  20     physical safety of such people has been compromised,

  21     are you aware of any evidence of that?

  22                A.      Well, since we've never ever let that

  23     information out, we've done that purposely so that

  24     that will never happen.

  25                Q.      Well, isn't it true that the identity


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376             Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 238 of 331
                                    GEORGE LOMBARDI 1/17/2014


                                                                             Page 25
   1     of someone who in earlier litigation was called John

   2     Doe 1 was made public several years ago?

   3                A.      I don't recall that.

   4                Q.      And that there was a -- there was news

   5     coverage, which I think has been referred to by your

   6     counsel in pleadings in this case that identify the

   7     current nurse M2?

   8                A.      I don't recall that.

   9                Q.      Okay.   Do you -- are you aware that

  10     either of them have been harmed physically because

  11     of their participation as a -- in the execution

  12     team?

  13                A.      I'm not aware one way or the other.

  14                Q.      Okay.   Is it improper in your view for

  15     a professional association to discipline or expel

  16     members of that association who don't follow the

  17     ethical guidelines of that association?

  18                A.      I don't have any position on that.

  19                Q.      Is it improper for the public to

  20     express its dissatisfaction with businesses who sell

  21     chemicals for legal injection?

  22                A.      Could you repeat that, please?

  23                        MS. BORESI:    Objection, relevance.

  24                        THE WITNESS:    I'm sorry?

  25                        MS. BORESI:    I objected on grounds of


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376            Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 239 of 331
                                     GEORGE LOMBARDI 1/17/2014


                                                                               Page 26
   1     relevance.         But you can answer, if you have an

   2     opinion.

   3                         THE WITNESS:     Would you ask me again,

   4     please?

   5                         MS. CARLYLE:     Sure.

   6     BY MS. CARLYLE:

   7                Q.       Is it improper for the public to

   8     express its dissatisfaction with businesses who sell

   9     chemicals for legal injection?

  10                A.       I have no position on that either.

  11                Q.       So you think -- are you familiar with

  12     First Amendment?

  13                A.       Somewhat.

  14                Q.       Okay.   Do you think that it's improper

  15     for members of the public to express their opinions

  16     about anything they want to express their opinions

  17     about?

  18                         MS. BORESI:     I'm going to object on

  19     grounds of relevance, and also that it calls

  20     somewhat for a legal conclusion.

  21                         MS. CARLYLE:     Okay.

  22                         MS. BORESI:     It's also a vague

  23     question.       I'm not sure what you mean by the use of

  24     the word "improper".            Do you mean unlawful?

  25                         MS. CARLYLE:     No.


                                 MIDWEST LITIGATION SERVICES
www.midwestlitigation.com             Phone: 1.800.280.3376             Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 240 of 331
                                    GEORGE LOMBARDI 1/17/2014


                                                                               Page 27
   1                        MS. BORESI:    If you can answer --

   2                        THE WITNESS:    Well, you know --

   3                        MS. BORESI:    If you understand the

   4     question, you can answer.

   5                        THE WITNESS:    -- members of the public

   6     have the right to express their opinion, that would

   7     be my answer.

   8     BY MS. CARLYLE:

   9                Q.      Okay.   In that case, is it proper in

  10     your view to use a state secrets privilege to avoid

  11     those expressions of opinion by not telling them who

  12     they can express them to?

  13                        MS. BORESI:    I object it calls for a

  14     legal conclusion.

  15                        MS. CARLYLE:    Are you directing him not

  16     to answer?

  17                        MS. BORESI:    He can answer, if he has

  18     an opinion, but he's not an attorney.

  19                        THE WITNESS:    I'm not a lawyer, I don't

  20     know the answer to that question.

  21     BY MS. CARLYLE:

  22                Q.      Now you say in your affidavit -- let me

  23     see if I can find it here -- on pages 3 and 4, you

  24     say that you do not -- you do not plan to use

  25     chemicals to -- for executions that are not pure,


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376              Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 241 of 331
                                    GEORGE LOMBARDI 1/17/2014


                                                                               Page 28
   1     potent and sterile.          Do you see what I'm looking at?

   2                A.      Yes.

   3                Q.      Are you aware of the expert affidavit

   4     of Dr. Larry Sasich filed in this case that the

   5     chemicals used for the executions of Mr. Franklin,

   6     Mr. Nicklasson and Mr. Smulls had expired before

   7     those executions occurred?

   8                A.      No, I am not.

   9                Q.      Okay.    Let me show you what's been

  10     marked as Exhibit 3, and let me ask you if you've

  11     seen that document before?

  12                A.      I don't know -- no, I've not seen this

  13     before.

  14                Q.      Okay.    I'll state for the record that

  15     Exhibit 3 is the Third Supplemental Declaration of

  16     Larry D. Sasich filed in the -- in Case Number

  17     13-3699 in the 8th Circuit Court of Appeals -- and

  18     I'm reading from the bottom of the document -- on

  19     December 31st, 2013, which is Case Number 13-3699

  20     being the -- Mr. Lombardi's mandamus action in the

  21     Court of Appeals.

  22             So this is a document that's been filed in a

  23     case that you have pending in the Court of Appeals,

  24     but you've not seen it; is that correct?

  25                A.      No, I haven't.


                                   MIDWEST LITIGATION SERVICES
www.midwestlitigation.com               Phone: 1.800.280.3376           Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 242 of 331
                                    GEORGE LOMBARDI 1/17/2014


                                                                                  Page 29
   1                Q.      Okay.     Well, let me give you a minute

   2     to take a look at it.

   3                A.      Okay.

   4                Q.      Okay.     If you look at page 2 of that

   5     document, the last paragraph --

   6                A.      Uh-huh.

   7                Q.      -- and actually I misspoke, because

   8     this document actually doesn't say anything about

   9     Mr. Smulls's execution with drugs.

  10             But the last paragraph, does it not indicate

  11     that the compounded drug has -- that was used for

  12     Mr. Franklin had reached its beyond use date, and

  13     that the one to be used for Mr. Nicklasson would

  14     reach its beyond use date before he was executed?

  15                        MS. BORESI:     And I'll object to the

  16     question, the document speaks for itself.

  17                        THE WITNESS:     I agree that the document

  18     speaks for itself, yes.

  19     BY MS. CARLYLE:

  20                Q.      Do you agree that's what it says?        I'm

  21     going to ask you if you understand that that's what

  22     it says.

  23                A.      Yes.

  24                Q.      Okay.     Let me show you what's marked as

  25     Exhibit 4, and ask you if you've seen that document


                                   MIDWEST LITIGATION SERVICES
www.midwestlitigation.com               Phone: 1.800.280.3376              Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 243 of 331
                                    GEORGE LOMBARDI 1/17/2014


                                                                              Page 30
   1     before?

   2                A.      No, I haven't.

   3                Q.      I'll recite for the record that this

   4     document was also filed on December 31st, 2013 in

   5     Case Number 13-3699 in the 8th Circuit in the case

   6     in which Mr. Lombardi is a petitioner for mandamus.

   7             And let me ask you then since you haven't seen

   8     it before to read over it, please.

   9                A.      Okay.

  10                Q.      Let me now also hand you what has been

  11     marked as Exhibits 5 and 6.           And I will state for

  12     the record that Exhibit 5 is a page from discovery

  13     that was produced on January 10th, numbered AG01266.

  14           Exhibit 6 is another page from that same set of

  15     discovery produced on January 10th, AG02059.           Have

  16     you seen these before?

  17                A.      No.

  18                Q.      Okay.   Let me call -- let me ask you to

  19     take a look at Exhibit 5.           The -- well, first of

  20     all, will you tell us for the record just by heading

  21     and title what this appears to be?

  22                A.      5 says Certificate of Analysis.

  23                Q.      And what's the product that's being

  24     analyzed?       I think it's in the upper left-hand

  25     corner.


                                  MIDWEST LITIGATION SERVICES
www.midwestlitigation.com              Phone: 1.800.280.3376           Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 244 of 331
                                    GEORGE LOMBARDI 1/17/2014


                                                                               Page 31
   1                A.      1.5794 gm USED.

   2                Q.      In the upper left-hand corner.

   3                A.      Oh.

   4                        MS. BORESI:    I'm going to object again,

   5     the document speaks for itself.

   6                        MS. CARLYLE:    I'm just trying to get on

   7     the record what he's looking at, so that when

   8     someone is talking about this later we'll know we're

   9     all talking about the same thing.

  10                        MS. BORESI:    But you have it marked as

  11     an exhibit, which will be attached to the

  12     deposition, so since you've referred to the document

  13     exhibit number --

  14                        MS. CARLYLE:    Well, humor me.

  15     BY MS. CARLYLE:

  16                Q.      What's being analyzed on this document?

  17                A.      Pentobarbital sodium USP CII it looks

  18     like.

  19                Q.      Okay.   And similarly, Exhibit 6, what

  20     is that?

  21                A.      That's a Certificate of Analysis.

  22                Q.      And what's the description of this --

  23     of the --

  24                A.      S-Pentobarbital Sodium 50mg/mL Inj Sol.

  25                Q.      Okay.   Let me ask you to look at the


                                  MIDWEST LITIGATION SERVICES
www.midwestlitigation.com              Phone: 1.800.280.3376            Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 245 of 331
                                    GEORGE LOMBARDI 1/17/2014


                                                                                  Page 32
   1     last line of exhibit -- the last two lines of

   2     Exhibit 5, and just so we'll all be clear, please

   3     read them aloud for me.

   4                A.      At the very bottom of the page?

   5                Q.      Yep.

   6                A.      "The above test results have been

   7     obtained by our supplier or in our quantity

   8     controlled laboratory.           This analysis is not to be

   9     construed as a warranty expressed or implied."

  10                Q.      Okay.    And at the bottom of -- the line

  11     at the bottom of Exhibit 6, just above where it says

  12     page 1 of 2, on the lower left-hand corner.

  13                A.      I can't read.     I'm sorry, I would need

  14     glasses.

  15                Q.      Okay.

  16                A.      I can't read it.

  17                        MS. CARLYLE:     Well, can we agree, those

  18     of us who can read it, that it says:            Results above

  19     relate only to the sample that was tested?              Because

  20     I want Mr. Lombardi to know that that's what it

  21     says.

  22                        MS. BORESI:     Sure.

  23                        MS. CARLYLE:     Okay.   And he says he

  24     can't read, so we can't rely on his being able to do

  25     that.    And believe me, I understand the problem,


                                   MIDWEST LITIGATION SERVICES
www.midwestlitigation.com               Phone: 1.800.280.3376              Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 246 of 331
                                     GEORGE LOMBARDI 1/17/2014


                                                                               Page 33
   1     but --

   2                        THE WITNESS:     Okay.

   3     BY MS. CARLYLE:

   4                Q.      Okay.     Having looked at those four

   5     documents, the two declarations of Dr. Sasich and

   6     these two analyses, are you confident that -- are

   7     you nonetheless confident that the drugs that have

   8     been used in the last two executions and the one

   9     that will be used in the upcoming execution are

  10     pure, potent and sterile?

  11                A.      I do.

  12                Q.      Okay.     Why is that?

  13                A.      Because the lab tested it, and I feel

  14     very comfortable about that.           I don't know who this

  15     is.   I don't know anything about him.           He doesn't

  16     mean anything to me.

  17                Q.      Well, have you obtained -- well,

  18     actually I could show you his curriculum vitae as a

  19     doctor of pharmacy for a long time.

  20                A.      I am comfortable that the analysis that

  21     was done by the lab meets the criteria that we are

  22     concerned about potency and so forth.

  23                Q.      Okay.     In particular Exhibit 6 says by

  24     its terms that the results relate only to the sample

  25     that was tested.           Of course, the sample that was


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376              Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 247 of 331
                                  GEORGE LOMBARDI 1/17/2014


                                                                              Page 34
   1     tested was not used for the execution, was it?

   2                A.      The sample that was tested -- it came

   3     from the batch that --

   4                Q.      Well, maybe it did and maybe it didn't.

   5     We can't tell from this document, but certainly the

   6     sample that was tested was not used, was it?

   7                A.      I would say again that the

   8     understanding I had is that it was a sample from the

   9     batch that we are using.

  10                        MS. BORESI:    And Elizabeth, excuse me,

  11     I should have gone back a few questions when we

  12     started talking about the testing results for this

  13     particular batch of chemicals, we'd ask that it be

  14     placed in the confidential section of the

  15     deposition.

  16                        MS. CARLYLE:    The Certificate of

  17     Analysis?

  18                        MS. BORESI:    Yes.

  19                        MS. CARLYLE:    The Certificate of

  20     Analysis has been provided in five different

  21     Sunshine Law --

  22                        MS. BORESI:    That's fine.

  23                        MS. CARLYLE:    -- releases.

  24                        MS. BORESI:    That's what we're asking,

  25     and you can object if you want, but that's what


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376             Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 248 of 331
                                  GEORGE LOMBARDI 1/17/2014


                                                                                   Page 35
   1     we're asking.

   2                        MS. CARLYLE:     Okay.   So you want the

   3     exhibit to be confidential is what you're saying?

   4                        MS. BORESI:     And the testimony -- the

   5     relevant testimony.

   6                        MS. CARLYLE:     Well, that's going to be

   7     little -- well, we can try.

   8                        MS. BORESI:     Okay.

   9                        MR. SPILLANE:     If I could speak.     I was

  10     concerned that we might be getting into information

  11     in an answer that might reveal that lab.              That's my

  12     concern, and so --

  13                        MS. CARLYLE:     This is really all I'm

  14     going to ask him.        I'm not going to ask him anything

  15     that leads -- that tries to lead.            I'm asking him

  16     simply to talk about the results of the analysis.

  17             And I mean, if you want that to be

  18     confidential, I guess it can be, but I'm really not

  19     going to do that.        So you want the -- the --

  20                        MR. SPILLANE:     (Nodded head.)

  21                        MS. CARLYLE:     No, okay.

  22     BY MS. CARLYLE:

  23                Q.      To your knowledge, does the Department

  24     of Corrections supply the lab with product to be

  25     tested, or does the pharmacy do that?


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376                  Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 249 of 331
                                    GEORGE LOMBARDI 1/17/2014


                                                                              Page 36
   1                A.      The pharmacy does that.

   2                Q.      Okay.   So the material that is supplied

   3     to the Department of Corrections is clearly not the

   4     same exact chemical that was supplied to the lab,

   5     because the lab has that, true?           Does that make

   6     sense, because it's compound --

   7                A.      No, doesn't make sense.

   8                Q.      Okay.   Well, if I'm a pharmacy and I

   9     make 10 grams plus 30 milliliters of Pentobarbital,

  10     and I give 30 milliliter to the lab so they can test

  11     it, and I give the other 10 grams to the Department

  12     of Corrections, because Mr. Dormire says what he

  13     gets is 10 grams, not 10 grams plus testing

  14     quantity, then what the lab tests is not what the

  15     Department gets, correct?

  16                        MS. BORESI:    I object, it's asking him

  17     to make a conclusion as to how the chemicals are

  18     prepared and how the chemicals are divided, and I

  19     don't know that he has the personal knowledge to

  20     make that conclusion.

  21                        MS. CARLYLE:    Well, he's already

  22     told us that the lab gets -- that the pharmacy sends

  23     the drugs to the lab to test, so he clearly knows

  24     that.

  25


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376             Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 250 of 331
                                    GEORGE LOMBARDI 1/17/2014


                                                                               Page 37
   1     BY MS. CARLYLE:

   2                Q.      So all I'm asking for, I guess, is a

   3     common sense conclusion that if you send something

   4     to someone to test -- I mean, do you think they got

   5     it back?

   6                A.      I have no idea.

   7                Q.      Okay.    And do you that a Certificate of

   8     Analysis that says:          This analysis is not to be

   9     construed as a warranty, expressed or implied, is

  10     something you nonetheless rely on?

  11                A.      What was the last part of your

  12     question?

  13                Q.      Do you think that an analysis like No.

  14     5, which says:        This analysis is not to be construed

  15     as a warranty, expressed or implied, is nonetheless

  16     an analysis that you're willing to rely on?

  17                A.      Yes, it is.

  18                Q.      Okay.    If you learned that, in fact,

  19     the chemicals that are being supplied to the

  20     Department of Corrections are not pure, potent and

  21     sterile, would you direct that they not be used?

  22                A.      Yes.

  23                Q.      I'm going to show you what's been

  24     marked as Exhibit 7, and ask you if you can tell us

  25     what that is, please?


                                   MIDWEST LITIGATION SERVICES
www.midwestlitigation.com               Phone: 1.800.280.3376           Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 251 of 331
                                    GEORGE LOMBARDI 1/17/2014


                                                                               Page 38
   1                A.      Yes.

   2                Q.      What is it?

   3                A.      It's a memorandum to me from Dr. Greg

   4     Markway, our chief psychologist, about

   5     Mr. Franklin's understanding of the upcoming

   6     execution.

   7                Q.      Okay.    Now, Dr. Markway recites in this

   8     memorandum that he has reviewed documentation

   9     provided by Jessica Sutton relating to

  10     Mr. Franklin's competency, correct?

  11                A.      Yes.

  12                Q.      Did you yourself review that

  13     documentation?

  14                A.      I had the information with me at the

  15     time, I believe.

  16                Q.      Okay.    Let me show you Exhibit 8.

  17     Exhibit 8 is a -- I'm sorry, just again so we'll be

  18     clear about this.          Exhibit 7 is a document from the

  19     discovery produced on July [sic] 9th -- January 9th

  20     of 2014.

  21                        MS. BORESI:    May I have a copy?

  22                        MS. CARLYLE:    Oh, I thought -- here it

  23     is.

  24                        MS. BORESI:    Thank you.

  25                        MS. CARLYLE:    This is 7.


                                   MIDWEST LITIGATION SERVICES
www.midwestlitigation.com               Phone: 1.800.280.3376           Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 252 of 331
                                    GEORGE LOMBARDI 1/17/2014


                                                                                  Page 39
   1                        MS. BORESI:    Oh, I'm sorry, I thought

   2     said 8.

   3                        MS. CARLYLE:    I skipped back to 7,

   4     because I realized I hadn't identified it.

   5                        MS. BORESI:    Gotcha.

   6                        MR. HANSEN:    Could you provide a Bates

   7     stamp number, please, for 7?

   8                        MS. CARLYLE:    I was just about to do

   9     that when she asked for it, yes.            7 is AG01177.   And

  10     that is from the set that was produced on

  11     January 9th and received on January 10th.

  12                        MR. HANSEN:    Let's just refer to it as

  13     January 10th --

  14                        MS. CARLYLE:    Okay.

  15                        MR. HANSEN:    -- when we're referencing

  16     the Bates stamp numbers.          We can agree to that.

  17                        MS. CARLYLE:    That's fine with me.

  18     BY MS. CARLYLE:

  19                Q.      Now, let me give Ms. Boresi Exhibit 8.

  20     Exhibit 8 is Bates stamp number AG01182, and that's

  21     a portion of the material provided by Ms. Sutton, is

  22     it not?

  23                A.      Apparently.

  24                Q.      Okay.   Do you remember reviewing this

  25     document?


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376                 Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 253 of 331
                                    GEORGE LOMBARDI 1/17/2014


                                                                              Page 40
   1                A.      I don't remember.

   2                Q.      Okay.   It begins on 1182 and it ends on

   3     1184.    And let me ask you to take a look at

   4     page 1184, please?

   5                A.      1184?

   6                Q.      1184, the last page.

   7                A.      Okay.

   8                Q.      Specifically, the paragraph that is --

   9     the third paragraph from the end beginning:            The

  10     observations of Ms. Herndon.

  11                A.      Okay.

  12                Q.      Dr. Dorothy Lewis, the psychiatrist who

  13     wrote that document, doesn't agree with Dr. Markway,

  14     does she?

  15                A.      Apparently.

  16                Q.      Dr. Markway -- turning back to

  17     Exhibit 7 -- says that he has found no evidence that

  18     Mr. Franklin is aware of the reason for his

  19     scheduled execution.

  20                A.      Is unaware.

  21                Q.      Is unaware, I'm sorry.     That

  22     Mr. Franklin is unaware of the reason for his

  23     scheduled execution.

  24             Now, as part of your duties as Director of the

  25     Department of Corrections when there is a doubt


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376             Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 254 of 331
                                      GEORGE LOMBARDI 1/17/2014


                                                                               Page 41
   1     about an individual's competency to be executed,

   2     you're directed to put some procedures into place --

   3                A.       Right.

   4                Q.       -- correct?     And as a matter of fact,

   5     that's what Ms. Herndon had asked you to do and --

   6     or Ms. Sutton and Ms. Herndon had asked you to do in

   7     their letter?

   8                A.       And that's why I relied on Dr. Markway,

   9     my chief psychologist, to take a look at all the

  10     material and make a recommendation to me, which he

  11     did.

  12                Q.       Okay.    Well, what Dr. Markway said was

  13     that he found no evidence that Mr. Franklin is aware

  14     -- unaware of the reason for his scheduled

  15     execution.         Do you believe that to be the complete

  16     standard for competency?

  17                A.       And he says also in here that he's

  18     aware of his scheduled execution, that he wants to

  19     live, and the reason for participating in the appeal

  20     process, which to me is further information that

  21     seems to indicate that he knows what's going on.

  22                Q.       Okay.    Are you familiar with the

  23     section -- Missouri Statute Section 552.060.1, which

  24     says that no person condemned to death shall be

  25     executed if as a result of mental disease or defect


                                 MIDWEST LITIGATION SERVICES
www.midwestlitigation.com             Phone: 1.800.280.3376             Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 255 of 331
                                     GEORGE LOMBARDI 1/17/2014


                                                                            Page 42
   1     he lacks capacity to understand the nature and

   2     purpose of the punishment about to be imposed upon

   3     him or matters of extenuation, arguments for

   4     executive clemency or reasons why the sentence

   5     should not be carried out.           Does that sound

   6     familiar?

   7                A.      Yes.

   8                Q.      Okay.     Do you believe that Dr.

   9     Markway's recommendation to you encompasses all

  10     those elements?

  11                A.      Yes, I do.

  12                Q.      Who made the final decision to use

  13     Pentobarbital for Missouri executions?

  14                A.      I did.

  15                Q.      Was that chemical under consideration

  16     before the Governor's statement withdrawing the

  17     Propofol protocol?

  18                A.      Under consideration?

  19                Q.      Uh-huh.

  20                A.      I don't believe it was.

  21                Q.      Let's go back to Exhibit 9, which is

  22     your response to the Interrogatories.            You were

  23     asked in the first Interrogatory to describe in

  24     detail the process for determining whether a person

  25     or entity will be designated as a member of the


                                   MIDWEST LITIGATION SERVICES
www.midwestlitigation.com               Phone: 1.800.280.3376        Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 256 of 331
                                    GEORGE LOMBARDI 1/17/2014


                                                                                 Page 43
   1     execution team.

   2             I'm looking at page 2.        And your answer was:

   3     If the person or entity performs functions or duties

   4     as defined by the Department's execution protocol

   5     that meet the definition of a member of the

   6     execution team, the person or entity is designated

   7     as such.

   8             Do you -- who decided that the pharmacy that

   9     supplies the Pentobarbital, the person who wrote the

  10     prescription and the laboratory, met the definition

  11     of members of the execution team?

  12                A.      I did after consultation with legal

  13     counsel.

  14                Q.      Okay.   Was the pharmacy that provided

  15     Propofol --

  16                        THE WITNESS:    Just a minute.      They're

  17     discussing.

  18                        MS. CARLYLE:    I'm sorry.

  19     (THERE WAS A PAUSE IN THE PROCEEDINGS.)

  20                        MS. BORESI:    We can go on the record.

  21     A point of clarification, the testing laboratory has

  22     not been designated as a member of the execution

  23     team, the prescribing doctor and the compounding

  24     pharmacy has been.

  25                        MS. CARLYLE:    Okay.


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376                Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 257 of 331
                                    GEORGE LOMBARDI 1/17/2014


                                                                              Page 44
   1     BY MS. CARLYLE:

   2                Q.      Was the pharmacy which provided

   3     Propofol a member of the execution team?

   4                A.      I'm sorry?

   5                Q.      The pharmacy which provided the

   6     Propofol --

   7                A.      No.

   8                Q.      Okay.   Was the pharmacy that provided

   9     Thiopental, Pancuronium bromide --

  10                A.      No.

  11                Q.      No, okay.    Now, the statutory

  12     definition of execution team hasn't changed, has it?

  13                A.      Not that I'm aware of.

  14                Q.      So why was it that you made a change in

  15     designation to include suppliers that you had never

  16     previously done?

  17                A.      Because we believed that this was the

  18     method by which we would be able to get an execution

  19     drug, and so therefore those who were involved with

  20     this, we felt like had to be part of the team.

  21             If they weren't then -- and that their

  22     knowledge would -- became obvious as to who they

  23     were, it would, in fact, impede the ability for us

  24     to carry out the statutory mandate of executions.

  25                Q.      Okay.   Now, when you were talking about


                                  MIDWEST LITIGATION SERVICES
www.midwestlitigation.com              Phone: 1.800.280.3376           Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 258 of 331
                                     GEORGE LOMBARDI 1/17/2014


                                                                             Page 45
   1     that you used the word "we", and I'm not sure if

   2     that was the imperial we, or if there were other

   3     people involved.           If there were, who were they?

   4                A.      Well, obviously when we make moves like

   5     this we take under consideration legal counsel, but

   6     I make the final decision.

   7                Q.      Okay.     But besides you and legal

   8     counsel, was there anyone else that you consulted

   9     with about that issue?

  10                A.      No.

  11                Q.      Has the Department of Corrections

  12     consulted with the Missouri Department of Pharmacy

  13     about the legality of the method for obtaining drugs

  14     and the drugs used?

  15                A.      The Department of Corrections has not.

  16                Q.      Is the pharmacy from which the

  17     Pentobarbital is obtained registered as a

  18     clearinghouse with the Food and Drug Administration?

  19                A.      A clearinghouse?

  20                Q.      Uh-huh.

  21                A.      I don't know that.

  22                Q.      Has the Department of Corrections had

  23     any contact with the FDA, which is the Food and Drug

  24     Administration, the Drug Enforcement Administration,

  25     or DEA or any other federal authorities about the


                                  MIDWEST LITIGATION SERVICES
www.midwestlitigation.com              Phone: 1.800.280.3376          Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 259 of 331
                                    GEORGE LOMBARDI 1/17/2014


                                                                               Page 46
   1     legality of the execution method, or the method of

   2     the use of those drugs?

   3                A.      No.

   4                Q.      A couple of kind of -- sort of

   5     ministerial questions.          One of the things we've

   6     noticed in the designations or pseudonyms applied to

   7     people is that there appears not to be an M4.             Do

   8     you know who is or was M4?

   9                A.      I don't recall.

  10                Q.      Okay.   What's Mr. Briesacher's title?

  11                A.      Chief Counsel for the Missouri

  12     Department of Corrections.

  13                Q.      And to whom does he report?

  14                A.      Me.

  15                Q.      Okay.   Were you involved in any

  16     discussions about whether or not the lab, pharmacy

  17     and prescriber needed separate counsel in this case?

  18                A.      No.

  19                Q.      Who would make that decision?

  20                A.      About whether they would?

  21                Q.      Whether they would be represented by

  22     the Attorney General, or whether they should have

  23     separate counsel.

  24                A.      It's under advice of counsel.

  25                Q.      And the counsel are the Attorney


                                  MIDWEST LITIGATION SERVICES
www.midwestlitigation.com              Phone: 1.800.280.3376            Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 260 of 331
                                    GEORGE LOMBARDI 1/17/2014


                                                                              Page 47
   1     General's Office?

   2                A.      I don't know that.     I don't know.   I

   3     don't know where -- as I said before, I don't know

   4     where that decision was made, if at all.

   5                Q.      Okay.   Obviously then, it's not your

   6     decision?

   7                A.      I did not make the decision.

   8                Q.      Okay.

   9                        MS. CARLYLE:    Can we go off the record

  10     for a minute?

  11     (THERE WAS AN OFF-THE RECORD DISCUSSION BETWEEN

  12     COUNSEL.)

  13     BY MS. CARLYLE:

  14                Q.      I've handed you what's -- Mr. Lombardi,

  15     what's been marked as Exhibit 10, and that is

  16     number -- that is pages from discovery actually

  17     produced in a somewhat different form on Wednesday,

  18     January 15th, produced in final form today,

  19     January 17th, the page numbers are AG02653 -- 52 and

  20     AG02653.

  21             Let me ask you first to look at the entry at

  22     the top of page 2652, the first page of this

  23     exhibit, for 11:15, which directs that you or your

  24     designee advised Terry Russell, who is the warden of

  25     the Eastern Reception Diagnostic and Correctional


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376             Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 261 of 331
                                    GEORGE LOMBARDI 1/17/2014


                                                                               Page 48
   1     Center, correct?

   2                A.      Yes.

   3                Q.      Advises him that Allen Nicklasson may

   4     be escorted to the execution room if no stay is in

   5     place and no legal activity is in progress to

   6     prevent the execution.

   7                A.      Yes.

   8                Q.      And I know this didn't happen on

   9     this -- in Mr. Nicklasson's case at 11:15, because

  10     at 11:15, in fact, there was a stay in place, was

  11     there not?

  12                A.      Yes, I believe that was so.

  13                Q.      Okay.    In Mr. Nicklasson's case, was it

  14     you, or was it a designee who actually made the

  15     decision about when he would be escorted to the

  16     execution chamber?

  17                A.      Me.

  18                Q.      And how did you decide that no stay was

  19     in place and no legal activity was in progress to

  20     prevent the execution?

  21                A.      As I always do, I would ask the

  22     Attorney General, and the Attorney General would

  23     share with me that there was nothing --

  24                Q.      Okay.

  25                A.      -- and so that being the case, then I


                                   MIDWEST LITIGATION SERVICES
www.midwestlitigation.com               Phone: 1.800.280.3376           Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 262 of 331
                                    GEORGE LOMBARDI 1/17/2014


                                                                               Page 49
   1     went ahead and gave the order.

   2                Q.      Okay.    And who specifically in the case

   3     of Mr. Nicklasson did you speak to in the Attorney

   4     General's Office to get that advice?

   5                A.      Actually, Chief Counsel Matt Briesacher

   6     spoke to Attorney General directly, and then shared

   7     that with me.

   8                Q.      The Attorney General, Mr. Koster?

   9                A.      Yes.

  10                Q.      So you actually spoke to

  11     Mr. Briesacher, Mr. Briesacher spoke to Mr. Koster?

  12                A.      Yes.

  13                Q.      Were you aware at that time that

  14     Mr. Nicklasson was escorted to the execution

  15     chamber, that in fact there was a motion for a stay

  16     pending -- or a request for a stay pending before

  17     the 8th Circuit Court of Appeals that day?

  18                A.      I don't recall that.     I relied totally

  19     on the Attorney General to tell me if there's any

  20     reason why we should not order this to occur.

  21                Q.      Well, I think there are two -- there

  22     are two inquiries that are referenced in this

  23     chronology.        And the first one here is that the --

  24     Mr. Nicklasson wouldn't be escorted to the execution

  25     chamber if no stay is in place and no legal activity


                                   MIDWEST LITIGATION SERVICES
www.midwestlitigation.com               Phone: 1.800.280.3376           Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 263 of 331
                                    GEORGE LOMBARDI 1/17/2014


                                                                               Page 50
   1     is in progress.

   2             Later you are asked -- you are directed to

   3     inquire whether there's a legal reason why he can't

   4     be executed.        Do you make any distinction --

   5                A.      I do not.

   6                Q.      -- between those two?

   7                A.      I do not.

   8                Q.      Okay.   So as far as you're concerned

   9     the fact that there is a motion before a court for a

  10     stay, even if you are aware of it, if counsel told

  11     you that wasn't a problem, it wouldn't bother you?

  12                A.      If the Attorney General, the highest

  13     law enforcement man in the state, tells me that

  14     there's no impediment to this execution, then I act

  15     accordingly.

  16                Q.      Is there a record of the time that it

  17     was determined that Mr. Nicklasson and Mr. Franklin

  18     should be escorted to the execution room?

  19                A.      I believe there is.

  20                Q.      Okay.

  21                        MS. CARLYLE:    And because I don't think

  22     I have it, and I'm wondering what it is, and whether

  23     it can be produced.

  24                        MS. BORESI:    I believe you have been

  25     produced all documents with regard to the execution


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376              Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 264 of 331
                                   GEORGE LOMBARDI 1/17/2014


                                                                               Page 51
   1     chronology.

   2                        MS. CARLYLE:    Okay.

   3                        MS. BORESI:    I don't believe that there

   4     is any kind of a chronological record kept in the

   5     area where the director or Mr. Briesacher sit during

   6     the execution --

   7                        THE WITNESS:    Right.

   8                        MS. BORESI:    Okay.     I believe

   9     chronological logs are kept in the location where

  10     the inmates are.

  11     BY MS. CARLYLE:

  12                Q.      So you and Mr. Briesacher don't keep

  13     chronological logs yourself?

  14                A.      No.

  15                Q.      Or nobody keeps them for you?

  16                A.      No.

  17                        MS. CARLYLE:    Mr. Boresi, I'm going

  18     show to you what has been marked Exhibits 11 and 12,

  19     because I didn't realize I was going to use them as

  20     exhibits until after I got here, and I don't have

  21     triplicate copies, so if you'll take a look at it

  22     before I show them to Mr. Lombardi -- I want you to

  23     have a chance to look at them before I show them to

  24     Mr. Lombardi.

  25


                                  MIDWEST LITIGATION SERVICES
www.midwestlitigation.com              Phone: 1.800.280.3376            Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 265 of 331
                                    GEORGE LOMBARDI 1/17/2014


                                                                               Page 52
   1     BY MS. CARLYLE:

   2                Q.      Mr. Lombardi, I've handed you two

   3     documents, one marked Exhibit 11 and one marked

   4     Exhibit 12.        And if you would -- first of all, could

   5     you look at the lower right-hand corner and tell me

   6     the AG0 number on Exhibit 11?

   7                A.      722.

   8                Q.      Okay.    And Exhibit 12?

   9                A.      2023.

  10                Q.      Now, can you tell me -- those are two

  11     different documents, but they're -- would it be fair

  12     to say that they're the same form, one pertaining to

  13     Mr. Nicklasson, and one pertaining to Mr. Franklin?

  14                A.      Correct.

  15                        MR. HANSEN:    Which exhibit numbers are

  16     we on?

  17                        MS. CARLYLE:    We're on 11 and 12, which

  18     aren't on your list.

  19                        MR. HANSEN:    Right, that's why I'm

  20     trying to make sure.          And then one was 2023.    And

  21     what's the other one?

  22                        THE WITNESS:    722.

  23                        MR. HANSEN:    Thank you.

  24     BY MS. CARLYLE:

  25                Q.      And both of those are -- record the


                                   MIDWEST LITIGATION SERVICES
www.midwestlitigation.com               Phone: 1.800.280.3376           Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 266 of 331
                                    GEORGE LOMBARDI 1/17/2014


                                                                               Page 53
   1     chemicals that were used in the execution, correct?

   2                A.      Yes.

   3                Q.      And both of them mention the use of a

   4     chemical called Versed?

   5                A.      Yes.

   6                Q.      Do you know what that was used for?

   7                A.      Yes, it's used as a sedative in

   8     advance, either the offender requests it, or the

   9     physician decides that it's should be used.

  10                Q.      Okay.    When you say "in advance", when

  11     in advance?

  12                A.      In advance of the execution process.

  13                Q.      Okay.    Do you know how long in advance?

  14                A.      I don't remember in this particular

  15     case.    I don't know.

  16                Q.      And you've been through other

  17     executions --

  18                A.      Yes.

  19                Q.      -- correct?    And were sedatives used in

  20     previous protocols also?

  21                A.      Yes.

  22                Q.      Okay.    So is there a variation in how

  23     long before the execution --

  24                A.      It's usually a few hours before, if a

  25     person requests it in particular.


                                   MIDWEST LITIGATION SERVICES
www.midwestlitigation.com               Phone: 1.800.280.3376           Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 267 of 331
                                     GEORGE LOMBARDI 1/17/2014


                                                                                    Page 54
   1                Q.      Okay.     So the -- if the sedative was

   2     administered a few hours before, would it have been

   3     administered by M2 and M3?

   4                A.      I don't recall.

   5                Q.      If it were administered a few hours

   6     before it would not have been administered in the

   7     execution chamber, it would have been administered

   8     in the holding cell?

   9                A.      Yeah, I don't remember that.         You know,

  10     it would vary over the years as to when this was

  11     done.

  12                Q.      And this time, you just don't remember

  13     at all?

  14                A.      No.

  15                Q.      What provision is made for the offender

  16     in the holding cell to have confidential visits with

  17     attorneys or clergy?

  18                A.      I think they're allowed to come down

  19     there up to a point -- you know, I don't know the

  20     detail about that.

  21                Q.      I guess the operative word, though, was

  22     "confidential".           Ordinarily visitors in the holding

  23     cell are visiting with the prisoner in the presence

  24     of officers, correct?

  25                A.      Yes.


                                   MIDWEST LITIGATION SERVICES
www.midwestlitigation.com               Phone: 1.800.280.3376                Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 268 of 331
                                    GEORGE LOMBARDI 1/17/2014


                                                                                 Page 55
   1                Q.      Okay.   So what provision, if any, is

   2     there for clergy or counsel to have confidential

   3     visits with a prisoner in the holding cell?

   4                A.      You know, I don't know that detail.       I

   5     leave that to my staff.

   6                Q.      Do you think it would be appropriate

   7     for that to be able to happen?

   8                A.      Yes, within security reasons.

   9                Q.      Okay.

  10                A.      It would be a case by case basis,

  11     depending on the security of the situation and the

  12     individual.

  13                Q.      Okay.   Now, the holding cell in Bonne

  14     Terre is physically set up so that there's a barrier

  15     between -- a solid barrier between the prisoner and

  16     any visitor, correct?

  17                A.      And any what?

  18                Q.      And any visitor of any kind?

  19                A.      I believe that's so.

  20                Q.      Okay.

  21                        MS. CARLYLE:     If we can take a, say,

  22     five-minute break, I think I may be done, but I'd

  23     like to consult with remote counsel.

  24                        MS. BORESI:     Sure.

  25                        MS. CARLYLE:     Okay.


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376                Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 269 of 331
                                     GEORGE LOMBARDI 1/17/2014


                                                                              Page 56
   1     (THERE WAS A BREAK.)

   2     BY MS. CARLYLE:

   3                Q.       I actually have a couple more

   4     questions.         Back to exhibits, the last two exhibits.

   5                A.       11 and 12?

   6                Q.       11 and 12.    I'm wondering, the drug

   7     Versed is not in the execution protocol as a --

   8     specifically as a chemical used, is it?

   9                A.       No.

  10                Q.       Okay.    Why is it on the log?

  11                A.       I'm sure it's because that's the drugs

  12     throughout the evening that are used.

  13                Q.       Okay.    And according to -- can I see

  14     those just for a moment?           I wish I had more copies

  15     of them.        According to the signatures of M2 and M3,

  16     do you believe that -- they acknowledge that some

  17     drugs were used and some were returned or discarded?

  18                A.       I'm sorry?

  19                Q.       What that documents is that some drugs

  20     were used and some were -- I think one of them says

  21     returned, and the other one says discarded, or

  22     something like that.

  23                A.       Yes.

  24                Q.       Okay.    Are you aware that M2 and M3

  25     don't personally oversee the destruction of those


                                    MIDWEST LITIGATION SERVICES
www.midwestlitigation.com                Phone: 1.800.280.3376         Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 270 of 331
                                    GEORGE LOMBARDI 1/17/2014


                                                                                Page 57
   1     drugs that aren't used?

   2                A.      Yes.

   3                Q.      Okay.    Who does?

   4                A.      They're done the next day.

   5                Q.      Okay.    By whom?

   6                A.      By staff.

   7                Q.      What staff?

   8                A.      I'm not sure exactly who does that.

   9                Q.      Okay.    Is it regular staff at ERDCC?

  10                A.      I don't -- to answer, I don't know who

  11     does it.

  12                Q.      Okay.    Is it done at ERDCC?       That's

  13     where the drugs are at the time --

  14                A.      I believe that's so, but I can't tell

  15     you unequivocally that that's the case.            I do know

  16     that they are destroyed.

  17                Q.      And who does know?

  18                A.      Probably Mr. Dormire.

  19                Q.      Okay.

  20                A.      Or Mr. -- the warden.

  21                Q.      Mr. Russell?

  22                A.      Mr. Russell.

  23                Q.      Have you ever seen any documentation of

  24     the actual destruction?

  25                A.      No.


                                   MIDWEST LITIGATION SERVICES
www.midwestlitigation.com               Phone: 1.800.280.3376            Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 271 of 331
                                  GEORGE LOMBARDI 1/17/2014


                                                                               Page 58
   1                        MS. CARLYLE:    At this point, I would

   2     pass the witness.

   3                        MS. BORESI:    I have no questions.   And

   4     he would like to review and sign.

   5                        MR. HANSEN:    While we're still on the

   6     record, I need to take up the issue of the protocol

   7     document production which I talked about on the

   8     record at the beginning of this deposition.

   9                        MS. CARLYLE:    Sure.

  10                        MR. HANSEN:    Two things.   During the

  11     course of this deposition, I have been going through

  12     those records just to insure that nothing that

  13     needed to be redacted needs to be redacted, and I

  14     have identified two things that need to be redacted

  15     from that, which need to be done by my secretary

  16     because we're doing it on the electronic copy.

  17             So I'm not going to give you this today, even

  18     though I said on the record earlier I was going

  19     to --

  20                        MS. CARLYLE:    I'll come with you and we

  21     can do it today, and I'll --

  22                        MR. HANSEN:    Well, we can do that if we

  23     have an agreement that these are going to be

  24     protected and treated as confidential documents.

  25                        MS. CARLYLE:    By confidential documents


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376              Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 272 of 331
                                  GEORGE LOMBARDI 1/17/2014


                                                                                 Page 59
   1     you mean what?

   2                        MR. HANSEN:     Pursuant -- well, in the

   3     same respect that they were ordered to be

   4     confidential under the Court's earlier order, Order

   5     112 or 110.

   6                        MS. CARLYLE:     Okay.   Let me get that

   7     up.

   8                        MR. HANSEN:     But you, after I had

   9     stated that I was going to give them to you, you

  10     indicated on the record that you do not believe that

  11     there was any protective order in effect, and so

  12     we're unwilling to provide those documents --

  13                        MS. CARLYLE:     Okay.   Let me take a look

  14     at 110.

  15                        MR. HANSEN:     Is it 110 or 112?

  16                        MR. SPILLANE:     I think 112 may be

  17     dispositive, but I think 110 is smaller and 112 is

  18     more detailed.

  19                        MR. HANSEN:     I think I actually have a

  20     copy of it.

  21                        MS. CARLYLE:     I think I do, too.

  22     Right, this is the general protective order --

  23     okay -- so yeah, I mean if that's the protection you

  24     want, I don't have a problem with that.            I thought

  25     that there was something --


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376                Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 273 of 331
                                  GEORGE LOMBARDI 1/17/2014


                                                                                 Page 60
   1                        MR. SPILLANE:     There is a document -- I

   2     believe it's Document 101 that talks about only

   3     specific pages that should be disclosed --

   4                        MS. CARLYLE:     Right.

   5                        MR. SPILLANE:     -- and there's a list of

   6     them, I believe in Document 101.              And I'm not sure

   7     whether Dave is talking about Document 112 or 101.

   8                        MR. HANSEN:     Well, we did not track

   9     precisely the same page numbers and categories that

  10     are contained in Order 101, so I don't want to just

  11     rely on 101.

  12             And there was another provision, I believe,

  13     and I think you're more familiar with it than I am,

  14     Mike, that said that if there were documents that we

  15     believe that for safety and security purposes we

  16     needed to designated as confidential --

  17                        MR. SPILLANE:     I believe that's 112.

  18                        MS. CARLYLE:     That's 112.

  19                        MR. HANSEN:     -- that we could.

  20                        MS. CARLYLE:     And I don't have any

  21     problem with using 112 to make these confidential.

  22                        MR. HANSEN:     Okay.     Well, earlier you

  23     had said that you didn't believe that protected them

  24     --

  25                        MS. CARLYLE:     Okay.


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376                Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 274 of 331
                                  GEORGE LOMBARDI 1/17/2014


                                                                                      Page 61
   1                        MR. HANSEN:     --     and I'm just -- I want

   2     to make it clear on the record, that if the position

   3     of plaintiffs is that they're not going to be

   4     protected, we will not disclose them.

   5                        MS. CARLYLE:     Okay.     Hang on then.     And

   6     I'm sorry, I think I misspoke.              You and I had had

   7     discussions yesterday about what I think -- what is

   8     101, which is a document that governed some other

   9     documents that simply weren't these documents at

  10     all, that were reviewed in camera by the Court long

  11     before you became active in the case.

  12             And the Court took a look at that document and

  13     said:    Okay, of these documents these pages are

  14     relevant to the lawsuit at that time.

  15             What we're saying is that document reflects

  16     the Court's review a totally different set of pieces

  17     of paper.      But on the other hand -- and I think

  18     there was specific -- you know, there was specific

  19     things about that.

  20             But what I was saying here is if you want to

  21     designate them as confidential under 112, we will

  22     treat them as confidential under 112.              We don't have

  23     any problem with that.

  24                        MR. SPILLANE:        I just want to say, I

  25     think the document -- when you say "completely


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376                     Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 275 of 331
                                  GEORGE LOMBARDI 1/17/2014


                                                                                Page 62
   1     different", I think it was essentially the same

   2     document, it was an earlier version of the closed

   3     portion of the protocol, but the page numbers were

   4     different.

   5                        MS. CARLYLE:     Well, the problem is,

   6     Mike, it was a version of the closed portion of the

   7     Thiopental protocol.        The page numbers -- not only

   8     the page numbers, but all sorts of things were

   9     different --

  10                        MR. SPILLANE:     Right.

  11                        MS. CARLYLE:     -- it was just a whole --

  12     it was just -- and it didn't contain the materials

  13     that were specific to Franklin and Nicklasson, which

  14     are in these.        It just wasn't the same document, and

  15     I don't think it applies to this document.

  16                        MR. SPILLANE:     I think only a small

  17     portion of it dealt with a specific drug, but that's

  18     my thought.        But I think the page numbers are

  19     different -- and I think most of the headings are

  20     the same, except the specific drug stuff is

  21     different, which is a tiny portion of it.

  22                        MS. CARLYLE:     Right, but --

  23                        MR. HANSEN:     We just have a differing

  24     opinion about whether or not they were similar

  25     documents --


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376               Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 276 of 331
                                  GEORGE LOMBARDI 1/17/2014


                                                                                 Page 63
   1                        MS. CARLYLE:    Yeah.

   2                        MR. HANSEN:    -- and it's a subjective

   3     thing.     The framework's the same, but there were

   4     differences, so we can leave it at that.             But as

   5     long as you're committing to the protection of the

   6     protocol that we're going to produce -- the protocol

   7     pages that we're going to produce, and that is

   8     protected as confidential under 112, then we can do

   9     that.

  10                        MS. CARLYLE:    Okay.

  11                        MR. HANSEN:    And then what we can do

  12     is, I can do this relatively quickly.            Go back to my

  13     office, have my secretary -- she and I will redact

  14     those at least two additional pages.            I have about

  15     15 more I have to double check.            And we can then

  16     print them off and produce them on another disc and

  17     give that you today.

  18                        MS. CARLYLE:    Okay.    As I said, I'm

  19     perfectly willing to go with you and do that.             You

  20     don't have to go back over there and then come back

  21     come over here with it.

  22                        MR. HANSEN:    Yeah, that's fine.     We'll

  23     work out those details when we're off the record.

  24                        MS. CARLYLE:    Okay.    We can go off.

  25     (THE DEPOSITION WAS CONCLUDED AT 2:41 P.M.)


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376                Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 277 of 331
                                  GEORGE LOMBARDI 1/17/2014


                                                                              Page 64
   1                        MS. CARLYLE:    Back on the record for a

   2     minute here.        Let me state for the record that I

   3     acknowledge that the defendants have designated

   4     the -- frankly, I'm a little uncomfortable referring

   5     to them as non-public protocols when Mr. Dormire

   6     said that was not what they were.

   7                        MR. HANSEN:    I'm not sure what you're

   8     referring to.

   9                        MS. CARLYLE:    Well, he said in his

  10     Interrogatories that there was no non-public

  11     protocol.      And then we showed him these documents,

  12     and we said:        Are they the non-public protocol, and

  13     he said no.

  14                        MR. HANSEN:    Well, I think you're -- I

  15     think you're misinterpreting what he said.           And I

  16     don't think -- I don't think you're using the same

  17     terms as he's familiar with, because --

  18                        MS. CARLYLE:    I understand that.

  19                        MR. HANSEN:    -- there is the public

  20     protocol.      And we as attorneys have continued to

  21     describe the full protocol as the non-public

  22     protocol, so I think there may have been failure to

  23     communicate there, but I don't think there's any

  24     mystery about what pages and what document we're

  25     talking about.


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376             Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 278 of 331
                                  GEORGE LOMBARDI 1/17/2014


                                                                                 Page 65
   1                        MS. CARLYLE:    Okay.    Well, what I

   2     acknowledge then that the two -- the three

   3     documents, the draft, the Franklin documents, and

   4     the Nicklasson's documents have been designated by

   5     the defendants confidential pursuant to Document 101

   6     [sic], the protective order, entered by the District

   7     Judge on May 31st, 2013 and --

   8                        MR. HANSEN:    112.

   9                        MS. CARLYLE:    You're right, 112.      I'm

  10     really glad you're here.          You've been keeping me in

  11     line for the last three days.

  12                        MR. HANSEN:    Well, I'm just here to

  13     help you, in addition to other things.

  14                        MS. CARLYLE:    Right.    112, which was

  15     signed on July 23rd of 2013, and we will maintain

  16     those protections.

  17             In the event that we believe that we need to

  18     request a change, we will follow the procedures set

  19     out in that order for asking the Judge to lift them,

  20     but until there's an order that those protections

  21     are lifted, we acknowledge that they have been

  22     delivered to us as confidential documents

  23                        MR. HANSEN:    Thank you.    And just so

  24     it's clear on the record that this does also apply

  25     to -- because it's the same documents, basically the


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376                Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 279 of 331
                                  GEORGE LOMBARDI 1/17/2014


                                                                               Page 66
   1     set that we delivered to you late on Wednesday

   2     evening at the conclusion of Mr. Dormire's

   3     deposition.

   4                        MS. CARLYLE:    I'm trying to remember if

   5     I've done anything with them since then that's

   6     inconsistent with that.

   7                        MR. HANSEN:    I assume you've just

   8     shared them with the other lawyers.

   9                        MS. CARLYLE:    I haven't shared them

  10     with anyone but other lawyers, yeah.

  11                        MR. HANSEN:    And so, I would think that

  12     that would be okay.        And if you would just make sure

  13     the other lawyers understand --

  14                        MS. CARLYLE:    Certainly, yeah.    As a

  15     matter of fact, thinking about it, I had scanned

  16     them and was -- yeah, okay.

  17                        MR. HANSEN:    Just so it's clear on the

  18     record, because they are the same documents

  19     basically --

  20                        MS. CARLYLE:    Yes, yes.

  21                        MR. HANSEN:    -- we do have that

  22     agreement that the ones that were provided --

  23     because it was our agreement that they were

  24     confidential on Wednesday.

  25                        MS. CARLYLE:    To be perfectly honest,


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376              Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 280 of 331
                                  GEORGE LOMBARDI 1/17/2014


                                                                                     Page 67
   1     Mr. Hansen, I don't think that was our agreement,

   2     but I'm willing to make it now.

   3                        MR. HANSEN:     Okay.     I just wanted that

   4     clear on the record.        Thank you.        And again, you

   5     will make sure that all plaintiff's attorney of

   6     record are aware of that.

   7                        MS. CARLYLE:     Yes.     The protective

   8     order may say that someone had -- that we have to

   9     file acknowledgments, I can't remember.                If it does,

  10     we will.

  11             I believe the protective order, either this

  12     one or a subsequent order says that we can provide

  13     that information to our experts, so we may end up

  14     doing that, if that's what the order say.

  15                        MR. SPILLANE:     That's my recollection

  16     as being accurate, but I don't have it memorized.

  17                        MR. HANSEN:     We can look at the order.

  18     I think we can both agree, that we'll comply with

  19     it.

  20                        MS. CARLYLE:     Right.     Yeah.    I'm just

  21     saying that the expert part of it may not be in

  22     Document 112, it may be in something subsequent.

  23                        MR. HANSEN:     Understood.

  24                        MS. CARLYLE:     I sort of remember that

  25     we had --


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376                    Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 281 of 331
                                  GEORGE LOMBARDI 1/17/2014


                                                                                 Page 68
   1                        MR. SPILLANE:     I think it's 112.       I

   2     think we did something afterwards.

   3                        MS. CARLYLE:     Let's see here.

   4                        MR. HANSEN:     We can find it.

   5                        MS. BORESI:     Do we need to be on the

   6     record for this?

   7                        MR. HANSEN:     We are on the record.

   8                        MS. BORESI:     But I'm wondering if we

   9     need to continue to be on the record.

  10                        MS. CARLYLE:     Actually, page 7 of

  11     Document 112 says that it can be provided to named

  12     counsel for the parties, counsel's partners,

  13     associates and support staff and outside consultants

  14     and experts, any person agreed on in writing by all

  15     counsel in the lawsuit, court employees, court

  16     reporters and persons preparing transcripts of

  17     depositions and witnesses.

  18                        MR. HANSEN:     Is that the same order

  19     that directed that we were to work together to reach

  20     an agreement on confidentiality and disseminating

  21     the documents?        No, that related to the identity

  22     of --

  23                        MS. CARLYLE:     That's a different order.

  24                        MR. HANSEN:     That's right.     Okay.

  25     We're done.


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376                Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 282 of 331
                                  GEORGE LOMBARDI 1/17/2014


                                                                            Page 69
   1                        MS. CARLYLE:   Okay.   Off the record.

   2     (THE DEPOSITION WAS CONCLUDED AT 2:46 P.M.)

   3

   4

   5

   6

   7

   8

   9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376           Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 283 of 331
                             GEORGE LOMBARDI 1/17/2014


                                                                         Page 70
   1                            CERTIFICATE OF REPORTER

   2      STATE OF MISSOURI )

                             ) ss.

   3      CITY OF ST. LOUIS )

   4

   5          I, Ashley C. High, a Registered Professional Reporter and

   6      Certified Court Reporter (MO) do hereby certify that the

   7      witness whose testimony appears in the foregoing deposition

   8      was duly sworn by me; that the testimony of said witness was

   9      taken by me to the best of my ability and thereafter reduced

  10      to typewriting under my direction; that I am neither counsel

  11      for, related to, nor employed by any of the parties to the

  12      action in which this deposition was taken, and further that I

  13      am not a relative or employee of any attorney or counsel

  14      employed by the parties thereto, nor financially or otherwise

  15      interested in the outcome of the action.

  16

  17                         ____________________________

  18                         Certified Court Reporter for

  19                         The State of Missouri

  20

  21

  22

  23

  24

  25

                            MIDWEST LITIGATION SERVICES
www.midwestlitigation.com        Phone: 1.800.280.3376            Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 284 of 331
                                 GEORGE LOMBARDI 1/17/2014


                                                                         Page 71
   1                        MIDWEST LITIGATION SERVICES

   2     January 20, 2014

   3     SUSAN BORESI, ESQ.
         OFFICE OF THE ATTORNEY GENERAL
   4     207 W. High Street
         Jefferson City, MO 65101
   5
         IN RE: DAVID ZINK, et al. vs. GEORGE A. LOMBARDI,
   6            et al.

   7     Dear Ms. BORESI,

   8     Please find enclosed your copies of the deposition of
         GEORGE LOMBARDI taken on January 17, 2014 in the
   9     above-referenced case. Also enclosed is the original
         signature page and errata sheets.
  10
         Please have the witness read your copy of the
  11     transcript, indicate any changes and/or corrections
         desired on the errata sheets, and sign the signature
  12     page before a notary public.

  13     Please return the errata sheets and notarized
         signature page to ELIZABETH UNGER CARLYLE for
  14     filing prior to trial date.

  15     Sincerely,

  16
  17     ASHLEY C. HIGH, RPR, CSR(IL), CCR(MO)
  18
  19     Enclosures
  20
  21
  22
  23
  24
  25


                               MIDWEST LITIGATION SERVICES
www.midwestlitigation.com           Phone: 1.800.280.3376         Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 285 of 331
                                  GEORGE LOMBARDI 1/17/2014


                                                                           Page 72
   1                                ERRATA SHEET

         Witness Name: GEORGE LOMBARDI

   2     Case Name: DAVID ZINK, et al. vs. GEORGE A. LOMBARDI,

                        et al.

   3     Date Taken: JANUARY 17, 2014

   4

   5     Page #_____        Line #_____

   6     Should read:       ____________________________________

   7     Reason for change:        ______________________________

   8

   9     Page #_____        Line #_____

  10     Should read:       ____________________________________

  11     Reason for change:        ______________________________

  12

  13     Page #_____        Line #_____

  14     Should read:       ____________________________________

  15     Reason for change:        ______________________________

  16

  17     Page #_____        Line #_____

  18     Should read:       ____________________________________

  19     Reason for change:        ______________________________

  20

  21     Page #_____        Line #_____

  22     Should read:       ____________________________________

  23     Reason for change:        ______________________________

  24

  25     Witness Signature:        ______________________________


                                 MIDWEST LITIGATION SERVICES
www.midwestlitigation.com             Phone: 1.800.280.3376         Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 286 of 331
                              GEORGE LOMBARDI 1/17/2014


                                                                         Page 73
   1     STATE OF _______________)

   2

   3     COUNTY OF ______________)

   4

   5     I, GEORGE LOMBARDI, do hereby certify:

   6              That I have read the foregoing deposition;

   7              That I have made such changes in form

   8     and/or substance to the within deposition as might

   9     be necessary to render the same true and correct;

  10              That having made such changes thereon, I

  11     hereby subscribe my name to the deposition.

  12              I declare under penalty of perjury that the

  13     foregoing is true and correct.

  14              Executed this _____ day of _______________,

  15     20___, at ___________________________.

  16

  17

  18

  19                              __________________________

  20                              GEORGE LOMBARDI

  21

  22                              __________________________

  23                              NOTARY PUBLIC

  24     My Commission Expires:

  25


                            MIDWEST LITIGATION SERVICES
www.midwestlitigation.com        Phone: 1.800.280.3376            Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 287 of 331
                                  GEORGE LOMBARDI 1/17/2014


          A            23:10 27:22         27:1,4,7,16,17    attorneys 9:17      21:4 23:14,19
 ability 44:23         28:3                27:20 35:11         15:10,25 16:20    32:25 38:15
   70:9              afternoon 3:12        43:2 57:10          17:13 54:17       41:15 42:8,20
 able 8:3 13:4         7:6               Answers 18:3          64:20             48:12 50:19,24
   32:24 44:18       age 5:13            anybody 24:17       attorney/client     51:3,8 55:19
   55:7              ago 6:15 25:2       Apparently            23:23             56:16 57:14
 above-referenc...   agree 29:17,20        39:23 40:15       authorities 45:25   59:10 60:2,6,12
   71:9                32:17 39:16       appeal 41:19        available 9:16,21   60:15,17,23
 acceptable 8:10       40:13 67:18       Appeals 28:17,21      21:14 22:17       65:17 67:11
   8:11              agreed 5:1 10:16      28:23 49:17       avoid 27:10        believed 10:16,22
 access 13:16          12:6 13:22        appears 30:21       aware 21:1 24:21    17:13,17 44:17
 accurate 12:21        68:14               46:7 70:7           25:9,13 28:3     best 22:16 70:9
   14:8 67:16        agreement 58:23     applied 46:6          40:18 41:13,18   better 8:19 19:20
 accurately 12:2       66:22,23 67:1     applies 62:15         44:13 49:13      beyond 29:12,14
   15:19               68:20             apply 65:24           50:10 56:24      Bonne 55:13
 acknowledge         AG0 52:6            appropriate 55:6      67:6             Boresi 4:10 16:17
   16:9 56:16 64:3   AG01177 39:9        approve 23:8                            17:23 23:22
                     AG01182 39:20       approved 22:12              B           24:1,7 25:23,25
   65:2,21
 acknowledgme...     AG01266 30:13       approximately       B 19:18,21 20:13    26:18,22 27:1,3
   67:9              AG02059 30:15         13:1               20:15 21:10        27:13,17 29:15
 act 50:14           AG02246 19:16       area 51:5           back 12:1 34:11     31:4,10 32:22
 action 28:20        AG02653 47:19       argue 15:12          37:5 39:3 40:16    34:10,18,22,24
   70:12,15            47:20             arguments 42:3       42:21 56:4         35:4,8 36:16
 active 61:11        ahead 10:1 11:24    arrived 7:6 9:9      63:12,20,20        38:21,24 39:1,5
 activity 48:5,19      12:9,11 16:12     Ashley 3:14 4:17     64:1               39:19 43:20
   49:25               16:16 49:1          5:4 70:5 71:17    BAILEY 4:11         50:24 51:3,8,17
 actual 10:7 11:5    al 1:4,7 3:4,7,18   asked 39:9 41:5,6   BARNETT 4:3         55:24 58:3 68:5
   12:13 13:5          3:19 71:5,6         42:23 50:2        barrier 55:14,15    68:8 71:3,7
   57:24               72:2,2            asking 5:25         based 24:2         bother 50:11
 addition 17:2       Allen 48:3            19:21,22 23:24    basically 65:25    bottom 11:22
   23:20 65:13       allowed 54:18         23:25 34:24        66:19              28:18 32:4,10
 additional 11:19    aloud 32:3            35:1,15 36:16     basis 55:10         32:11
   63:14             amended 17:16         37:2 65:19        batch 34:3,9,13    break 55:22 56:1
 address 7:22        Amendment           assertion 6:19      Bates 10:1,2       Briesacher 7:8
 addresses 6:18        26:12             associates 68:13     11:21 12:3         49:5,11,11 51:5
   7:4,13,18         analyses 33:6       association 25:15    14:20 39:6,16      51:12
 administered        analysis 2:14,15      25:16,17           39:20             Briesacher's
   54:2,3,5,6,7        30:22 31:21       assume 6:4 66:7     began 9:25 10:2     46:10
 Administration        32:8 33:20        attached 2:23       beginning 20:19 bring 8:14
   2:9 45:18,24,24     34:17,20 35:16      31:11              40:9 58:8         bromide 44:9
 advance 53:8,10       37:8,8,13,14,16   attention 8:15      begins 40:2        business 7:7
   53:11,12,13       analyzed 30:24        19:11,17          behalf 1:14 3:20 businesses 25:20
 advice 46:24 49:4     31:16             attorney 4:12        5:14               26:8
 advised 47:24       ANDREW 4:11           27:18 46:22,25    belief 23:25 24:2 buy 22:1
 Advises 48:3        and/or 71:11          48:22,22 49:3,6   believe 7:8,17 9:9
                       73:8                49:8,19 50:12      9:18,20 10:3,6            C
 affidavit 2:10
   22:23,25 23:4     answer 24:6 26:1      67:5 70:13 71:3    10:11 19:9,10     C 3:14 4:1,17 5:4


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376                         Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 288 of 331
                                  GEORGE LOMBARDI 1/17/2014


   70:5 71:17          48:9,13,25 49:2     51:4,9,13           43:23             contained 60:10
 call 8:11 30:18       53:15 55:10,10    chronology 2:19     compromised         contemporane...
 called 25:1 53:4      57:15 61:11         49:23 51:1          24:20               17:9
 calling 8:19          71:9 72:2         CII 31:17           concern 35:12       context 5:22 24:3
 calls 26:19 27:13   categories 60:9     Circuit 28:17       concerned 14:2      continually
 camera 61:10        cause 3:16            30:5 49:17          33:22 35:10         16:19
 capacity 42:1       CCR(MO) 4:17        circumstances         50:8              continue 68:9
 capital 20:20         71:17               15:6              concerning 19:3     continued 64:20
 careful 15:8        cell 7:18 54:8,16   City 3:14 4:5,13    CONCLUDED           controlled 32:8
 Carlyle 2:4 4:4,4     54:23 55:3,13       70:3 71:4           63:25 69:2        conversations
   5:17 6:12 8:4     Center 48:1         clarification       conclusion 9:2,3      16:14
   8:25 9:3,7,10     Central 1:2 3:2       43:21               10:12 26:20       copier 11:21
   11:2 12:15,19       3:18              CLAYTON 4:3           27:14 36:17,20    copies 9:17 10:13
   14:16 15:2,21     certain 3:16        clear 5:25 7:16       37:3 66:2           51:21 56:14
   17:11,24 18:9       23:11               12:9,21,22 32:2   conclusive 15:16      71:8
   23:24 24:5,8,9    certainly 8:1         38:18 61:2        condemned           copy 11:21 12:5
   26:5,6,21,25        14:4,11 34:5        65:24 66:17         41:24               12:18 38:21
   27:8,15,21          66:14               67:4              conducive 15:7        58:16 59:20
   29:19 31:6,14     Certificate 2:14    clearinghouse       conduct 7:24          71:10
   31:15 32:17,23      2:15 30:22          45:18,19          conducted 20:23     copying 14:7
   33:3 34:16,19       31:21 34:16,19    clearly 36:3,23     confer 8:13         corner 30:25
   34:23 35:2,6,13     37:7 70:1         clemency 42:4       confident 33:6,7      31:2 32:12 52:5
   35:21,22 36:21    Certified 3:15,16   clergy 54:17 55:2   confidential        correct 20:20,21
   37:1 38:22,25       5:5,6 70:6,18     closed 10:17          34:14 35:3,18       21:11,22 23:12
   39:3,8,14,17,18   certify 70:6 73:5     16:24 17:15         54:16,22 55:2       23:13,17 28:24
   43:18,25 44:1     chamber 48:16         62:2,6              58:24,25 59:4       36:15 38:10
   47:9,13 50:21       49:15,25 54:7     come 54:18 58:20      60:16,21 61:21      41:4 48:1 52:14
   51:2,11,17 52:1   chance 24:14          63:20,21            61:22 63:8 65:5     53:1,19 54:24
   52:17,24 55:21      51:23             comfortable           65:22 66:24         55:16 73:9,13
   55:25 56:2 58:1   change 44:14          33:14,20          confidentiality     Correctional
   58:9,20,25 59:6     65:18 72:7,11     comments 12:22        68:20               47:25
   59:13,21 60:4       72:15,19,23       Commission          confuse 5:23        corrections 3:13
   60:18,20,25       changed 44:12         73:24             consideration         20:23 21:2
   61:5 62:5,11,22   changes 71:11       committing 63:5       42:15,18 45:5       35:24 36:3,12
   63:1,10,18,24       73:7,10           common 37:3         considered 15:8       37:20 40:25
   64:1,9,18 65:1    check 19:8 63:15    communicate         consist 10:3          45:11,15,22
   65:9,14 66:4,9    chemical 2:20,21      64:23             construed 32:9        46:12 71:11
   66:14,20,25         36:4 42:15 53:4   competency            37:9,14           Corrections's
   67:7,20,24 68:3     56:8                38:10 41:1,16     consult 55:23         21:24
   68:10,23 69:1     chemicals 2:9       complaint 17:16     consultants         corresponding
   71:13               19:4 25:21 26:9   complete 41:15        68:13               12:12
 carried 42:5          27:25 28:5        completely 61:25    consultation        counsel 5:2,2
 carry 44:24           34:13 36:17,18    comply 67:18          43:12               16:19 18:8 24:3
 case 21:18 22:24      37:19 53:1        compound 36:6       consulted 45:8        25:6 43:13 45:5
   25:6 27:9 28:4    chief 38:4 41:9     compounded            45:12               45:8 46:11,17
   28:16,19,23         46:11 49:5          22:12,17 29:11    contact 45:23         46:23,24,25
   30:5,5 46:17      chronological       compounding         contain 62:12         47:12 49:5

                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376                          Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 289 of 331
                                  GEORGE LOMBARDI 1/17/2014


   50:10 55:2,23     DEA 45:25             10:12 11:25         61:16 62:1,4,9    District 1:1,1 3:1
   68:12,15 70:10    dealt 62:17           12:25 13:4,8,10     62:19,21 68:23      3:1,17,17 65:6
   70:13             Dear 71:7             16:13,16,18       differing 62:23     divided 36:18
 counsel's 68:12     death 41:24           31:12 34:15       difficulty 8:21     Division 1:2 3:2
 COUNTY 73:3         December 17:6         58:8,11 63:25     direct 2:4 5:16       3:18
 couple 46:4 56:3     18:19 23:2           66:3 69:2 70:7      8:15 37:21        doctor 33:19
 course 33:25         28:19 30:4           70:12 71:8 73:6   directed 41:2         43:23
   58:11             decide 48:18          73:8,11             50:2 68:19        document 2:9
 court 1:1 3:1,16    decided 13:19       depositions         directing 24:5        15:23 19:3,6,19
   3:17 4:16 5:6      43:8                 68:17               27:15               20:1 23:7 28:11
   6:24 9:5 14:19    decides 53:9        describe 14:25      direction 21:25       28:18,22 29:5,8
   16:24,25 28:17    decision 15:17        42:23 64:21         70:10               29:16,17,25
   28:21,23 49:17     22:1 42:12 45:6    description         directly 49:6         30:4 31:5,12,16
   50:9 61:10,12      46:19 47:4,6,7       31:22             director 16:12        34:5 38:18
   68:15,15 70:6      48:15              designate 61:21       21:11 22:6          39:25 40:13
   70:18             decisions 15:8      designated 42:25      40:24 51:5          58:7 60:1,2,6,7
 courtesy 15:25      Declaration 2:11      43:6,22 60:16     directs 47:23         61:8,12,15,25
 Court's 59:4         2:13 28:15           64:3 65:4         disc 12:18 63:16      62:2,14,15
   61:16             declarations 33:5   designation         discarded 56:17       64:24 65:5
 coverage 25:5       declare 73:12         44:15               56:21               67:22 68:11
 covered 15:23       declared 23:11      designations        discipline 25:15    documentation
   16:3,10           defect 41:25          46:6              disclose 61:4         38:8,13 57:23
 covering 16:2       defendants 1:8      designee 47:24      disclosed 60:3      documents 6:10
 co-counsel 8:13      3:8,19 4:9 5:3       48:14             disclosures 6:10      6:16 7:3,9 8:6
 criteria 33:21       17:13 64:3 65:5    desired 71:11       discovery 6:10        8:12 9:15 13:16
 cross 18:23         defendant's         desk 18:23            16:23 17:1,14       13:19 15:11,25
 CSR(IL) 4:17         16:20              destroyed 57:16       17:15,17 30:12      16:2,4,6,8,9,20
   71:17             defined 43:4        destruction           30:15 38:19         17:3,8 19:12,13
 current 25:7        definition 43:5       56:25 57:24         47:16               19:15 33:5
 currently 19:6,20    43:10 44:12        detail 42:24        discuss 16:13         50:25 52:3,11
   19:23 21:2        delivered 65:22       54:20 55:4          20:20               56:19 58:24,25
 curriculum           66:1               detailed 59:18      discussed 6:14        59:12 60:14
   33:18             Department 3:13     details 63:23         13:10               61:9,9,13 62:25
                      7:2 19:7 20:22     determine 8:13      discusses 20:16       64:11 65:3,3,4
         D            21:2,11,24           13:11,17          discussing 43:17      65:22,25 66:18
 D 2:1 28:16          35:23 36:3,11      determined          DISCUSSION            68:21
 date 29:12,14        36:15 37:20          50:17               18:7 47:11        Doe 25:2
  71:14 72:3          40:25 45:11,12     Determines          discussions 46:16   doing 12:4 58:16
 Dave 60:7            45:15,22 46:12       21:13               61:7                67:14
 David 1:4 3:4,18    Department's        determining 20:4    disease 41:25       Dormire 9:2
  4:10 18:4 71:5      22:14 43:4           42:24             dispositive 59:17     11:10 22:6,7
  72:2               depending 55:11     developed 10:8      dissatisfaction       36:12 57:18
 day 3:12 6:24       deposes 5:14        Diagnostic 47:25      25:20 26:8          64:5
  18:12 49:17        deposition 1:13     differences 63:4    disseminating       Dormire's 6:14
  57:4 73:14          3:10 5:3,15,19     different 9:14        68:20               66:2
 days 6:15 7:7        6:14 7:24 9:2        16:5 34:20        distinction 50:4    Dorothy 2:17
  8:10 65:11          9:12,23,24           47:17 52:11       distribution 19:4     40:12

                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376                          Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 290 of 331
                                GEORGE LOMBARDI 1/17/2014


 double 63:15        70:14               2:3               exist 7:20            71:8
 doubt 40:25       employee 70:13      examined 3:10       expected 6:23       fine 34:22 39:17
 Dr 2:12,13,16,17  employees 68:15       5:13              expel 25:15           63:22
  28:4 33:5 38:3   enclosed 71:8,9     excitement 14:7     expert 28:3 67:21   first 11:16 12:20
  38:7 40:12,13    Enclosures 71:19    excluding 12:7      experts 67:13         12:24 18:3,16
  40:16 41:8,12    encompasses         excuse 34:10          68:14               26:12 30:19
  42:8               42:9              executed 29:14      expired 28:6          42:23 47:21,22
 draft 10:4 12:11  ended 10:3,5,19       41:1,25 50:4      Expires 73:24         49:23 52:4
  13:4 18:13 65:3    12:12,13            73:14             express 25:20       five 3:12 34:20
 drafted 18:17     ends 40:2           execution 2:19        26:8,15,16 27:6   five-minute
  23:7,8,9         enforcement           6:20 10:4,8         27:12               55:22
 draw 19:11,17       45:24 50:13         17:4,5 19:23      expressed 32:9      follow 25:16
 Drive 3:14        entered 65:6          20:4,6,17,23        37:9,15             65:18
 drug 21:4 29:11   entirely 16:5         21:3,5,7,21       expressions         Food 45:18,23
  44:19 45:18,23   entitled 9:18         23:6 24:12,18       27:11             foregoing 70:7
  45:24 56:6         15:16               25:11 29:9 33:9   expressly 5:8         73:6,13
  62:17,20         entity 42:25 43:3     34:1 38:6 40:19   extenuation 42:3    forenoon 3:12
 drugs 20:17         43:6                40:23 41:15,18    eyes 9:17 15:25     form 8:9 47:17
  21:19 22:11,12   entry 47:21           43:1,4,6,11,22    e-mail 6:13,22        47:18 52:12
  22:13,15,17      equipment 11:14       44:3,12,18 46:1   e-mails 16:14         73:7
  29:9 33:7 36:23    14:3                48:4,6,16,20                          forth 33:22
  45:13,14 46:2    ERDCC 57:9,12         49:14,24 50:14              F         found 40:17
  56:11,17,19      errata 71:9,11,13     50:18,25 51:6     fact 9:23 13:2        41:13
  57:1,13            72:1                53:1,12,23 54:7     23:10 37:18       four 33:4
 duly 70:8         escorted 48:4,15      56:7                41:4 44:23        framework's
 duties 40:24 43:3   49:14,24 50:18    executions 17:10      48:10 49:15         63:3
                   ESQ 4:4,10,10         23:17 27:25         50:9 66:15        Franklin 10:4,7
          E          4:11,11 71:3        28:5,7 33:8       failed 14:13          10:9 11:4,5
 E 2:1 4:1,1       essentially 62:1      42:13 44:24       failure 64:22         12:10 13:4,5
 earlier 6:17      established 9:19      53:17             fair 52:11            17:4 28:5 29:12
   15:24 25:1      et 1:4,7 3:4,7,18   executive 42:4      faith 15:3            40:18,22 41:13
   58:18 59:4        3:19 71:5,6       exhibit 10:5,10     familiar 26:11        50:17 52:13
   60:22 62:2        72:2,2              10:11 11:3          41:22 42:6          62:13 65:3
 Eastern 47:25     ethical 25:17         12:11 18:1 19:1     60:13 64:17       Franklin's 38:5
 eat 13:3          evening 7:2           22:21 28:10,15    far 50:8              38:10
 effect 59:11        56:12 66:2          29:25 30:12,14    FDA 45:23           frankly 64:4
 eight 3:11        event 65:17           30:19 31:11,13    federal 45:25       full 64:21
 either 7:23 9:20  Eventually 13:18      31:19 32:1,2,11   feel 33:13          functions 43:3
   13:22 22:5      everybody 15:10       33:23 35:3        felt 11:11 44:20    further 13:16
   25:10 26:10     evidence 24:10        37:24 38:16,17    file 67:9             41:20 70:12
   53:8 67:11        24:19,21 40:17      38:18 39:19,20    filed 16:23 17:16
 electronic 58:16    41:13               40:17 42:21         28:4,16,22 30:4         G
 elements 42:10    exact 36:4            47:15,23 52:3,4   filing 71:14      general 4:12 23:3
 Eleventh 4:18     exactly 57:8          52:6,8,15         final 11:20 42:12   46:22 48:22,22
 Elizabeth 4:4,4   Examination 2:4     exhibits 2:7,23       45:6 47:18        49:6,8,19 50:12
   6:7 34:10 71:13   5:16                5:9 9:24 30:11    financially 70:14   59:22 71:3
 employed 70:11 EXAMINATI...             51:18,20 56:4,4   find 27:23 68:4   General's 47:1


                              MIDWEST LITIGATION SERVICES
www.midwestlitigation.com          Phone: 1.800.280.3376                          Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 291 of 331
                                  GEORGE LOMBARDI 1/17/2014


   49:4                      H           honest 66:25      individual 55:12     Jefferson 3:14
 generated 17:9      half 11:23          hook 11:24        individuals 24:11      4:13 71:4
 George 1:7,13       hand 30:10 61:17    hope 14:17          24:15              Jessica 38:9
   2:10 3:7,10,19    handed 47:14        hour 10:19 11:23  individual's 41:1    John 25:1
   5:12 71:5,8         52:2              hours 3:11 7:15   information 8:12     Judge 65:7,19
   72:1,2 73:5,20    handling 6:8         10:20 53:24        14:4,25 15:4       Judge's 8:14
 getting 35:10       Hang 61:5            54:2,5             20:12 23:11,23     July 38:19 65:15
 get-going 6:11      Hansen 4:10 6:7     humor 31:14         24:2,4,23 35:10
 give 12:17 29:1                         Hydromorphone       38:14 41:20                K
                       6:13 8:23 9:1,5
   36:10,11 39:19      9:8,11 11:3        20:16,24 21:3      67:13              Kansas 4:5
   58:17 59:9          12:16 14:13,17     21:15,23         Inj 31:24            keep 51:12
   63:17               15:18 16:11                         injection 2:9 19:5   keeping 65:10
 given 13:1                                       I          25:21 26:9         keeps 51:15
                       18:6 39:6,12,15
 glad 65:10            52:15,19,23       idea 18:21 37:6   inmates 51:10        kept 51:4,9
 glasses 32:14         58:5,10,22 59:2   IDENTIFICA... inquire 50:3             key 14:2
 gm 31:1               59:8,15,19 60:8     5:10            inquiries 49:22      kind 12:20 46:4
 go 7:3 10:1 12:1      60:19,22 61:1     identified 9:13   institution 7:10       51:4 55:18
   16:12,15 42:21      62:23 63:2,11       10:21,24 11:9   insure 58:12         knew 13:8
   43:20 47:9          63:22 64:7,14       11:10 12:7 39:4 intention 21:8       know 5:18 7:25
   63:12,19,20,24      64:19 65:8,12       58:14           interest 10:22         14:1 15:11,12
 going 6:3,8 12:13     65:23 66:7,11     identify 7:21       12:8                 15:13 22:2,11
   12:17 14:14         66:17,21 67:1,3     14:23 25:6      interested 11:8        22:15,18 27:2
   17:20,25 19:11      67:17,23 68:4,7   identity 23:6,16    70:15                27:20 28:12
   26:18 29:21         68:18,24            24:25 68:21     Interrogatories        31:8 32:20
   31:4 35:6,14,14   happen 24:24        IL 3:16 5:6         18:4 42:22           33:14,15 36:19
   35:19 37:23         48:8 55:7         imagine 17:7        64:10                45:21 46:8 47:2
   41:21 51:17,19    happened 9:1        immediately 7:14 Interrogatory           47:2,3,3 48:8
   58:11,17,18,23    harassed 24:16      impede 44:23        2:18 42:23           53:6,13,15 54:9
   59:9 61:3 63:6    hard 12:18 17:7     impediment        investigation          54:19,19 55:4,4
   63:7              harmed 25:10          50:14             7:25                 57:10,15,17
 good 15:3           head 17:23 35:20    imperial 45:2     involved 20:3          61:18
 Gotcha 39:5         heading 30:20       implied 32:9 37:9   24:12,16 44:19     knowledge 22:16
 governed 61:8       headings 62:19        37:15             45:3 46:15           35:23 36:19
 Governor's          hearing 14:19       impose 8:16       issue 6:9 24:14        44:22
   42:16             help 65:13          imposed 42:2        45:9 58:6          knows 36:23
 grams 36:9,11,13    helpful 14:10       improper 17:18    issued 16:3,4          41:21
   36:13               15:2                25:14,19 26:7   issues 10:23         Koster 49:8,11
 granted 17:16       Herbert 21:21         26:14,24        items 6:18 11:10
                                         inadvertently                                 L
 Greg 38:3           Herndon 40:10                           11:14
 grounds 23:22                             5:24                                 L 4:3
                       41:5,6                                                   lab 33:13,21
   25:25 26:19                           include 44:15              J
                     High 3:14 4:12                                               35:11,24 36:4,5
 guarantee 15:13       4:17 5:4 70:5     inconsistent 66:6 January 1:15
 guess 6:3 14:9                          incumbent 17:18     3:11 18:12           36:10,14,22,23
                       71:4,17                                                    46:16
   15:14 17:11       highest 50:12       indicate 29:10      19:15 30:13,15
   35:18 37:2                              41:21 71:11       38:19 39:11,11     laboratory 32:8
                     history 24:13                                                43:10,21
   54:21             holding 54:8,16     indicated 10:13     39:13 47:18,19
 guidelines 25:17                          59:10             71:2,8 72:3        lacks 42:1
                       54:22 55:3,13

                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376                         Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 292 of 331
                                   GEORGE LOMBARDI 1/17/2014


 large 15:5           location 51:9    12:10 18:1 19:1   Mike 60:14 62:6      58:15 65:17
 Larry 2:12,13        log 2:20,21 14:1522:21 28:10       milliliter 36:10     68:5,9
    28:4,16             14:15,23 15:9  29:24 30:11       milliliters 36:9   needed 11:11,13
 late 16:21 66:1        56:10          31:10 37:24       ministerial 46:5     13:3,18 14:4
 law 4:4 34:21        logs 51:9,13     47:15 51:18       minute 29:1          23:20 46:17
    50:13             Lombardi 1:7,13  52:3,3             43:16 47:10         58:13 60:16
 lawful 5:13            2:10 3:7,10,19marker 11:18        64:2              needs 58:13
 lawsuit 18:5           5:12,18 17:25 Markway 2:16       misinterpreting    neither 70:10
    61:14 68:15         18:10 30:6     38:4,7 40:13,16    64:15             never 13:9 24:22
 lawyer 27:19           32:20 47:14    41:8,12           Missouri 1:1 3:1     24:24 44:15
 lawyers 15:5           51:22,24 52:2 Markway's 42:9      3:13,14,18        news 25:4
    66:8,10,13          71:5,8 72:1,2 material 36:2       19:24 20:22       Nicklasson 10:10
 lead 35:15             73:5,20        39:21 41:10        21:1 23:15          11:6 13:6,9
 leads 35:15          Lombardi's 2:18 materials 13:1      41:23 42:13         17:5 28:6 29:13
 learned 37:18          28:20          62:12              45:12 46:11         48:3 49:3,14,24
 leave 10:15 16:24    long 33:19 53:13Matt 49:5           70:2,19             50:17 52:13
    55:5 63:4           53:23 61:10   matter 23:4 41:4   misspoke 29:7        62:13
 left 9:6               63:5           66:15              61:6              Nicklasson's
 left-hand 30:24      look 7:20 11:3  matters 14:1       MO 3:16 4:5,13       48:9,13 65:4
    31:2 32:12          15:11 29:2,4   42:3               4:19 5:6 70:6     night 8:21 15:15
 legal 19:5 24:3        30:19 31:25   Ma'am 18:22         71:4              Nodded 17:23
    25:21 26:9,20                     mean 13:8 15:3,9
                        40:3 41:9 47:21                  moment 56:14         35:20
    27:14 43:12         51:21,23 52:5  22:8 26:23,24     Monday 7:24        non-public 8:20
    45:5,7 48:5,19      59:13 61:12    33:16 35:17       morning 6:22 9:9     64:5,10,12,21
    49:25 50:3          67:17          37:4 59:1,23       12:4              North 4:18
 legality 45:13       looked 10:20    meet 43:5          motion 49:15       notarized 71:13
    46:1                11:4,6 33:4   meets 33:21         50:9              notary 71:12
 Lethal 2:9           looking 28:1 31:7
                                      member 42:25       moves 45:4           73:23
 letter 41:7            43:2           43:5,22 44:3      mystery 64:24      noticed 46:6
 let's 6:10 8:23,25   looks 31:17     members 6:20       M2 25:7 54:3       November 17:5
    16:11,12,15       Louis 4:19 70:3  23:6,16 25:16      56:15,24          number 6:18
    39:12 42:21       lower 32:12 52:5 26:15 27:5        M3 54:3 56:15,24     7:22 10:2 14:20
    68:3                               43:11             M4 46:7,8            15:4,6 28:16,19
 Lewis 2:17 40:12            M        memorandum                              30:5 31:13 39:7
 lift 65:19           machine 14:7     2:16 38:3,8               N            39:20 47:16
 lifted 65:21         maintain 65:15  memorized 67:16    N 2:1 4:1            52:6
 line 32:1,10         majority 13:21  mental 41:25       name 72:1,2        numbered 7:1
    65:11 72:5,9,13    17:2           mention 53:3        73:11               20:14 30:13
    72:17,21          man 50:13       met 5:21 43:10     named 68:11        numbers 6:18
 lines 32:1           mandamus 28:20 method 44:18        names 7:19           7:4,13,18 8:22
 list 14:10,12         30:6            45:13 46:1,1      nature 22:15         11:22 12:3 14:3
    52:18 60:5        mandate 44:24   MICHAEL 4:11        42:1                19:14,16 39:16
 litigation 4:18      manufactured    Midazolam          necessary 73:9       47:19 52:15
    25:1 71:1          22:13           20:16,24 21:2     need 7:12,15,22      60:9 62:3,7,8
 little 20:15 35:7    mark 11:18       21:15,24           12:8 13:22,25       62:18
    64:4              marked 5:9 9:23 MIDWEST 4:18        15:4 16:14        nurse 25:7
 live 41:19            10:5,9,11 11:5  71:1               32:13 58:6,14


                                 MIDWEST LITIGATION SERVICES
www.midwestlitigation.com             Phone: 1.800.280.3376                    Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 293 of 331
                                   GEORGE LOMBARDI 1/17/2014


          O             29:1,3,4,24       outside 68:13       particular 33:23   photocopy 11:19
 Oak 4:5                30:9,18 31:19     overdue 8:6,8        34:13 53:14,25    physical 24:20
 object 14:5 23:22      31:25 32:10,15    oversee 56:25       parties 68:12      physically 25:10
   26:18 27:13          32:23 33:2,4,12   oversight 14:14      70:11,14            55:14
   29:15 31:4           33:23 35:2,8,21   overwhelming        partners 68:12     physician 53:9
   34:25 36:16          36:2,8 37:7,18      17:2              pass 58:2          pieces 8:18 18:22
 objected 25:25         38:7,16 39:14     owns 21:2           PAUSE 43:19          61:16
 objection 17:19        39:24 40:2,7,11   o'clock 3:11,12     penalty 73:12      place 41:2 48:5
   17:21 25:23          41:12,22 42:8       9:11,12 12:24     pending 3:17         48:10,19 49:25
 observation            43:14,25 44:8       12:25 13:2         28:23 49:16,16    placed 34:14
   16:22                44:11,25 45:7                         Pentobarbital      places 24:13
                        46:10,15 47:5,8           P            20:20 21:9,14     plaintiffs 1:5,14
 observations
   40:10                48:13,24 49:2     P 4:1,1              31:17 36:9          3:5,19,20 4:3
 obtained 7:9           50:8,20 51:2,8    page 2:2 8:22        42:13 43:9          5:2,14 61:3
   32:7 33:17           52:8 53:10,13       10:1,2 11:22       45:17             plaintiff's 2:8 5:9
   45:17                53:22 54:1 55:1     19:17 20:15       people 23:17         16:19 18:1 19:1
 obtaining 45:13        55:9,13,20,25       29:4 30:12,14      24:20 45:3 46:7     67:5
 obvious 44:22          56:10,13,24         32:4,12 40:4,6    perfectly 63:19    plan 27:24
 obviously 45:4         57:3,5,9,12,19      43:2 47:19,22      66:25             Plaza 3:13
   47:5                 59:6,13,23          47:22 60:9 62:3   performs 43:3      pleadings 25:6
 occur 49:20            60:22,25 61:5       62:7,8,18 68:10   perimeter 10:23    please 5:25 18:2
 occurred 15:19         61:13 63:10,18      71:9,12,13 72:5   period 17:19         19:2 22:22
   17:4,6 28:7          63:24 65:1          72:9,13,17,21     perjury 73:12        25:22 26:4 30:8
 occurs 21:21           66:12,16 67:3     pages 7:1 10:1,21   permanent 11:18      32:2 37:25 39:7
 October 16:23          68:24 69:1          11:7,24 12:2,6    permission 16:25     40:4 71:8,10,13
 odd 20:15            once 15:9,10          12:7,12 13:1,12   person 7:21        plus 36:9,13
 offender 53:8        ones 22:13 66:22      13:20 14:24        41:24 42:24       point 14:3,5 16:1
   54:15              operative 54:21       15:1 27:23         43:3,6,9 53:25      43:21 54:19
 office 4:4,12 47:1   opinion 26:2          47:16 60:3         68:14               58:1
   49:4 63:13 71:3      27:6,11,18          61:13 63:7,14     personal 7:18      portion 39:21
 officers 11:15         62:24               64:24              23:25 24:1,11       62:3,6,17,21
   54:24              opinions 26:15      Pancuronium          36:19             portions 10:14
 Offices 3:13           26:16               44:9              personally 18:13   position 10:15
 OFF-THE 18:7         opportunity 9:22    paper 8:18 18:23     56:25               14:9 15:23
   47:11              order 7:10,24         61:17             persons 68:16        17:21 25:18
 Oh 31:3 38:22          9:19,20 15:24     paragraph 29:5      pertaining 52:12     26:10 61:2
   39:1                 16:2,3,7,10         29:10 40:8,9       52:13             possession 21:25
 okay 6:5,6,12 8:4      49:1,20 59:4,4    paragraphs          petitioner 30:6      22:14
   9:7 12:14,15,19      59:11,22 60:10      20:14,19          pharmacy 33:19     possible 15:9
   14:16 15:2           65:6,19,20 67:8   part 19:13,23        35:25 36:1,8,22   potency 33:22
   17:11,22 18:13       67:11,12,14,17      37:11 40:24        43:8,14,24 44:2   potent 28:1 33:10
   18:25 20:3,6,9       68:18,23            44:20 67:21        44:5,8 45:12,16     37:20
   20:13 21:20,23     ordered 59:3        participate 23:17    46:16             precisely 60:9
   22:11,20 23:3      Ordinarily 54:22    participating       phone 6:18 7:13    preparation 2:9
   23:19 24:8 25:9    ordinary 22:12        41:19              7:18,22 16:13       19:4
   25:14 26:14,21     original 71:9       participation       photocopies        prepare 11:25
   27:9 28:9,14       outcome 70:15         24:17 25:11        11:16,17          prepared 36:18

                                 MIDWEST LITIGATION SERVICES
www.midwestlitigation.com             Phone: 1.800.280.3376                         Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 294 of 331
                                  GEORGE LOMBARDI 1/17/2014


 preparing 68:16      35:24              providing 23:15     reading 28:18         69:1
 prescriber 46:17    production 9:15     provision 54:15     real 16:5           records 7:20,20
 prescribing          16:23 19:13,14       55:1 60:12        realize 51:19         58:12
  43:23               58:7               pseudonyms          realized 11:20      redact 11:14 14:2
 prescription        productions           46:6                39:4                63:13
  43:10               17:20              psychiatrist        really 5:23 9:4     redacted 6:17,25
 presence 54:23      professional 3:15     40:12               13:3,7,20,22        7:17,19 11:15
 present 13:12        5:5 25:15 70:5     psychologist 38:4     15:3 16:4 35:13     12:5 14:25
 pretty 14:7         progress 48:5,19      41:9                35:18 65:10         58:13,13,14
 prevent 48:6,20      50:1               public 20:7 25:2    reason 40:18,22     redacting 14:5
 previous 53:20      proper 8:9 27:9       25:19 26:7,15       41:14,19 49:20    redaction 14:15
 previously 44:16    properly 12:2         27:5 64:19          50:3 72:7,11,15     14:23
 primarily 23:5      Propofol 42:17        71:12 73:23         72:19,23          redactions 7:11
 print 63:16          43:15 44:3,6       punishment 42:2     reasons 42:4 55:8     12:1 13:24
 prior 9:22 71:14    proposal 13:11      purchased 21:25     recall 13:21 14:2   reduced 70:9
 prisoner 54:23      protected 11:11     pure 27:25 33:10      18:18,20,23       refer 39:12
  55:3,15             58:24 60:23          37:20               20:2,11 22:2,3    referenced 9:14
 privilege 14:15      61:4 63:8          purpose 42:2          25:3,8 46:9         49:22
  23:20 27:10        protection 9:19     purposely 24:23       49:18 54:4        references 16:19
 privileged 10:17     59:23 63:5         purposes 60:15      receive 14:24       referencing
  14:23 23:23        protections         pursuant 59:2         15:1                22:23 39:15
  24:4                65:16,20             65:5              received 19:14      referred 10:4
 probably 15:4       protective 9:19     put 11:19 41:2        19:15 24:2          25:5 31:12
  22:9,10 57:18       15:24 16:2,3,7     P.M 5:15 63:25        39:11             referring 64:4,8
 problem 32:25        16:10 59:11,22       69:2              Reception 47:25     reflects 61:15
  50:11 59:24         65:6 67:7,11                           recite 30:3         regard 24:14,17
  60:21 61:23        protocol 7:1 10:5          Q            recites 38:7          50:25
  62:5                10:8,10,14 11:4    quantity 21:13      recollection        registered 3:15
 procedures 41:2      11:5,6 12:10,13     32:7 36:14           67:15               5:4 45:17 70:5
  65:18               13:5,5,7,9         question 5:23       recommendation      regular 57:9
 PROCEEDIN...         19:19,23 20:6       26:23 27:4,20        41:10 42:9        relate 6:19 17:3
  43:19               42:17 43:4 56:7     29:16 37:12        reconstruct           32:19 33:24
 process 24:16,18     58:6 62:3,7        questions 34:11       14:20             related 10:23
  41:20 42:24         63:6,6 64:11,12     46:5 56:4 58:3     recopy 11:23          11:11 68:21
  53:12               64:20,21,22        quick 16:18         record 6:11 7:16      70:11
 produce 6:16 7:4    protocols 8:20      quickly 63:12         8:5,23 12:9,22    relating 38:9
  7:7,10 8:2          9:14 10:21,25                            14:14 15:19       relative 70:13
                                                R
  14:20 63:6,7,16     11:1 20:4 53:20                          17:12 18:6,7      relatively 63:12
 produced 3:10        64:5               R 4:1                 19:12 28:14       releases 34:23
  5:13 6:17 8:6      provide 6:21        reach 29:14           30:3,12,20 31:7   relevance 16:5
  9:8 17:3,8          39:6 59:12           68:19               43:20 47:9,11       25:23 26:1,19
  30:13,15 38:19      67:12              reached 29:12         50:16 51:4        relevant 35:5
  39:10 47:17,18     provided 9:13       read 19:8 30:8        52:25 58:6,8,18     61:14
  50:23,25            16:10 34:20          32:3,13,16,18       59:10 61:2        relied 41:8 49:18
 producing 6:25       38:9 39:21           32:24 71:10         63:23 64:1,2      rely 32:24 37:10
  16:20               43:14 44:2,5,8       72:6,10,14,18       65:24 66:18         37:16 60:11
 product 30:23        66:22 68:11          72:22 73:6          67:4,6 68:6,7,9   remember 39:24

                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376                          Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 295 of 331
                                   GEORGE LOMBARDI 1/17/2014


   40:1 53:14 54:9      61:10           secret 23:20        shorthand 3:15      speaks 29:16,18
   54:12 66:4 67:9    reviewing 39:24   secretary 58:15       5:4,5               31:5
   67:24              right 12:17 21:12   63:13             show 17:25 18:25    specific 20:11
 remote 55:23           21:17 27:6 41:3 secrets 6:19          22:20 28:9          60:3 61:18,18
 removed 11:7           51:7 52:19        23:11 27:10         29:24 33:18         62:13,17,20
   12:12                59:22 60:4      section 34:14         37:23 38:16       specifically 16:8
 render 73:9            62:10,22 65:9     41:23,23            51:18,22,23         17:3 21:20 40:8
 repeat 25:22           65:14 67:20     security 10:23,23   showed 11:13          49:2 56:8
 rephrase 6:1           68:24             11:12 55:8,11       13:20 64:11       spent 12:4
 report 2:17 46:13    right-hand 52:5     60:15             sic 38:19 65:6      SPILLANE 4:11
 reporter 3:15,15     ring 14:2         sedative 53:7       sign 18:10 22:25      35:9,20 59:16
   3:16 4:16 5:5,5    room 48:4 50:18     54:1                58:4 71:11          60:1,5,17 61:24
   5:6 9:6 70:1,5,6   RPR 4:17 71:17    sedatives 53:19     signature 5:8         62:10,16 67:15
   70:18              Russell 47:24     see 11:17 13:13       71:9,11,13          68:1
 reporters 68:16        57:21,22          18:16 20:7          72:25             spoke 49:6,10,11
 representation                           27:23 28:1        signatures 56:15    ss 70:2
   24:4                       S           56:13 68:3        signed 65:15        St 4:19 70:3
 represented          S 4:1             seek 16:7           similar 62:24       staff 55:5 57:6,7
   46:21              safety 11:12      seeking 16:24       similarly 31:19       57:9 68:13
 reproduce 6:16         24:11,20 60:15 seen 20:1,10         simply 35:16        stamp 10:1,2
 reproduced 8:9       sample 32:19        28:11,12,24         61:9                12:3 39:7,16,20
 request 16:22          33:24,25 34:2,6   29:25 30:7,16     Sincerely 71:15     stamps 11:22
   49:16 65:18          34:8              57:23             sit 51:5            standard 41:16
 requests 17:14       sanctions 8:16    sell 25:20 26:8     situation 55:11     start 16:16,17
   17:17,20 53:8      Sasich 2:12,13    send 37:3           skipped 39:3        started 5:15 6:8
   53:25                28:4,16 33:5    sends 36:22         small 62:16           34:12
 reserved 5:8         sat 10:18         sense 36:6,7 37:3   smaller 59:17       state 6:19 14:13
 respect 59:3         saw 13:9 18:21    sensitive 13:12     Smulls 21:21          15:19 19:24
 responding             18:24             13:20               28:6                23:11,20 27:10
   17:19              saying 6:23 9:15 sent 6:13,22         Smulls's 29:9         28:14 30:11
 response 8:4 9:15      15:14 21:16     sentence 42:4       sodium 31:17,24       50:13 64:2 70:2
   17:12 42:22          35:3 61:15,20   separate 46:17      Sol 31:24             70:19 73:1
 responses 2:18         67:21             46:23             solid 55:15         stated 59:9
   18:11,14           says 5:14 21:10   separated 10:24     somewhat 26:13      statement 42:16
 result 41:25           29:20,22 30:22 SERVICES 4:18          26:20 47:17       States 1:1 3:1,17
 results 32:6,18        32:11,18,21,23    71:1              soon 8:1            status 8:18
   33:24 34:12          33:23 36:12     set 6:25 11:16,20   sooner 8:16 17:8    statute 23:15,21
   35:16                37:8,14 40:17     16:5 18:4 30:14   sorry 19:25           41:23
 return 71:13           41:17,24 56:20    39:10 55:14         25:24 32:13       Statutes 23:15
 returned 56:17         56:21 67:12       61:16 65:18         38:17 39:1        statutory 44:11
   56:21                68:11             66:1                40:21 43:18         44:24
 reveal 35:11         scanned 66:15     share 48:23           44:4 56:18 61:6   stay 48:4,10,18
 review 9:22 13:2     scheduled 40:19 shared 49:6 66:8      sort 6:4 46:4         49:15,16,25
   13:4,6 15:7          40:23 41:14,18    66:9                67:24               50:10
   23:8 38:12 58:4    second 2:13       SHEET 72:1          sorts 62:8          sterile 28:1 33:10
   61:16                19:17           sheets 71:9,11,13   sound 42:5            37:21
 reviewed 38:8        secrecy 23:16     shorten 16:25       speak 35:9 49:3     STIPULATED

                                 MIDWEST LITIGATION SERVICES
www.midwestlitigation.com             Phone: 1.800.280.3376                        Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 296 of 331
                                  GEORGE LOMBARDI 1/17/2014


   5:1                 29:2 30:19 40:3     38:24 52:23         33:19 38:15       Uh-huh 5:20
 Street 4:5,12,18      41:9 45:5 51:21     65:23 67:4          49:13 50:16        29:6 42:19
   71:4                55:21 58:6        thereon 73:10         54:12 57:13        45:20
 stuff 62:20           59:13             thereto 70:14         61:14             unaware 40:20
 subject 23:4        taken 1:14 5:3,19   thing 7:16,17       times 5:19           40:21,22 41:14
 subjective 63:2       15:10 70:9,12       15:21 16:18       tiny 62:21          uncomfortable
 subscribe 73:11       71:8 72:3           31:9 63:3         title 30:21 46:10    64:4
 subsection 19:18    talk 35:16          things 10:24 11:9   today 6:24 7:5,23   understand 6:4
   19:21 20:13,14    talked 6:9 58:7       11:13 12:19         12:16 13:15,15     15:22 27:3
   20:15 21:10       talking 8:18 31:8     46:5 58:10,14       14:18,21 47:18     29:21 32:25
 subsequent            31:9 34:12          61:19 62:8          58:17,21 63:17     42:1 64:18
   67:12,22            44:25 60:7          65:13             told 6:20 7:6,8      66:13
 substance 73:8        64:25             think 5:21 6:4        11:25 13:14       understanding
 Sue 6:8             talks 60:2            10:19,20 12:20      36:22 50:10        34:8 38:5
 sufficient 21:13    TAYLOR 4:3            13:17 14:6,9      top 47:22           Understood
 suggest 16:8        team 6:20 15:5        15:3,20 16:1,2    totally 49:18        67:23
 Sunshine 34:21        23:6 24:12          25:5 26:11,14       61:16             undertook 13:17
 Supplemental          25:12 43:1,6,11     30:24 37:4,13     town 14:18          unequivocally
   2:11,13 28:15       43:23 44:3,12       49:21 50:21       track 60:8           57:15
 supplied 36:2,4       44:20               54:18 55:6,22     transcribed 5:7     UNGER 4:4
   37:19             tell 5:25 7:13        56:20 59:16,17    transcript 71:11     71:13
 supplier 32:7         18:2 21:17          59:19,21 60:13    transcripts 68:16   United 1:1 3:1,17
 suppliers 44:15       30:20 34:5          61:6,7,17,25      treat 61:22         unlawful 26:24
 supplies 22:18        37:24 49:19         62:1,15,16,18     treated 58:24       unredact 7:4
   43:9                52:5,10 57:14       62:19 64:14,15    treating 15:24      unwilling 59:12
 supply 35:24        telling 27:11         64:16,16,22,23    trial 71:14         upcoming 33:9
 support 68:13       tells 50:13           66:11 67:1,18     tries 35:15          38:5
 sure 12:1 26:5,23   ten 7:7 8:10          68:1,2            triplicate 51:21    upper 30:24 31:2
   32:22 45:1        term 8:19           thinking 66:15      true 24:25 36:5     use 19:7,20 20:16
   52:20 55:24       terms 24:19         Thiopental 44:9       73:9,13            21:3,5,6,9,18
   56:11 57:8 58:9     33:24 64:17         62:7              try 11:23 35:7       21:20 26:23
   60:6 64:7 66:12   Terre 55:14         third 2:11 28:15    trying 5:23 31:6     27:10,24 29:12
   67:5              Terry 47:24           40:9                52:20 66:4         29:14 42:12
 SUSAN 4:10          test 32:6 36:10     thought 13:12,20    turned 11:16         46:2 51:19 53:3
   71:3                36:23 37:4          13:24 14:4        turning 40:16       USP 31:17
 suspect 7:14        tested 32:19          38:22 39:1        two 6:15 8:7 9:23   usually 53:24
 Sutton 38:9           33:13,25 34:1,2     59:24 62:18         10:19 11:1,2
   39:21 41:6          34:6 35:25        thousands 18:22       12:19 15:6 32:1            V
 sworn 3:10 5:13     testified 22:7      threat 24:11          33:5,6,8 49:21    vague 26:22
   70:8              testifying 21:17    threatened 24:16      49:22 50:6 52:2   variation 53:22
 S-Pentobarbital     testimony 35:4,5    three 9:13 10:25      52:10 56:4        vary 54:10
   31:24               70:7,8              65:2,11             58:10,14 63:14    Versed 53:4 56:7
                     testing 34:12       time 7:3 9:22         65:2              version 62:2,6
         T             36:13 43:21         10:18 11:19       typewriting 5:7     view 25:14 27:10
 take 10:13 11:20    tests 36:14           13:2,6 14:11,12     70:10             visiting 54:23
   11:23 12:6        text 18:14,16         14:22 15:17                           visitor 55:16,18
   15:15,22 24:15    thank 6:2,6           16:25 17:22              U            visitors 54:22


                                MIDWEST LITIGATION SERVICES
www.midwestlitigation.com            Phone: 1.800.280.3376                          Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 297 of 331
                               GEORGE LOMBARDI 1/17/2014


 vitae 33:18        34:24 35:1        yesterday 6:22      30:5              31st 28:19 30:4
 vs 1:6 3:6,19 71:5 39:15 52:17         6:24 14:19 61:7 15 63:15              65:7
   72:2             58:5,16 59:12                       15th 6:15 47:18     314 4:19
                    61:15 63:6,7,23            Z        16th 6:23           37 2:16
         W          64:24 68:25       Zink 1:4 3:4,18   17 1:15 3:11 71:8   38 2:17
 W 4:12 71:4      we've 5:21 12:3       4:3 18:4 22:23    72:3
 wait 8:10 13:15    15:20 16:11         71:5 72:2       17th 47:19                  4
 waived 17:22       24:22,23 46:5                       18 2:18             4 2:13 27:23
 want 8:12,14                                  1                              29:25
                  willing 13:15                         19 2:9
  10:15 11:8        24:15 37:16       1 2:9 5:9 9:12                        47 2:19
  12:21 14:11       63:19 67:2          12:25 19:1 25:2          2
  15:12,22 16:7                         32:12           2 2:10 22:21 29:4            5
                  wish 56:14
  16:18 26:16     withdrawing         1.5794 31:1         32:12 43:2        5 2:4,14 23:2
  32:20 34:25       42:16             1:09 5:15         2:12-CV-4209-...      30:11,12,19,22
  35:2,17,19      withdrawn 8:7       10 2:19 36:9,11     1:6 3:6             32:2 37:14
  51:22 59:24     witness 5:8 6:8       36:13,13 47:15 2:41 63:25           50mg/mL 31:24
  60:10 61:1,20     25:24 26:3 27:2   10th 17:6 19:15   2:46 69:2           52 2:20,21 47:19
  61:24             27:5,19 29:17       30:13,15 39:11 20 71:2 73:15        525-6540 4:6
 wanted 10:13       33:2 43:16 51:7     39:13           20th 17:5           552.060.1 41:23
  14:1 15:18 67:3   52:22 58:2 70:7   101 60:2,6,7,10   2013 17:5,6 23:2    573 4:13
 wants 41:18        70:8 71:10 72:1     60:11 61:8 65:5   28:19 30:4 65:7
                                      11 2:20 9:11                                  6
 warden 47:24       72:25                                 65:15
  57:20                                 12:24 13:2      2014 1:15 3:11      6 2:15 30:11,14
                  witnesses 68:17
 warranty 32:9                          51:18 52:3,6,17   18:12 38:20         31:19 32:11
                  wondering 50:22
  37:9,15                               56:5,6            71:2,8 72:3         33:23
                    56:6 68:8
 wasn't 22:8                          11/14/2013 2:14   2023 52:9,20        6011 4:5
                  word 19:20
  50:11 62:14                         11/15/2013 2:16   207 4:12 71:4       63101 4:19
                    26:24 45:1
 way 19:11 20:3                       11/20/2013 2:20   22 2:10             64113 4:5
                    54:21
  20:14 25:13                         11:00 9:10        220 13:1            644-2191 4:19
                  work 63:23
 Wednesday 6:15                       11:15 47:23 48:9 2246 20:19           65101 4:13 71:4
                    68:19
  7:2 9:9 12:25                         48:10           2247 19:18 20:15    65102 3:14
                  worked 7:1 8:20
  15:7,15 22:8      10:18             110 9:20 59:5,14 2248 19:16
                                                                                    7
  47:17 66:1,24   working 6:25          59:15,17        23rd 65:15
                                      112 9:20 59:5,15 2405 10:2            7 2:16 37:24
 week 14:22 16:15 wouldn't 49:24
                                        59:16,17 60:7                         38:18,25 39:3,7
 weeks 8:8          50:11                               2652 47:22
                                        60:17,18,21                           39:9 40:17
 went 11:9,24     writing 68:14                         2687 10:3
                                        61:21,22 63:8                         68:10
  12:9,11 13:18   wrote 40:13 43:9                      27th 18:19
                                        65:8,9,14 67:22 2729 3:13           7th 18:12
  49:1
                                        68:1,11                             711 4:18
 weren't 44:21            X                             28 2:11
                                      1182 40:2                             722 52:7,22
  61:9            X 2:1                                 280-3376 4:20
                                      1184 40:3,4,5,6                       751-3321 4:13
 Western 1:1 3:1                                        29 2:13
  3:17                    Y           12 2:21 5:9 51:18                             8
 we'll 31:8 32:2  yeah  54:9 59:23      52:4,8,17 56:5           3
                                                                            8 2:17 10:5 11:4
  38:17 63:22       63:1,22 66:10       56:6            3 2:11 27:23
                                                                              12:11 38:16,17
  67:18             66:14,16 67:20    12/10/2013 2:15     28:10,15
                                                                              39:2,19,20
 we're 8:3,17,19  years 25:2 54:10    12/11/2013 2:21   30 2:14,15 36:9
                                                                            8th 28:17 30:5
  15:16 31:8      Yep 32:5            13-3699 28:17,19    36:10
                                                                              49:17

                              MIDWEST LITIGATION SERVICES
www.midwestlitigation.com          Phone: 1.800.280.3376                       Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 298 of 331
                             GEORGE LOMBARDI 1/17/2014


 800 4:20
 816 4:6
         9
 9 2:18 10:11 18:1
   42:21
 9th 38:19,19
   39:11




                            MIDWEST LITIGATION SERVICES
www.midwestlitigation.com        Phone: 1.800.280.3376            Fax: 314.644.1334
   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 299 of 331
     EXHIBIT I




Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 300 of 331
2/18/2014                            After Supplying For Three Missouri Executions, Pharmacy Plans To Register In State | St. Louis Public Radio

                                               Listen Live                                                                          On Air Schedule      Programs A-Z       Donate




                    NPR Story                                                  Winter Olympics                                             Gaslight Cabaret Festival
                    SIU Names Randy Dunn President                             How Many St. Louis-Born Athletes                            Acclaimed Tom Waits Singer And
                                                                               In The Winter Olympics, Ever? Just                          Locals Ken Page, Tim Schall Kick
                                                                               11                                                          Off Cabaret Festival




         Death Penalty                                                              9:58   PM SUN FEBRUARY 2, 2014



         After Supplying For Three Missouri
         Executions, Pharmacy Plans To Register In
         State
         By CHRIS MCDANIEL (/PEOPLE/,DANAINFO=NEWS.STLPUBLICRADIO.ORG+CHRIS-MCDANIEL)


         An Oklahoma compounding pharmacy
         has supplied Missouri with the drug it's
         used three times to execute inmates,
         despite the fact that the pharmacy isn't
         licensed here.

         Now the Apothecary Shoppe is
         attempting to become licensed in
         Missouri.

         According to records obtained by St. Louis
         Public Radio, the Oklahoma Board of
         Pharmacy received a letter from the
         Apothecary Shoppe on Jan. 13, when the
         pharmacy said it was planning on
         registering in both Missouri and Texas.

         Last summer, the Apothecary Shoppe
                                                                         (https://v pnwest.fd.org/p/kwm u/files/2 01 4 01 /,DanaInfo= m ediad.publicbroadcasting.net+ Pentobarbital.jpg)
         also offered to supply the execution drug                                                                   Enlarge image
         to Louisiana. The pharmacy is not
                            (https://v pnwest.f d.org/p/kwmu/f iles/201401/,DanaInf o=mediad.publicbroadcasting.net+Pentobarbital.jpg)
                                                                         Credit via Flick r/Nottingham Vet School
         licensed there as well.

         Compounding pharmacies are not regulated by the Food and Drug Administration, like
         drug manufacturers are. Instead, that responsibility is left to individual state boards of
         pharmacy. The drugs made by compounding pharmacies also have a significantly
         higher failure rate than those of manufactured drugs.

         The pharmacy supplying Missouri with its execution drug has been criticized for
         several reasons: 1) for supplying to a state where it isn't licensed; 2) for making a drug
         that is essentially a copy of a manufactured drug (not allowed for compounding
         pharmacies); and 3) for relying on a controversial testing laboratory to verify the
         drug's effectiveness.




                         Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 301 of 331
https://vpnwest.fd.org/post/,DanaInfo=news.stlpublicradio.org+after-supplying-three-missouri-executions-pharmacy-plans-register-state                                                 1/4
2/18/2014                                After Supplying For Three Missouri Executions, Pharmacy Plans To Register In State | St. Louis Public Radio


            Apothecary Shoppe Letter




                  To print the document, click the "Original Document"
                  link to open the original PDF. At this time it is not
                  possible to print the document with annotations.




            Explore This Document In Full-Screen
            Mode(https://vpnwest.fd.org/documents/,DanaInfo=apps.npr.org+document.html?

         In a statement, the American Civil Liberties Union of Missouri said it would be a
         "positive step" for the Apothecary Shoppe to become licensed in Missouri.

         "It would be an improvement from the legally questionable procedure of handing over
         a controlled substance to an individual who is not the patient or a medical professional
         to secretly courier the drug into Missouri," legal director Tony Rothert said. "It might
         allow the public to finally learn whether we can trust the quality of the drugs Missouri
         is using."

         Missouri has pointed to an anonymous testing lab's reports to argue that the drug is
         potent and pure. The lab is Analytical Research Laboratories in Oklahoma City, OK; it
         had approved a batch of steroids for commercial use that ended up killing dozens in
         2012. The deaths were an impetus behind recent congressional action on the regulatory
         practices for compounding pharmacies.

         The Apothecary Shoppe has been cited in the past as well: one disciplinary action in
         2006 and several warnings from the Oklahoma Board of Pharmacy.

         The warnings are for a few different deficiencies, one of which is creating a drug that is
         essentially a copy of an FDA-approved drug.




         (https://v pnwest.fd.org/p/kwm u/files/2
                                          02 -02 01
                                                  _at_1
                                                    4 021/,DanaInfo=
                                                          .57 .50_AM.png)
                                                                     m ediad.publicbroadcasting.net+ Screen_Shot_2 01 4 -
             Enlarge image (https://v pnwest.f d.org/p/kwmu/f iles/201402/,DanaInf o=mediad.publicbroadcasting.net+Screen_Shot_2014-02-
                                                                                                               02_at_11.57.50_AM.png)

         The board took disciplinary action in 2006, finding head pharmacist and owner Deril
                          Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 302 of 331
https://vpnwest.fd.org/post/,DanaInfo=news.stlpublicradio.org+after-supplying-three-missouri-executions-pharmacy-plans-register-state                  2/4
2/18/2014                                  After Supplying For Three Missouri Executions, Pharmacy Plans To Register In State | St. Louis Public Radio
         Lees guilty of increasing the quantity of drugs dispensed. According to the Board of
         Pharmacy, "The staff pharmacists were also instructed to shred the original
         prescriptions."

         In court filings over the past few months, Missouri has argued that the identity of the
         supplier must be kept secret. The Department of Corrections changed the protocol to
         hide the identity, a move Gov. Jay Nixon and Attorney General Chris Koster both
         supported.

         The state has argued that if the Apothecary Shoppe's identity got out, the pharmacy
         wouldn't want to supply for executions anymore. The Apothecary Shoppe did not
         respond to a request for comment on whether or not they intend to continue.

         Missouri's next execution is scheduled for Feb. 26.

         Follow Chris McDaniel on Twitter: @csmcdaniel
         (https://v pnwest.fd.org/,DanaInfo= twitter.com + csm cdaniel)



            Apothecary Shoppe Disciplinary Action




                   To print the document, click the "Original Document"
                   link to open the original PDF. At this time it is not
                   possible to print the document with annotations.




            Explore This Document In Full-Screen
            Mode(https://vpnwest.fd.org/documents/,DanaInfo=apps.npr.org+document.html?

         TAGS:    death penalty (/term /,DanaInfo= news.stlpublicradio.org+ death-penalty )                                the
         Apothecary Shoppe (/term /,DanaInfo= news.stlpublicradio.org+ apothecary -shoppe)


         Related Content:

                                Death Penalty                                                  Death Penalty
                                Missouri Carries Out                                           Three Missouri Offices Are
                                Execution After U.S.                                           Responsible For
                                Supreme Court Removes                                          Controversial Execution
                                Stays                                                          Plans
            (/post/,Dan aIn fo=n ews.stl pu bl i cradi o.org+m i ssou ri - (/post/,Dan aIn fo=n ews.stl pu bl i cradi o.org+th ree-
            (/post/,DanaInfo=news.stlpublicradio.org+missouri-             (/post/,DanaInfo=news.stlpublicradio.org+three-




                           Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 303 of 331
https://vpnwest.fd.org/post/,DanaInfo=news.stlpublicradio.org+after-supplying-three-missouri-executions-pharmacy-plans-register-state                    3/4
2/18/2014                         After Supplying For Three Missouri Executions, Pharmacy Plans To Register In State | St. Louis Public Radio

         1 Comment        St. Louis Public Radio                                              Login

         Sort by Best                                                          Share       Favorite



                    Join the discussion…

                  Popke   • 15 days ago

                  The statement by Tony Rothert of the ACLU is absurd as to if the pharmacy is
                  licensed in Missouri then the public may be able to be sure of the quality of the
                  drug being used by Missouri. Mr. Rothert, Missouri has executed 3 murderers in
                  the past three months and the longest time taken for the murderer to be
                  pronounced dead was 9 min. I would think that should be sufficent for your
                  ACLU and the general public as I'm sure no victims died in that short of time.
                           • Reply • Share ›




             Subscribe         Add Disqus to your site




                         Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 304 of 331
https://vpnwest.fd.org/post/,DanaInfo=news.stlpublicradio.org+after-supplying-three-missouri-executions-pharmacy-plans-register-state           4/4
Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 305 of 331
Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 306 of 331
Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 307 of 331
Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 308 of 331
Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 309 of 331
Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 310 of 331
Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 311 of 331
Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 312 of 331
Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 313 of 331
     EXHIBIT J




Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 314 of 331
                   UNITED STATES COURT OF APPEALS
                       FOR THE EIGHTH CIRCUIT

                                    No: 13-3664

                                  David Zink, et al.

                                 Allen L. Nicklasson

                                      Appellant

                              John C. Middleton, et al.

                                          v.

                             George A. Lombardi, et al.

                                      Appellees

__________________________________________________________________

Appeal from U.S. District Court for the Western District of Missouri - Jefferson City
                             (2:12-cv-04209-NKL)
__________________________________________________________________

                               AMENDED ORDER

      The petition for rehearing en banc, the petition for rehearing by panel and the

motion for stay of execution are denied as moot. Judge Duane Benton did not

participate in the consideration or decision of this matter.

BYE, Circuit Judge, with whom KELLY, Circuit Judge, joins, dissenting.




     Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 315 of 331
  Appellate Case: 13-3664 Page: 1 Date Filed: 12/23/2013 Entry ID: 4108311
      At approximately 10:52 p.m. on December 11, 2013, Missouri executed Allen

Nicklasson before this court had completed its review of Nicklasson's request for a

stay of his execution, a request he brought in a pending action challenging the

constitutionality of Missouri's execution protocol. That bears repeating. Missouri put

Nicklasson to death before the federal courts had a final say on whether doing so

violated the federal constitution.

      Missouri has a well-documented history of attempting to execute death row

inmates before the federal courts can determine the constitutionality of the

executions. In 1983, Missouri set an execution date for Doyle Williams before the

time had run for Williams to petition the Supreme Court for direct review of his

conviction and death sentence. Supreme Court Justice Harry Blackmun stayed the

execution, specifically advising Missouri that a "defendant must have at least one

opportunity to present to the [Supreme Court] his claims that his death sentence has

been imposed unconstitutionally." Williams v. Missouri, 463 U.S. 1301, 1301-02

(1983).

      Just a few months later, however, Missouri set the execution dates of four death

row inmates – Samuel Lee McDonald, Leonard Marvin Laws, Thomas Henry Battle,

and George Clifton Gilmore – before the time had run for the filing and disposition

of a petition for certiorari on direct review of the men's convictions and death




     Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 316 of 331
  Appellate Case: 13-3664 Page: 2 Date Filed: 12/23/2013 Entry ID: 4108311
sentences.   In the order entering a stay of the executions, Justice Blackmun

unequivocally stated that


      [e]very defendant in a state court of this Nation who has a right of direct
      review from a sentence of death, no matter how heinous his offense may
      appear to be, is entitled to have that review before paying the ultimate
      penalty. The right of review otherwise is rendered utterly meaningless.
      It makes no sense to have the execution set on a date . . . before
      [judicial] review is completed.


McDonald v. Missouri, 464 U.S. 1306, 1307 (1984).

      Additionally, Justice Blackmun reminded Missouri of what he said in

Williams:


      I thought I had advised the Supreme Court of Missouri once before, in
      Williams, that, as Circuit Justice of the Circuit in which the State of
      Missouri is located, I, upon proper application, shall stay the execution
      of any Missouri applicant whose direct review of his conviction and
      death sentence is being sought and has not been completed. I repeat the
      admonition to the Supreme Court of Missouri, and to any official within
      the State's chain of responsibility, that I shall continue that practice. The
      stay, of course, ought to be granted by the state tribunal in the first
      instance, but, if it fails to fulfill its responsibility, I shall fulfill mine.


Id. (emphasis added).



      Thirteen months after Justice Blackmun's admonition, Missouri set an

execution date for Walter Junior Blair. Prior to his execution date, Blair had filed a




     Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 317 of 331
  Appellate Case: 13-3664 Page: 3 Date Filed: 12/23/2013 Entry ID: 4108311
petition for writ of habeas corpus in federal district court. Blair then filed a motion

with the Missouri Supreme Court requesting a stay of his execution to give him a

meaningful opportunity to exercise his constitutional right of federal habeas review.

The Missouri Supreme Court nonetheless summarily denied the request for a stay.

A federal district court was thus required to step in and stay the execution. See Blair

v. Armontrout, 604 F. Supp. 723, 723 (W.D. Mo. 1985). In so doing, the court noted

that


       [b]y refusing the petitioner's request for a stay of execution, the Missouri
       Supreme Court has in effect authorized the execution of a condemned
       prisoner without affording him the opportunity to exercise his
       constitutional right of federal habeas corpus review. In so doing, the
       Missouri Supreme Court ignored its responsibility to stay executions
       while federal judicial review is pending.


Id. at 724. The district court reiterated the admonitions Justice Blackmun had given

Missouri in Williams and McDonald, and expressly held "[a] state prisoner sentenced

to death is constitutionally entitled to habeas corpus review," id. at 725, adding that

the principle of comity (i.e., federal courts first affording states the opportunity to

perform their constitutional duties) "will be jeopardized if the Missouri Supreme

Court continues to ignore its well-defined responsibility concerning requests for stays

of execution due to pending federal review. Since the Missouri Supreme Court has

failed to accept its responsibility, I shall accept mine." Id.




     Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 318 of 331
  Appellate Case: 13-3664 Page: 4 Date Filed: 12/23/2013 Entry ID: 4108311
      Less than a year after Blair, Missouri set January 6, 1986, as the execution date

for Gerald M. Smith. At the time, Smith was a death row inmate whose competency

was in question based upon his indecision about whether to pursue available state and

federal remedies attacking his conviction and death sentence, or abandon his legal

proceedings and proceed with his execution. Smith's brother, Eugene Smith, filed a

next-friend petition in a Missouri state court seeking a determination of his brother's

competency before Missouri proceeded with the execution; Eugene also filed a

motion in the Missouri Supreme Court to stay the execution until his brother's

competency could be determined. The Missouri Supreme Court summarily denied

the request for a stay "in one line and without any explanation." Smith By and

Through Smith v. Armontrout, 626 F. Supp. 936, 938 (W.D. Mo. 1986). After

Eugene obtained a ruling in the state trial court that his next-friend petition was a

valid action under Missouri law, the Missouri Supreme Court postponed the

execution for nine days, but ultimately "issued an order which, in effect, stated that

the next-friend [proceeding] . . . was a legal nullity and that no further extensions of

Gerald Smith's execution date would be granted." Id.



      Once again, a Missouri litigant was required to turn to the federal courts to

ensure that Missouri complied with constitutional requirements mandated by the

United States Supreme Court before carrying out an execution. See Rees v. Peyton,



     Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 319 of 331
  Appellate Case: 13-3664 Page: 5 Date Filed: 12/23/2013 Entry ID: 4108311
384 U.S. 312, 313-14 (1966) (explaining the competency procedures which any court

of this nation, state or federal, must follow when a death row inmate announces an

intention to abandon further appeals and proceed with an execution). In staying

Missouri's execution of Gerald Smith until his competency could be determined, the

federal district court stated "it becomes painfully obvious that the Missouri Supreme

Court's refusal to stay Gerald Smith's execution pending a competency determination

. . . had no basis in fact nor in law, but was merely an expedient way of washing its

hands of the matter and passing the buck to the Federal courts." Smith, 626 F. Supp.

at 940. The district court further noted "[t]his is not the first time that the Missouri

Supreme Court has passed the buck to the Federal courts by refusing to perform its

legal obligation to stay an execution . . . when the law required a stay to permit post-

conviction appeals to be heard in an orderly manner," id., and referred to the prior

Williams, McDonald, and Blair cases.

      The district court also commented on the necessary and inevitable tension

which exists between a state's choice to utilize death as a penalty on one hand, and

the safeguards our Founding Fathers saw fit to include in our federal constitution on

the other:


      This Court is aware that many members of the public are frustrated with
      what seems to be inordinate delay in the processing of appeals by death
      row inmates. Indeed, many people believe that there should be no
      appeals whatsoever following the jury's imposition of the death



     Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 320 of 331
  Appellate Case: 13-3664 Page: 6 Date Filed: 12/23/2013 Entry ID: 4108311
      sentence. The law, on the other hand, provides that certain procedures
      must be followed before a death sentence may be carried out. Although
      it may not win a popularity contest in any given case, this scheme was
      adopted to ensure that every individual would be accorded due process
      of law.


Id. at 940 n.3 (emphasis added).

      In May 2005, Missouri death row inmate Vernon Brown challenged the three-

chemical protocol Missouri used in its executions at the time. Brown was one of the

first death row inmates to participate in what subsequently became a multi-state

challenge to this three-chemical protocol, incited in large part by the publication of

an April 2005 article in the medical journal The Lancet. The article analyzyed

autopsy toxicology results from forty-nine executions where the three-chemical

sequence of sodium pentothal1 (a sedative), pancuronium bromide (a paralytic), and

potassium chloride (a very painful drug which induces a heart attack) was used to

carry out the executions. The article's authors essentially concluded that in almost

half of the autopsies examined (43%), the amount of sedative used in the executions

would have been insufficient to render the inmate unconscious. "In other words, the

use of this three-chemical sequence results in a possibility the person to whom it is

administered will be conscious when the inherently painful potassium chloride takes

effect, yet no one will know because of the paralytic effects of the pancuronium


      1
          Sodium pentothal is sometimes referred to as thiopental.



     Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 321 of 331
  Appellate Case: 13-3664 Page: 7 Date Filed: 12/23/2013 Entry ID: 4108311
bromide." Brown v. Crawford, 408 F.3d 1027, 1028 (8th Cir. 2005) (Bye, J.,

dissenting). The evidence Brown asked us to consider included the fact that nineteen

states had passed laws banning the use of a similar protocol to euthanize animals.

Brown alleged Missouri is "using a combination of chemicals they knew or should

have known would cause an excruciating death when they were telling the public it

was like putting a dog to sleep, when their own veterinarians would lose their licenses

for using the same chemicals on a stray." Id. (quoting Brown v. Crawford, No. 4:05-

VV-746-CEJ, Motions for Temporary Restraining Order at 19).

      The article in The Lancet had been published just a month before Brown's

execution date. He relied upon it to bring an eleventh-hour challenge to his

execution, merely asking Missouri to disclose the level of sodium pentothal it would

use in his execution before executing him – hardly an onerous request. In refusing

to disclose information about the dosage levels used in its execution protocol,

Missouri trumpeted the need to proceed with Brown's execution post haste in order

to provide the families of the victims of his crimes with closure. Against my dissent,

the Eighth Circuit said Missouri could execute Brown without first disclosing

whether its protocol utilized an adequate dosage of sodium pentothal. Brown was

strapped to a gurney at 11:30 p.m., and left there for three hours before a divided

Supreme Court finally denied his request for a stay and allowed Missouri to proceed

with his execution.



     Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 322 of 331
  Appellate Case: 13-3664 Page: 8 Date Filed: 12/23/2013 Entry ID: 4108311
      Missouri death row inmate Michael Anthony Taylor also challenged Missouri's

use of the three-chemical protocol. In more reflective deliberations not burdened by

the eleventh-hour nature of Vernon Brown's challenge, the federal courts handling

Taylor's suit understandably recognized he, along with other Missouri death row

inmates, were entitled to know the dosage levels Missouri used in its execution

protocol before Missouri could execute them.

      Taylor discovered numerous and significant problems with Missouri's

execution protocol, including inconsistencies between the amounts of sodium

pentothal Missouri claimed to be using in every execution, and chemical dispensary

logs which showed much lower amounts of the sedative actually being used in several

executions. See Taylor v. Crawford, No. 05-4173-CV-C-FJG, 2006 WL 1779035,

at *3 (W.D. Mo. June 26, 2006). Incredibly, Missouri had not adopted a written

protocol for its executions.    Even more incredibly, Missouri gave unfettered

discretion to an admittedly dyslexic physician to implement the state's unwritten

protocol, including the responsibility of correctly mixing the drugs used in

executions. Id. at *4-8. The district court's observations bear repeating here:


      After learning more about how executions are carried out in Missouri,
      through the interrogatories submitted to the John Doe defendants,
      reviewing the chemical dispensary logs, reviewing the videotape of the
      execution chamber and listening to the testimony of John Doe I, and to
      the testimony of the other expert witnesses at the June 12-13, 2006
      hearing, it is apparent that there are numerous problems. For example,



     Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 323 of 331
  Appellate Case: 13-3664 Page: 9 Date Filed: 12/23/2013 Entry ID: 4108311
    there is no written protocol which describes which drugs will be
    administered, in what amounts and defines how they will be
    administered. John Doe I testified that he came up with the current
    protocol. John Doe I also testified that he felt that he had the authority
    to change or modify the formula as he saw fit. It is apparent that he has
    changed and modified the protocol on several occasions in the past. He
    has reduced the amount of thiopental given from 5.0 grams to 2.5 grams
    and has also changed the location on the inmate's body where the drugs
    were administered. It is obvious that the protocol as it currently exists
    is not carried out consistently and is subject to change at a moment's
    notice.

    The Court is also concerned that John Doe I possesses total discretion
    for the execution protocol. Currently, there are no checks and balances
    or oversight, either before, during or after the lethal injection occurs.
    No one monitors the changes or modifications that John Doe I makes.
    John Doe I even testified that the Director of the Department of
    Corrections, Mr. Crawford, has no medical or corrections background,
    and that he is "totally dependent on me advising him." (John Doe Depo.
    p. 64).

    In addition to the fact that there is no oversight and the responsibility for
    making changes or adjustments is completely vested in one individual,
    the Court also has concerns about John Doe I's qualifications. John Doe
    I readily admitted that he is dyslexic and that he has difficulty with
    numbers and oftentimes transposes numbers. John Doe I testified "it's
    not unusual for me to make mistakes. . . . But I am dyslexic and that is
    the reason why there are inconsistencies in my testimony. That's why
    there are inconsistencies in what I call drugs. I can make these mistakes,
    but it's not medically crucial in the type of work I do as a surgeon."
    (John Doe Depo. p. 25). The Court disagrees and is gravely concerned
    that a physician who is solely responsible for correctly mixing the drugs
    which will be responsible for humanely ending the life of condemned
    inmates has a condition which causes him confusion with regard to
    numbers. As the Court has learned, the process of mixing the three
    different drugs and knowing the correct amount of the drugs to dissolve
    in the correct amount of solution involves precise measurements and the
    ability to use, decipher, and not confuse numbers. Although John Doe
    I does not feel this is crucial in the type of work he does as a surgeon, it



   Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 324 of 331
Appellate Case: 13-3664 Page: 10 Date Filed: 12/23/2013 Entry ID: 4108311
      is critical when one is mixing and dissolving chemicals for a lethal
      injection.

      In addition, John Doe I testified that although he is not an
      anesthesiologist, he monitors the anesthetic depth of an inmate by
      observing the inmate's facial expression. However, as can be seen from
      the videotape of the execution chamber, when the inmate is lying on the
      gurney in the execution room, the inmate is facing away from the
      Operations room where John Doe I is located. Additionally, it is dark
      in the Operations room and there are blinds on the window which are
      partially closed and obstruct the view. This would make it almost
      impossible for John Doe I to observe the inmate's facial expression.
      This leads the Court to conclude that there is little or no monitoring of
      the inmate to ensure that he has received an adequate dose of anesthesia
      before the other two chemicals are administered.


Id. at *7-8. The district court ultimately concluded "Missouri's lethal injection

procedure subjects condemned inmates to an unnecessary [and unacceptable] risk

that they will be subject to unconstitutional pain and suffering when the lethal

injection drugs are administered." Id. at *8. The district court ordered Missouri to

prepare a new written protocol for the implementation of lethal injections to ensure

compliance with the federal constitution. Id. The Eighth Circuit vacated the

injunction entered by the district court to prevent Missouri from proceeding with any

executions only after Missouri adopted a detailed written execution protocol, and

indicated it would no longer use the services of the dyslexic physician. See Taylor

v. Crawford, 487 F.3d 1072, 1077 n.3, 1082-85 (8th Cir. 2007).




     Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 325 of 331
  Appellate Case: 13-3664 Page: 11 Date Filed: 12/23/2013 Entry ID: 4108311
                                          II

      With this history of Missouri's implementation of the death penalty in mind,

I turn to Allen Nicklasson's now-moot challenge to Missouri's more recent, ever-

changing execution protocol. Allen Nicklasson was one of a number of Missouri

death row inmates who filed suit raising constitutional challenges against an

execution protocol Missouri announced on May 15, 2012. The new protocol would

utilize just a single drug, propofol, to carry out executions. The inmates filed their

lawsuit in Missouri state court, but Missouri's choice to remove it triggered our

federal review.



      The inmates' challenge to Missouri's execution protocol is no longer about the

use of propofol because Missouri has changed the protocol numerous times since

May 2012, while still actively scheduling new executions. Joseph Franklin was also

one of the death row inmates participating in this constitutional challenge to

Missouri's execution protocol. Missouri scheduled, and completed, Franklin's

execution on November 20, 2013, notwithstanding the fact it changed the execution

protocol no less than five times between August 1, 2013, and November 20, 2103,

with the last protocol change occurring just five days before Franklin was executed.

      The issues currently involved in this protocol litigation include the fact that

Missouri is resorting to secret compounding pharmacies to concoct copycat versions



     Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 326 of 331
  Appellate Case: 13-3664 Page: 12 Date Filed: 12/23/2013 Entry ID: 4108311
of the drug pentobarbital to carry out its executions. Applying Hill v. McDonough,

547 U.S. 573 (2006), the district court presiding over the protocol litigation entered

a stay of Franklin's execution after concluding the inmates showed "a significant

likelihood of success on the merits, a showing of irreparable harm in contrast to

relatively little harm to [Missouri], and no fault in the delay of their current case

pending before this Court." Zink v. Lombardi, No. 2:12-CV-4209-NKL, 2013 WL

6080358, at *8 (W.D. Mo. Nov. 19, 2013).



      With respect to the moving target Missouri kept presenting to the inmates by

constantly changing its execution protocol while still going forward with Franklin's

execution (and now Nicklasson's), the district court said


      [death penalty] litigation is not a game of chess. Hill was intended to be
      a shield to protect defendants from abusive litigation practices by death
      row inmates. But it was never intended to be used as a sword permitting
      defendants to disrupt and delay the litigation process and then complain
      that time is up. Neither the Plaintiffs nor the Court have been able to
      address the merits of Plaintiffs' claim that the Defendants have adopted
      an execution protocol that violates the U.S. Constitution, because the
      Defendants keep changing the protocol that they intend to use. It would
      be a substantial departure from the way in which law suits are generally
      handled by this Court, to allow Defendants to succeed with this strategy.
      Rather, the pending dispute between the parties should be resolved on
      the merits after a reasonable opportunity for both sides to be heard,
      followed by a prompt, final order resolving the dispute. That is how it
      is normally done in America and it is a system that has worked quite
      well.




     Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 327 of 331
  Appellate Case: 13-3664 Page: 13 Date Filed: 12/23/2013 Entry ID: 4108311
Id. at *6.

       I agreed with the district court's analysis and voted to stay Franklin's execution.

Although a majority of my colleagues disagreed, and Franklin was allowed to be

executed, I still agree with the district court's analysis, which is why I voted to stay

Nicklasson's execution as well.



       My point, however, in this dissent from the denial of the petition for rehearing

en banc of Nicklasson's request for a stay, is not to discuss or rehash the merits of the

current protocol litigation. Rather, I feel obliged to say something because I am

alarmed that Missouri proceeded with its execution of Allen Nicklasson before this

court had even finished voting on Nicklasson's request for a stay. In my near fourteen

years on the bench, this is the first time I can recall this happening. In litigation

raising a constitutional challenge to his execution, a death row inmate sought a stay

of his execution under Hill, and before the federal courts had issued a final decision

on the pending request for a stay, Missouri carried out the execution.

       While the current protocol litigation is not among the category of cases for

which Nicklasson was entitled to an automatic stay of his execution, it was

nonetheless a claim that Missouri would violate the federal constitution by executing

him. As a result, Nicklasson was entitled to have this court complete its equitable

review under Hill to determine whether he was entitled to a stay before Missouri



     Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 328 of 331
  Appellate Case: 13-3664 Page: 14 Date Filed: 12/23/2013 Entry ID: 4108311
actually executed him. By proceeding with Nicklasson's execution before our court

had completed voting on his petition for rehearing en banc, Missouri violated the

spirit, if not the letter, of the long litany of cases warning Missouri to stay executions

while federal review of an inmate's constitutional challenge is still pending.



                                           III

      Missouri's past history of scheduling executions before a death row inmate has

exhausted his constitutional rights of review, using unwritten execution protocols,

misrepresenting dosage levels for drugs used in lethal injections, and providing

unfettered discretion to a dyslexic physician to mix the drugs and oversee its

executions, has earned from this federal judge more than just a healthy judicial

skepticism regarding Missouri's implementation of the death penalty. Its current

practice of using shadow pharmacies hidden behind the hangman's hood, copycat

pharmaceuticals, numerous last-minute changes to its execution protocol, and finally,

its act of proceeding with an execution before the federal courts had completed their

review of an active request for a stay, has committed this judge to subjecting the

state's future implementation of the penalty of death to intense judicial scrutiny, for

the sake of the death row inmates involved as well as adversaries and advocates of

capital punishment alike.

                         _____________________________



     Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 329 of 331
  Appellate Case: 13-3664 Page: 15 Date Filed: 12/23/2013 Entry ID: 4108311
                               December 23, 2013

Order Entered at the Direction of the Court:
Clerk, U.S. Court of Appeals, Eighth Circuit
            /s/Michael E. Gans




     Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 330 of 331
  Appellate Case: 13-3664 Page: 16 Date Filed: 12/23/2013 Entry ID: 4108311
                         CERTIFICATE OF SERVICE
      I hereby certify that on February 18, 2014, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system, which sent
notification of such filing to counsel for defendants, who are registered CM/ECF
users here.

                                              s/ Matthew B. Larsen
                                              MATTHEW B. LARSEN




      Case 2:12-cv-04209-BP Document 353 Filed 02/18/14 Page 331 of 331
